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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)



            DISCLOSURE STATEMENT FOR DEBTORS’ JOINT CHAPTER 11
            PLAN OF REORGANIZATION OF FTX TRADING LTD. AND ITS
               AFFILIATED DEBTORS AND DEBTORS-IN-POSSESSION

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         Dated: May 7, 2024
                Wilmington, Delaware




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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           THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN
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            THIS DISCLOSURE STATEMENT IS BEING DISTRIBUTED TO PARTIES-
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1.     EXECUTIVE SUMMARY
                 The FTX Group collapsed precipitously 17 months ago, during the second week
of November 2022. At the time, the FTX Group was a disorganized jumble of over 100 legal
entities in dozens of jurisdictions around the world. The founder, Sam Bankman-Fried, ran the
global business from The Bahamas with a group of young colleagues, without a functioning
board of directors or any senior leader with significant business experience. Using the FTX
Group’s trading platforms, Mr. Bankman-Fried had solicited billions of dollars in investments
from customers, lenders, business partners, employees and stockholders, then spent the proceeds
on bad or illiquid investments, vanity projects, celebrity endorsements, political donations, and
lavish personal expenditures, including airplanes and luxury real estate. Facing a run on the
exchanges, a massive shortfall in customer assets, the absence of a functioning board of directors
to step in and provide direction, involuntary insolvency filings in The Bahamas and Australia,
the likelihood of other involuntary insolvency proceedings and regulatory seizures around the
world, and Mr. Bankman-Fried’s own imminent arrest in The Bahamas, Mr. Bankman-Fried—
with advice from his multiple personal legal counsel—ceded control over the FTX Group to John
J. Ray III, a restructuring executive with extensive experience in matters of similar scale, in the
early morning hours of November 11, 2022.

               Almost immediately after, with limited information but desperate need for the
global automatic stay to stall the accelerating collapse and further dissipation of assets, on
November 11 and November 14, 2022 (as applicable, the “Petition Date”), substantially all of the
entities comprising the FTX Group filed voluntary petitions for relief under chapter 11 of title 11
of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) with the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                These chapter 11 cases have given FTX Trading Ltd. and its affiliated debtors and
debtors-in-possession (collectively, the “Debtors”) the breathing room necessary for new,
experienced independent directors and management to assemble the remnants of the Debtors and
amass their assets to repay customers and other stakeholders. Over the past 17 months, under the
protection of the Bankruptcy Court and the global reach of its orders, hundreds of stakeholders
have worked with the Debtors on a lengthy process to establish corporate governance; stabilize
the FTX Group businesses around the world; cooperate with regulators and criminal authorities;
create appropriate custody arrangements for digital assets; painstakingly recreate missing
financial and accounting records; investigate and report to governmental authorities, stakeholders
and the public on how and why the FTX Group collapsed; maximize the value of the FTX
Group’s many diverse assets; explore going concern sales of various businesses, including the
FTX.com exchange; commence and settle complex litigation disputes; develop protocols to
coordinate with insolvency proceedings in The Bahamas and Australia, as well as criminal
forfeiture proceedings in the Southern District of New York; and begin the daunting process of
valuing, reconciling and resolving over 27.3 quintillion dollars of purported stakeholder claims.

                With immense gratitude to the Bankruptcy Court, the United States Trustee for
the District of Delaware (the “U.S. Trustee”), various other offices of the United States
Department of Justice, the Commodity Futures Trading Commission (the “CFTC”), the United
States Internal Revenue Service and its counsel in the Tax Division of the Department of Justice
(the “IRS”), the Joint Official Liquidators of FTX Digital Markets (the “Bahamas JOLs”), the
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Supreme Court of The Bahamas, the Securities Commission of The Bahamas, the Official
Committee of Unsecured Creditors in these chapter 11 cases (the “Official Committee”), the Ad
Hoc Committee of Non-U.S. Customers (the “Ad Hoc Committee”) and the many other
stakeholders and stakeholder representatives who have helped make this result possible, the
Debtors are now ready to propose a chapter 11 plan of reorganization that resolves these chapter
11 cases. The Debtors today are filing their Joint Chapter 11 Plan of Reorganization of FTX
Trading Ltd. and its Debtor Affiliates (as may be further amended, supplemented or modified
from time to time, including the Plan Supplement, and all other exhibits and schedules thereto, in
each case, as they may be further amended, modified or supplemented from time to time, the
“Plan”). 2 A copy of the Plan is attached to this Disclosure Statement as Appendix A.

                The Plan allocates value among competing claims based on the relative value of
each creditor’s claim at the Petition Date, as required by the Bankruptcy Code. Sharing among
creditors in this manner is not within the discretion of the Debtors but a bedrock of bankruptcy
law recognized by the Bankruptcy Court and the Supreme Court of the Bahamas, as well as by
the Ad Hoc Committee, the Official Committee and the Bahamas JOLs. No other way to share
recoveries is fair, especially on the facts of the FTX case.

               However, the Plan does more than return Petition Date value to creditors: it
includes potential incremental recoveries to compensate creditors for the time value of their
money trapped at the FTX Group since the Petition Date. Indeed, the Debtors currently forecast
that customers and digital asset loan creditors will recover between 118% and 142% of their
Petition Date claim values. In order to accomplish this objective and to comply with the
Bankruptcy Code and all applicable laws, the Plan is a complex document and stakeholders are
cautioned to review this Disclosure Statement in its entirety, including the risks described in
Section 7Additional Factors to Be Considered Prior to Voting.

                FTX can provide this level of recovery because of the reach and effectiveness of
chapter 11 of the Bankruptcy Code. The Debtors and their stakeholders have had time to explore
strategic options and runway to monetize illiquid and volatile investments gradually over time.
Chapter 11 also has provided the Debtors with an arsenal of discovery, investigation and
avoidance powers that have been used to locate and return billions of dollars of assets. These
efforts are described in Section 3Significant Events and Business Initiatives in These Chapter
11 Cases. In an alternative reality without chapter 11, when Bahamian authorities arrested Mr.
Bankman-Fried and his fiefdom crumbled, the global creditors of the FTX Group would have
been exposed to asset seizures, hacks, bank runs and conflicting orders in dozens of insolvency
proceedings around the world—and could have suffered a near total loss at the end of a process
that took significantly longer.

               While creditors have suffered from the standpoint of losing access to their funds
since November 2022, these chapter 11 cases have proceeded with remarkable alacrity given the
challenges faced. Comparable cases such as Enron and Madoff took approximately three years
before plan confirmation, in the case of Enron, or commencement of distributions, in the case of
Madoff. And, in both of Enron and Madoff, it was many more years before distributions to
creditors were completed (distributions to creditors continue in Madoff to this day). The
2
    Capitalized terms used but not defined herein shall have the meanings given to them in the Plan.


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independent directors of FTX from the beginning of these chapter 11 cases were intent on
outperforming these historical examples. Their focus on speed and the time value of money for
creditors has motivated the critical settlements and understandings underlying the Plan—such as
the Debtors’ proposed arrangements with the Bahamas JOLs, the Department of Justice, the
CFTC and the IRS, as well as the resolution of customer property issues in early negotiations
with the Ad Hoc Committee and other creditor representatives. The result has been a case that
has been able to reach this point relatively quickly (among bankruptcies) because it has been free
of major litigation between the Debtors and governmental authorities, non-U.S. liquidators or
competing creditor groups. These settlements are not without their risks and costs, however, and
stakeholders are encouraged to review the Disclosure Statement and consider the merits of each
settlement carefully.

                 Purposes of this Disclosure Statement

                The main purpose of this Disclosure Statement 3 is to provide the holders of
claims who are entitled, and will be solicited, to vote on the Plan with adequate information to
make an informed judgment about the Plan. Pursuant to section 1125 of the Bankruptcy Code,
acceptances of a chapter 11 plan may be solicited only after a bankruptcy court-approved written
disclosure statement has been provided to each creditor or interest holder entitled to vote on the
plan.

                This Disclosure Statement also is intended to provide information to holders of
claims with respect to certain elections that they may make in connection with the Plan, such as
the Bahamas Opt-In Election (the election to have their Claims resolved and satisfied in the FTX
DM Liquidation rather than in the Bankruptcy Court in the United States) or the convenience
class election. Holders are asked to consider these elections carefully and to understand that,
although the Debtors’ board of directors, the Bahamas JOLs, the Ad Hoc Committee and the
Class Action Claimants recommend approval of the Plan, no recommendation is made with
respect to any of the ancillary elections available to holders of claims.

               Finally, this Disclosure Statement provides substantial new public information
about the Debtors. It does so in order to provide broader context to the holders of claims and to
assist the Bankruptcy Court and stakeholders in connection with the process for confirming and
implementing the Plan. This Disclosure Statement provides this information as part of a formal
judicial process, as a document prepared by the Debtors based on their recreated books and
records, subject to comment and objection by all parties-in-interest and, ultimately, approval by
the Bankruptcy Court after notice and public hearing.




3
    References to the “Disclosure Statement” mean this Disclosure Statement for Debtors’ Joint Chapter 11 Plan of
    Reorganization of FTX Trading Ltd. and its Debtor Affiliates, as it may be further amended, supplemented or
    modified from time to time and all other exhibits and schedules thereto, in each case, as they may be further
    amended, modified or supplemented from time to time.


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               The Main Challenges Faced in Developing this Plan

               The extraordinary situation at the FTX Group raised significant and historic
challenges for the prosecution of these chapter 11 cases. A brief overview of the most important
challenges is useful to understand some of the strategic decisions reflected in the Plan.

                First, the operations of the Alameda trading business and the FTX.com exchange
had been managed centrally by a small group of insiders working directly with Mr. Bankman-
Fried in The Bahamas. After the Petition Date, FTX had limited access to this group of insiders,
all of whom (other than Mr. Bankman-Fried) pled guilty shortly after the chapter 11 cases
commenced. Information about important transactions and the location of material financial
assets often was not kept in reliable ledgers, but instead in informal documents and on
disappearing messaging applications such as Signal. Root access to the software system that
controlled private keys for digital assets was available to the group of insiders without clear
records as to who was authorizing which transaction or why. Business practices sometimes
appeared to be motivated by a desire for secrecy, and investments and trading positions were
made in the name of employees, nominee owners or newly created special purpose vehicles. Tax
and accounting audits were unreliable, especially with respect to the FTX.com exchange and its
relationship with the Alameda trading business and the FTX Group’s many investments in third
parties. Accordingly, to create an evidentiary record sufficient to build a chapter 11 plan, it was
necessary to first build—from scratch—a reliable balance sheet. The prioritization of this effort
has been essential to accomplishing the objective of proposing a plan and making initial
distributions in 2024.

                Second, before the Petition Date, the FTX Group conducted various businesses
through over 100 legal entities without proper corporate governance or accounting for
intracompany transactions. After the Petition Date, the Debtors immediately created four “Silos”
to manage FTX Group business activities. However, as described below, the Debtors have
concluded that the factual record at the FTX Group is not clear enough for a conventional
chapter 11 plan in which every individual asset and every individual claim is allocated with
certainty to an individual Debtor entity. To attempt to do so would be inordinately expensive
and risk years of potential litigation among stakeholders, with uncertain success. Instead, the
Debtors require a restructuring solution that recognizes the FTX Group’s internal structural
deficiencies and informalities and yet still is in the best interests of all stakeholders. Substantive
consolidation in the manner proposed herein is that solution, as described in more detail in
Section 1.ISubstantive Consolidation of Certain Debtors.

                Third, from the Debtors’ perspective, the legal documentation for the FTX.com
exchange was a self-contradictory mess. The FTX.com exchange user agreement included
conclusory language stating that customers “owned” “their” digital assets, yet it did not include
the other provisions necessary to create a conventional custody or trust relationship under
applicable law. The user agreements also did not provide for the segregation of assets or the
return of assets in specie to customers. Nor did such “ownership” language cover the billions in
fiat currency owed to customers. More fundamentally, behind the scenes at the FTX.com
exchange, there had been no attempt to match customer positions with underlying assets
attributable to customers. As described below and as previously disclosed, the FTX Group had
only a small fraction of the digital assets in FTX.com exchange wallets that would have been

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necessary to cover customer positions on the Petition Date. Significantly, the shortfall in digital
assets was not the result of a few large transfers of those assets out of FTX.com exchange wallets
as the FTX Group collapsed; instead, there appeared never to have been reliable segregation nor
reconciliation of customer entitlements to actual assets at the FTX.com exchange.

                Fourth, the FTX Group was primarily a non-U.S. business, with both the
Alameda trading business and the FTX.com exchange managed from The Bahamas. As of the
Petition Date, only approximately 21.3% of the FTX Group’s creditors were reportedly U.S.
residents. These chapter 11 cases needed to recognize this reality and respect non-U.S. legal and
regulatory processes, while still providing the benefits to creditors of an organized and
centralized restructuring. In addition, special challenges were raised by the liquidation
proceedings filed in The Bahamas and Australia, which created a substantial risk that the Debtors
and non-U.S. liquidators would be ensnared in multi-jurisdiction litigation at creditors’ expense
for many years, as had been the case in other cross-border insolvencies.

               Fifth, these chapter 11 cases started with a crime scene and coincided with law
enforcement and regulatory investigations around the world. Some of these investigations were
conducted by law enforcement or regulatory authorities who could recover assets beyond the
reach of the Debtors, including assets seized by the Department of Justice and the Securities
Commission of The Bahamas. Meanwhile, other regulators, such as the CFTC, were conducting
their own investigations that could lead to large monetary penalties and decimate creditor
recoveries.

                Sixth, the array of potential claims against the Debtors was immense and included
many duplicative and inflated claims, as well as claims whose valuation would be hotly
contested. The Debtors knew they would not be able to pay distributions until they made
progress resolving disputed claims and releasing associated reserves, a process still underway as
of the date of this Disclosure Statement. These efforts are complicated by the FTX Group’s
shoddy books and records, especially as they relate to the FTX.com exchange. The claims
trading market in the early days of these chapter 11 cases was essentially frozen by the inability
to provide accurate account balance information and concerns about compliance with “Know
Your Customer” rules, preference exposure and illegitimate accounts. Accordingly, there would
be a premium in plan design on any steps that could be taken to accelerate liquidity for
customers and creditors – especially the many holders of smaller claims – in addition to
maximizing the quantum of their recoveries.

                Seventh, the collapse of the FTX Group caused harm to individual investors
around the world. Customers were rightly shocked, hurt and outraged. Encouraged by Mr.
Bankman-Fried and his collaborators, who touted the FTX Group as a safe alternative to
traditional financial institutions, many individuals had invested a large portion of their personal
wealth in these companies. Any resolution of these chapter 11 cases would need to be sensitive
to the devastation caused and address as creatively as possible how to make injured parties whole
in a manner consistent with the limitations imposed by the Bankruptcy Code and applicable law.




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               A Collaborative Process of Stakeholder Engagement and Compromise

               The Debtors chose to address these challenges by emphasizing stakeholder
involvement in all major decisions. The Plan and Disclosure Statement are the result of
extensive discussions and negotiations among the Debtors, governmental authorities, the
Bahamas JOLs, the Ad Hoc Committee, the Class Action Claimants, the Official Committee and
other stakeholders. Stakeholders often had conflicting positions and priorities, and negotiations
were hard-fought and at times contentious.

                Throughout these chapter 11 cases, the Debtors have worked especially closely
with the Bahamas JOLs, the Ad Hoc Committee and the Official Committee. The Debtors and
their advisors have diligently shared, among other pertinent details, over 700,000 files with these
parties, including presentations, financial data, support schedules and source code documents to
foster collaboration and to inform all parties as to complex and detailed matters in these chapter
11 cases. Furthermore, the Debtors have coordinated a multitude of in-person and virtual
meetings with these constituents for ongoing conversations and to garner support for various
execution strategies.

                 Collaboration on the design of this Plan began in earnest in the summer of 2023,
less than a year after the commencement of these chapter 11 cases. Throughout this process, the
Debtors maintained a robust, ongoing dialogue with the Ad Hoc Committee, the Official
Committee and the Class Action Claimants via regular teleconferences, sustained information-
sharing, and timely updates on significant Plan developments. These Plan negotiations included
collaboration, negotiation and compromise on a range of complex topics, including but not
limited to, (i) the priority of distributions of customer entitlement claims; (ii) the treatment of
intercompany claims; (iii) the composition of U.S. Customer Priority Assets; (iv) the
composition of Dotcom Customer Priority Assets; (v) the composition of the General Pool;
(vi) the valuation of digital assets; (vii) expense allocation; (viii) the use, amount and treatment
of convenience claims; and (ix) the rate of postpetition interest, if any, to be recovered by
creditors.

               These spirited debates enabled all stakeholders to share their perspectives and to
evaluate competing views. Ultimately, the Debtors believe that this collaborative process has
yielded a Plan that is in the best interests of the Debtors, their estates and their stakeholders.

                The Debtors’ Cash Position and Remaining Assets

               A primary objective of the Debtors during these chapter 11 cases has been to
monetize their assets until the Debtors have ensured a full recovery for customers and other
creditors. The monetization effort has been successful and the Debtors currently expect to have
approximately $12.8 billion in cash as of the expected effective date of the Plan, enough to pay
all non-governmental customers and creditors in full based on the Petition Date value of their
claims, subject to the conditions and assumptions described in this Disclosure Statement.

              Now that the Debtors have reached a situation where projected cash covers all
non-governmental creditor claims, the Debtors intend to continue to gradually monetize their
remaining assets in order to maximize the amount available for payment of supplemental


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amounts to creditors. Assets of material value likely to remain unsold as of the Effective Date
are described in Section 1.H.1Projected Net Distributable Proceeds.

                The Debtors anticipate reducing all of these assets to cash opportunistically based
on market prices and the timing of distributions, and certain assets may not be sold immediately
but held for sale for some reasonable period of time based on the nature of the asset and market
conditions.

               Highlights of the Plan

                The Plan provides that substantially all remaining assets of the Debtors will be
held in a single “Consolidated Wind Down Trust.” The Consolidated Wind Down Trust will
conduct business only as appropriate for its business purpose: to liquidate its remaining assets
and fund cash distributions to creditors. The Consolidated Wind Down Trust will hold all cash,
all of the remaining assets described below and shares in certain subsidiaries that will be wound
down outside of these chapter 11 cases under applicable law.

                The Plan provides for the payment in cash in full over time of all non-
governmental creditor and customer claims against the Debtors that are estimated by the Debtors
to ultimately be Allowed (as defined by the Plan) and facilitates the same treatment for eligible
FTX.com customers making the Bahamas Opt-In Election (as defined below) with admitted
claims. In addition, to the extent that funds are available after paying these claims in full, the
Plan also provides for supplemental interest payments to creditors. The rate of interest provided
by the Plan for most creditors is 9.0% (the “Consensus Rate”), which results from negotiations
with various governmental authorities and other stakeholders and corresponds to the pre-
judgment interest rate in the State of Delaware as of the Petition Date. The Debtors believe the
Consensus Rate is a remarkably favorable outcome for creditors, made possible only because of
the voluntary subordination of claims by the Internal Revenue Service, the CFTC and potentially
other governmental constituencies. Assuming that the effective date of the Plan is September 30,
2024, and the total estimated amount of allowable creditor claims is approximately $11.2 billion,
the Consensus Rate could provide approximately $1.8 billion of incremental value to creditors to
compensate them for the time value of their investments through the effective date of the Plan.
After the effective date, creditors would continue to earn 9.0% interest on the unpaid portion of
their claims from the Petition Date until paid in full, resulting in approximately $0.9 billion of
incremental value to creditors assuming a one-year weighted average life for the distribution
period.

               Consistent with prior drafts of the Plan and the previously-announced settlement
of customer property litigation with the Ad Hoc Committee and the Class Action Plaintiffs, the
Plan provides special treatment for customers versus other creditors. Customers of each of the
FTX.com exchange and FTX.US exchange have a partial priority claim against the General Pool
(as defined below) for the shared benefit of all of the customers of the applicable exchange.
These priority claims are referred to as the “Dotcom Intercompany Shortfall Claim” and the “US
Intercompany Shortfall Claim,” respectively. As a result of these shared priority claims,
customers of the FTX.com exchange and FTX.US exchange should receive distributions more
quickly than non-customer creditors. The Debtors continue to believe that this priority for



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customers is a reasonable settlement that is in the best interests of the Debtors’ estates and their
stakeholders, as described in more detail in Section 4.B.5The Customer Priority Settlement.

                Since it may take a substantial period of time before the Debtors are able to
complete customer and other creditor distributions due to the substantial claims filed against the
Debtors, which are in some cases duplicated or grossly inflated, the Debtors are taking a number
of steps to accelerate distributions to creditors, including the following:

               •       The Debtors have filed 30 omnibus objections to over $26.8 quintillion of
                       claims and early claims objections for several of their largest individual
                       claims not yet settled.

               •       The Debtors moved separately for the Bankruptcy Court to estimate the
                       Petition Date price of all digital assets, eliminating the need for additional
                       reserves that would prevent distributions until valuation issues are
                       resolved.

               •       The Debtors have reached a settlement with BlockFi and proposed
                       settlements with the IRS and other large creditors as described in this
                       Disclosure Statement. These settlements remove substantial uncertainty
                       and avoid the establishment of large reserves that would delay
                       distributions.

               •       The Debtors also have requested that the CFTC subordinate its claims as
                       well as agree to fund supplemental distributions to certain creditors.

               •       Creditors and customers with reconciled claim values of $50,000 or under
                       will be classified in the Plan in “convenience classes” and receive
                       payment with interest within 60 days of the effective date of the Plan,
                       subject to completion of KYC and the necessary distribution information
                       materials. Through this convenience class mechanism, approximately
                       98% of customers by number will be eligible to receive early cash
                       recoveries.

                To resolve their series of disputes with the Bahamas JOLs, the Debtors and the
Bahamas JOLs have designed a novel approach to conducting a dual-jurisdiction insolvency
proceeding. Customers holding claims in their capacity as former customers of the FTX.com
exchange will have the option to elect to have their claims administered, reconciled and satisfied
in the Supreme Court of The Bahamas, rather than in the Bankruptcy Court. Customers electing
to administer and reconcile claims in The Bahamas are expected to receive substantially identical
treatment in terms of claim value, interest and the application of the Debtors’ KYC requirements,
and also will be required to comply with additional procedures and restrictions applicable to the
Bahamian proceeding that could delay or reduce recoveries. More information about this
election is described below and should be carefully reviewed by customers prior to making the
applicable election.




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                In order to ensure fair treatment of creditors and minimize reserves, the Plan has
an anti-double dip provision which allows the Plan Administrator to adjust the amount and
timing of distributions on any claim in order to ensure that the holder of such claim does not
receive more than similarly situated holders as a result of duplicative claims made for the same
losses in another forum. The Plan also contemplates an option for creditors to voluntarily assign
to the Consolidated Wind Down Trust (as defined below) any claims made in another forum,
which the Consolidated Wind Down Trust will manage for the benefit of all creditors.

                 Finally, in recognition of the harm caused to FTX creditors and policies that favor
restitution to victims of financial crimes, the Plan subordinates claims by the IRS, the CFTC and
potentially other governmental creditors to claims by non-governmental creditors, as well as
interest on such claims at the Consensus Rate. After creditors receive interest at the Consensus
Rate, the Plan allocates residual distributions to pay these governmental creditors, with
recoveries by the CFTC and other participating creditors being applied to fund the Supplemental
Remission Fund described in Section 1.FThe Supplemental Remission Fund.

               The Plan is supported by the Joint Official Liquidators of FTX Digital Markets,
BlockFi and the Executive Committee of the Ad Hoc Committee of Non-U.S. Customers, which
has informed the Debtors that it will recommend the Plan to the members of the Ad Hoc
Committee, who together hold over $3.8 billion in FTX.com customer claims. The individual
members of the Ad Hoc Committee (other than those on the Executive Committee), the Official
Committee of Unsecured Creditors, the CFTC and the Department of Justice are reviewing and
have not yet taken a position on the Plan.

                The Supplemental Remission Fund

               The Debtors have requested that the CFTC and will request that certain other
governmental creditors settle their claims on the basis that the Debtors agree to create a special
fund called the Supplemental Remission Fund, which would be administered by the Debtors for
purposes of using funds otherwise payable to governmental creditors to make supplemental
distributions by way of remission to (a) FTX.com customers, FTX.US customers and
cryptocurrency lenders to Alameda and (b) FTX DM for the benefit of Holders of Eligible DM
Customer Entitlement Claims.

                 The largest of these governmental claims has been made by the CFTC, which also
filed litigation against the Debtors shortly after the Petition Date. The CFTC complaint, dated
December 21, 2022 (the “CFTC Complaint”), alleges fraud and material misrepresentations and
seeks restitution, disgorgement, civil monetary penalties and pre-judgment interest, as well as
injunctive relief. On September 28, 2023, the CFTC filed proofs of claim against multiple
Debtors attaching the CFTC Complaint. On the applicable proof of claim forms, the CFTC
estimated the amount of its claim for restitution as $8,700,000,000, not including interest or other
charges, which it agreed to subordinate to certain creditors. The CFTC also filed proof of claim
forms for its claim of disgorgement and civil penalties in the amount of $8,700,000,000 for each
claim.

           The Debtors have proposed to the CFTC a framework for a resolution of the
CFTC Complaint and the CFTC’s claims (the “Debtors’ Proposed CFTC Settlement”). From the


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Debtors’ perspective, the Debtors’ Proposed CFTC Settlement is premised on an understanding
that exchange customers and digital asset lenders have incurred losses from the FTX Group’s
collapse that are not fully reflected in the value of their nominal customer entitlements and loan
balances as of the Petition Date, such that the restitution ultimately awarded in a resolution of the
CFTC Complaint and claim may be substantially in excess of the Petition Date balances.
Balances on the Petition Date arise from various relationships between the FTX Group and
customers who used the FTX Group’s platforms, including digital asset commodities, derivative
contracts, and structured products. From the Debtors’ perspective, all exchange customers and
cryptocurrency lenders of the Debtors were affected by the collapse of the FTX Group and have
lost access to their funds and the corresponding ability to achieve a return on digital asset
investments during these chapter 11 cases.

                 As an approximation of those losses, the Debtors have proposed to the CFTC that
the Debtors would settle the CFTC Complaint and the CFTC’s claims by stipulating and
allowing the CFTC a subordinated claim (the “Senior Subordinated Remission Claim”)
corresponding to an agreed amount of remission payments to be made by the Debtors on behalf
of the CFTC to certain categories of creditors, which the Debtors have proposed should include
exchange customers and digital asset lenders. The Debtors anticipate that this Senior
Subordinated Remission Claim will be based on a gross remission amount that is significantly in
excess of the nominal customer entitlements and loan balances as of the Petition Date, and that
as a part of a resolution of the CFTC’s Complaint and claim, the amounts that the Debtors
distribute to certain categories of creditors pursuant to the Plan (once confirmed) will operate as
a set-off or credit to reduce the CFTC’s Senior Subordinated Remission Claim payable by the
Debtors. Although the amount of the Senior Subordinated Remission Claim has not yet been
determined, given the magnitude of the losses incurred in connection with the collapse of the
FTX Group, the Debtors anticipate that the amount of the Senior Subordinated Remission Claim
will greatly exceed the aggregate amount of proceeds projected to be distributable to pay Senior
Subordinated Claims at the appropriate level of the General Pool waterfall.

              The Debtors’ Proposed CFTC Settlement has not been agreed to or authorized by
the CFTC, or approved by the Bankruptcy Court.

                The Debtors also intend to request that other governmental creditors subordinate
their claims alongside the CFTC on the same proposed terms. There can be no assurances that
the CFTC or any other governmental authority will agree to or authorize this arrangement, or that
these governmental authorities will further subordinate any civil monetary penalties or other
recoveries that could decrease distributions available to other stakeholders. The Debtors may file
additional information on the docket of these chapter 11 cases from time to time to update
stakeholders on the progress of discussions with the CFTC and other governmental creditors.

               Recovery Analysis and Treatment of Claims and Interests

               The Plan organizes the Debtors’ creditor and equity constituencies into groups
called Classes. For each Class, the Plan describes (a) the underlying Claim or Interest; (b)
whether the Class is Impaired under the Plan, meaning that each Holder will receive less
payment in full in cash on account of its Allowed Claim or Allowed Interest or that the rights of



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Holders under law will be altered in some way; and (c) the form of any recovery that Holders
will receive on account of their respective Allowed Claims or Allowed Interests.

               In accordance with section 1123(a)(1) of the Bankruptcy Code, the Plan does not
classify administrative claims as defined in section 503 of the Bankruptcy Code (“Administrative
Claims”) or 503(b)(9) Claims, which will generally be paid in Cash when approved by the
Bankruptcy Court or in the ordinary course on or after the Effective Date.

              The classification of Claims and Interests pursuant to the Plan is as follows:

   Class              Claims and Interests                 Status           Voting Rights
     1                 Priority Tax Claims               Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
     2                Other Priority Claims              Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
    3A                Secured Loan Claims                 Impaired          Entitled to Vote
    3B                Other Secured Claims               Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
     4             Separate Subsidiary Claims            Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
    5A        Dotcom Customer Entitlement Claims          Impaired          Entitled to Vote
    5B         U.S. Customer Entitlement Claims           Impaired          Entitled to Vote
    5C         NFT Customer Entitlement Claims           Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
    6A             General Unsecured Claims               Impaired          Entitled to Vote
    6B             Digital Asset Loan Claims              Impaired          Entitled to Vote
    7A           Dotcom Convenience Claims                Impaired          Entitled to Vote
    7B             U.S. Convenience Claims                Impaired          Entitled to Vote
    7C            General Convenience Claims              Impaired          Entitled to Vote
    8A         PropCo Operating Expense Claims           Unimpaired       Not Entitled to Vote,
                                                                           Deemed to Accept
    8B                Priority DM Claim                   Impaired          Entitled to Vote
    8C         PropCo General Unsecured Claims            Impaired          Entitled to Vote
     9          Cancelled Intercompany Claims             Impaired        Not Entitled to Vote,
                                                                           Deemed to Reject
    10A         Senior Subordinated IRS Claims            Impaired          Entitled to Vote
    10B        Senior Subordinated Governmental           Impaired          Entitled to Vote
                            Claims
    10C         Junior Subordinated IRS Claims            Impaired          Entitled to Vote
     11              Intercompany Interests               Impaired        Not Entitled to Vote,
                                                                           Deemed to Reject
     12             Preferred Equity Interests            Impaired          Entitled to Vote
     13          Section 510(b) Preferred Equity          Impaired        Not Entitled to Vote,
                             Claims                                        Deemed to Reject
     14        Section 510(b) Other Equity Claims         Impaired        Not Entitled to Vote,
                                                                           Deemed to Reject

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      Class               Claims and Interests                           Status             Voting Rights
       15             Equitably Subordinated Claims                     Impaired          Not Entitled to Vote,
                                                                                           Deemed to Reject
        16                  Other Equity Interests                      Impaired          Not Entitled to Vote,
                                                                                           Deemed to Reject
        17                       FTT Interests                          Impaired          Not Entitled to Vote,
                                                                                           Deemed to Reject
        18                   De Minimis Claims                          Impaired          Not Entitled to Vote,
                                                                                           Deemed to Reject

                The table below provides a summary of the classification, treatment and estimated
recoveries of Claims and Interests under the Plan. This information is provided in summary
form for illustrative purposes only, is subject to material change based on contingencies related
to the claims reconciliation process, and is qualified in its entirety by reference to the provisions
of the Plan. For a more detailed description of the treatment of Claims and Interests under the
Plan, see Section 4Summary of the Plan.

        THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
           ESTIMATES ONLY AND ARE SUBJECT TO MATERIAL CHANGE.

     SUMMARY OF TREATMENT OF CLAIMS AND INTERESTS AND ESTIMATED
                           RECOVERIES 4

                                                                                    ESTIMATED
                                                                                    ALLOWED         ESTIMATED
      CLASS                              TREATMENT                                   CLAIMS 5        PERCENT
                                                                                                    RECOVERY
                                                                                   (IN MILLIONS)

                    Except to the extent that a Holder of an Allowed Priority
                    Tax Claim agrees to less favorable treatment, or as
                    ordered by the Bankruptcy Court, the Holder of an
                    Allowed Priority Tax Claim shall be treated in
      Class 1
                    accordance with section 1129(a)(9)(C) of the
    Priority Tax                                                                       $200 6          100%
                    Bankruptcy Code or shall be paid in full in Cash on or as
      Claims
                    soon as reasonably practicable after the earliest of (i) the
                    Initial Distribution Date; (ii) the date on which such
                    Priority Tax Claim becomes Allowed; and (iii) such
                    other date as may be ordered by the Bankruptcy Court.




4
      Figures are as of March 31, 2024 and are subject to material change.
5
      Estimated aggregate amount of claims currently asserted against or scheduled by the Debtors, incorporating
      provisions of the Plan and excluding the Debtors’ assessment of duplicative claims. Unless otherwise expressly
      stated herein, recovery estimates reflect the Debtors’ estimate of recoveries to creditors over time (and not
      necessarily as of the Effective Date of the Plan).
6
      Amount reflects proposed IRS Settlement as described in Section 3.TProposed Settlement with the IRS.


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                                                                                   ESTIMATED
                                                                                   ALLOWED        ESTIMATED
   CLASS                               TREATMENT                                    CLAIMS 5       PERCENT
                                                                                                  RECOVERY
                                                                                  (IN MILLIONS)

                 Except to the extent that a Holder of an Allowed Other
                 Priority Claim agrees to less favorable treatment, in full
                 and final satisfaction, settlement, release and discharge
                 of and in exchange for its Allowed Other Priority Claim,
   Class 2
                 each Holder of such Allowed Other Priority Claim shall
Other Priority                                                                         $0             100%
                 be paid in full in Cash on or as soon as reasonably
   Claims
                 practicable after the earliest of (i) the Initial Distribution
                 Date; (ii) the date on which such Other Priority Claim
                 becomes Allowed; and (iii) such other date as may be
                 ordered by the Bankruptcy Court.

                 In full and final satisfaction, settlement, release and
                 discharge of and in exchange for its Allowed Secured
                 Loan Claim, each Holder of an Allowed Secured Loan
  Class 3A
                 Claim shall receive payment in Cash in an amount equal
Secured Loan                                                                          $250            109%
                 to 100% of such Allowed Secured Loan Claim plus
   Claims
                 interest accrued at the Federal Judgment Rate on such
                 Allowed Secured Loan Claim from the Petition Date
                 through the Effective Date.

                 Except to the extent that a Holder of an Allowed Other
                 Secured Claim agrees to less favorable treatment, in full
                 and final satisfaction, settlement, release and discharge
                 of and in exchange for its Allowed Other Secured
  Class 3B       Claim, each Holder of an Allowed Other Secured Claim
Other Secured    shall receive one of the following treatments, in the sole           N/A             N/A
   Claims        discretion of the Plan Administrator: (i) payment in full
                 in Cash; (ii) delivery of the collateral securing such
                 Allowed Other Secured Claim; or (iii) treatment of such
                 Allowed Other Secured Claim in any other manner that
                 renders the Claim Unimpaired.

                 Except to the extent that a Holder of an Allowed
                 Separate Subsidiary Claim agrees to less favorable
                 treatment, and in full and final satisfaction, settlement,
                 release and discharge of and in exchange for its Allowed
  Class 4
                 Separate Subsidiary Claim, each Holder of an Allowed
  Separate
                 Separate Subsidiary Claim shall receive payment in full               $0             100%
 Subsidiary
                 in Cash on or as soon as reasonably practicable after the
   Claims
                 latest of (i) the Initial Distribution Date; (ii) the date on
                 which such Allowed Separate Subsidiary Claim becomes
                 Allowed; and (iii) such other date as may be ordered by
                 the Bankruptcy Court.




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                                                                                 ESTIMATED
                                                                                 ALLOWED        ESTIMATED
   CLASS                              TREATMENT                                   CLAIMS 5       PERCENT
                                                                                                RECOVERY
                                                                                (IN MILLIONS)

                Except to the extent that a Holder of an Allowed Dotcom
                Customer Entitlement Claim agrees to less favorable
                treatment, and in full and final satisfaction, settlement,
                release and discharge of and in exchange for its Allowed
                Dotcom Customer Entitlement Claims, each Holder of
                an Allowed Dotcom Customer Entitlement Claim shall
                receive payment in Cash in an amount equal to (i) 100%
                of such Allowed Dotcom Customer Entitlement Claim,
  Class 5A      plus (ii) interest at the Consensus Rate on such Allowed
  Dotcom        Dotcom Customer Entitlement Claim from the Petition
  Customer      Date through the applicable Distribution Date to the               $7,995       127% - 142%
 Entitlement    extent of available funds in accordance with section 7.1
   Claims       of the Plan, plus (iii) any proceeds from the
                Supplemental Remission Fund to which the Debtors
                determine such Holder is entitled pursuant to section
                5.21 of the Plan; provided that no Holder of an Allowed
                Dotcom Customer Entitlement Claim shall be entitled to
                receive any payment except to the extent of funds
                available to make such payment in accordance with the
                waterfall priorities set forth in sections 4.2.1 and 4.2.3 of
                the Plan.

                Except to the extent that a Holder of an Allowed U.S.
                Customer Entitlement Claim agrees to less favorable
                treatment, and in full and final satisfaction, settlement,
                release and discharge of and in exchange for its Allowed
                U.S. Customer Entitlement Claims, each Holder of an
                Allowed U.S. Customer Entitlement Claim shall receive
                payment in Cash in an amount equal to (i) 100% of such
                Allowed U.S. Customer Entitlement Claim, plus (ii)
  Class 5B      interest at the Consensus Rate on such Allowed U.S.
U.S. Customer   Customer Entitlement Claim from the Petition Date
                                                                                    $168        127% - 142%
 Entitlement    through the applicable Distribution Date to the extent of
   Claims       available funds in accordance with section 7.1 of the
                Plan, plus (iii) any proceeds from the Supplemental
                Remission Fund to which the Debtors determine such
                Holder is entitled pursuant to section 5.21 of the Plan;
                provided that no Holder of an Allowed U.S. Customer
                Entitlement Claim shall be entitled to receive any
                payment except to the extent of funds available to make
                such payment in accordance with the waterfall priorities
                set forth in sections 4.2.2 and 4.2.3 of the Plan.




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                                                                             ESTIMATED
                                                                             ALLOWED        ESTIMATED
  CLASS                             TREATMENT                                 CLAIMS 5       PERCENT
                                                                                            RECOVERY
                                                                            (IN MILLIONS)

               Except to the extent that a Holder of an Allowed NFT
               Customer Entitlement Claim agrees to less favorable
  Class 5C     treatment, and in full and final satisfaction, settlement,
NFT Customer   release and discharge of and in exchange for its Allowed
                                                                                N/A             100%
 Entitlement   NFT Customer Entitlement Claim, each Holder of an
   Claims      Allowed NFT Customer Entitlement Claim shall receive
               the Available NFT associated with such Allowed NFT
               Customer Entitlement Claim.

               Except to the extent that a Holder of an Allowed General
               Unsecured Claim agrees to less favorable treatment, and
               in full and final satisfaction, settlement, release and
               discharge of and in exchange for its Allowed General
               Unsecured Claims, each Holder of an Allowed General
               Unsecured Claim shall receive payment in Cash in an
               amount equal to (i) 100% of such Allowed General
               Unsecured Claim, plus (ii) interest at the lower of the
 Class 6A
               Consensus Rate, the applicable contract rate or such
  General
               other rate determined by the Bankruptcy Court (or as            $1,133           125%
 Unsecured
               otherwise agreed by the relevant parties) on such
  Claims
               Allowed General Unsecured Claim from the Petition
               Date through the applicable Distribution Date to the
               extent of available funds in accordance with section 7.1
               of the Plan; provided that no Holder of an Allowed
               General Unsecured Claim shall be entitled to receive any
               payment except to the extent of funds available to make
               such payment in accordance with the waterfall priorities
               set forth in section 4.2.3 of the Plan.




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                                                                                ESTIMATED
                                                                                ALLOWED        ESTIMATED
  CLASS                              TREATMENT                                   CLAIMS 5       PERCENT
                                                                                               RECOVERY
                                                                               (IN MILLIONS)

                Except to the extent that a Holder of a Digital Asset
                Loan Claim agrees to less favorable treatment, and in
                full and final satisfaction, settlement, release and
                discharge of and in exchange for its Allowed Digital
                Asset Loan Claims, each Holder of an Allowed Digital
                Asset Loan Claim shall receive payment in Cash in an
                amount equal to (i) 100% of such Allowed Digital Asset
                Loan Claim, plus (ii) interest at the lower of the
                Consensus Rate, the applicable contract rate or such
                other rate determined by the Bankruptcy Court (or as
 Class 6B
                otherwise agreed by the relevant parties) on such
Digital Asset                                                                      $642        127% - 142%
                Allowed Digital Asset Loan Claim from the Petition
Loan Claims
                Date through the Distribution Date on which such
                Allowed Digital Asset Loan Claim is paid to the extent
                of available funds, plus (iii) any proceeds from the
                Supplemental Remission Fund to which the Debtors
                determine such Holder is entitled pursuant to section
                5.21 of the Plan; provided that no Holder of an Allowed
                Digital Asset Loan Claim shall be entitled to receive any
                payment except to the extent of funds available to make
                such payment in accordance with the waterfall priorities
                set forth in section 4.2.3 of the Plan.

                In full and final satisfaction, settlement, release, and
                discharge of and in exchange for its Allowed Dotcom
                Convenience Claim, each Holder of an Allowed Dotcom
                Convenience Claim shall receive payment in Cash in an
                amount equal to 100% of such Allowed Dotcom
                Convenience Claim plus postpetition interest at the
 Class 7A
                Consensus Rate from the Petition Date through the
  Dotcom
                Initial Distribution Date in accordance with the waterfall         $841            118%
Convenience
                priority set forth in section 4.2.1 of the Plan, payable in
  Claims
                Cash on or as reasonably practical after the latest of (i) a
                date determined by the Plan Administrator that shall be
                no later than 60 days after the Effective Date; (ii) the
                date of which such Dotcom Convenience Claim becomes
                Allowed; and (iii) such other date as may be ordered by
                the Bankruptcy Court.




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                                                                                  ESTIMATED
                                                                                  ALLOWED        ESTIMATED
    CLASS                              TREATMENT                                   CLAIMS 5       PERCENT
                                                                                                 RECOVERY
                                                                                 (IN MILLIONS)

                  In full and final satisfaction, settlement, release, and
                  discharge of and in exchange for its Allowed U.S.
                  Convenience Claim, each Holder of an Allowed U.S.
                  Convenience Claim shall receive payment in Cash in an
                  amount equal to 100% of such Allowed U.S.
                  Convenience Claim plus postpetition interest at the
  Class 7B
                  Consensus Rate from the Petition Date through the
    U.S.
                  Initial Distribution Date in accordance with the waterfall         $144            118%
 Convenience
                  priority set forth in section 4.2.2 of the Plan, payable in
   Claims
                  Cash on or as reasonably practical after the latest of (i) a
                  date determined by the Plan Administrator that shall be
                  no later than 60 days after the Effective Date; (ii) the
                  date of which such U.S. Convenience Claim becomes
                  Allowed; and (iii) such other date as may be ordered by
                  the Bankruptcy Court.

                  In full and final satisfaction, settlement, release, and
                  discharge of and in exchange for its Allowed General
                  Convenience Claim, each Holder of an Allowed General
                  Convenience Claim shall receive payment in Cash in an
                  amount equal to 100% of such Allowed General
                  Convenience Claim plus postpetition interest at the
                  lower of the Consensus Rate, the applicable contract rate
  Class 7C        or such other rate determined by the Bankruptcy Court
   General        (or as otherwise agreed by the relevant parties) from the
                                                                                      $3             118%
 Convenience      Petition Date through the Initial Distribution Date in
   Claims         accordance with the waterfall priority set forth in section
                  4.2.3 of the Plan, payable in Cash on or as reasonably
                  practical after the latest of (i) a date determined by the
                  Plan Administrator that shall be no later than 60 days
                  after the Effective Date; (ii) the date of which such
                  General Convenience Claim becomes Allowed; and (iii)
                  such other date as may be ordered by the Bankruptcy
                  Court.

                  Except to the extent that a Holder of an Allowed PropCo
                  Operating Expense Claim agrees to less favorable
                  treatment, and in full and final satisfaction, settlement,
                  release and discharge of and in exchange for its Allowed
                  PropCo Operating Expense Claim, each Holder of an
Class 8A PropCo
                  Allowed PropCo Operating Expense Claim shall receive
   Operating                                                                          $1             100%
                  payment in full in Cash on or as soon as reasonably
Expense Claims
                  practicable after the latest of (i) the Initial Distribution
                  Date; (ii) the date on which such Allowed PropCo
                  Operating Expense Claim becomes Allowed; and (iii)
                  such other date as may be ordered by the Bankruptcy
                  Court.




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                                                                                ESTIMATED
                                                                                ALLOWED        ESTIMATED
   CLASS                              TREATMENT                                  CLAIMS 5       PERCENT
                                                                                               RECOVERY
                                                                               (IN MILLIONS)

                 Except to the extent that FTX DM agrees to less
                 favorable treatment, and in full and final satisfaction,
                 settlement, release and discharge of and in exchange for
                 its Allowed Priority DM Claim, FTX DM shall receive
  Class 8B
                 payment in Cash in an amount equal to the Priority DM
 Priority DM                                                                       $256        45% - 63%
                 Claim, to be paid directly from the proceeds from the
    Claim
                 sale, disposition or other monetization of the Bahamas
                 Properties in accordance with the waterfall priority set
                 forth in section 4.2.4 of the Plan, until the Priority DM
                 Claim is paid in full.

                 Except to the extent that a Holder of an Allowed PropCo
                 General Unsecured Claim agrees to less favorable
                 treatment, and in full and final satisfaction, settlement,
                 release and discharge of and in exchange for its Allowed
   Class 8C      PropCo General Unsecured Claim, each Holder of an
PropCo General   Allowed PropCo General Unsecured Claim shall receive
                                                                                   N/A             N/A
  Unsecured      payment in Cash in an amount equal to such Holder’s
    Claims       Pro Rata share of the proceeds from the sale, disposition
                 or other monetization of the Bahamas Properties
                 available to pay PropCo General Unsecured Claims in
                 accordance with the waterfall priority set forth in section
                 4.2.4 of the Plan.

                 All Cancelled Intercompany Claims shall be cancelled,
   Class 9       released or otherwise settled in full, and the Holders of
  Cancelled      Cancelled Intercompany Claims shall not be entitled to,
                                                                                   N/A             N/A
Intercompany     and shall not receive or retain, any Distributions,
    Claims       property or interest in property on account of such
                 Claims under the Plan.

                 Except to the extent that a Holder of an Allowed Senior
                 Subordinated IRS Claim agrees to less favorable
                 treatment, and in full and final satisfaction, settlement
                 and release of and in exchange for all Claims of the IRS
   Class 10A
                 against the Debtors arising from activities, transactions,
    Senior
                 liabilities or events after October 31, 2022, each Holder        $ [TBD]       [TBD]%
 Subordinated
                 of an Allowed Senior Subordinated IRS Claim shall
  IRS Claims
                 receive payment in Cash in an amount equal to such
                 Holder’s share of Distributions from the General Pool in
                 accordance with the waterfall priority set forth in section
                 4.2.3 of the Plan.




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                                                                                    ESTIMATED
                                                                                    ALLOWED         ESTIMATED
      CLASS                              TREATMENT                                   CLAIMS 5        PERCENT
                                                                                                    RECOVERY
                                                                                   (IN MILLIONS)

                     Except to the extent that a Holder of an Allowed Senior
                     Subordinated Governmental Claim agrees to less
                     favorable treatment, and in full and final satisfaction,
                     settlement, release and discharge of and in exchange for
                     its Allowed Senior Subordinated Governmental Claim,
                     each Holder of an Allowed Senior Subordinated
                     Governmental Claim shall receive payment in Cash in
     Class 10B
                     an amount equal to such Holder’s share of Distributions
       Senior
                     from the General Pool in accordance with the waterfall
    Subordinated                                                                      $8,899 7        2% - 17%
                     priority set forth in section 4.2.3 of the Plan; provided
    Governmental
                     that each Holder of such Allowed Senior Subordinated
      Claims
                     Governmental Claim may elect to contribute such
                     payment to the Supplemental Remission Fund for the
                     benefit of, and Distribution to, Holders of Allowed
                     Dotcom Customer Entitlement Claims, Allowed U.S.
                     Customer Entitlement Claims, and Allowed Digital
                     Asset Loan Claims as contemplated by section 5.21 of
                     the Plan.

                     Except to the extent that a Holder of an Allowed Junior
                     Subordinated IRS Claim agrees to less favorable
                     treatment, and in full and final satisfaction, settlement
                     and release of and in exchange for all Claims of the IRS
     Class 10C       (other than the Priority IRS Tax Claim) against the
       Junior        Debtors arising from activities, transactions, liabilities
                                                                                       $685 8            0%
    Subordinated     or events on or preceding October 31, 2022, each Holder
     IRS Claim       of an Allowed Junior Subordinated IRS Claim shall
                     receive payment in Cash in an amount equal to such
                     Holder’s share of Distributions from the General Pool in
                     accordance with the waterfall priority set forth in section
                     4.2.3 of the Plan.

                     No Holder of an Intercompany Interest shall receive any
                     Distributions on account of its Intercompany Interest.
       Class 11
                     On and after the Effective Date, all Intercompany
    Intercompany                                                                       N/A               0%
                     Interests shall, at the option of the Debtors, either be
       Interests
                     reinstated, set off, settled, addressed, distributed,
                     contributed, merged or cancelled.




7
       Amount includes approximately $8.7 billion of claims filed by the CFTC and $199 million of claims filed by
       other governmental authorities; proceeds otherwise payable to the CFTC claim are assumed to be reallocated on
       a ratable basis to Holders of Allowed Claims in Classes 5A, 5B, and 6B, as further described in Section 1.F—
       The Supplemental Remission Fund.

8
       Amount reflects proposed IRS Settlement as described in Section 3.TProposed Settlement with the IRS.


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                                                                                    ESTIMATED
                                                                                    ALLOWED                ESTIMATED
      CLASS                               TREATMENT                                  CLAIMS 5               PERCENT
                                                                                                           RECOVERY
                                                                                   (IN MILLIONS)

                     Except to the extent that a Holder of an Allowed
                     Preferred Equity Interest agrees to less favorable
                     treatment, and in full and final satisfaction, settlement,
                     release and discharge of and in exchange for its Allowed
    Class 12
                     Preferred Equity Interest, each Holder of an Allowed
Preferred Equity                                                                      $1,966 9                0%
                     Preferred Equity Interest shall receive payment in Cash
    Interests
                     in an amount equal to such Holder’s Pro Rata share of
                     Distributions from the General Pool in accordance with
                     the waterfall priority set forth in section 4.2.3 of the
                     Plan.

                     Except to the extent that a Holder of an Allowed Section
                     510(b) Preferred Equity Claim agrees to less favorable
                     treatment, and in full and final satisfaction, settlement,
    Class 13         release and discharge of and in exchange for its Allowed
 Section 510(b)      Section 510(b) Preferred Equity Claim, each Holder of
                                                                                        N/A                   0%
Preferred Equity     an Allowed Section 510(b) Preferred Equity Claim shall
     Claims          receive payment in Cash in an amount equal to such
                     Holder’s Pro Rata share of Distributions from the
                     General Pool in accordance with the waterfall priority
                     set forth in section 4.2.3 of the Plan.

                     Except to the extent that a Holder of an Allowed Section
                     510(b) Other Equity Claim agrees to less favorable
                     treatment, and in full and final satisfaction, settlement,
   Class 14          release and discharge of and in exchange for its Allowed
Section 510(b)       Section 510(b) Other Equity Claim, each Holder of an
                                                                                        N/A                   0%
 Other Equity        Allowed Section 510(b) Other Equity Claim shall
   Claims            receive payment in Cash in an amount equal to such
                     Holder’s Pro Rata share of Distributions from the
                     General Pool in accordance with the waterfall priority
                     set forth in section 4.2.3 of the Plan.

                     All Equitably Subordinated Claims shall be cancelled or
      Class 15
                     released, and the Holders of Equitably Subordinated
     Equitably
                     Claims shall not be entitled to, and shall not receive or          N/A                   0%
    Subordinated
                     retain, any Distributions, property or interest in property
      Claims
                     on account of such Claims under the Plan.




9
      Such amount reflects the liquidation value reflected in the applicable Preferred Equity Interests.


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                                                                                ESTIMATED
                                                                                ALLOWED        ESTIMATED
   CLASS                              TREATMENT                                  CLAIMS 5       PERCENT
                                                                                               RECOVERY
                                                                               (IN MILLIONS)

                 Except to the extent that a Holder of an Allowed Other
                 Equity Interest agrees to less favorable treatment, and in
                 full and final satisfaction, settlement, release and
   Class 16      discharge of and in exchange for its Allowed Other
 Other Equity    Equity Interest, each Holder of an Allowed Other Equity           N/A             0%
   Interests     Interest shall receive its share equal to such Holder’s Pro
                 Rata share of Distributions from the General Pool in
                 accordance with the waterfall priority set forth in section
                 4.2.3 of the Plan.

                 All Allowed FTT Interests shall be cancelled or released,
                 and the Holders of Allowed FTT Interests shall not be
   Class 17
                 entitled to, and shall not receive or retain, any                 N/A             0%
 FTT Interests
                 Distributions, property or interest in property on account
                 of such Interests under the Plan.

                 No Holder of a De Minimis Claim shall receive any
  Class 18       Distributions on account of its De Minimis Claim. On
 De Minimis      and after the Effective Date, all De Minimis Claims shall          $2             0%
  Claims         be cancelled and shall be of no further force and effect,
                 whether surrendered for cancellation or otherwise.


                 Summary of Estimated Recoveries to Creditors

              As is customary in chapter 11 cases, the Debtors have attached to this Disclosure
Statement as Appendix C Financial Projections and a Hypothetical Liquidation Analysis (as
defined below). The Debtors provide below a summary of approximate recoveries to creditors
based on information available and analyses performed to date in these chapter 11 cases (these
“Chapter 11 Cases”).

                Subject to the conditions and assumptions discussed in this Disclosure Statement,
as of the date of this Disclosure Statement, the Debtors currently anticipate making distributions
to Holders of classes 3A, 5A, 5B, 6A, 6B, 7A, 7B and 7C of Claims equal to the entire amount of
such Claims plus postpetition interest.

                    1. Projected Net Distributable Proceeds

               As used in this Section 1.HSummary of Estimated Recoveries to Creditors,
“Net Distributable Proceeds” means (a) the gross amount available from the disposition of the
Plan Assets (including digital assets) plus (b) the Wind Down Cash Proceeds, minus (c) the
Wind Down Budget.




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                As of the date of this Disclosure Statement, the Debtors have projected an
estimated total value of Net Distributable Proceeds between $14.5 and $16.3 billion. 10 This
estimate is composed of (1) the Debtors’ projected cash on hand as of September 30, 2024, the
projected effective date of the Plan (the “Assumed Effective Date”), 11 (2) proceeds to be
monetized after the Assumed Effective Date, and (3) the projected costs of the Wind Down
Budget.

                The Debtors’ forecasted cash on hand as of the Assumed Effective Date is
approximately $12.8 billion. This calculation is based on the Debtors having approximately $8.4
billion in cash on hand as of March 31, 2024, plus an estimated $4.4 billion in cash estimated to
be received due to the anticipated monetization of digital assets and other assets prior to the
Assumed Effective Date.

                After the Assumed Effective Date, the Debtors expect to receive $2.1 to $3.9
billion in Net Distributable Proceeds from the monetization of all remaining assets, which is
composed of the following:

                  •       Approximately $1.0 to $1.8 billion of estimated proceeds related to the
                          anticipated monetization of assets in the Ventures Silo (as defined below)
                          (including over 200 equity investments, and dozens of fund, loan, and
                          other investments);

                  •       Approximately $0.6 to $1.5 billion of estimated proceeds from the sale of
                          the remaining digital assets following the Assumed Effective Date;

                  •       Approximately $0.4 billion of estimated residual proceeds from
                          investments in subsidiaries after payment in full of all such subsidiaries’
                          respective Claims; and

                  •       Approximately $0.1 to $0.2 billion of estimated proceeds from the
                          monetization or liquidation of other assets, including the prosecution or
                          resolution of Claims asserted against other entities and monetization of
                          other assets.

                      2. Estimated Claims

               As of March 31, 2024, the Debtors estimate approximately $11.2 billion in
allowable (i) Class 3A Secured Loan Claims and Class 3B Other Secured Loan Claims, (ii) Class
5A Dotcom Customer Entitlement Claims, Class 5B U.S. Customer Entitlement Claims, Class
7A Dotcom Convenience Claims, and Class 7B U.S. Convenience Claims, and (iii) Class 6A


10
     Asset recovery estimates were derived from analyses conducted by the Debtors’ advisors, including Alvarez &
     Marsal North America, LLC, Sullivan & Cromwell LLP, Perella Weinberg Partners LP, Galaxy Digital Capital
     Management LP and the Analysis Group, Inc. based on figures as of March 31, 2024.
11
     The Assumed Effective Date is subject to change and adjustment pursuant to the Debtors’ plan confirmation
     timeline.


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General Unsecured Claims, Class 6B Digital Asset Loan Claims and Class 7C General
Convenience Claims.

              The Debtors and their advisors are reconciling filed proofs of claims against the
Debtors’ Schedules. The filed proofs of claim assert amounts in excess of $40.2 billion in
Customer Entitlement Claims against the FTX.com Exchange (as defined below) and the
FTX.US Exchange (as defined below) and amounts in excess of $332.9 billion in General
Unsecured Claims against the Debtors. Of these asserted amounts, the Debtors’ estimate
Allowed Claims of approximately $11.2 billion.

                As of March 31, 2024 the Debtors have successfully withdrawn, expunged or
modified approximately $21 billion12 of Customer Entitlement Claims and $42.9 billion of
General Unsecured Claims. Resolution of Disputed Claims is predicated on the Debtors’
successful objection and subsequent expungement, withdraw or modification of the remaining
hundreds of thousands of unreconciled filed proofs of claims. This claims administration and
reconciliation process is one of the primary factors in determining the timing and quantum of
Distributions to creditors and customers. This process is expected to continue after the Assumed
Effective Date.

                Claims of Governmental Units are estimated to include $885 million of Allowed
prepetition tax claims ($200 million of Allowed Priority IRS Tax Claims and $685 million of
Allowed Junior Subordinated IRS Claims) and $8.9 billion of Subordinated Governmental
Claims. These and any related settlements are preliminary, subject to ongoing discussions with
the Governmental Units and could have a material impact on creditor and customer recoveries.

                  The Debtors’ current estimate (as of March 31, 2024) of Allowed Claims by Class
is as follows:

                  •        Approximately $0.3 billion in Allowed Secured Claims;

                  •        Approximately $8.0 billion in Allowed Dotcom Customer Entitlement
                           Claims (inclusive of anticipated Eligible DM Customer Entitlement
                           Claims);

                  •        Approximately $0.2 billion U.S. Customer Entitlement Claims;

                  •        Approximately $1.8 billion in Allowed General Unsecured Claims;

                  •        Approximately $0.8 billion in Allowed Dotcom Convenience Claims;

                  •        Approximately $0.1 billion in Allowed U.S. Convenience Claims; and

                  •        Approximately $3 million in Allowed General Convenience Claims.


12
     In addition to the $21 billion, over $23.6 quintillion frivolous, duplicative and superseded claims have been
     objected to and expunged or modified to the Debtors’ books and records.


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                Then, the Debtors estimate that there will be approximately $1.8 billion in
postpetition interest paid to certain classes of Allowed Claims, which is estimated based on
accruals from the Petition Date through the Assumed Effective Date at the Consensus Rate, and
an additional $0.9 billion in postpetition interest paid to certain classes of Allowed Claims,
estimated based on accruals from the Assumed Effective Date through the applicable
Distribution Dates.

                   3. These Preliminary Figures are Subject to Material Change

                The projected distributions of the Net Distributable Proceeds and the estimated
figures of Allowed Claims are subject to ongoing review and investigation and should not be
considered final for any purpose. The Debtors provide these figures for illustrative purposes
only, thereby providing an approximate snapshot of the financial projections to come at a later
date. In particular, a substantial portion of the Debtors’ yet unmonetized assets are subject to
historically volatile digital asset market and other macroeconomic risk factors. In the event of a
deterioration in current market conditions, it is possible that eventual Net Distributable Proceeds
could be substantially lower than expected. In general, the figures discussed in this Section are
subject to material change due to a range of factors, including but not limited to the Debtors’
ongoing analysis, the claims reconciliation and KYC process, and prevailing market conditions.
For more information regarding these risks and related considerations, consult Section 7—
Additional Factors to Be Considered Prior to Voting.

               Substantive Consolidation of Certain Debtors

               Pursuant to sections 105, 363, 365 and 1123 of the Bankruptcy Code and rule
9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and as an integral
part of the Customer Priority Settlement (as defined below) pursuant to the Plan, the Plan shall
be deemed a motion by the Debtors seeking the approval, effective as of the Effective Date, of
the substantive consolidation of the Estates of the Consolidated Debtors into a single Entity
formed as a Delaware trust (the “Consolidated Wind Down Trust”) for the purposes of
effectuating and implementing the Plan. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of such substantive consolidation of the Estates of the Consolidated
Debtors, as well as findings by the Bankruptcy Court that such substantive consolidation is fair,
equitable, reasonable and in the best interests of the Debtors, their Estates and the Holders of
Claims and Interests. FTX Bahamas PropCo shall not be substantively consolidated pursuant to
the Plan and shall continue to exist as a separate legal entity.

                Except as otherwise provided in the Plan and subject in all respects to the
classification and treatment of Claims and Interests set forth in the Plan, as a result of the
substantive consolidation of the Estates of the Consolidated Debtors: (a) all property of the
Consolidated Debtors shall vest in, and constitute the property of, the Consolidated Wind Down
Trust, free and clear of any and all Liens, charges or other encumbrances or interests pursuant to
section 5.12 of the Plan; (b) all guarantees of any Consolidated Debtor of the payment,
performance or collection of obligations of another Consolidated Debtor shall be eliminated and
cancelled; (c) all joint obligations of two or more Consolidated Debtors and multiple Claims
against such Entities on account of such joint obligations shall be treated and allowed as a single
Claim against the Consolidated Wind Down Trust; (d) all Cancelled Intercompany Claims shall


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be deemed cancelled; and (e) each Claim filed or scheduled in the Chapter 11 Case of any
Consolidated Debtor shall be deemed filed against the Consolidated Debtors and a single
obligation of the Consolidated Wind Down Trust.

                 Except as otherwise provided in the Plan, the substantive consolidation shall not:
(i) affect the separate legal existence of the Consolidated Debtors for purposes other than
implementation of the Plan pursuant to its terms; (ii) constitute or give rise to any defense,
counterclaim or right of netting or setoff with respect to any Cause of Action vesting in the
Consolidated Wind Down Trust that could not have been asserted against the Consolidated
Debtors; or (iii) constitute the transfer or assignment of, or give rise to any right under, any
executory contract, insurance contract or other contract to which a Consolidated Debtor is party,
except to the extent required by section 365 of the Bankruptcy Code in connection with the
assumption of such contract by the applicable Debtors.

                As explained in Section 2.AThe Silos, the Debtors consist of FTX Trading and
94 affiliates. Holders of Allowed Claims against or Allowed Interests in each of the Debtors will
receive the same recovery provided to other Holders of Allowed Claims or Allowed Interests in
the applicable Class.

               Making the Bahamas Opt-In Election

                As part of the FTX DM Global Settlement among the Debtors and FTX DM, as
explained more fully below in Section 3.N—FTX Digital Markets (Bahamas), Holders of
Dotcom Customer Entitlement Claims or Dotcom Convenience Claims have the option to make
the Bahamas Opt-In Election. Customers electing to administer and reconcile claims in The
Bahamas are expected to receive substantially identical treatment in terms of claim value,
interest and the application of the Debtors’ KYC requirements, and also will be required to
comply with additional procedures and restrictions applicable to the Bahamian proceeding.

               If a Dotcom Customer wishes to elect to have its Dotcom Customer Entitlement
Claim or its Dotcom Convenience Claim resolved and satisfied in the FTX DM Liquidation
Proceeding in The Bahamas, such holder must affirmatively make the Bahamas Opt-In Election,
by submitting a Ballot in the Chapter 11 Cases or by submitting a Proof of Debt in the FTX DM
Liquidation Proceeding, as described more fully in Section 6.BBahamas Claim Treatment for
Customers herein.

                If a Holder of a Dotcom Customer Entitlement Claim or Dotcom Convenience
Claim makes the Bahamas Opt-In Election, its Class 5A Dotcom Customer Entitlement Claim or
its 7A Dotcom Convenience Claims will not be administered, reconciled, valued, settled,
adjudicated, resolved or satisfied in these Chapter 11 Cases and such Holder will agree to
forever, fully and finally release and discharge the Debtors with respect to its Class 5A Dotcom
Customer Entitlement Claim or its Class 7A Dotcom Convenience Claim and forever, fully and
finally withdraw with prejudice such Class 5A Dotcom Customer Entitlement Claim or Class 7A
Dotcom Convenience Claim from these Chapter 11 Cases and will not be entitled to a
distribution from the Debtors on account of such claim.




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        If a Holder of a Dotcom Customer Entitlement Claim or Dotcom Convenience Claim
does not make the Bahamas Opt-In Election, its Class 5A Dotcom Customer Entitlement Claim
or its Class 7A Dotcom Convenience Claim will be resolved and satisfied in these Chapter 11
Cases and such Holder will agree to forever, fully and finally release and discharge FTX DM
with respect to its Class 5A Dotcom Customer Entitlement Claim or its Class 7A Dotcom
Convenience Claim and will not be entitled to a distribution from FTX DM on account of such
claim.

               Voting on the Plan

                   1. Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof; or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is deemed to have accepted the plan, and the plan
proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy Code,
the holder of an impaired claim or impaired interest that will not receive any distribution under
the plan in respect of such claim or interest is deemed to have rejected the plan and is not entitled
to vote on the plan. For a more detailed description of the treatment of Claims and Interests
under the Plan, refer to Section 4Summary of the Plan.

               Classes 1, 2, 3B, 4, 5C and 8A are Unimpaired under, and deemed under section
1126(f) of the Bankruptcy Code to have accepted, the Plan, and are therefore not entitled to vote
on the Plan.

               Classes 3A, 5A, 5B, 6A, 6B, 7A, 7B, 7C, 8B, 8C, 10A, 10B and 12 are Impaired
under, and entitled to vote to accept or reject, the Plan. If a customer makes the Bahamas Opt-In
Election, any vote on the Plan or any other election in the ballot submitted by such customer will
be null and void.

                Classes 9, 11, 13, 14, 15, 16, 17 and 18 are Impaired and not entitled to any
recovery under, and deemed under section 1126(g) of the Bankruptcy Code to have rejected, the
Plan, and are therefore not entitled to vote on the Plan.

                Generally, the Bankruptcy Code requires, as a condition to confirmation of the
Plan, that each impaired class entitled to vote accept the Plan. Section 1126(c) of the Bankruptcy
Code defines acceptance of a plan by an impaired class of claims as acceptance by holders of at
least two-thirds in dollar amount and more than one-half in number of claims in such class that
have voted to accept or reject the plan. Holders of claims who fail to vote are deemed neither to


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accept nor to reject the Plan. For a more detailed description of the requirements for
confirmation of the Plan, refer to Section 5Statutory Requirements for Confirmation of the
Plan.

                However, even if the Plan has not been accepted by all Impaired Classes entitled
to vote, section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm the
Plan; provided that the Plan has been accepted by at least one Impaired Class of creditors. In
such circumstances, the Plan can be confirmed by a procedure commonly known as cram-down,
so long as the Plan does not “discriminate unfairly” and is “fair and equitable,” for the purposes
of the Bankruptcy Code, with respect to each Class of Claims or Interests that is Impaired under,
and has not accepted, the Plan. For a more detailed description of the requirements for
confirmation of a plan without the approval of every Impaired Class, refer to Section
5Statutory Requirements for Confirmation of the Plan.

                   2. Submitting a Ballot

               Classes 3A, 5A, 5B, 6A, 6B, 7A, 7B, 7C, 8B, 8C, 10A, 10B and 12 are entitled to
vote to accept or reject the Plan. If you are entitled to vote, you should carefully review this
Disclosure Statement, including the attached appendices and the instructions accompanying your
Ballot(s). Then, indicate your acceptance or rejection of the Plan by voting for or against the
Plan on the enclosed Ballot(s) and return the Ballot(s) to Kroll Restructuring Administration
LLC (the “Notice and Claims Agent”). For further information, refer to Section 6Voting
Procedures, and the Solicitation Procedures Order (as defined below) attached to this Disclosure
Statement as Appendix B.

              Ballots cast by Holders in Classes entitled to vote must be received by the Notice
and Claims Agent by 4:00 p.m. (prevailing Eastern Time) on [•], 2024 (the “Voting
Deadline”). For further information, refer to Section 6Voting Procedures.

               Ballots received after the Voting Deadline will not be counted, except in the
Debtors’ discretion.

               The method of delivery of Ballots to be sent to the Notice and Claims Agent is at
the election and risk of each Holder of a Claim. Except as otherwise provided in the Plan or
Solicitation Procedures Order, delivery of a Ballot will be deemed made only when the Ballot is
actually received by the Notice and Claims Agent. Sufficient time should be allowed to ensure
timely delivery.

               Delivery of a Ballot to the Notice and Claims Agent by facsimile, email or any
means not specifically described herein will not be accepted. No Ballot should be sent to the
Debtors or the Debtors’ financial or legal advisors, agents or representatives (other than the
Notice and Claims Agent), or to the Bahamas JOLs or the Bahamas JOLs’ financial or legal
advisors, agents or representatives and, if so sent, will not be counted.




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                  3. Recommendation

               The Debtors, the Executive Committee of the Ad Hoc Committee, the Class
Action Claimants and the Bahamas JOLs each recommend that all Holders of Claims
entitled to vote on the Plan vote to accept it.

              Confirmation of the Plan

                  1. Plan Objection Deadline

               Objections to Confirmation of the Plan must be filed with the Bankruptcy Court
and served so as to be actually received on or before [•] [a/p].m. (prevailing Eastern Time) on
[•], 2024.

                Unless objections to Confirmation are timely served and filed in compliance with
the Solicitation Procedures Order, they will not be considered by the Bankruptcy Court. For
further information, refer to Section 5Statutory Requirements for Confirmation of the Plan.

                  2. Confirmation Hearing

                The Bankruptcy Court has scheduled the hearing to consider confirmation of the
Plan (the “Confirmation Hearing”) for [•], 2024 at [•] [a/p].m. (prevailing Eastern Time). The
Confirmation Hearing may be adjourned by the Bankruptcy Court or the Debtors without further
notice other than by announcement in open court and/or notice(s) of adjournment filed on the
docket with the Bankruptcy Court’s permission.




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2.     BACKGROUND
              The Silos

                The FTX Group operated two centralized digital asset exchanges: the FTX.com
exchange in non-U.S. jurisdictions (the “FTX.com Exchange”) and its much smaller U.S.
counterpart, FTX.US (the “FTX.US Exchange”, and together with the FTX.com Exchange, the
“FTX Exchanges”). Together, the FTX Exchanges were among the world’s largest digital asset
exchanges, where millions of customers bought, sold and traded certain digital assets. Since
their founding between 2019 to early 2020, the FTX Exchanges gained international prominence
for their popularity among users, their high-profile acquisitions and celebrity endorsements, and
the public image of Mr. Bankman-Fried, their co-founder and CEO, who was a vocal public
figure in the cryptocurrency industry. The FTX Group also operated a “crypto hedge fund”,
Alameda Research LLC (“Alameda Research”), which engaged in various trading activities and
was used to make investments on behalf of the FTX Group in a wide array of businesses, ranging
from digital asset startups to artificial intelligence. As part of this activity, the FTX Group
owned, invested in or operated a number of different businesses, ranging from drone
manufacturing to video game development.

                The Debtors operated their businesses through approximately 100 entities
incorporated around the world (collectively, including non-Debtor affiliates, the “FTX Group”).
For convenience, the Debtors’ management separated these businesses and corresponding
entities into four broad categories, or “Silos.” These Silos are: (a) a group composed of Debtor
West Realm Shires Inc. and its Debtor and non-Debtor subsidiaries, which includes the
businesses known as “FTX.US,” “LedgerX,” “FTX US Derivatives,” “FTX US Capital
Markets,” and “Embed Clearing,” among other businesses (the “WRS Silo”); (b) a group
composed of Debtor Alameda Research and its Debtor subsidiaries (the “Alameda Silo”); (c) a
group composed of Debtor Clifton Bay Investments LLC, Debtor Clifton Bay Investments Ltd.,
Debtor Paper Bird Inc., Debtor Island Bay Ventures Inc. and Debtor FTX Ventures Ltd. (the
“Ventures Silo”); and (d) a group composed of Debtor FTX Trading and its Debtor and non-
Debtor subsidiaries, including the exchange doing business as “FTX.com” and similar exchanges
in non-U.S. jurisdictions (the “Dotcom Silo”). Prior to the Petition Date, each of these Silos
were controlled by the FTX Group’s co-founder and chief executive officers, Mr. Bankman-
Fried. Minority equity interests in the Silos were held by Zixiao “Gary” Wang and Nishad
Singh, the co-founders of the business along with Mr. Bankman-Fried. The WRS Silo and
Dotcom Silo also have third-party equity investors, including investment funds, endowments,
sovereign wealth funds and family offices.

               The corporate structure chart below provides a general overview of the
relationship between and among the Debtors, organized by Silo, as well as certain non-Debtor
affiliates.




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                   1. WRS Silo

                The WRS Silo contained, among other businesses, the FTX.US Exchange.
Founded in January 2020 by Messrs. Bankman-Fried, Wang and Singh, the FTX.US Exchange
was incorporated in Delaware and intended to be available to both U.S. and non-U.S. users. The
FTX.US Exchange allowed customers to, among other things, spot trade in certain digital assets.
By November 2022, the FTX.US Exchange had over one million registered users, becoming one
of the largest centralized digital asset exchanges available in the United States. FTX.US
Exchange’s spot exchange is registered with the United States Department of the Treasury (via
the Financial Crimes Enforcement Network) as a money services business and held a series of
state money transmission licenses in the United States. The WRS Silo also contained Embed
Financial Technologies Inc. (“Embed”), which operated a clearing and custody platform that
provided registered investment advisors, broker-dealers and other financial institutions with
application program interfaces and brokerage services, as well as LedgerX LLC (“LedgerX”), a
digital currency futures and options exchange and clearinghouse regulated by the CFTC.

                   2. Alameda Silo

                 The Alameda Silo contained, among other businesses, Alameda Research, a
“crypto hedge fund” that traded and speculated in certain digital assets and related loans and
securities for the account of its owners, Messrs. Bankman-Fried (90%) and Wang (10%).
Beginning in October 2021, Caroline Ellison acted as co-CEO (and later CEO) of Alameda
Research. Alameda Research, through its affiliates, operated quantitative trading funds, whose
strategies included, among other things, arbitrage, market making and yield farming. The
Alameda Silo also offered over-the-counter trading services, and made and managed equity
investments, limited partnerships and funds, token investments and loans, totaling billions in
funded assets. Entities in the Alameda Silo ranged from funds in the Cayman Islands to market
making operations in Turkey. The other Debtors in the Alameda Silo are organized in Delaware,
Korea, Japan, the British Virgin Islands, Antigua, Hong Kong, Singapore, the Seychelles, the
Cayman Islands, the Bahamas, Australia, Panama and Nigeria.

                   3. Ventures Silo

                The entities within the Ventures Silo invested in over 200 projects, paying billions
of dollars. The investments in the Ventures Silo are wide-ranging across different industries, and
are composed of equity investments, limited partnerships and funds, token investments and
loans. An entity within the Ventures Silo, Debtor Paper Bird Inc., was utilized as the holding
entity for the shares of FTX Trading Ltd. owned by Mr. Bankman-Fried.

                   4. Dotcom Silo

                The Dotcom Silo contained, among other businesses, the FTX.com Exchange.
Founded in 2019 by Messrs. Bankman-Fried and Wang, the FTX.com Exchange was a
centralized digital asset trading platform and exchange organized in Antigua and intended to be
unavailable to U.S. users. The FTX.com Exchange allowed non-U.S. customers to, among other
things, buy and sell certain spot digital assets, trade digital asset-based derivatives and tokenized
stocks, participate in peer-to-peer margin borrowing and lending and stake certain digital assets.


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The FTX.com Exchange was operated by Messrs. Bankman-Fried, Wang and Singh. Mr. Singh
had worked at Alameda Research and joined the FTX.com Exchange soon after it was launched.
In September 2021, the international exchange relocated its headquarters from Hong Kong to the
Bahamas where it sought compliance under the emerging digital assets and Registered
Exchanges (DARE) Act established in 2020. By November 2022, the FTX.com Exchange had
more than seven million registered users, making it one of the largest centralized digital asset
exchanges in the world.

              The Dotcom Silo also includes other centralized digital asset exchanges that
operated around the world, such as the platforms operated by Debtors FTX Japan K.K. (“FTX
Japan”) and Quoine Pte Ltd, as well as ancillary investment services firms such as FTX EU Ltd
(“FTX EU”).

                  Factors Leading to the Commencement of the Debtors’ Chapter 11 Cases

                      1. The Control Failures at the FTX Exchanges

                As detailed in the First Day Declarations 13 and the Debtors’ First Interim Report
of John J. Ray III to the Independent Directors on Control Failures at the FTX Exchanges Cases
[D.I. 1242] (the “First Ray Report”), prepetition, the FTX Group lacked appropriate
management, governance and organizational structure. Control of the FTX Group was
concentrated in Messrs. Bankman-Fried, Singh and Wang. With a few limited exceptions, the
FTX Group lacked independent or experienced finance, accounting, human resources,
informational security, and cybersecurity personnel or leadership. There was also no internal
audit function, and virtually non-existent board oversight. Despite its size and importance, the
FTX Group had little to no capacity, expertise, or commitment to identifying, verifying,
reporting or processing its financial business. For almost all of the Debtors, as of the Petition
Date, financial statements were either non-existent, limited, or completely unreliable.

                Prepetition, the FTX Group also did not observe traditional formalities with
respect to intercompany transactions. Assets and liabilities were routinely shuffled among the
FTX Group entities and insiders without proper process or documentation. Alameda Research
regularly provided funding for corporate expenditures (e.g., paying salaries and other business
expenses) whether for Alameda Research, for various other Debtors, or for non-Debtor FTX
Digital Markets Ltd. (“FTX DM”) and for venture investments or acquisitions whether for
Alameda Research, various other Debtors or affiliates.

                 Furthermore, there were serious deficiencies in the FTX Group’s controls related
to digital asset management, information security and cybersecurity. While the FTX Group
retained software developers, there was no dedicated personnel in cybersecurity or leadership in
information security or other persons in such capacities engaged in activities that led to the
prepetition control failures. The FTX Group did not implement fundamental, widely accepted

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     The “First Day Declarations” refer to the Declaration of John J. Ray III in Support of Chapter 11 Petitions and
     First Day Pleadings [D.I. 24], the Declaration of Edgar W. Mosley in Support of Chapter 11 Petitions and First
     Day Pleadings [D.I. 57], the Supplemental Declaration of John J. Ray III in Support of First Day Pleadings
     [D.I. 92] and the Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].


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security controls to protect its significant digital assets, nor did it employ fundamental controls
with respect to cloud and infrastructure security. As a result of these control failures, the FTX
Group exposed digital assets under its control to a grave risk of loss, misuse, and compromise,
and lacked a reasonable ability to prevent, detect, respond to, or recover from a significant
cybersecurity incident.

                      2. The Commingling and Misuse of Customer Deposits at the FTX.com
                         Exchange and Corporate Funds

                As detailed in Debtors’ Second Interim Report of John J. Ray III to the
Independent Directors: The Commingling and Misuse of Customer Deposits at FTX.com [D.I.
1704] (the “Second Ray Report”), Messrs. Bankman-Fried, Singh, Wang and others at their
direction, commingled and misused FTX.com Exchange customer deposits. At the direction of
Messrs. Bankman-Fried, Singh and Wang, the FTX Group funneled customer deposits and
withdrawals in fiat currency through bank accounts of Alameda Research and other affiliates. At
the same time, the FTX Group used its bank accounts for purposes not disclosed to the banks that
hosted them, commingling and misusing vast sums of customer and corporate funds in the
process. This misuse continued since inception. Based on the Debtors’ analysis, at various
points in 2022, more than $10 billion in net customer-deposited assets had been misappropriated
from the FTX.com Exchange, the vast majority of which was in the form of cash and
stablecoins. 14 To facilitate this extensive scheme, Messrs. Bankman-Fried, Singh and Wang,
with the assistance of internal staff and other insiders, lied to banks and auditors, executed false
documents, and moved the FTX Group from jurisdiction to jurisdiction, taking flight from the
United States to Hong Kong to The Bahamas, in a continual effort to avoid detection of their
wrongdoing.

                In part due to this misconduct, the FTX.com Exchange suffered serious liquidity
challenges. As of March 2022, internal documents suggest that the FTX.com Exchange had a
cash deficit of over $10 billion. Shortly after the Petition Date, the FTX.com Exchange owed
customers a shortfall amount of approximately $9.2 billion. This deficit is in the form of fiat
currency and digital assets that had been misappropriated.

                A diagram highlighting the intermingling of primary deposit accounts for U.S.
dollars only is displayed below. A full accounting of the billions of digital asset transactions is
likely impossible.




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     The Debtors’ analysis also suggests that by the Petition Date, in part because Alameda Research had returned
     some sums to FTX.com Exchange, the total sum of misappropriated customer-deposited assets at the FTX.com
     Exchange was approximately $9.2 billion.


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                  3. An Acute Liquidity Crisis

                In part due to the circumstances described above, the FTX Group suffered from
an acute liquidity crisis beginning in early November 2022. On November 2, 2022, the
cryptocurrency news site CoinDesk published an article that revealed that Alameda Research
held a significant position in FTT, the FTX Group’s native token, estimated at a value of
approximately $4 billion, which represented almost one third of Alameda Research’s total
aggregate assets. The publication prompted questions about the FTX Group’s undisclosed
leverage and liquidity. After the article was published, the CEO of Binance, the largest
centralized digital asset exchange, announced that it planned to sell its FTT holdings. The
publicly announced plan to sell such a large amount of FTT—which partly is correlated with the
value of the FTX Exchanges as a whole—led to a severe “run” on the FTX Exchanges as
customers withdrew funds off the exchanges. On November 8, 2022, Binance announced that it
had entered into a non-binding letter of intent to acquire the FTX.com Exchange but
subsequently terminated the potential transaction on November 9, 2022. Between November 2,
2022 and the Petition Date, customers attempted withdrawals of several billions of dollars and
many withdrawals were not fulfilled.




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                   4. Foreign Liquidation Proceedings

                On November 10, 2022, the Securities Commission of The Bahamas (the “SCB”)
petitioned the Supreme Court of The Bahamas (the “Bahamas Court”) for the winding up and
liquidation of FTX DM and the Bahamas JOLs were appointed. Around the same time and
pursuant to authority granted by the Bahamas Court in connection with such winding up petition,
the SCB took action to freeze assets of non-Debtor FTX DM.

              In addition, in the early hours of November 11, 2022, the directors of non-Debtors
FTX Express Pty Ltd and FTX Australia Pty Ltd., Australian subsidiaries in the Dotcom Silo,
appointed voluntary administrators for a restructuring process under Australian law.

                   5. Omnibus Corporate Authority

                On November 8, 2022, there were rumors that the FTX.com Exchange had
stopped processing customer withdrawals. That same day, two members of the FTX Group’s
prepetition management, Can Sun and Ryne Miller, contacted Sullivan & Cromwell LLP
(“S&C”) about the dire situation at the FTX Group. Messrs. Sun and Miller engaged S&C to
take steps to explore the possibility of chapter 11 proceedings in the event that rescue financing
or some other transaction was not forthcoming. Given the exigent situation, S&C advised
Messrs. Sun and Miller that it was common to immediately identify candidates to serve as a
Chief Restructuring Officer; Messrs. Sun and Miller instructed S&C to consider possible
recommendations and make confidential approaches as to availability. Four candidates were
considered, each with experience in cases of substantial magnitude and complexity. Two
candidates were not available. S&C provided the two other names and resumes to Messrs. Sun
and Miller, including the name of Mr. Ray.

                Shortly thereafter, Mr. Sun resigned. On the afternoon of November 10, 2022,
Mr. Bankman-Fried had a videoconference with, among others, Mr. Miller, Mr. Bankman-
Fried’s multiple personal lawyers, and attorneys from S&C to discuss the strategic alternatives
for the FTX Group. Then, because there was not time to hold over 100 board meetings for
companies with incomplete records, S&C recommended and prepared a draft omnibus corporate
authority (“Omnibus Corporate Authority”), which would appoint Mr. Ray CEO of all of the
Debtors, transfer to him all of Mr. Bankman-Fried’s corporate authority and authorize Mr. Ray
to decide if and when the Debtors should commence Chapter 11 proceedings. Attorneys from
S&C negotiated the terms of the Omnibus Corporate Authority with Mr. Bankman-Fried’s
personal attorneys and, in the early morning hours of November 11, 2022, counsel to Mr.
Bankman-Fried relayed that Mr. Bankman-Fried intended to sign the Omnibus Corporate
Authority.

               At approximately 4:30 a.m. ET on Friday, November 11, 2022, S&C received a
signed copy of the Omnibus Corporate Authority from counsel to Mr. Bankman-Fried. Mr.
Bankman-Fried agreed to resign, resulting in the appointment of Mr. Ray as the Debtors’ Chief
Executive Officer. Mr. Ray was delegated by Mr. Bankman-Fried all corporate powers and
authority under applicable law, including the power to appoint independent directors and
commence these Chapter 11 Cases on an emergency basis.



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3.     SIGNIFICANT EVENTS AND BUSINESS INITIATIVES IN THESE CHAPTER 11
       CASES
                 The following is a general summary of significant events in these Chapter 11
Cases, including a discussion of the Debtors’ claims process, asset recovery initiatives and
litigation efforts since the commencement of these Chapter 11 Cases.

                Corporate Governance

               1.       The Joint Board of Directors

               On Friday, November 11, 2022, Mr. Ray was delegated all corporate powers and
authority under applicable law, including the power to appoint independent directors and
commence these Chapter 11 Cases on an emergency basis. After the commencement of these
Chapter 11 Cases, Mr. Ray promptly identified, interviewed and appointed five independent
directors, who have served since such time. These five independent directors are:

                    •   Judge Joseph Farnan (ret.): Mr. Farnan served as a United States
                        District Judge for the District of Delaware from 1985 to 2010 and as
                        Chief Judge from 1997 to 2001. During his tenure, Mr. Farnan presided
                        over numerous bench and jury trials involving complex commercial
                        disputes. Prior to his appointment to the federal bench, Mr. Farnan was
                        appointed to several positions in local, state and the federal government.
                        After his appointment to the federal bench, Mr. Farnan returned to private
                        practice in 2010 with the formation of Farnan LLP, a law firm focused on
                        complex commercial matters, including chapter 11 proceedings, securities
                        litigation, antitrust litigation and patent litigation. Additionally, Mr.
                        Farnan serves as an arbitrator, mediator, independent director and trustee
                        of businesses contemplating or filing chapter 11 bankruptcy.

                    •   Matthew Doheny: Mr. Doheny is the President of North Country Capital
                        LLC, an advisory and investment firm focused on challenging advisory
                        assignments and investing private investment portfolios in special
                        situation opportunities. He has held this position since January 2011. Mr.
                        Doheny has served on the board of directors or as chief restructuring
                        officer of numerous stressed and distressed companies, including Yellow
                        Corp., MatlinPatterson, GMAC Rescap and Eastman Kodak. He was also
                        Managing Director and Head of Special Situations Investing at HSBC
                        Securities Inc. from 2015 to 2017. Previously, Mr. Doheny served as
                        Portfolio Manager in Special Situations at Fintech Advisory Inc. from
                        2008 to 2010 and as Managing Director of the Distressed Products Group
                        at Deutsche Bank Securities Inc. from 2000 to 2008.

                    •   Mitchell Sonkin: Mitchell Sonkin most recently served as a Senior
                        Advisor to MBIA Insurance Corporation in connection with the
                        restructuring of the firm’s insured portfolio exposure of the
                        Commonwealth of Puerto Rico’s $72 billion of outstanding debt. He is

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                       currently Chairman of the board of directors of the ResCap Liquidating
                       Trust, successor to ResCap and GMAC Mortgage Corporations. Before
                       joining MBIA, Mr. Sonkin was a senior partner at the international law
                       firm King & Spalding, where he was co-chair of King & Spalding’s
                       financial restructuring group and a member of the firm’s policy
                       committee. He has over 40 years of experience in U.S. and international
                       bond issuances, corporate reorganizations, bankruptcies and other debt
                       restructurings and has served as a bankruptcy-court-appointed examiner.
                       In particular, he has played a significant role in numerous municipal,
                       utility, insurance, airline, healthcare debt and international debt
                       restructurings, including the Anglo/French Euro Tunnel debt
                       reorganization.

                   •   Matthew Rosenberg: Mr. Rosenberg is a partner at Lincoln Park
                       Advisors, a financial advisory firm that he founded in 2014. He has more
                       than 25 years of restructuring, corporate finance, principal investing,
                       operating and board experience. Prior to founding Lincoln Park Advisors,
                       he was a partner at the restructuring and investment banking firm
                       Chilmark Partners, a partner in two private equity funds, the Zell/Chilmark
                       Fund and Chilmark Fund II, the chief restructuring officer of The
                       Wellbridge Company and a member of multiple corporate boards. His
                       restructuring advisory experience includes such companies as OSG,
                       Supermedia, Nortel, Trinity Coal, USG Corporation, JHT Holdings, Inc.,
                       Covanta Energy, Sirva, Lodgian, Inc., ContiGroup Companies, Inc., Fruit
                       of the Loom, Ltd. and Recycled Paper Greetings.

                   •   Rishi Jain: Mr. Jain is a Managing Director and Co-Head of the Western
                       Region of Accordion, a financial and technology consulting firm focused
                       on the private equity industry. He has more than 25 years of experience
                       supporting management teams and leading finance and operations
                       initiatives in both stressed and distressed environments. Prior to joining
                       Accordion, Mr. Jain was part of Alvarez & Marsal North America, LLC’s
                       corporate restructuring and turnaround practice for over 10 years and
                       served in a variety of senior financial operating roles. His most notable
                       assignments have included helping lead the restructuring, liquidation and
                       wind down of Washington Mutual and its predecessor entity, WMI
                       Liquidating Trust. He also navigated the restructuring of Global
                       Geophysical Services in its chapter 11 and eventually the liquidation and
                       wind down in its second chapter 11 filing.

                 Each of the five independent directors serves as a director for only one of the four
primary parent companies of the FTX Group: Judge Farnan and Mr. Doheny serve as directors
for FTX Trading, Mr. Sonkin as director for West Realm Shires Inc., Mr. Rosenberg as director
for Alameda Research and Mr. Jain as director for Clifton Bay Investments LLC. However, in
light of the integrated nature of the Debtors, all five directors generally have met as a joint board
of directors for the Debtors (the “Joint Board”) and participated in deliberations with respect to
material decisions. From November 2022 to July 2023, the Joint Board met weekly, and since

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August 2023, the Joint Board has met biweekly. Formal meetings of the directors of subsets of
the primary parent companies have met as and when needed, in addition to the many informal
meetings and discussions involving the independent directors throughout the process.

              2.       Management

               On September 9, 2023, the Bankruptcy Court approved the employment and
retention of RLKS Executive Solutions LLC and appointment of Ms. Kathryn Schultea as the
Debtors’ Chief Administrative Officer, Ms. Mary Cilia as the Debtors’ Chief Financial Officer
and Mr. Raj Perubhatla as the Debtors Chief Information Officer, nunc pro tunc to November 15,
2022. Ms. Schultea is a Managing Partner, and Ms. Cilia and Mr. Perubhatla are each Senior
Managing Directors of RLKS Executive Solutions LLC. They have provided a full range of
crisis management services to under-performing and distressed companies, including interim
management and debtor advisory work, bankruptcy preparation and management, litigation
support, post-merger integration, and debt restructuring and refinancing.

               Initial Case Objectives

               Management and the Joint Board identified five core objectives for these Chapter
11 Cases (collectively, the “Core Objectives”):

                   •   Implementation of Controls: the implementation of accounting, audit,
                       cash management, cybersecurity, human resources, risk management, data
                       protection and other systems that did not exist, or did not exist to an
                       appropriate degree, prior to Mr. Ray’s appointment;

                   •   Asset Protection & Recovery: locating and securing property of the
                       estate, a substantial portion of which was suspected of being missing or
                       stolen;

                   •   Transparency and Investigation: the pending, comprehensive,
                       transparent and deliberate investigation into claims against Mr. Bankman-
                       Fried, the other co-founders of the Debtors and third parties, in
                       coordination with regulatory stakeholders in the United States and around
                       the world;

                   •   Efficiency and Coordination: cooperation and coordination with
                       insolvency proceedings of subsidiary companies in other jurisdictions; and

                   •   Maximization of Value: the maximization of value for all stakeholders
                       through the eventual reorganization or sale of the Debtors’ complex array
                       of businesses, investments and digital and physical property.

               These Core Objectives were disclosed to the Bankruptcy Court at the initial
hearing for these Chapter 11 Cases on November 22, 2022, and have informed all work of the
Debtors since.



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                First Day Relief and Administrative Matters

                   1. First Day Relief

                 Shortly after the Petition Date, the Debtors filed numerous motions seeking
relief to stabilize the Debtors and to facilitate the consolidated administration of these Chapter
11 Cases (the “First Day Motions”). On November 22, 2022 and November 23, 2023, the
Bankruptcy Court entered orders approving the First Day Motions (the “First Day Orders”), with
certain approvals on an interim basis.

                Among other things, the First Day Orders allowed the Debtors to administer
these Chapter 11 Cases in a streamlined and consolidated manner and to continue certain
activities not specifically authorized under the Bankruptcy Code or as to which the
Bankruptcy Code requires prior court approval. In particular, the First Day Orders authorized
the Debtors to:

               •      jointly administer these Chapter 11 Cases for procedural purposes;

               •      serve certain documents on parties-in-interest via email and to redact
                      certain customer information from publicly filed documents;

               •      file a consolidated list of the Debtors’ top 50 creditors in lieu of each
                      Debtor filing a list of its 20 largest unsecured creditors;

               •      extend the time to prepare and file schedules of assets and liabilities and
                      statements of financial affairs;

               •      establish notice and objection procedures for transfers of certain equity
                      securities in the Debtors and claims of worthless stock deductions;

               •      pay prepetition claims of certain vendors and lienholders; and

               •      pay prepetition compensation and reimbursable expenses, pay and honor
                      benefits and other programs and continue workforce obligations.

                As part of the First Day Motions, the Debtors filed a motion for authorization to
implement a cash management system, maintain and open bank accounts and retain business
forms (the “Cash Management Motion”) [D.I. 47]. As detailed in the Cash Management Motion,
as of the Petition Date, the postpetition Debtors and management did not yet know the total
amount of cash because of historical cash management failures and deficiencies in
documentation controls. Accordingly, to ensure that the Debtors could navigate the chapter 11
process in an orderly and efficient manner, the Debtors requested approval of a new postpetition
payment system. The Bankruptcy Court approved the Cash Management Motion on an interim
basis on November 23, 2022 [D.I. 143] and on a final basis on January 12, 2023 [D.I. 488]. The
postpetition cash management system permits the Debtors to, among other things, make deposits,
transfers and advances among the Debtors, to and from non-Debtors and between new bank
accounts established as a cash pooling system. The cash management order was amended to


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address certain section 345 compliance agreements with the U.S. Trustee on June 26, 2023 [D.I.
1706] and January 3, 2024 [D.I. 5308].

              The remainder of the First Day Motions approved on an interim basis were
subsequently approved on a final basis by the Bankruptcy Court on January 9, 2023.

                In addition, the commencement of these Chapter 11 Cases triggered the automatic
stay under section 362 of the Bankruptcy Code, which, with limited exceptions, enjoined all
collection efforts and actions by creditors, the enforcement of all liens against property of the
Debtors and the commencement or continuation of prepetition litigation against the Debtors.
Subject to limited exceptions, the automatic stay will remain in effect until the Effective Date of
the Plan.

                   2. Retention of Debtor Professionals

                 On November 17, 2022 and December 21, 2022, the Debtors filed applications to
retain their restructuring professionals. These included applications to retain (a) Owl Hill
Advisory, LLC as chief executive officer [D.I. 269]; (b) RLKS Executive Solutions LLC as
certain chief officers [D.I. 276]; (c) Alvarez & Marsal North America, LLC as financial advisor
[D.I. 273]; (d) Perella Weinberg Partners LP as investment banker [D.I. 275]; (e) AlixPartners,
LLP as forensic investigation consultants [D.I. 277]; (f) Kroll Restructuring Administration LLC
as administrative advisor [D.I. 279]; (g) Ernst & Young LLP as tax services provider [D.I. 284];
(h) Sullivan & Cromwell LLP as counsel to the Debtors [D.I. 270]; (i) Landis Rath & Cobb LLP
as co-counsel to the Debtors [D.I. 272]; (j) Quinn Emanuel Urquhart & Sullivan, LLP as special
counsel to the Debtors [D.I. 280]; and (k) certain ordinary course professionals [D.I. 282]. Each
of the retention applications was approved [D.I. 132, 428, 437, 505, 534, 544, 546, 548, 553,
615].

              On November 19, 2022, the Debtors also filed a motion to establish procedures
for the compensation and reimbursement of expenses of the Debtors’ and the Official
Committee’s professionals on a monthly basis [D.I. 286] (the “Interim Compensation Procedures
Motion”). An order approving the Interim Compensation Procedures Motion was entered on
January 9, 2023 [D.I. 435].

                Additionally, on December 21, 2022, the Debtors filed a motion seeking to
implement certain procedures to retain, compensate and reimburse professionals in the ordinary
course of business [D.I. 282], which was approved by the Bankruptcy Court on January 9, 2023
[D.I. 432]. As of March 11, 2024, the Debtors employ 12 “tier 1” ordinary course professionals,
six “tier 2” ordinary course professionals and 24 “tier 3” ordinary course professionals [D.I.
9014].

                   3. The Official Committee

                On December 15, 2022, the U.S. Trustee appointed the Official Committee [D.I.
231]. The Official Committee currently consists of the following: (a) Coincident Capital
International, Ltd.; (b) Larry Qian; (c) Pulsar Global Ltd.; (d) Wincent Investment Fund PCC
Ltd.; (e) Wintermute Asia Pte. Ltd.; and (f) Zachary Bruch. Three initial members, Acaena
Amoros Romero, GGC International Ltd. and Octopus Information Ltd., have since resigned

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[D.I. 2212, n.5; 3685; 12036]. The Official Committee retained Paul Hastings LLP as lead
counsel [D.I. 635], Young Conaway Stargatt & Taylor, LLP as co-counsel [D.I. 657], FTI
Consulting, Inc. as financial advisor [D.I. 730], Epiq Corporate Restructuring, LLC as
information agent [D.I. 633] and Jefferies LLC as investment banker [D.I. 729].

                   4. The Ad Hoc Committee of Non-U.S. Customers of FTX.com

               The Ad Hoc Committee is a creditors’ committee representing a diverse group of
international FTX.com Exchange customers. The Ad Hoc Committee is not a fiduciary
committee. The Ad Hoc Committee retained Eversheds Sutherland (US) LLP (“Eversheds”) as
lead counsel and Morris, Nichols, Arsht & Tunnell LLP (“Morris Nichols”) as co-counsel.
Members of the executive committee of the Ad Hoc Committee (the “AHC Executive
Committee”), Eversheds and Morris Nichols retained Rothschild & Co US Inc. as financial
advisor and investment banker to the AHC Executive Committee, Eversheds and Morris Nichols.

              On December 28, 2022, the Ad Hoc Committee commenced an adversary
proceeding (the “AHC Adversary Proceeding”) against the Debtors. See Ad Hoc Committee of
Non-US Customers of FTX.com v. FTX Trading, Ltd., et al., Adv. Pro. No. 22-50514 (JTD) [D.I.
328]. The AHC Adversary Proceeding alleges, among other things, that non-U.S. customers of
the FTX.com Exchange retained a property interest in certain fiat currency and digital assets held
by the Debtors. On August 21, 2023, the adversary proceeding was stayed pending discussions
between the Debtors and the Ad Hoc Committee. As detailed in Section 3.Q The Draft Plan,
Creditor Meetings and the Settlement and Plan Support Agreement, on October 16, 2023, the Ad
Hoc Committee entered into the PSA, which, among other things, settles the AHC Adversary
Proceeding subject to effectiveness of a plan that is acceptable to the Official Committee, certain
required members of the Ad Hoc Committee and certain required members of the Class Action
Claimants.

                On August 23, 2023, the Debtors filed a motion seeking authorization to
reimburse the fees and expenses of the Ad Hoc Committee’s professionals on a monthly basis
[D.I. 2238]. On October 25, 2023, the Debtors filed an amended reimbursement motion
reflecting the updated terms of reimbursement in accordance with the PSA [D.I. 3373]. Among
other things, the Ad Hoc Committee professionals agree to comply with the interim
compensation procedures approved by the Bankruptcy Court. An order approving the amended
reimbursement agreement motion was entered on November 15, 2023 [D.I. 3928].

             As of May 7, 2024, Eversheds has reported that members of the Ad Hoc
Committee hold, in the aggregate, $3,765,222,737.61 of claims against the Debtors [D.I. 14224].

                   5. The Class Action Claimants

                 On December 27, 2022, certain claimants (the “Class Action Claimants”)
commenced an adversary proceeding (the “Class Action Adversary Proceeding”) against the
Debtors. See Onusz, et al. v. West Realm Shires Inc., et al., Adv. Pro. No. 22-50513 (JTD) [D.I.
321]. The Class Action Adversary Proceeding alleges, among other things, that U.S. customers
of the FTX Exchanges had, as of the Petition Date, a property interest in certain fiat currency and
digital assets that the Debtors assert to be property of their Estates. As detailed in Section


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3.QThe Draft Plan, Creditor Meetings and the Settlement and Plan Support Agreement, on
October 16, 2023, the Class Action Claimants entered into the PSA, which, among other things,
settles the Class Action Adversary Proceeding subject to effectiveness of a plan that is acceptable
to the Official Committee, certain required members of the Ad Hoc Committee and certain
required members of the Class Action Claimants.

                    6. Fee Examiner

               On March 8, 2023, the Bankruptcy Court appointed Katherine Stadler as the fee
examiner (the “Fee Examiner”) for these Chapter 11 Cases [D.I. 834]. On April 12, 2023, the
Bankruptcy Court approved the Fee Examiner’s motion to retain Godfrey & Kahn, S.C. as
counsel to the Fee Examiner [D.I. 1268]. The Fee Examiner subsequently published its first
report on professionals’ interim fee applications on June 20, 2023 [D.I. 1663], its second report
on September 5, 2023 [D.I. 2427], its third report on December 5, 2023 [D.I. 4495] and its fourth
report on March 12, 2024 [D.I. 9157].

                    7. 341 Meetings and Schedules and SOFA

               On December 20, 2022, the U.S. Trustee conducted an initial meeting of creditors
pursuant to section 341 of the Bankruptcy Code.

                 On March 14 and March 15, 2023, the Debtors filed their schedules of assets and
liabilities and statements of financial affairs with the Bankruptcy Court [D.I. 865-954, 956-63,
966-1083]. On June 27, 2023, the Debtors filed amended schedules of assets and liabilities of
certain Debtors [D.I. 1729-66]. On July 31, 2023, the Debtors filed unredacted versions of
schedules and statements for certain Debtors [D.I. 1985-95, 1997-2031, 2033-42, 2045-97]. On
August 31, 2023, the Debtors filed further amended schedules of assets and liabilities of certain
Debtors [D.I. 2285-2408]. On December 5, 2023, the Debtors filed further amended schedules
of assets and liabilities of certain Debtors [D.I. 4471] and again on January 23, 2024 [D.I. 6290-
6324].

              On March 12, 2024, the U.S. Trustee conducted and concluded the continued
meeting of creditors pursuant to section 341 of the Bankruptcy Code.

               8.      Customer Redaction

               On November 19, 2022, the Debtors filed the Motion of Debtors for Entry of
Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of
Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors
to Redact or Withhold Certain Confidential Information of Customers and Personal Information
of Individuals and (III) Granting Certain Related Relief [D.I. 45] (the “Original Redaction
Motion”). Among other things, the Original Redaction Motion requested authority for the
Debtors to redact (a) the names and all associated identifying information of the Debtors’
customers pursuant to section 107(b)(1) of the Bankruptcy Code and (b) the addresses and email
addresses of individual creditors or equity holders of the Debtors pursuant to section 107(c) of
the Bankruptcy Code. On November 23, 2022, the Bankruptcy Court granted the Original
Redaction Motion on an interim basis [D.I. 157]. Prior to the final hearing on the Original


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Redaction Motion, the Debtors modified the relief requested in the Original Redaction Motion to
seek authority to redact confidential information pursuant to section 107(b) of the Bankruptcy
Code only for a limited period, subject to extension, and deferred their request to redact customer
names pursuant to section 107(c). On January 11, 2023, the Bankruptcy Court granted the
Original Redaction Motion on a final basis [D.I. 545] and authorized the Debtors to redact
customer names pursuant to section 107(b) of the Bankruptcy Code for an initial period of only
90 days, subject to extension.

                On April 20, 2023, the Debtors and the Official Committee filed the Joint Motion
of the Debtors and the Official Committee of Unsecured Creditors for an Order Authorizing the
Movants to Redact or Withhold Certain Confidential Information of Customers and Personal
Information of Individuals [D.I. 1324] (the “First Extension Motion”). The First Extension
Motion requested, among other things, authority to redact (a) the names, addresses and email
addresses of the Debtors’ customers for an additional 90 days pursuant to section 107(b) of the
Bankruptcy Code and (b) the names, addresses and email addresses of the Debtors’ customers
who are natural persons on a permanent basis pursuant to section 107(c). On June 15, 2023, the
Bankruptcy Court entered the Order Authorizing Movants to Redact or Withhold Certain
Confidential Information of Customers and Personal Information of Individuals [D.I. 1643] (the
“First Extension Order”). The First Extension Order authorized the Debtors and the Official
Committee to permanently redact the names of all customers who are natural persons from
filings with the Bankruptcy Court in which disclosure would indicate such person’s status as a
customer, pursuant to section 107(c) of the Bankruptcy Code. The First Extension Order also
authorized the Debtors and the Official Committee to redact the names, addresses and email
addresses of all the Debtors’ customers for an additional 90 days (such date, the “Extended
Redaction Deadline”) pursuant to section 107(b).

                On June 23, 2023, Bloomberg L.P, Dow Jones & Company, Inc., The New York
Times Company and the Financial Times Ltd. filed a notice of appeal regarding the First
Extension Order. The appeal is fully briefed and currently pending before the United States
District Court for the District of Delaware.

               On September 13, 2023, the Debtors and the Official Committee filed the Second
Joint Motion of the Debtors and the Official Committee of Unsecured Creditors for an Order
Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers
[D.I. 2508] (the “Second Extension Motion”). On October 24, 2023, the Bankruptcy Court
entered an order granting the Second Extension Motion [D.I. 3353] and further extending the
Extended Redaction Deadline for an additional 90 days.

               On January 22, 2024, the Debtors and the Official Committee filed the Third Joint
Motion of the Debtors and the Official Committee of Unsecured Creditors for an Order
Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers
[D.I. 6153] (the “Third Extension Motion”). On February 13, 2024, the Bankruptcy Court
entering an order granting the Third Extension Motion [D.I. 7315] and further extending the
Extended Redaction Deadline for an additional 90 days, through May 13, 2024.




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                   9. Bar Date Claims Process

                The FTX Group had over 11 million customer accounts, approximately 2 million
of which had net positive balances as of the Petition Date. The FTX Group also had creditors
who were non-customers, including vendors, service providers, government entities and
celebrities who endorsed or advertised the FTX Group in exchange for a fee. In order to
streamline the claims process for holders of non-customer claims and Customer Entitlement
Claims, the Debtors established two separate bar dates. On May 19, 2023, the Bankruptcy Court
entered an order setting June 30, 2023 as the bar date for non-customer proofs of claims and
proofs of interest and September 29, 2023 as the governmental bar date [D.I. 1519]. On June 28,
2023, the Bankruptcy Court entered an order setting September 29, 2023 as the bar date for
customer proofs of claims [D.I. 1793] (the “Customer Bar Date Order”).

                To facilitate the submission process of potentially millions of Customer
Entitlement Claims, the Debtors developed an online claims portal for the submission and
processing of Customer Entitlement Claims. Holders of Customer Entitlement Claims could
access the FTX customer claims portal at https://claims.ftx.com (“FTX Customer Portal”) with
their existing credentials in order to, among other things, submit their proof of claim, perform
Know Your Customer (“KYC”) procedures, access customer support personnel, view historical
transactions, and view balances as of the Petition Date.

                As set forth in the Customer Bar Date Order, in the event that a holder of a
Customer Entitlement Claim did not initiate the requested KYC process by September 29, 2023,
such claim is treated as “unverified.” With respect to all unverified Customer Entitlement
Claims, the Debtors reserved the right, in their sole discretion after consultation with the
Supporting Parties, either to (i) allow such claims without the requested KYC information or (ii)
object to the allowance of such Customer Entitlement Claims’ proofs of claim and scheduled
claims on an omnibus basis, on notice to all such holders, including, among other bases, of
insufficient documentation, and repeat the request such holders submit the requested KYC
information at a later date. In the event of such objection, such holders of Customer Entitlement
Claims have the additional opportunity to submit the requested KYC information to the Debtors
to resolve the objection on such claim relating to the requested KYC information.

                   10. Stay Relief

               During these Chapter 11 Cases, certain parties filed motions seeking relief from
the automatic stay, including:

               •      On November 22, 2022, Miami-Dade County, a political subdivision of
                      the State of Florida, filed a motion seeking relief from the automatic stay
                      to terminate an agreement with a Debtor (the “Naming Rights
                      Agreement”) [D.I. 135]. On December 30, 2022, the Debtors filed an
                      omnibus motion seeking the rejection of, among other things, the Naming
                      Rights Agreement [D.I. 333]. On January 11, 2023, the Bankruptcy Court
                      entered an agreed order authorizing the Debtors’ rejection of the Naming
                      Rights Agreement [D.I. 470].



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              •       On December 15, 2022, North America League of Legends Championship
                      Series, LLC (“Riot”) filed a motion (i) compelling the rejection of an
                      agreement with a Debtor (the “Strategic Sponsorship Agreement”) or, in
                      the alternative, (ii) seeking relief from the automatic stay for cause under
                      section 362(d)(1) of the Bankruptcy Code to permit Riot to terminate the
                      Strategic Sponsorship Agreement [D.I. 243]. On January 11, 2023, the
                      Bankruptcy Court entered an agreed order authorizing the Debtors’
                      rejection of the Strategic Sponsorship Agreement [D.I. 480].

              •       On March 15, 2023, Mr. Bankman-Fried filed a motion seeking relief
                      from the automatic stay or, to the extent it does apply, lifting and
                      modifying the automatic stay to the extent necessary to permit the
                      advancement and/or reimbursement of defense, settlement and other costs
                      covered by certain insurance policies [D.I. 964]. On March 29, 2023, the
                      Official Committee filed an objection in response to Mr. Bankman-Fried’s
                      motion [D.I. 1183] and the Debtors filed a response explaining that the
                      Debtors are contractually bound not to oppose efforts to seek relief from
                      the automatic stay with respect to such insurance policies [D.I. 1184]. On
                      April 7, 2023, Mr. Bankman-Fried filed a reply in further support of his
                      motion [D.I. 1239]. On April 17, 2023, after a hearing on the motion, the
                      Bankruptcy Court entered an order denying the motion without prejudice
                      [D.I. 1299].

              •       On June 14, 2023, Pyth Data Association filed a motion seeking relief
                      from the automatic stay to take certain actions with respect to the Pyth
                      protocol [D.I. 1632]. On June 23, 2023, the Bankruptcy Court entered an
                      agreed order reflecting the parties’ consensual resolution of the motion
                      [D.I. 1693].

              •       On September 21, 2023, Island Air Capital and its beneficial owner, Paul
                      F. Aranha, filed a motion seeking relief from the automatic stay to take
                      certain actions regarding the use, maintenance and possible sale of certain
                      aircraft [D.I. 2659]. The Debtors objected [D.I. 3002] and were joined by
                      the Official Committee [D.I. 3017]. On March 26, 2024, Island Air
                      Capital and Aranha withdrew this motion. [D.I. 10421].

              •       The Bahamas JOLs motion for relief from the automatic stay was resolved
                      in connection with the broad settlement described in Section 3.NFTX
                      Digital Markets (Bahamas).

               Strategic Considerations Relating to the FTX.com Exchange

               One of the earliest questions asked by the Debtors during these Chapter 11 Cases
was whether it would be possible to restart the FTX.com Exchange and distribute its going
concern value to stakeholders. Prior to the bankruptcy and the public awareness of the
rampant fraud committed by Mr. Bankman-Fried, the FTX.com Exchange had substantial
market share, as well as a user interface and products that generally received favorable

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reviews. In addition, some customers and members of the broader cryptocurrency community
(although not all) believed that the FTX Group had provided a useful alternative to other
cryptocurrency exchanges and that the cryptocurrency industry would benefit if a rehabilitated
FTX Group could become a strong, innovative and reliable competing exchange.

                The Joint Board determined in early 2023 that the potential for a reorganization of
the FTX.com Exchange should be taken very seriously and merited the expenditure of estate
resources to explore deeply and thoroughly. An informal steering committee was formed,
including the senior members of the main advisory teams, subject matter experts and a sub-
committee of members of the Official Committee. This steering committee was very active,
eventually meeting over a dozen times. After about August 31, 2023, the meetings included
representatives of the Ad Hoc Committee, as well as those from the Official Committee. In light
of the regulatory and other challenges a reboot would face, the Debtors were advised by leading
financial technology regulatory lawyers, as well as experienced investment bankers,
cybersecurity experts and other advisors.

                The effort was called “FTX 2.0.” The Debtors were aware that it would face
certain challenges. Retail financial institutions that fail generally do not reorganize, and none of
the cryptocurrency financial institutions that had filed for bankruptcy before the FTX Group had
reorganized successfully. The Debtors were also concerned with the specific history of other
cryptocurrency chapter 11 cases, which filed for chapter 11 announcing that they would
reorganize, only to end up disappointing creditors, inflating the value of associated tokens before
they crashed, and delaying customer distributions. The Joint Board was determined to not build
false expectations or mislead customers into thinking the FTX situation was better than it was.

                As the FTX 2.0 process began in earnest, the Debtors and the consulting parties
wrestled with two very serious challenges. The first challenge was the operating condition of the
FTX.com Exchange. The business had a historical customer base, an attractive user interface
and global brand recognition. These valuable assets were observable by the public. However,
the public did not see how the exchange lacked operational systems necessary for sustained
viability. The FTX.com Exchange was built quickly and managed horribly. At no point in its
short lifespan did it have adequate security arrangements for digital assets or cash, regular
practices for reconciling digital assets to user positions, reliable accounting systems, reliable
books and records or appropriately trained operational or financial staff. Further, a “reboot”
would require not only a new leadership team, but the development of new software code, code
audits, building enhanced security arrangements and business practices, and the hiring of new
employees at all levels of operations.

                The second serious challenge was closely related to the first: the collapse of the
FTX Group and Three Arrows Capital Ltd. (“Three Arrows”), as well as the collapse of feeder
financial institutions such as Celsius, Voyager and Genesis, had changed the regulatory profile
for cryptocurrency companies. For a business to be viable in the era of “Crypto 2.0,” the
Debtors believed that the business would need to take a more responsible approach to (i)
customer asset segregation, security and custody, (ii) the separation of exchange operations from
proprietary trading business, (iii) restrictions to prevent U.S. persons investing through the
offshore exchange and (iv) compliance, anti-money-laundering and know-your-client


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procedures. Nor were these legal and regulatory challenges limited to the United States: the
FTX.com Exchange was a global business, the reboot of which would require multiple
regulatory approvals all around the world.

                Faced with these challenges, the approach to FTX 2.0 was non-preclusive. The
Debtors and the consulting stakeholders reached out to existing FTX creditors for ideas, as well
as to crypto exchanges, traditional stock and commodity exchanges, venture capital firms and
private equity firms, including both those who specialized in digital assets and those that did not
have such experience but had made or expressed an interest in making cryptocurrency-related
investments. In the first half of 2023, the Debtors entered into 15 non-disclosure agreements
specific to the FTX 2.0 process and also conducted discussions with numerous other parties that
were already subject to non-disclosure agreements in connection with the Debtors’ other pending
sale processes. In July 2023, the Debtors ultimately received 12 initial indications of interest in
respect of the FTX 2.0 process.

                None of the proposals involved any payment of material cash or other
consideration to acquire the FTX.com Exchange as a going concern. Instead, the only proposals
received that the Debtors and the consulting parties believed warranted serious consideration
involved the migration of the FTX.com Exchange customer relationships to an existing digital
assets business. These customer migration proposals did not involve material upfront cash
payments either, but instead offered various types of earn-out payments or the issuance to the
Debtors of illiquid non-public equity in the existing company or a related joint venture.

                Nevertheless, the Debtors, in consultation with the consulting parties, identified
the two leading customer migration proposals and began to work seriously on improving them
over the next months. Since the proposals to the Debtors included interests in a third party
business (rather than only cash), work by the Debtors included significant “reverse” corporate,
regulatory and cybersecurity diligence on these bidders as well as the negotiation of potential
terms and transaction mechanics. By the late fall of 2023, the Debtors and the Debtors’ advisors,
in consultation with the Official Committee and the Ad Hoc Committee, advanced discussions
with a bidder and extensively negotiated a customer migration transaction, including a stalking
horse purchase agreement. The transaction structure contemplated the issuance by the bidder’s
exchange of a ‘recovery rights token,’ designed by the bidder and the Debtors, to be traded only
on the bidder’s exchange, the voluntary migration of the FTX.com Exchange customers to the
bidder’s exchange, and the payment of variable consideration to the Debtors based in part on
resulting trading activity attributable to the volume of migrated FTX.com Exchange customers.

                However, it became clear in these negotiations that a customer migration
transaction as proposed by either bidder was not in the best interests of the estates. Material
considerations with respect to the bidders included the following:

               •       Bidders attributed material value to the number of migrated customers and
                       the quantum of assets and trading volumes related to such migrated
                       FTX.com Exchange customers on the bidder’s exchange. The magnitude
                       of this anticipated trading activity depended on identifying what trading
                       activity was attributable to FTX.com Exchange customers rather than


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        incumbent customers of the bidder’s exchanges and the parties could not
        agree on mutually acceptable commercial terms.

   •    Bidders also placed significant value on the creation of a novel and
        complicated claims trading mechanism, which injected material regulatory
        and execution risk and expense. The contemplated arrangement also may
        have significantly reduced the ability of customers to freely trade and
        monetize their claims and presented challenges to future distributions by
        the Debtors’ estate post-emergence.

   •    The amount of consideration payable to the Debtors depended in
        substantial part on whether FTX.com Exchange customers elected to
        receive distributions on the bidder’s exchange evidenced by the recovery
        rights tokens, which customers may not have desired. Moreover, as
        customer recoveries in these Chapter 11 Cases rose substantially in late
        2023, the value of trading the recovery token to the bidder was severely
        diminished, thereby further decreasing the transaction consideration to the
        bidder.

   •    The lead bidder required a series of complex and expensive operational
        undertakings by the Debtors, many of which were conditions to closing or
        the payment of meaningful consideration by the bidder.

   •    While the bidders had certain existing licenses, the FTX.com Exchange
        customer base may have required the bidder to obtain additional necessary
        regulatory approvals or exemptions to operate in certain jurisdictions
        around the world where the FTX.com Exchange had customers, reducing
        the value of the bidders’ proposal substantially if trading volumes by such
        customers were excluded from the calculation of amounts due to the
        Debtors in the future.

   •    The lead bidder’s proposal required implementation of a specific plan of
        reorganization, with complicated operational and regulatory requirements
        that could delay and increase the risk of the completion of these Chapter
        11 Cases and distributions to creditors.

   •    The Debtors had invested substantial estate resources on the potential
        transaction, and continued discussions would mean more expenditures
        without assurances of success.

   •    The consideration payable to the Debtors was chiefly in the form of
        illiquid minority equity and/or earn-out interests paid over time, and the
        prospects of monetizing these interests in order to pay cash distributions to
        FTX creditors was uncertain. In addition, even if the consideration paid to
        the Debtors could be monetized successfully in the future, the potential
        value of that consideration was highly uncertain and was determined to be
        outweighed by the costs and risks to execution and implementation as well

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                       as the security of creditor assets following any potential distribution to the
                       bidder platforms.

               •       Ultimately, no bidder proposal was supported by the Official Committee,
                       the Ad Hoc Committee or any of the primary stakeholders with whom the
                       Debtors were consulting.

                Accordingly, in January 2024, the Debtors determined in their business judgment,
in consultation with the Official Committee and the Ad Hoc Committee, to halt any further
marketing and sale processes related to FTX 2.0 for the time being in order to allow the Debtors’
estates to focus on implementation of the current Plan as expeditiously as possible.

                The FTX 2.0 process was exhaustive and thorough, with the opportunity for
stakeholders and highly sophisticated third parties to propose any structure they wished based on
full information about the FTX.com Exchange. The Debtors continue to hold for sale the
software, customer lists, trademarks and other assets associated with the FTX.com Exchange.
However, the Plan is not conditioned upon or built around the reboot of the FTX.com Exchange
or the merger of the FTX.com Exchange with another exchange. Because the Plan contemplates
cash distributions only, rather than the relaunch of the FTX.com Exchange, there is no
significant regulatory risk or uncertainty about whether the Plan will or will not be
consummated. And, under the Plan, all creditors will receive unrestricted cash distributions that
they can re-invest in any manner they like, including in digital assets listed on any of the bidders’
exchanges or anywhere else.

                Sale Processes

               By the Effective Date, the Debtors anticipate to have successfully sold the
overwhelming majority of the assets of the Debtors for U.S. dollars to fund Distributions to
creditors. The scale and pace of the asset monetization effort has been central in establishing the
Debtors’ cash position, which is projected to be $12.8 billion as of the Effective Date. The
primary transactions entered into prior to the date of this Disclosure Statement are described
below.

                   1. LedgerX, Embed, FTX Japan and FTX Europe

                On December 15, 2022, the Debtors filed a motion seeking approval of bid
procedures (the “Bid Procedures”) for sales processes for several businesses [D.I. 233].
Specifically, at that time, the Debtors contemplated selling the following businesses: (1) non-
Debtor Embed; (2) LedgerX; (3) FTX Japan; and (4) FTX Europe. On January 12, 2023, the
Bankruptcy Court granted the Debtors’ motion, approving the Bid Procedures, the form and
manner of notices for the sale of these businesses and assumption and assignment procedures, as
well as scheduling auctions and sale hearings for these processes [D.I. 487].

                In accordance with the Bid Procedures, the Debtors commenced sale processes for
these four businesses. The Debtors initially hoped that the sales would yield significant
recoveries to creditors because the FTX Group had spent over $1 billion in cash to purchase
these businesses before the Chapter 11 Cases. However, it quickly became clear that none of the


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businesses were worth what the FTX Group had paid to acquire them. The Debtors considered
litigation options relating to each historical acquisition and, in the case of Embed and FTX
Europe, filed litigation actions against certain of the sellers and other parties. The Debtors’
litigation activities are detailed in Section 3.G—Litigation. Ultimately, the Debtors reached a
different strategic decision for each of the four businesses.

               With respect to LedgerX, the Debtors received multiple qualified bids and
ultimately selected M 7 Holdings, LLC as the successful bidder. On April 25, 2023, pursuant to
the Bid Procedures, the Debtors filed a notice of this successful bid and a form of sale order for
the sale of LedgerX to M 7 Holdings, LLC [D.I. 1342]. On May 4, 2023, the Bankruptcy Court
entered an order approving the sale of LedgerX for an aggregate purchase price of $49.2 million
[D.I. 1433].

                With respect to Embed, the Debtors determined that liquidation was in the best
interest of the Estates. The Debtors received 12 non-binding initial indications of interest,
including an indication of interest from Michael Giles, the founder of Embed, to purchase Embed
with an average value of approximately $35 million. Of the 12 potential bidders, and after
conducting more comprehensive due diligence, only Mr. Giles and another bidder submitted a
final bid, with Mr. Giles’ $1 million as the higher bid price. Based on the terms of the final bids
received, the Debtors decided to formalize a wind down plan for the liquidation of Embed
beginning in May 2023. As part of this orderly liquidation, ten individuals (nine former Embed
employees and one former Embed consultant) entered into short-term retention agreements
through September 30, 2023 that included provisions settling their prior retention and other
bonus obligations owed by Embed and Debtor West Realm Shires Services Inc. (“WRSS”).
Embed’s other 19 employees were terminated at that time and their claims for prior retention and
other bonus payments remain outstanding. As of October 1, 2023, Embed has closed out of its
customer relationships and has reduced its headcount to four employees. Substantially all
Embed wind-down activities, including remaining regulatory and administrative matters, are
concluded.

                The Debtors have considered multiple options related to FTX Japan, including
seeking to restart operations, the possibility of including the digital asset exchange of FTX Japan
in a potential restart/reboot of the FTX international exchanges or a possible sale to interested
investors. As part of these efforts and to retain the necessary personnel as part of these efforts,
on April 26, 2023, the Debtors filed a motion seeking approval of FTX Japan’s key employee
incentive plan (the “Japan KEIP”) [D.I. 1359]. The Japan KEIP provided for certain incentive
payments to encourage staff with requisite skills and knowledge to continue working at FTX
Japan through a restart and sale or reorganization. On June 8, 2023, the Bankruptcy Court
entered an agreed order approving the Japan KEIP [D.I. 1589]. As of the date hereof, neither
incentive program criteria have been met, and no awards have been granted on account of the
Japan KEIP. The Debtors are continuing to consider their options with respect to FTX Japan,
including a renewed sale process.

              FTX EU Ltd (formerly known as K-DNA Financial Services Ltd) (“FTX
Cyprus”) holds an investment firm license in Cyprus and was responsible for onboarding
European customers to the FTX.com Exchange. FTX Cyprus was acquired by FTX Europe in
September 2022 for approximately $2 million. On November 11, 2022, FTX Cyprus’s license

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was suspended by the Cyprus Securities and Exchange Commission (“CySEC”) and CySEC
instructed it to begin returning funds to customers. Following an extensive reconciliation
exercise with the support of the Debtors’ advisers, it was determined that FTX Cyprus had not
maintained sufficient segregated assets to repay its customer liabilities and faced a substantial
shortfall. This substantial shortfall made it impossible to return segregated customer funds in the
short term, a key requirement for CySEC lifting the suspension of the license.

                The holding company for FTX Cyprus, FTX Europe AG (“FTX Europe”), a
Swiss company, was in similarly abysmal financial condition. FTX Europe was acquired by
FTX Trading in a series of transactions completed in November 2021 for consideration of
approximately $376 million in cryptocurrency, cash and stock (including $56 million in deferred
consideration that had not yet been paid as of the Petition Date). However, as the Debtors’
pursued a potential sale of FTX Europe, it became apparent that legacy liabilities of more than
$125 million would make a near-term sale impossible. Prior to the Petition Date, FTX Europe
had transferred all of its approximately $105 million in crypto assets to FTX.com, with uncertain
prospects for immediate or long-term recovery, which, together with other accumulated losses,
resulted in substantial balance sheet over-indebtedness under Swiss laws. As a result, FTX
Europe’s board of directors, pursuant to its duties under Swiss law, filed a request with the
District Court of Höfe, Switzerland (the “Swiss Court”) to open provisional moratorium
proceedings (the “Provisional Moratorium”) with respect to FTX Europe on April 4, 2023. On
November 24, 2023, the Swiss Court granted a definitive moratorium until June 11, 2024 (the
“Definitive Moratorium” and, together with the Provisional Moratorium, the “Moratorium”).
Since the commencement of the Moratorium, FTX Europe has operated under the supervision of
an independent third-party administrator appointed by the Swiss Court, Holenstein Brusa Ltd
(the “Swiss Administrator”), as FTX Europe has sought to either restructure its debt or enter into
a composition agreement with its creditors. Management of FTX Europe and advisors to the
Debtors have regularly consulted with the Swiss Administrator on operational and strategic
matters with respect to FTX Europe and its subsidiaries, including FTX Cyprus. Where
appropriate, FTX Europe has sought and received the approval of the Swiss Administrator with
respect to significant operational or strategic actions.

               As a result of the foregoing issues, an advantageous sale of FTX Cyprus or FTX
Europe to a bona fide third-party purchaser was not practical. In addition to FTX Cyprus, which
held a suspended regulatory license and faced a large shortfall in customer assets, FTX Europe
did not own any other valuable assets and did not possess any valuable or protected IP. The
Debtors solicited potential third party interest in FTX Cyprus and/or FTX Europe but only
received offers of questionable genuineness, for negligible value and with challenging execution
prospects.

                 Despite these challenges, the Debtors, following a year of sustained efforts to
facilitate the return of FTX Cyprus’s customer funds and find a willing purchaser for the assets
of FTX Europe, have entered into settlements and agreements that will result in the solvent
resolution of FTX Europe and the return of significant value to the Estates of the Consolidated
Debtors. On March 18, 2024, the Bankruptcy Court approved FTX Europe’s proposed sale of
certain assets and the shares of certain subsidiaries (including FTX Cyprus) to certain former
insiders of FTX Europe for $32.7 million, in connection with a broader settlement of adversary
litigation against these parties (as described further in Section 3.G—Litigation). In connection

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with the sale transaction, the Debtors have also negotiated agreements (the “Restructuring
Agreements”) to settle and release a web of asserted claims among FTX Europe, Alameda
Research, FTX Trading and third parties CM-Equity AG and Binance (Switzerland) AG and
result in a $14 million net reduction of claims against the Debtors. On April 19, 2024, the Swiss
Court approved FTX Europe’s sale transaction and the Restructuring Agreements. A motion
requesting the approval of the Restructuring Agreements is currently pending before the
Bankruptcy Court. Following Bankruptcy Court approval and completion of these transactions,
the Debtors expect that FTX Europe will be able to successfully exit the Moratorium, pay back
its third-party creditors in full to the extent of their reconciled claims, return approximately $30
million to FTX Trading and Alameda Research in satisfaction of existing intercompany claims
and consideration, and proceed with an orderly, solvent liquidation.

                   2. Private Sales

                Prior to the Petition Date, the Debtors routinely entered into and exited
investments across a variety of asset categories, including interests in privately held companies,
debt and equity securities in publicly traded companies, investments in certain digital assets,
venture capital or other investment funds, and investments in coins, tokens and token platforms.
A number of these assets were held for purposes of investment and, as a result, were meant to be
monetized over time rather than integrated into the Debtors’ core digital asset exchange
businesses. As part of the effort to maximize the value of the Estates, the Debtors considered
various strategic alternatives with respect to these assets:

               On March 8, 2023, the Debtors filed a motion seeking approval of the sale of
Debtor Clifton Bay Investments LLC’s limited partnership interests in Sequoia Capital Fund,
L.P. (“Sequoia”) to Al Nawwar Investments RSC Limited (“Nawwar”) for approximately $45
million [D.I. 839]. The Debtors had acquired the interests in Sequoia on March 11, 2022 with an
aggregate capital commitment of approximately $100 million, of which Debtor Clifton Bay
Investments LLC contributed approximately $50 million. After evaluating all bids submitted,
the Debtors and Nawwar entered into that certain Purchase and Sale Agreement, dated as of
March 8, 2023. On March 28, 2023, the Bankruptcy Court approved the sale [D.I. 1174].

                On March 22, 2023, the Debtors filed a motion seeking approval of the sale of the
Debtors’ interests in Mysten Labs, Inc. (“Mysten”) and Sui Token Warrants to Mysten for
approximately $96.3 million [D.I. 1140]. The Debtors’ interests consisted of 567,045 shares of
Series B Preferred Stock in Mysten Labs, Inc. (the “Mysten Preferred Stock”) and SUI Token
Warrants to purchase 367,751,203 SUI Tokens. The SUI Tokens were subject to a one-to-four
year rolling lockup period with a one-year cliff following public launch of the SUI Tokens. This
lockup restricted the ability to sell or trade the SUI Tokens in the open market for an extended
timeframe. On April 12, 2023, the Bankruptcy Court approved the sale [D.I. 1266].

                On June 8, 2023, the Debtors filed a motion seeking approval of the sale of
Debtor Maclaurin Investments Ltd.’s interests in SCHF Cayman, L.P. (“SCHF Cayman”) to
Liberty Mutual Investment Holdings LLC (“Liberty Mutual”) for approximately $19.6 million
[D.I. 1596, 1789]. The Debtors had acquired the interests in SCHF Cayman on July 1, 2022,
with an aggregate capital commitment of $100 million, only $25 million of which was funded as
of the Petition Date. After evaluating all bids submitted, the Debtors and Liberty Mutual entered


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into that certain Purchase and Sale Agreement, dated as of June 8, 2023. SCHF Cayman is
designed as an evergreen fund and therefore had no guaranteed exit timing or imminent
monetization opportunity for the Debtors. On June 28, 2023, the Bankruptcy Court approved the
sale [D.I. 1792].

                 On August 2, 2023, the Debtors filed a motion seeking an order authorizing the
Debtors to enter into a settlement and share exchange agreement, pursuant to which, among other
things, (i) the Debtors would transfer all shares of common stock of IEX Group, Inc. (“IEX”),
other than 578,600 shares of IEX common stock (the “Retained Shares”) which the Debtors
would retain and have the ability to monetize; (ii) IEX would transfer to the Debtors all of the
common shares of FTX Trading and all of the shares of class A common stock of WRSS that it
had received in a prior transaction with the Debtors; (iii) IEX and the Debtors would release any
claims or causes of action against each other arising out of the prior transaction; and (iv) IEX
would waive all transfer restrictions related to the Retained Shares and cooperate with the
Debtors in the monetization of the Retained Shares [D.I. 2110]. On August 18, 2023, the
Bankruptcy Court approved the motion [D.I. 2204]. On January 4, 2024, the Debtors filed a
motion seeking approval of the sale of the Retained Shares to the consortium of purchasers (the
“IEX Purchasers”) for an aggregate price of approximately $40 million [D.I. 5381, 6669]. The
Debtors had acquired the interests in IEX on March 18, 2022, in exchange for shares of certain
of the Debtor entities. After evaluating all bids submitted, the Debtors and IEX Purchasers
entered into that certain Purchase and Sale Agreement, dated as of January 4, 2024. On January
29, 2024, the Bankruptcy Court approved the sale [D.I. 6731].

               On January 4, 2024, the Debtors filed a motion seeking approval of the sale of a
convertible promissory note in Dave Inc. (the “Dave Note”) held by Debtor FTX Ventures Ltd.
to Dave Inc. for $71 million with the potential for an additional $29 million payment following
certain corporate events relating to Dave Inc., including a change in control thereof [D.I. 5382,
6630]. The Debtors had acquired the Dave Note on March 21, 2022, for an aggregate
consideration of $100 million. After conducting a market check to confirm the price of the Dave
Note, the Debtors and Dave Inc. entered into that certain Purchase and Sale Agreement, dated as
of January 4, 2024. On January 26, 2024, the Bankruptcy Court approved the sale [D.I. 6685].

                On January 4, 2024, the Debtors filed a motion seeking approval of the sale of a
convertible promissory note (the “Helix Note”) in Helix Nanotechnologies Inc. (“Helix”) held by
Debtor Clifton Bay Investments LLC to TVC Momentum Fund I, LP, TVC Momentum Fund II,
LP, and TVC XLII, a Series of The Venture Collective Holdings LLC (collectively, the “Helix
Purchasers”) for approximately $5 million with the potential for an additional $3 million
payment following certain corporate events relating to Helix, including the completion of an
equity capital fundraising by Helix [D.I. 5383, 6630]. The Debtors had acquired the Helix Note
on January 27, 2022 for an aggregate consideration of $10 million. After conducting a market
check to confirm the price of the Helix Note, the Debtors and the Helix Purchasers entered into
that certain Purchase and Sale Agreement, dated as of January 4, 2024. On January 26, 2024, the
Bankruptcy Court approved the sale [D.I. 6663].

                On February 2, 2024, the Debtors filed a motion seeking approval of procedures
for the private sale or auction (the “Anthropic Sale Procedures”) of shares of Anthropic, PBC
(“Anthropic”) held by the Debtors [D.I. 6950, 6952]. On February 23, 2024, the Bankruptcy

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Court granted the Debtors’ motion, approving the Anthropic Sale Procedures, the form and
manner of notice for the sale of the shares and the form of the proposed sale order for any sales
completed pursuant thereto [D.I. 7908, 8215].

                On March 22, 2024, in accordance with the Anthropic Sale Procedures, the
Debtors entered into a Purchase and Sale Agreement by and among Debtor Clifton Bay
Investments LLC and the purchaser set forth therein, for the sale of 29,465,891 shares of
Anthropic for an aggregate price of approximately $884.1 million (the “Anthropic Sale”), a
premium of over 267% above the original purchase price. Also on March 22, 2024, the Debtors
filed a notice with the Bankruptcy Court seeking approval of the Anthropic Sale [D.I. 10241].
On March 25, 2024, the Debtors filed a revised notice for the Anthropic Sale to allow the
Debtors to enter into a release of claims against Anthropic in connection with the Anthropic Sale
[D.I. 10348]. The Bankruptcy Court approved, and the Debtors’ closed, the Anthropic Sale on
April 8, 2024.

                   3. De Minimis Sales

               Prior to the Petition Date, the Debtors regularly entered into and exited relatively
small investments across a variety of asset categories, including, among other investments, coins,
tokens and token platforms and interests in privately held companies. The Debtors also routinely
acquired controlling or minority interests in early-stage private companies with relatively small
enterprise values. A number of these assets were held purely for investment purposes and, as a
result, were meant to be monetized over time rather than integrated into the Debtors’ core
cryptocurrency exchange businesses.

                 On January 18, 2023, the Debtors filed a motion seeking approval of procedures
for the sale or transfer of certain assets that were of relatively de minimis value compared to the
Debtors’ total asset base (the “De Minimis Assets”) free and clear of liens, claims, interests and
encumbrances [D.I. 525]. On February 13, 2023, the Bankruptcy Court entered an order
approving the motion [D.I. 702] (the “De Minimis Assets Sale Order”). On February 16, 2024,
the Bankruptcy Court entered an order approving an amendment to the De Minimis Assets Sale
Order to increase the amount of funds available for the funding of capital calls issued by certain
of the De Minimis Assets [D.I. 7540]. Since the entry of the De Minimis Assets Sale Order, the
Debtors have filed monthly status reports describing the De Minimis Assets sold each month
[D.I. 1254, 1473, 1608, 1859, 2441, 3035, 3717, 5326, 7161, 11504 and 14176] and proceeds to
date are approximately $20.4 million in the aggregate.

                   4. Coin Monetization

                On September 13, 2023, the Debtors filed a motion seeking Bankruptcy Court
approval to sell, hedge and stake certain digital assets in accordance with certain investment
guidelines, which motion was supported by the Official Committee and the Ad Hoc Committee
[D.I. 2239]. On September 13, 2023, the Debtors received such Bankruptcy Court approval [D.I.
2505] (the “Coin Monetization Order”). Contemporaneously with the entry of the Coin
Monetization Order, the Bankruptcy Court authorized the Debtors’ entry into, and performance
of its obligations under, that certain Investment Services Agreement, dated August 23, 2023 (the
“IMA”), between the Debtors and Galaxy Digital Capital Management LP (“Galaxy”) [D.I.


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2504]. The IMA appointed Galaxy as an investment manager for the Debtors, and authorized
Galaxy to sell, hedge and stake the Debtors’ digital assets on behalf of the Debtors pursuant to
the investment guidelines in the Coin Monetization Order. On January 26, 2024, the Debtors and
Galaxy entered into a letter agreement in connection with the IMA which was approved by the
Bankruptcy Court on February 8, 2024 [D.I. 7136].

                The Debtors are in the process of monetizing their digital assets in preparation for
dollarized distributions to creditors after the effective date of the Plan. Through March 31, 2024,
the Debtors have sold certain of their digital assets for approximately $5 billion pursuant to the
Coin Monetization Order.

               While the Debtors were in the process of conducting digital asset sales, the
Debtors, in consultation with the Official Committee and the Ad Hoc Committee, determined to
conduct Bitcoin derivative trading and to generate yield on their digital assets portfolio. The
Debtors have executed options trading documentation with several counterparties and have
executed hedging transactions with such counterparties.

                   5. Sale of Grayscale and Bitwise Trust Units

               The Debtors held units (the “Trust Assets”) in five statutory trusts managed by
Grayscale Investments, LLC (the “Grayscale Trusts”) and one statutory trust managed by
Bitwise Investment Advisors, LLC (the “Bitwise Trust”, in a brokerage account at ED&F Man
Capital Markets, Inc. (n/k/a Marex Capital Markets Inc.) and in a brokerage account at Deltec
Bank and Trust Limited. The Grayscale Trusts and Bitwise Trust allow investors to gain
exposure to digital assets without owning the digital assets themselves.

               On November 3, 2023, the Debtors entered into that certain Second Amended and
Restated Investment Services Agreement (the “Second A&R IMA”) to permit Galaxy to sell the
Trust Assets on behalf of the Debtors. The Debtors concurrently filed a motion seeking
authorization for the Debtors to sell the Trust Assets pursuant to certain procedures described in
the Second A&R IMA. The motion was approved on November 29, 2023. The Debtors have
sold the majority of the Trust Assets, and expect to finalize the sale of the remaining Trust Assets
in April 2024.

                Consensual Turnovers

               Since the Petition Date, the Debtors have engaged in an extensive effort to
investigate and identify property of the estate that is in the possession or control of third parties.
Certain of those third parties consented to the turnover of such property conditioned upon an
order of the Bankruptcy Court. Accordingly, the Debtors filed the following consensual turnover
motions:

               •       On January 25, 2023, the Debtors filed a motion seeking the turnover of
                       approximately $348 million of assets held in brokerage accounts at
                       Interactive Brokers LLC [D.I. 582]. On February 3, 2023, the motion was
                       granted by the Bankruptcy Court [D.I. 616].



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               •      On March 29, 2023, the Debtors filed a motion seeking the turnover of
                      approximately $168 million of assets held in accounts by Aux Cayes
                      FinTech Co. Ltd. and Okcoin USA, Inc. [D.I. 1189]. On April 10, 2023,
                      the motion was granted by the Bankruptcy Court [D.I. 1245].

               •      On March 29, 2023, the Debtors filed a motion seeking the turnover of
                      approximately $53 million of assets held by Deltec International Group
                      [D.I. 1195]. On April 12, 2023, the motion was granted by the
                      Bankruptcy Court [D.I. 1267].

               •      On August 2, 2023, the Debtors filed a motion authorizing the turnover of
                      approximately $14 million of assets held by Stripe, Inc. and approximately
                      $1 million of assets held by BiLira Teknoloji Anonim Şiirketi [D.I. 2107].
                      On August 18, 2023, the motion was granted by the Bankruptcy Court
                      [D.I. 2203].

               •      On December 21, 2023, the Debtors filed a motion seeking the turnover of
                      approximately $11 million in funds held by the Federal Deposit Insurance
                      Corporation (“FDIC”) as receiver for a Signature Bank account in the
                      name of FTX Philanthropy [D.I. 5082]. After further conversations with
                      the FDIC, the Debtors withdrew the motion on consent [D.I. 5592] and re-
                      filed a motion seeking to designate WRSS as the payee for the FTX
                      Philanthropy deposit claim against the FDIC as receiver for Signature
                      Bridge Bank [D.I. 5597]. On January 26, 2024, the Bankruptcy Court
                      approved the motion [D.I. 6683].

                Litigation

                As part of the ongoing investigation and asset recovery initiatives, the Debtors
have initiated numerous legal actions against various parties, including former Insiders, former
business partners of the Debtors and other parties. These include:

              1.      Three actions against Mr. Bankman-Fried and other former Insiders to
                      recover funds wrongfully paid:

                         i.   An adversary action against Messrs. Bankman-Fried, Wang, Singh
                              and Ms. Ellison [D.I. 1886]. The complaint alleges breaches of
                              fiduciary duties, aiding and abetting breaches of fiduciary duties,
                              waste of corporate assets, aiding and abetting waste of corporate
                              assets, and conversion, among other claims. The Debtors are
                              further seeking to avoid significant fraudulent transfers that were
                              made for the benefit of the defendants. The defendants’ motions to
                              dismiss or answers were due April 11, 2024.

                        ii.   An adversary action against FTX Group in-house counsel and
                              Chief Compliance Office Daniel Friedberg [D.I. 1679]. The
                              complaint details Friedberg’s facilitation of the routing of customer


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                funds to former Insiders, failure to implement necessary internal
                controls, and silencing of whistleblowers who threatened to expose
                the FTX Group’s wrongdoing. The Debtors’ claims against
                Friedberg include breaches of his fiduciary duties and aiding and
                abetting breaches by Messrs. Bankman-Fried, Wang, Ms. Ellison
                and other executives, legal malpractice, and corporate waste. The
                Debtors seek to recover various transfers to Friedberg, including
                payment of an approximately $3 million bonus. Friedberg filed his
                answer, partial motion to dismiss, and counterclaims in the
                adversary proceeding on October 23, 2023, asserting a right to
                indemnification and moving to dismiss portions of the Debtors’
                fraudulent transfer claims relating to Serum tokens and the
                Debtors’ cause of action for disallowance of Friedberg’s claims
                pursuant to section 502(d) of the Bankruptcy Code. On January
                18, 2024, the Debtors filed a First Amended Complaint against
                Friedberg [Adv. D.I. 32]. The Parties have proposed that any
                response or answer to the First Amended Complaint be filed by
                May 18, 2024.

         iii.   An adversary action against Mr. Bankman-Fried’s parents, Allan
                Joseph Bankman and Barbara Fried, detailing Bankman and
                Fried’s exploitation of their access and influence within the FTX
                Group to enrich themselves and their chosen causes by millions of
                dollars [D.I. 2642]. Among the transfers the Debtors seek to avoid
                is a $10 million gift and purchase of a $16.4 million luxury
                property in The Bahamas, both of which originated from Debtor
                funds and were transferred to Bankman and Fried for their personal
                benefit. The complaint also alleges that Bankman breached his
                fiduciary duties to Alameda Research, Alameda Research Ltd.,
                WRSS, and FTX Trading as a de facto officer, director, and/or
                manager of those entities, and that Fried aided and abetted former
                Insiders’ breaches of fiduciary duties by providing advice to evade
                political contribution disclosure rules. On January 15, 2024,
                Bankman and Fried filed a motion to dismiss the complaint. On
                March 15, 2024, the Debtors filed a First Amended Complaint.
                [Adv. D.I. 26]. Bankman and Fried have until May 22, 2024 to
                move to dismiss or answer the First Amended Complaint.

   2.   An adversary action against Michael Giles, the founder and CEO of
        Embed, and various other former Embed equity holders, to recover
        approximately $292 million [D.I. 1503]. Briefing on the defendants’
        motions to dismiss completed on October 20, 2023 and oral argument was
        held on February 29, 2024. The Bankruptcy Court deferred a decision on
        the defendants’ motion to dismiss pending the outcome of a mediation.
        Discovery is also stayed pending the outcome of that mediation.



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   3.   An adversary action against (i) various owners and affiliates of K5 Global
        Holdings LLC, a venture capital company, including Michael Kives and
        Bryan Baum (the “K5 Defendants”), and (ii) SGN Albany Capital LLC
        (“SGN Albany”), an entity majority-owned by Messrs. Bankman-Fried,
        Wang, and Singh, to recover $700 million [D.I. 1679]. On September 26,
        2023, the Bankruptcy Court granted plaintiffs’ motion for default
        judgment against SGN Albany. On August 17, 2023, the K5 Defendants
        filed a motion to withdraw the reference, which the District Court denied
        on January 2, 2024. Kives et al. v. Alameda Research Ltd. et al., No. 23-
        cv-00915 (D. Del. Jan. 2, 2024), [D.I. 9]. On September 11, 2023, the K5
        Defendants filed a motion to stay the adversary proceeding and a motion
        to dismiss the complaint [Adv. D.I. 38]. The Bankruptcy Court denied the
        stay motion on February 21, 2024 [Adv. D.I. 77], and briefing on the
        motion to dismiss was completed on December 11, 2023. The parties
        currently expect to participate in mediation following the substantial
        completion of document discovery.

   4.   An adversary action against Lorem Ipsum UG, Patrick Gruhn, Robin
        Matzke, Brandon Williams, Martha Lambrianou and Marcel Lotscher (the
        “LI Defendants”), former insiders of FTX Europe, to recover $323.5
        million in connection with the Debtors’ prepetition acquisition of FTX
        Europe [D.I. 1866]. The LI Defendants filed motions to dismiss the
        adversary action on October 25 and October 27, 2023 [D.I. 3399, 3400].
        On November 17, 2023, Marcel Lotscher filed a motion to dismiss FTX
        Europe AG from these Chapter 11 Cases [D.I. 4037]. On January 4, 2024,
        the Debtors filed a motion seeking approval for the sale of the equity
        interests of FTX EU and FTX Switzerland GmbH to FTX Trading, and the
        dismissal of certain of the Debtors associated with FTX Europe [D.I.
        8202]. On January 10, 2024, Martha Lambrianou, the sole remaining
        prepetition director of FTX EU, filed a motion to dismiss FTX EU from
        these Chapter 11 Cases [D.I. 5529]. To address the various motions filed
        by the LI Defendants, on January 24, 2024, the Debtors filed a motion
        seeking to establish a comprehensive litigation schedule (the “Scheduling
        Motion”) [D.I. 6520]. After the Debtors filed the Scheduling Motion, the
        Debtors and the LI Defendants commenced settlement discussions. After
        extensive negotiations, on January 29, 2024, the parties agreed to certain
        principles of cooperation which included, among other things, (i) a global
        settlement and withdrawal of the motions to dismiss by the LI Defendants
        and the adversary action brought by the Debtors [D.I. 11027, 11028,
        11054, 11073, 11076, 11156, 11212], (ii) a sale of certain entities of FTX
        Europe to certain of the LI Defendants and the dismissal of related entities
        from the Chapter 11 Cases subject to certain conditions [D.I. 9585], (iii)
        the allowance of certain customer claims in the proof of claim filed by
        Robin Matzke and (iv) mutual releases among the Debtors and LI
        Defendants (collectively, the “FTX Europe Settlement”). On February 22,
        2024, the Debtors filed a motion seeking approval of the FTX Europe


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        Settlement [D.I. 7853], which was approved by the Bankruptcy Court on
        March 20, 2024 [D.I. 9587].

   5.   An adversary action against Platform Life Sciences Inc. (“Platform Life
        Sciences”), Latona Biosciences Group (“Latona”), Ross Rheingans-Yoo,
        Mr. Bankman-Fried, Nicholas Beckstead, and various small life sciences
        defendants, for approximately $72 million in fraudulent transfers [D.I.
        1881]. On September 15, 2023, Platform Life Sciences moved to dismiss
        the complaint for lack of personal jurisdiction [Adv. D.I. 35]. Following
        oral argument on Platform Life Sciences’ motion on November 15, 2023
        [Adv. D.I. 71], the Bankruptcy Court denied Platform Life Sciences’
        motion on December 20, 2023. [Adv. D.I. 72]. Pursuant to a Stipulation
        and Order entered on November 1, 2023, the adversary proceeding was
        stayed as to the small life sciences defendants and Beckstead, and the
        small life sciences defendants agreed to facilitate the transfers to the
        Debtors of all rights and interests that Latona has in the small life sciences
        defendants if Latona consents to it or the Bankruptcy Court orders it [Adv.
        D.I. 62, 64]. Following negotiations with Platform Life Sciences, on
        January 26, 2024, the Debtors filed a motion seeking approval of a
        settlement pursuant to which Platform Life Sciences agreed to pay the
        Debtors $16 million. [Adv. D.I. 82]. On February 13, 2024, the
        Bankruptcy Court approved the settlement with Platform Life Sciences.
        [Adv. D.I. 89]. On March 27, 2024, Platform Life Sciences paid the
        Debtors $16 million and they were dismissed from the case on April 4,
        2024. On January 25, 2024, the Debtors reached a settlement with Nick
        Beckstead pursuant to which he provided documents and information to
        the Debtors, sat for an interview, and agreed to be deposed in the
        adversary proceeding if necessary. On March 13, 2024, the Bankruptcy
        Court approved the settlement with Mr. Beckstead and on March 14, 2024,
        the Debtors dismissed Mr. Beckstead from the case. Following extensive
        negotiations with the remaining defendants (other than Mr. Bankman-
        Fried), on April 26, 2024, the Debtors filed a motion seeking to approve a
        settlement with Latona, the remaining life sciences defendants and Ross
        Rheingans-Yoo, pursuant to which (i) Greenlight will pay the Debtors
        $420,918, (ii) Genetic Networks will pay the Debtors $450,000, (iii) 4J
        Therapeutics, Riboscience and Lumen Bioscience consent to Latona’s
        transfer of its rights and interest in those life sciences defendants to the
        Debtors; and (iv) the Debtors will allow $180,000 of Rheingans-Yoo’s
        compensation claim and defer for future determination by the Bankruptcy
        Court his claim for a $650,000 donation to a charity.

   6.   An adversary action against LayerZero Labs, Ltd. (“LayerZero”), Ari
        Litan, and Skip & Goose LLC to recover assets transferred to LayerZero
        through fire sale transactions negotiated on the eve of the commencement
        of these Chapter 11 Cases, as well as to recover approximately $41 million
        in preferential transfers to the defendants. Defendants did not move to


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                      dismiss the complaint. Defendants’ answer was filed on December 22,
                      2023. Discovery is ongoing.

               7.     An adversary action against former FTX Group employees Michael
                      Burgess, Huy Xuan “Kevin” Nguyen, Jing Yu “Darren” Wong, and
                      Matthew Burgess, as well as certain related entities and individuals, to
                      recover as fraudulent and/or preferential transfers approximately $157
                      million removed from the FTX Exchanges in the lead-up to the petition
                      date [D.I. 2654]. On November 20, 2023, the defendants filed their
                      motion to dismiss. Motion to dismiss briefing was completed March 12,
                      2024. Discovery is ongoing.

               8.     An adversary action against Bybit Fintech Ltd., Mirana Corp., Time
                      Research Ltd., and other affiliated persons seeking to recover fraudulent
                      and preferential transfers of withdrawals valued at approximately $950
                      million. The Debtors are further seeking turnover of Debtor property, and
                      damages from violations of the automatic stay caused by Bybit Fintech
                      Ltd.’s depriving the Debtors of their assets, and otherwise taking steps to
                      devalue Debtor property [D.I. 3722]. The defendants filed motions to
                      dismiss on February 6, 2022. Motion to dismiss briefing is scheduled to
                      be completed May 8, 2024.

               9.     As further described in Section 3.J.1Voyager, Alameda Research Ltd.
                      filed an adversary action on January 30, 2023 against Voyager Digital,
                      LLC and HTC Trading Inc. seeking to avoid repayments by Alameda
                      Research Ltd. under the Voyager MLA Loans (as defined below) [D.I.
                      596]. On March 2, 2023, the Debtors filed an amended complaint adding
                      FTX Trading as plaintiff and asserted additional preference claims against
                      the defendants. In October 2023, the parties engaged in mediation to
                      resolve the adversary action and other related disputes. On April 4, 2024,
                      the parties entered into a global settlement, consensually resolving the
                      parties’ claims and disputes. The Debtors filed a motion seeking approval
                      of the settlement on April 9, 2024 [D.I. 11548] and the motion was
                      approved on April 29, 2024 [D.I. 13123].

                 Also, on March 22, 2023, the Debtors filed a motion seeking an order authorizing
the Debtors to enter into a settlement agreement for approximately $460 million with Modulo
Capital, Inc. and various affiliates (the “Modulo Parties”) in connection with various claims the
Debtors believed they had against the Modulo Parties, including fraudulent transfer and/or
preferential transfer claims [D.I. 1133]. The settlement agreement required the Modulo Parties
to pay approximately $406 million in cash to the Debtors, and release claims, valued at
approximately $56 million, to assets held on the FTX.com Exchange [D.I. 1133]. On April 10,
2023, the Bankruptcy Court approved the motion [D.I. 1244]. In early May 2023, Modulo
Capital, Inc. transferred approximately $406 million in cash to the Debtors.




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                Cooperation with Governmental Investigations

                Since the commencement of these Chapter 11 Cases, the Debtors have provided
substantial cooperation in investigations by various governmental authorities around the
world. The Debtors determined that cooperation with these investigations was in the best
interests of their estates because cooperation allowed the Debtors access to information
concerning recoverable assets, helped governmental authorities seize assets beyond the reach of
the Debtors that might ultimately be the source of incremental recovery for FTX creditors,
avoided the indictment of the Debtor entities, facilitated the reasonable resolution of
governmental claims against the Debtors (ultimately including the subordination arrangements
contemplated by the Plan) and encouraged the potential distribution by the Debtors to creditors
of assets forfeited in criminal proceedings against Mr. Bankman-Fried and others. The Debtors
faced numerous investigation challenges associated with their efforts to collect and preserve
documents, including (i) the near-complete absence of trustworthy financial information and
customary corporate records, (ii) FTX Group employees’ extensive use of ephemeral messaging
systems pre-petition, and (iii) the need to identify and collect devices and documents that were
located in foreign jurisdictions.

               From the filing of these Chapter 11 Cases through the completion of Mr.
Bankman-Fried’s criminal trial, the Debtors have responded to near-daily requests from domestic
and international authorities for documents and data pertaining not only to Mr. Bankman-Fried
and other FTX insiders, but also to various users of FTX Exchanges who may be the subject of
investigations or been victims of criminal activity. These efforts include:

               •      More than 400 requests from the Department of Justice and federal law
                      enforcement agencies, including the Federal Bureau of Investigation,
                      Department of Homeland Security, IRS and Drug Enforcement
                      Administration;

               •      More than 300 requests from U.S. federal regulators, including the
                      Securities and Exchange Commission and CFTC;

               •      Requests from Congressional committees; and

               •      Requests from non-U.S. regulators and criminal authorities.

               All told, the Debtors and their advisors have provided law enforcement and
regulatory authorities with more than 4.3 terabytes of data, including more than 1.4 million
documents.

                 In particular, the Debtors and their advisors have cooperated with the Department
of Justice in its ongoing criminal investigations, which have—to date—resulted in four Insiders
pleading guilty and Mr. Bankman-Fried being convicted on seven counts following a jury trial
and sentenced to 25 years in prison. The Debtors and their advisors also have been cooperating
with the Department of Justice and other governmental authorities in connection with
investigations into other potential criminal activity and misconduct.



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                The Debtors and their advisors also have engaged extensively with the
Department of Justice and other authorities to coordinate asset recovery and asset forfeiture
efforts in order to maximize recoveries for creditors and victims.

                Other Recovery Efforts

                   1. Donation and Political Contribution Recoveries

                After extensive analysis of bank records and various internal records, the Debtors
identified 84 high-value prepetition transfers to different non-profit entities or projects totaling
approximately $158.4 million. This set of transfers consists primarily of transfers above
$500,000 and ranges up to $16,647,353. The Debtors have coordinated closely with the
Department of Justice and other authorities with respect to these transfers, and the Debtors have
contacted each of the recipients of these larger dollar transfers to seek the return of these funds to
the extent Debtors are the appropriate party to seek their return. Examples of resolutions
completed to date include: (i) Effective Ventures Foundation USA, Inc. for $22.54 million;
(ii) Stanford University for $5.7 million; (iii) Center for AI Safety for $5.2 million;
(iv) Vanguard Charitable Endowment Program for $4.7 million; (v) New Venture Fund for $4.5
million; (vi) Effective Ventures Foundation UK for $4.2 million; (vii) The Working Policy
Project for $2.9 million; and (viii) Ought Inc. for $3.5 million. The Debtors also are reviewing
potential lower-value prepetition transfers totaling $46.2 million to approximately 319 non-profit
entities, projects or individuals, consisting primarily of transfers of $500,000 or less. To date,
after research, outreach and negotiation with transferees, the Debtors have recovered a total of
approximately $72.8 million from 58 entities, projects or individuals.

                The Debtors have also identified approximately $195 million in prepetition
transfers to political entities across approximately 1,072 different contributions. This includes
transfers as large as $10 million, but the vast majority—900—are transfers of under $100,000,
including hundreds of transfers of a few thousand dollars each. The Debtors have coordinated
closely with the Department of Justice and other authorities with respect to these transfers, and
have agreed that the Department of Justice is the appropriate party to seek the return of the
majority of these transfers. To date, the Debtors have reached agreements to recover
approximately $6 million from the recipients for which the Debtors are the appropriate party to
seek the return of funds, which does not include amounts recovered by the Department of
Justice.

                   2. Settlement Procedures Motion

                On September 11, 2023, the Bankruptcy Court entered the Order Authorizing and
Approving Procedures for Settling Certain Existing and Future Litigation Claims and Causes of
Action [D.I. 2487] (the “Settlement Procedures Order”), which streamlines the process for
approving small dollar settlements. Under the order, and with certain exclusions, claims with an
estimated value of $3 million or less may be settled without a filing under Bankruptcy Rule
9019(a) by providing notice and a five-day objection period to representatives of the Official
Committee, the Ad Hoc Committee, and the U.S. Trustee. Where the estimated claim value is
greater than $3 million and less than or equal to $15 million, and the settled value is $7 million
or less, claims may be settled by filing a notice with the Bankruptcy Court and allowing a five-


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day period for objection for the Official Committee, the Ad Hoc Committee, and the U.S.
Trustee. The order also requires a monthly filing identifying the settling parties and settlement
amounts for the prior month.

               To date, the Debtors have utilized the Settlement Procedures Order to reach
settlements without the need for motion practice with over 60 recipients of estate funds,
including non-profit entities, universities, public policy and research institutes, individuals and
defendants in the Debtors’ contemplated and filed adversary actions, resulting in settlements in
excess of $55 million.

                   3. Other Recovery Efforts

                The Debtors have coordinated closely with the Department of Justice in
connection with the seizure and forfeiture of Bombardier Global and Embraer Legacy airplanes,
which were purchased and improved with approximately $35 million of estate funds. On March
22, 2024, the Debtors, the Department of Justice and Paul Aranha, who had claimed he owned
the airplanes, submitted a stipulation for approval of the United States District Court in the
Southern District of New York pursuant to which Aranha would return the Embraer Legacy to
the Department of Justice and the United States Marshals would sell both planes. The
Bankruptcy Court entered that stipulation on March 22, 2024, and Aranha returned the Embraer
Legacy to the Department of Justice on March 25, 2024.

               On September 7, 2023, former Debtor insider Ryan Salame pleaded guilty to
conspiracy to defraud the United States and willfully violate the Federal Election Campaign Act
and conspiracy to operate an unlicensed money transmitting business. Plea Tr. 24:10-25, Sept. 7,
2023, United States v. Salame, 22-cr-00673 (S.D.N.Y. 2023). As a condition of his plea
agreement, Salame was required to pay restitution to the Debtors in the amount of
$5,593,177.91. On May 1, 2024, the Debtors filed in the Bankruptcy Court a motion seeking
approval of a settlement among the Debtors, Salame, the Department of Justice and the Bahamas
JOLs, pursuant to which Salame will transfer legal title of an apartment he owns in the Bahamas
that was recently appraised at $5.9 million to FTX DM, by the Bahamas JOLs, as nominee for
the Debtors in satisfaction of the $5,593,177.91 in restitution that he owes the Debtors
[D.I. 13631].

               In coordination with the Department of Justice, the Debtors have helped secure
more than half a billion dollars of assets held on more than a dozen third-party platforms around
the world, including a significant amount of Debtor assets held in accounts nominally registered
in the name of non-Debtor entities or individuals. The Debtors continue to work with third-party
exchanges to secure additional Debtor assets held on those platforms.

                The Debtors held a significant stake in an early-stage crypto project called the
Pyth Network. Following extensive discussions, on June 14, 2023, the Debtors filed a motion
seeking approval of a settlement that granted the Pyth Network relief from the automatic stay to
permit it to “re-mint” a replacement Pyth token and to deliver 1.12 billion replacement PYTH
tokens to the Debtors. The motion was approved by the Bankruptcy Court on June 23, 2023 and
the Debtors received the replacement PYTH tokens.



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               The FTX Group held hundreds of diverse investments specializing in token
development projects. Through the comprehensive efforts to identify these investments,
including extensive contract review, blockchain tracing, and outreach initiatives, the Debtors
have successfully recovered over $1.6 billion in tokens.

                By conducting asset tracing, the Debtors also identified $20 million in accounts at
Signature Bank and Evolve Bank & Trust that were entirely funded through transfers from
Debtor WRSS, Debtor North Dimension, Inc. and Debtor FTX Trading Ltd., ostensibly for the
benefit of the FTX Foundation (n/k/a FTX Philanthropy). The Debtors worked with the treasurer
of the FTX Foundation, and coordinated with the FDIC and payment processor Wise to arrange
for the return of the $20 million to the Debtors’ estates.

               The Debtors also issued over 50 Rule 2004 document requests, reviewed millions
of pages of documents concerning FTX Group prepetition insiders, the FTX Groups’ venture
investments, and the professionals, consultants and financial institutions engaged by the FTX
Group, and continue to analyze and consider all potential claims and causes of action.

                Other Cryptocurrency Bankruptcies

                   1. Voyager

               Before July 2022, certain Debtors and Voyager Digital, LLC (“Voyager”) and
each of Voyager’s affiliated debtors (together with Voyager, the “Voyager Debtors”) were
involved in various financial engagements. On June 21, 2022, Debtor Maclaurin Investments
Ltd. (formerly known as Alameda Ventures, Ltd.) as lender, Voyager Digital Holdings, Inc. as
borrower, and Voyager Digital, Ltd. (“Voyager TopCo”), as guarantor, entered into an
agreement to establish a loan facility (the “Voyager Loan Facility”). At that time, Alameda
Ventures, Ltd. and Debtor Alameda Research Ventures LLC were also the beneficial owners of
several million shares of common stock of Voyager TopCo. Plus, Voyager TopCo and HTC
Trading Inc., a non-Debtor affiliate of the Voyager Debtors, were parties to a loan agreement
pursuant to which a series of loans in cryptocurrency and cash were made to Debtor Alameda
Research Ltd. (one of Alameda Research’s subsidiaries in the Alameda Silo) (the “Voyager
MLA Loans”).

                After the Voyager chapter 11 cases were commenced, but before the Petition
Date, Debtor West Realm Shires Inc. (“WRS”) submitted the winning bid in the Voyager
Debtors’ auction of their businesses, a central component of their reorganization proceedings.
On September 27, 2022, Voyager TopCo and WRS entered into an asset purchase agreement,
whereby WRS would acquire a substantial amount of the Voyager Debtors’ assets. The
bankruptcy court overseeing the Voyager chapter 11 cases approved the Voyager Debtors’ entry
into the asset purchase agreement (the “Voyager APA”) on October 20, 2022, with the
transaction contemplated to close pursuant to the Voyager Debtors’ to be filed chapter 11 plan of
reorganization. As discussed below, the Voyager APA was terminated pursuant to stipulation
between the parties before the transaction closed following the FTX Group’s collapse.

               In addition, various other Debtors also timely filed proofs of claim in the Voyager
chapter 11 cases. On October 3, 2022, Alameda Ventures, Ltd. filed proofs of claim against the


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Voyager Debtors, asserting certain claims for $75 million that were outstanding under the
Voyager Loan Facility, plus certain additional claims for related damages. Alameda Research
Ventures LLC also filed a proof of claim for damages arising from the purchase of its shares of
Voyager TopCo common stock. The Voyager Debtors have also filed proofs of claim in these
Chapter 11 Cases asserting claims related to the Voyager MLA Loans and the Voyager APA,
including claims for no less than $130 million arising from the termination of the Voyager APA.

              Following the Petition Date, the Debtors and the Voyager Debtors engaged in
extensive negotiations and formal proceedings to resolve their outstanding business matters.

               First, after the Petition Date, the Debtors and the Voyager Debtors agreed to
terminate the Voyager APA. A stipulation terminating that agreement was approved by the
Bankruptcy Court on January 9, 2023 [D.I. 423] and by the bankruptcy court in the Voyager
chapter 11 cases on January 10, 2023.

                Second, on January 30, 2023, Alameda Research Ltd. filed a complaint in the
Bankruptcy Court against Voyager Digital, LLC and HTC Trading Inc. (collectively, the
“Voyager Preference Defendants”) seeking to avoid repayments by Alameda Research Ltd.
under the Voyager MLA Loans in September and October 2022 and related amounts as
preferences under sections 547 and 550 of the Bankruptcy Code. An amended complaint was
filed on March 2, 2023 adding FTX Trading as a plaintiff and asserting additional preference
claims arising from withdrawals by the Voyager Debtors from the FTX Exchanges (collectively
with the Voyager MLA Loan repayments, the “Voyager Preference Claims”). The Debtors
asserted that, because the Voyager Preference Claims arose after the Voyager chapter 11 cases
commenced, they are recoverable by Alameda Research Ltd. on an administrative priority basis
pursuant to sections 503 and 507 of the Bankruptcy Code.

                 Third, in connection with the Voyager Debtors’ plan confirmation process,
Alameda Research Ltd. and the Voyager Preference Defendants entered into a stipulation
pursuant to which, among other things, (i) the Voyager Debtors agreed to reserve $445 million
with respect to the Voyager Preference Claims; (ii) the Voyager Preference Claims would be
litigated in the Bankruptcy Court; (iii) the Debtors would waive any claims arising from the
Voyager Loan Facility; and (iv) the parties would submit to non-binding mediation in an effort to
resolve all outstanding claims and disputes. The stipulation was approved by the Bankruptcy
Court on March 8, 2023 [D.I. 833] and by the bankruptcy court for the Voyager chapter 11 cases
on April 6, 2023.

               Finally, beginning in October 2023, the Debtors (and the Committee) and the
Voyager Debtors engaged in non-binding mediation in connection with the various disputes
between them conducted by the Honorable Shelley C. Chapman (Ret.), through which the parties
negotiated and agreed to the terms of a settlement of all claims and disputes between them.

                On April 4, 2024, the Debtors and the Voyager Debtors entered into that certain
global settlement agreement (the “Voyager Settlement Agreement”), consensually resolving the
parties’ claims and disputes. Pursuant to the Voyager Settlement Agreement, among other
things, the parties agreed to waive and release all claims between them, including Voyager’s
claims filed in these Chapter 11 Cases seeking no less than $130 million in damages for, among


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other things, damages arising from Alameda’s alleged fraudulent inducement and breach of the
Voyager Loan Facility, and WRS’s alleged breach of the Voyager APA.

               The Debtors filed a motion seeking approval of the Voyager Settlement
Agreement by the Bankruptcy Court on April 9, 2024 [D.I. 11548]. The motion was approved
on April 29, 2024 [D.I. 13123].

               2.     Genesis Global Holdco, LLC

                On January 19, 2023, Genesis Global Holdco, LLC and its affiliates (collectively,
the “Genesis Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy
Code (the “Genesis Chapter 11 Cases”). Prior to January 2023, the Genesis Debtors offered a
range of different digital asset services, including trading, lending and borrowing.

                Prior to the Petition Date, various Debtors and the Genesis Debtors were engaged
in certain business and financial arrangements, including various lending relationships.

                After the Genesis Chapter 11 Cases were commenced, the Debtors took several
actions to protect their interests. First, on May 3, 2023, the Debtors sought relief from the
automatic stay in the Genesis Chapter 11 Cases to bring avoidance actions against the Genesis
Debtors in relation to certain loan repayments, pledges of collateral, and withdrawals from the
FTX Exchanges in the 90-day period prior to the Petition Date. The Debtors also later filed
certain proofs of claim on the Genesis Debtors’ claims register in connection with those same
claims (the “Genesis Preference Claims”). In the aggregate, the Debtors asserted claims against
the Genesis Debtors in a gross amount exceeding $3 billion. In response to the Debtors’ stay
relief motion, on June 1, 2023, the Genesis Debtors filed a motion in their own chapter 11 cases
to establish procedures for the estimation of the Genesis Preference Claims. The Genesis
Debtors and the Debtors subsequently engaged in litigation regarding the Genesis Debtors’
estimation motion and the Debtors’ stay relief motion.

                In these Chapter 11 Cases, the Genesis Debtors also sought to protect their alleged
prepetition interests. On or about June 30, 2023, certain Genesis Debtors filed proofs of claims
asserting various claims against the Debtors that exceeded $180 million. In addition, non-Debtor
affiliate GGC International Ltd. (“GGCI”) filed a general unsecured claim against various
Debtors for $176 million.

                Beginning in early July 2023, the Debtors, GGCI and the Genesis Debtors
engaged in settlement discussions to resolve the parties’ various, interrelated disputes. The
parties ultimately reached a consensual resolution of the parties’ claims and disputes (the
“Genesis Settlement Agreement”). The Genesis Settlement Agreement provided for, among
other things, the withdrawal and expungement of all Genesis Debtors’ and GGCI’s claims
against the Debtors and an allowed general unsecured claim by Alameda Research against the
Genesis Debtors in the amount of $175 million. The Genesis Settlement Agreement was
approved by the Bankruptcy Court on September 6, 2023 [D.I. 2433] and the bankruptcy court in
the Genesis Chapter 11 Cases on October 6, 2023.




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                   3. Emergent Fidelity Technologies Ltd.

                Emergent Fidelity Technologies Ltd. (“Emergent”) is a company formed under
the laws of Antigua and Barbuda that was closely held by Mr. Bankman-Fried. Despite its
affiliation with Mr. Bankman-Fried and the Debtors, Emergent was not part of these Chapter 11
Cases as of the Petition Date. Mr. Bankman-Fried and Wang had formed Emergent to hold
certain investments in Robinhood Markets, Inc. (“Robinhood”), a brokerage and cash
management application platform. According to Emergent’s governance documents, Mr.
Bankman-Fried is Emergent’s only director; Mr. Bankman-Fried and Wang owned 90% and
10% of Emergent, respectively. To capitalize Emergent, Mr. Bankman-Fried and Wang had
borrowed approximately $546 million from Debtor Alameda Research.

                Shortly after the Petition Date, on November 17, 2022, a third-party creditor of
Emergent filed a petition with the Antiguan court seeking to impose a receivership over
Emergent’s shares. The next day, the Antiguan court granted the receivership request,
appointing Angela Barkhouse and Toni Shukla of Quantuma (Cayman) Limited and Quantuma
(BVI) Limited, respectively, as joint provisional liquidators. The Emergent joint provisional
liquidators are tasked with overseeing the liquidation of Emergent in the Antiguan court
proceedings.

                Emergent’s close affiliation with Mr. Bankman-Fried, coupled with its initial
capital injection from Alameda Research, have led to its assets being subject to numerous
competing claims. Emergent held its assets in a U.S. financial institution, Marex Capital
Markets, Inc., in New York. On or around January 6, 2023, U.S. federal prosecutors seized
Emergent’s assets—approximately 55 million shares in Robinhood and $20.7 million in cash—in
connection with the criminal prosecution of Mr. Bankman-Fried. The Robinhood shares have
been monetized and the proceeds are held by the Department of Justice. The Debtors will assert
claims to those proceeds, which are also subject to other alleged claims by one or more of Mr.
Bankman-Fried and Emergent.

                On February 3, 2023, Emergent filed a petition for relief under chapter 11 of the
Bankruptcy Code, under the direction of its joint provisional liquidators. In the accompanying
first day declaration, Ms. Barkhouse asserted that Emergent required the protection of the
Bankruptcy Court and the powers accorded to a debtor under the Bankruptcy Code because of
the numerous competing parties claiming to be Emergent’s creditors, the location of Emergent’s
assets in the United States, and the risk that certain parties may not comply with orders issued by
the Antiguan court. The Bankruptcy Court granted interim and final approval for the joint
administration of Emergent and the Debtors on April 10, 2023 and May 10, 2023, respectively.

                   4. BlockFi Inc.

                 Shortly after the Petition Date, on November 28, 2022, BlockFi Lending LLC
(“BlockFi Lending”), BlockFi International LLC (“BlockFi International”), BlockFi, Inc.
(“BlockFi”), and their affiliated debtors and debtors-in-possession (collectively, the “BlockFi
Debtors”) filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code (the
“BlockFi Chapter 11 Cases”). The BlockFi Debtors operated a financial services platform where
retail clients could earn, borrow, trade and store certain digital assets.


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               Prior to the Petition Date, certain Debtors had multiple business relationships with
the BlockFi Debtors. In June 2022, following the BlockFi Debtors’ experiencing a liquidity
crisis, WRS agreed to provide a revolving credit facility in an amount up to $400 million (the
“BlockFi Rescue Facility”). As part of that transaction, WRS also received an option to buy
certain BlockFi Debtors’ equity. From July through October 2022, the BlockFi Debtors drew
$275 million from the BlockFi Rescue Facility.

              Alameda Research also periodically borrowed cryptocurrency and cash from
BlockFi Lending and BlockFi International pursuant to several loan agreements (the “BlockFi
Loan Agreements”). During the 90 days prior to the Petition Date, certain BlockFi Debtors
received repayments under the BlockFi Loan Agreements in an aggregate amount of
approximately $132 million. Finally, the BlockFi Debtors also maintained several accounts on
the FTX Exchanges.

               In the days leading up to the Petition Date, reacting to speculation regarding
Alameda Research’s stability, the BlockFi Debtors took a series of actions. First, BlockFi
Lending and BlockFi International modified the BlockFi Loan Agreements to increase the
required collateralization levels, which Alameda Research satisfied. Certain BlockFi Debtors
also withdrew certain assets from the FTX Exchanges.

                  In addition, on November 9, 2022—two days before the Petition Date—Alameda
Research and BlockFi entered into a forbearance agreement, and BlockFi, BlockFi Lending and
BlockFi International each entered into separate pledge agreements with Alameda Research and
Emergent. Pursuant to the terms of the pledge agreement with Emergent, Emergent purportedly
granted BlockFi a security interest in all of Emergent’s rights, titles and interests in its
Robinhood investment to secure the obligations of Emergent, Alameda Research, and their
affiliates to the BlockFi Debtors and their affiliates. Likewise, under its pledge agreement with
the BlockFi Debtors, Alameda Research purportedly granted BlockFi a security interest in all of
its rights, titles and interests in, among other things, its shares of the Grayscale Trusts and the
Bitwise Trust to secure the obligations of Alameda Research and its affiliates. On November 10,
2022, BlockFi alleged that Alameda Research had breached the terms of its forbearance
agreement with BlockFi and informed Emergent of its election to accelerate Emergent’s
obligations under its respective pledge agreement.

             On November 14, 2022, the BlockFi Debtors attempted to foreclose on the
Robinhood shares, but Emergent did not complete the transfer. On November 28, 2022, the
BlockFi Debtors commenced the BlockFi Chapter 11 Cases. That same day, BlockFi
commenced an adversary proceeding against Emergent in connection with its alleged rights to
the Robinhood shares and certain proceeds thereof.

                On March 31, 2023, the Debtors filed proofs of claim against the BlockFi
Debtors’ asserting that the loan repayments, collateral pledges and withdrawals from FTX
Exchanges constitute avoidable preferences under sections 547 and 550 of the Bankruptcy Code
(collectively, the “Debtors’ BlockFi Claims”). On June 29, 2023, the BlockFi Debtors filed
certain proofs of claim asserting claims related to certain assets purportedly held on the FTX
Exchanges and for amounts outstanding under the BlockFi Loan Agreements, and in



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unliquidated amounts related to the pledge agreement with Emergent (the “BlockFi Affirmative
Claims”).

                 On or about September 25, 2023, the Debtors and the BlockFi Debtors entered
into a stipulation (the “BlockFi Claims Stipulation”) pursuant to which, among other things,
(i) the Debtors received an allowed claim for $275 million arising out of the BlockFi Rescue
Facility; (ii) the BlockFi Debtors agreed to lift the automatic stay to allow the litigation of the
Debtors’ BlockFi Claims in the Bankruptcy Court; and (iii) the Debtors’ BlockFi Claims would
otherwise be withdrawn from the BlockFi Chapter 11 Cases for the purposes of affirmative
distributions from the BlockFi Chapter 11 Cases and such claims would be litigated in the
Bankruptcy Court, including as defenses to or for the purpose of setoff against the BlockFi
Affirmative Claims. The court overseeing the BlockFi Chapter 11 Cases and the Bankruptcy
Court approved the BlockFi Claims Stipulation on October 3, 2023 and October 19, 2023 [D.I.
3314], respectively.

                On February 1, 2024, the Debtors, BlockFi and the Committee participated in a
one-day non-binding mediation session conducted by the Honorable Craig T. Goldblatt that
resulted in a global resolution of all claims among the Debtors and BlockFi.

                On February 27, 2024, the Debtors and the BlockFi Debtors entered into a
settlement agreement and release (the “BlockFi Settlement Agreement”), consensually resolving
the parties’ claims and disputes. Pursuant to the BlockFi Settlement Agreement, the BlockFi
Debtors agreed to release to the Debtors all rights in assets purportedly pledged by the Debtors,
including over $600 million in proceeds from the sale of Robinhood Markets, Inc. Class A
common stock and certain Solana tokens held in a joint custody account at Coinbase worth
approximately $100 million at the time of entry into the BlockFi Settlement Agreement. In
addition, while BlockFi had asserted its over $1 billion loan claim as fully secured, through the
settlement, BlockFi received (i) an allowed secured claim related to outstanding prepetition loans
in the amount of $250 million and (ii) an allowed general unsecured claim related to outstanding
prepetition loans in the amount of $439 million plus certain interest. The settlement also
favorably resolved for the Debtors the amount of BlockFi’s asserted customer claim, which was
allowed in the amount of $185 million on account of assets held by the BlockFi Debtors on the
FTX Exchanges. All other claims between the Debtors and the BlockFi Debtors were released,
including all of BlockFi’s asserted litigation claims against the Debtors, except for the Debtors’
allowed $275 million claim against the BlockFi Debtors. As part of the settlement, BlockFi
agreed to support the Plan.

              The Debtors filed a motion seeking approval of the BlockFi Settlement
Agreement by the Bankruptcy Court on March 6, 2024 [D.I. 8676], and the motion was approved
by the Bankruptcy Court on March 25, 2024 [D.I. 10331] and became effective on March 28,
2024.

                Potential Estimation of IRS Claims

               On April 27 and 28, 2023, the IRS filed proofs of claim in the Debtors’ cases
totaling approximately $43.8 billion. On September 21, the IRS withdrew some of its claims and
amended others, resulting in updated proofs of claim totaling approximately $43.3 billion. On


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November 2, 2023, the IRS further amended certain of its claims to reduce the amount claimed
to approximately $24 billion. All of the IRS’s proofs of claim note that the claims reflect
“estimated tax liability” because the IRS’s examination of the Debtors’ tax returns “remained
pending.” The Debtors believe that the claimed tax liability is significantly overstated.

               The Debtors believe that the IRS’s claims jeopardize plan confirmation. The IRS
has not issued deficiency notices, substantiated its proofs of claim, or clarified when it plans to
complete its examination, which could take a long period of time. Given the magnitude of the
IRS claims, plan confirmation would be delayed until the IRS concludes its examination.
Moreover, the IRS has not at this time agreed to subordinate its claims.

                To prevent the IRS claims from frustrating plan confirmation, the Debtors filed
the Motion of Debtors for Entry of an Order Establishing a Schedule and Procedures for
Estimating Claims Filed by the United States Department of the Treasury – IRS [D.I. 4204] to
establish a schedule and procedures to estimate the claims under section 502(c) of the
Bankruptcy Code. The Debtors requested an estimation schedule of approximately three months
during which the Debtors and the IRS would conduct discovery and briefing in anticipation of an
evidentiary hearing before the Bankruptcy Court. The IRS opposed the Debtors’ motion to
establish such estimation procedures [D.I. 4509]. The Official Committee filed a statement in
support of the Debtors’ motion [D.I. 4554]. On or about December 18, 2023, the IRS withdrew
nine claims totaling over $69.5 million filed against non-operating Debtor entities.

                The Bankruptcy Court granted the Debtors’ motion to estimate and directed that
the parties identify an available date for an evidentiary hearing in March 2024. That schedule
has been extended by agreement, leading to an evidentiary hearing scheduled for June 26, 2024.
The Debtors are discussing a consensual settlement with the IRS. As of the date of this
Disclosure Statement, it is not clear whether a mutually acceptable settlement will be agreed
between the Debtors and the IRS. Any settlement with the IRS would be subject to Bankruptcy
Court approval after notice and hearing.

                Government Seizures

                 Since the Petition Date, the Department of Justice has taken steps to seize and/or
forfeit certain assets as to which the Debtors have asserted claims. The Debtors have
coordinated closely with the Department of Justice with respect to these seizures and continue to
engage with the Department of Justice as to the appropriate mechanism to distribute those seized
assets to the victims of the frauds perpetrated by Mr. Bankman-Fried and others. The assets
seized by the Department of Justice include, among other things, (i) approximately $626 million
seized from accounts registered in the name of Emergent (representing the proceeds from the
interlocutory sale of the Robinhood shares); (ii) fiat and digital assets secured from certain
accounts on third-party cryptocurrency exchanges, valued at approximately $379 million as of
the date of this Disclosure Statement; (iii) approximately $150 million in cash seized from
accounts registered in the name of FTX DM; and (iv) two private planes that were purchased and
improved prepetition using approximately $35 million of estate assets.

             The recovery estimates provided in this Disclosure Statement assume that the
Debtors or FTX DM, as applicable, are able to distribute to creditors all of the assets seized by


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the Department of Justice. However, as of the date of this Disclosure Statement, agreement with
the Department of Justice has not yet been reached, and it is not clear when or whether the
Debtors will be permitted to distribute these assets.

                In addition, certain foreign governmental authorities also have taken steps to
freeze or seize certain assets as to which the Debtors have asserted claims in an amount of
approximately $22 million. The Debtors have sought to engage with those foreign governmental
authorities or the Department of Justice, as appropriate, with respect to these assets. As of the
date of this Disclosure Statement, it is not clear when or whether the Debtors will be able to
recover these assets.

                Non-Debtor Foreign Liquidation Proceedings

                Certain non-Debtor affiliates have been subject to liquidation proceedings in their
respective jurisdictions.

                   1. Australia

                On November 11, 2022, prior to the commencement of these Chapter 11 Cases,
the directors of non-Debtors FTX Express Pty Ltd and FTX Australia Pty Ltd., both Australian
entities, appointed Messrs. Scott Langdon, John Mouawad, and Rahul Goyal of KordaMentha
Restructuring as the Australian administrators.

                   2. The Bahamas

                Non-Debtor FTX DM is an International Business Company that was
incorporated in the Commonwealth of The Bahamas on July 22, 2021. FTX DM is a wholly
owned subsidiary of FTX Trading and was created around the time that the FTX.com Exchange
moved its headquarters to The Bahamas. On September 20, 2021, the SCB approved FTX DM’s
registration to operate as a Digital Asset Business under the Digital Assets and Registered
Exchanges (DARE) Act, 2020 of The Bahamas.

                On November 10, 2022, after it became clear that the FTX Group was facing a
severe liquidity crisis, the SCB suspended registration of FTX DM under the Digital Assets and
Registered Exchanges (DARE) Act and filed a petition for provisional liquidation of FTX DM
(the “FTX DM Liquidation”) with the Bahamas Court. On the same day, the Bahamas Court
granted the petition and appointed Brian C. Simms KC as provisional liquidator of FTX DM. On
November 14, 2022, the Bahamas Court appointed Messrs. Kevin G. Cambridge and Peter
Greaves of PricewaterhouseCoopers as additional joint provisional liquidators to serve alongside
Mr. Simms.

               On November 15, 2022, the Bahamas JOLs filed a petition for recognition of the
FTX DM Liquidation as a foreign main proceeding under chapter 15 of the Bankruptcy Code in
the United States Bankruptcy Court for the Southern District of New York, captioned In re FTX
Digital Markets Ltd. (in Provisional Liquidation), No. 22-BK-11516 (MEW) [D.I. 1] (the
“Chapter 15 Case”). On November 28, 2022, the Bankruptcy Court entered an agreed order to
transfer venue to the Bankruptcy Court [D.I. 131].


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               On February 15, 2023, the Bankruptcy Court in the Chapter 15 Case entered an
order recognizing the FTX DM Liquidation as a foreign main proceeding under chapter 15 of the
Bankruptcy Code [D.I. 129].

                On November 10, 2023, the Bahamas Court entered an order, among other things,
(a) appointing the Bahamas JOLs as joint official liquidators of FTX DM and (b) determining
that FTX DM be wound up in accordance with The Bahamas’ Companies Act (as amended by,
inter alia, the Companies (Winding Up Amendment) Act, 2011).

                FTX Digital Markets (Bahamas)

                 Since the commencement of these Chapter 11 Cases, the Debtors and FTX DM
have vigorously disputed certain facts, conclusions of law and jurisdictional matters. On January
6, 2023, the Debtors and FTX DM sought to resolve their various disputes and executed a
settlement and cooperation agreement (the “Bahamas Cooperation Agreement”). The Bahamas
Cooperation Agreement sought to establish a framework for cooperation and coordination of
their activities as fiduciaries for the benefit of their respective creditors, most of whom were
claimed to be overlapping by each estate. On February 9, 2023, the Bankruptcy Court approved
the Bahamas Cooperation Agreement [D.I. 683].

                The disputes between the Debtors and FTX DM continued notwithstanding the
Bahamas Cooperation Agreement. On March 19, 2023, the Debtors filed a complaint against
FTX DM and the Bahamas JOLs, commencing the litigation captioned Alameda Research LLC,
et al. v. FTX Digital Markets Ltd., et al., Adv. Pro. No. 23-50145 (JTD) [D.I. 1119] (the
“Bahamas Adversary Proceeding”). The Debtors sought a declaratory judgment from the
Bankruptcy Court that FTX DM has no ownership interest in the Debtors’ cryptocurrency, fiat
currency, intellectual property or customer information. In the alternative, the Debtors sought a
declaratory judgment that any transfers to or through FTX DM were fraudulent and avoidable
and that the Debtors are entitled to avoid any fraudulent transfers and recover the avoidable
transfers from FTX DM plus accrued interests and costs. On July 12, 2023, FTX DM and the
Bahamas JOLs contested the Debtors’ allegations by filing an answer and asserting their own
counterclaims against the Debtors in the Bahamas Adversary Proceeding [Adv. Pro. D.I. 27].

                On March 29, 2023, FTX DM filed a motion with the Bankruptcy Court seeking
clarification that the Debtors’ automatic stay does not apply or, in the alternative, for relief from
the automatic stay to file an application in the FTX DM Liquidation to resolve certain legal
issues regarding FTX DM’s relationship to the FTX.com Exchange and its customers [D.I.
1192]. On July 20, 2023, the Bankruptcy Court entered an order denying FTX DM’s motion for
relief from the automatic stay and directed the parties to mediation [D.I. 1883].

               On or around June 30, 2023, FTX DM filed claims against various Debtors,
asserting, among others, an approximately $7.7 billion fraudulent transfer claim, an
approximately $1.1 billion indemnification claim, an approximately $47.6 million intercompany
transactions claim, an approximately $256 million property expenses claim, an approximately
$16.2 million corporate expenses claim, plus additional contingent and unliquidated amounts.




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              The Debtors and FTX DM commenced mediation regarding all of the issues in
dispute between them, including those raised in the Bahamas Adversary Proceeding, and
engaged in good faith, arm’s-length discussions over a period of many months regarding the
terms of a global settlement to resolve all disputed issues. As a result of productive good faith
negotiations, on December 19, 2023, the Debtors and FTX DM entered into a global settlement
(the “FTX DM Global Settlement Agreement”), subject to the approval of both the Bankruptcy
Court and the Bahamas Court.

                The FTX DM Global Settlement Agreement contemplates a joint distribution
process in which customers of the FTX.com Exchange may elect which proceeding will govern
the resolution and payment of their Claims: (a) mutual undertakings to support the other party’s
insolvency proceedings, (b) arrangements to enhance and optimize global recovery efforts and to
monetize illiquid assets, (c) a bridge loan that will enable FTX DM to fund certain administrative
expenses incurred in the FTX DM Liquidation, (d) an agreement by FTX DM to use
commercially reasonable efforts to value FTX.com digital asset customer claims in U.S. dollars
as of the petition date, (e) an agreement by FTX DM to implement the same KYC procedures as
the Debtors, and (f) other provisions to facilitate the substantially identical treatment of Claims
in both proceedings.

               The FTX DM Global Settlement Agreement will become effective at the same
time as the Debtors’ Plan becomes effective. Plan effectiveness is a condition precedent to the
parties’ undertakings to (a) pool assets—including the significant assets whose ownership has
been disputed by the parties—for distribution to FTX.com Exchange customers and other
creditors, (b) make coordinated distributions in these Chapter 11 Cases and the FTX DM
Liquidation to ensure that FTX.com Exchange customers receive substantially identical relative
distributions at substantially identical times in these Chapter 11 Cases and the FTX DM
Liquidation, (c) withdraw with prejudice the claims asserted in the Bahamas Adversary
Proceeding, and (d) grant mutual releases that cover the significant claims asserted by FTX DM
against the Debtors.

               On December 19, 2023, as part of the FTX DM Global Settlement Agreement, the
Debtors and FTX DM also entered into the Bahamas Properties Exclusive Sales Agency
Agreement (the “Exclusive Sales Agency Agreement”), subject to approval of the Bankruptcy
Court and sanction of the Bahamas Court. Pursuant to the Exclusive Sales Agency Agreement,
FTX Bahamas PropCo agreed to appoint FTX DM as FTX Bahamas PropCo’s exclusive agent
with powers to conduct the management, preparation for sale, marketing and sale of 35 luxury
real estate properties owned by Debtor FTX Bahamas PropCo (the “Bahamas Properties”). The
Exclusive Sales Agency Agreement also provides that FTX Bahamas PropCo has the sole and
exclusive right to, in its sole discretion, approve a disposition of any of the Bahamas Properties
to any person and the entry into any agreement for any disposition of any of the Bahamas
Properties and that any purported disposition without the express prior written approval of FTX
Bahamas PropCo will be null and void.

               On January 4, 2024, the Debtors filed a motion with the Bankruptcy Court for the
entry of an order authorizing and approving the Debtors’ entry into, and performance of their
obligations under, the FTX DM Global Settlement Agreement [D.I. 5380] and a separate motion
for the entry of an order authorizing and approving the Exclusive Sales Agency Agreement [D.I.

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5379]. On the same day, in the Chapter 15 Case, the Bahamas JOLs filed a motion with the
Bankruptcy Court for entry of an order approving the FTX DM Global Settlement Agreement
[Ch. 15 Case, Case No. 22-11217, D.I. 137]. On January 11, 2024, the Bahamas JOLs filed an
application in the Bahamas Court for, among other things, an order sanctioning FTX DM to enter
into the FTX DM Global Settlement Agreement and the Exclusive Sales Agency Agreement. On
January 22, 2024, the Bahamas Court sanctioned FTX DM’s entry into, among other things, the
FTX DM Global Settlement Agreement and the Exclusive Sales Agency Agreement. On
January 24 and January 29, 2024, the Bankruptcy Court granted the Debtors’ respective motions
regarding the FTX DM Global Settlement Agreement and the Bahamas Properties Exclusive
Sales Agency Agreement [D.I. 6365, 6733].

               So long as the FTX DM Global Settlement Agreement has not been terminated
prior to the Effective Date, it will be incorporated into the Plan, and will remain in full force and
effect in accordance with its terms from and after the Effective Date.

                Dismissals

               On February 13, 2023, at each of these Debtors’ respective requests, the
Bankruptcy Court dismissed the cases of Debtors SNG Investments Yatirim Ve Danismanlik
Anonim Sirketi (Case No. 22-11093) and FTX Turkey Teknoloji Ve Ticaret Anonim Sirketi
(Case No. 22-11170) [D.I. 711]. On August 18, 2023, the Bankruptcy Court dismissed the case
of FTX Exchange FZE (Case No. 22-11100) [D.I. 2207]. On November 13, 2023, the
Bankruptcy Court dismissed the cases of Liquid Financial USA, Inc., LiquidEX, LLC, Zubr
Exchange Limited and DAAG Trading, DMCC [D.I. 3739]. On March 18, 2024, the Bankruptcy
Court dismissed the case of FTX Crypto Services Ltd. [D.I. 9585]. On [•], 2024, the Bankruptcy
Court dismissed the cases of FTX Switzerland GmbH, FTX Trading GmbH, FTX Certificates
GmbH, FTX Structured Products AG [D.I. •]. On April 19, 2024, the Bankruptcy Court
dismissed the cases of FTX Products (Singapore) Pte Ltd., Liquid Securities Singapore Pte Ltd.,
Analisya Pte Ltd., Quoine Vietnam Co. Ltd., Alameda Aus Pty Ltd., Alameda Research Pte Ltd.,
Innovatia Ltd., FTX Japan Services K.K., and Quoine India Pte Ltd. [D.I. 12260].

                Interim Reports of John J. Ray III

               In the interest of furthering the Core Objectives, the Debtors prepared and filed
two interim reports.

                   1. First Interim Report of John J. Ray III to the Independent Directors on
                      Control Failures at the FTX Exchanges

                On April 9, 2023, the Debtors filed the First Ray Report. The First Ray Report
detailed the lack of management, governance, accounting, and security controls at the prepetition
FTX Group, and the consequences of those control failures. Management and control of the
FTX Group was largely consolidated with Messrs. Bankman-Fried, Singh, and Wang, who
lacked the experience and ability necessary to adequately oversee the growing
companies. Among them, Mr. Bankman-Fried was viewed as having the final voice in all major
decisions. Key roles, such as a CFO, Chief Risk Officer, or Chief of Information Security, were
missing at some or all critical entities. Moreover, board oversight was virtually non-existent.


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The First Ray Report explained that prepetition efforts to resolve these deficiencies and clarify
corporate responsibilities were unwelcome and prompted retaliation. For example, the president
of the FTX.US Exchange resigned after extensive disagreement with Messrs. Bankman-Fried
and Singh regarding the absence of appropriate reporting lines, formal management structure and
key hires. Likewise, less than three months after being hired, a lawyer that expressed similar
concerns about Alameda Research was summarily terminated.

                 The First Ray Report also described the significant lack of appropriate accounting
and financial records, associated controls and staff, despite the FTX Group’s expansive global
operations and control of tens of billions of dollars. For instance, the FTX Group failed to hire
professionals that could assist in accounting for assets and liabilities, hedge risk, and prepare
financial reports. Indeed, 49 entities within the FTX Group never produced financial statements
of any kind. Many of the other prepetition FTX Group utilized QuickBooks as their accounting
system, and relied on a disorganized set of spreadsheets and shared drives to manage their assets
and liabilities. Moreover, corporate structure and form was frequently disregarded, and assets
and liabilities were routinely shuffled among the FTX Group entities and insiders without proper
process or documentation. As a result of these inadequacies, for almost all of the Debtors, as of
the Petition Date, financial statements were either non-existent, limited, or completely
unreliable.

                The First Ray Report also explained that, despite the FTX Group’s public
statements regarding the importance of safeguarding digital assets, the FTX Group had extensive
deficiencies in its controls with respect to digital assets management, cybersecurity and
information security generally. Especially with respect to its Digital Assets custody, the FTX
Group did not implement industry-standard security controls. Instead, the FTX Group
maintained virtually all of its digital assets in “hot wallets,” which left them susceptible to
compromise. These deficiencies, among other things, contributed to a November 2022
prepetition breach that drained approximately $431 million worth of assets on the date of the
bankruptcy petition.

                The First Ray Report also documented the favorable privileges Alameda Research
was granted on the FTX.com Exchange. These privileges included the exemption from auto-
liquidation and the ability to “borrow” an unlimited amount of digital assets even when Alameda
Research’s account balance on the exchange was below zero or net-negative. Together, these
privileges gave Alameda Research the unique ability to trade and withdraw virtually unlimited
assets, regardless of the size of its account balance and without risk to its positions being
liquidated. The First Ray Report also explained how those privileges allowed the FTX Group to
misappropriate customer funds, ultimately contributing to the FTX Group’s collapse.

                   2. Second Interim Report of John J. Ray III to the Independent Directors:
                      The Commingling and Misuse of Customer Deposits at FTX.com

                On June 26, 2023, the Debtors filed the Second Ray Report. Building on the
findings of the First Ray Report, the Second Ray Report detailed the rampant commingling and
misuse of customer assets at the FTX.com Exchange. The Second Ray Report explained that the
FTX Group represented publicly that, as is common in many industries, it separated customer
and corporate funds. Indeed, the FTX Group even published a document touting the importance


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of this and other controls to prevent the misuse of customer assets, in its FTX’s Key Principles
for Ensuring Investor Protections on Digital-Asset Platforms. Mr. Bankman-Fried repeatedly
cited this publication in public statements and in testimony to the United States Congress.

                However, despite these representations, the FTX Group regularly misappropriated
customer assets, at the express direction of Mr. Bankman-Fried and others. The Second Ray
Report explained that, in part to avoid banks’ restrictions related to digital assets, the FTX Group
regularly funneled customer deposits and withdrawals of fiat currency through bank accounts of
Alameda Research and its affiliates, misrepresenting the purpose of those funds to its banking
partners. At the same time, at the direction of Mr. Bankman-Fried and others, the FTX Group
used those accounts for other purposes, commingling large sums of customer and corporate
funds in the process. The Second Ray Report provides a detailed overview of the process by
which customers deposited assets on the FTX.com Exchange, which were principally on-ramped
through bank accounts in the name of Alameda Research and its “subsidiary” North Dimension,
Inc., before transitioning later to accounts nominally held by FTX DM. As one former employee
characterized it, the FTX Group made no meaningful distinction between funds of customers and
funds of Alameda Research. Those funds were then dispersed throughout the FTX Group and
commingled with corporate assets.

               Former FTX Group personnel attempted to justify the misuse of customer
deposits by manufacturing a sham and doctored payment agreement which falsely claimed
Alameda Research provided cash management services to the FTX.com Exchange. In addition
to the sham agreement, certain FTX Group personnel also took other actions to facilitate and
cover up the FTX Group’s commingling of customer and corporate funds, such as instructing
employees to make false statements to banks.

               As evidenced by correspondence and other records described in the Second Ray
Report, Mr. Bankman-Fried and other FTX Group personnel knew that the sham agreement and
misrepresentations to banking partners were false. Ultimately, as the Second Ray Report details,
misappropriated and commingled customer deposits were used in part for speculative trading,
venture investments, and the purchase of luxury properties, as well as for political and other
donations designed to enhance their power and influence. At the time of the Second Ray
Report’s publication, the Debtors’ efforts to trace assets and maximize recoveries for
stakeholders were ongoing.

               The Draft Plan, Creditor Meetings and the Settlement and Plan Support
               Agreement

                On July 31, 2023, the Debtors filed the Draft Joint Plan of Reorganization [D.I.
2100] (the “Draft Plan”). The Draft Plan contemplated a proposed global settlement and good-
faith compromise of a large and complicated collection of claims, causes of actions and disputes
involving the Debtors, including both claims against the Debtors and intercompany claims by
various Debtors against other Debtors. The Draft Plan was filed at a relatively early stage—
before the expiration of the Customer Bar Date, the completion of pending investigations, the
preparation of a disclosure statement, and meeting with key creditor constituents to discuss the
structure and terms of the Draft Plan—in order to facilitate creditor feedback and the consensual
resolution of certain open issues in the Draft Plan and accompanying term sheet.


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                 On September 11 and 12, 2023, the Debtors arranged meetings with key creditor
constituents in order to provide an update on the Debtors’ progress in these Chapter 11 Cases and
to achieve consensus among key creditor constituents with respect to the open items identified in
the Draft Plan and term sheet. Members of the Ad Hoc Committee, the Official Committee and
the Class Action Claimants attended as well as their respective advisors. The Debtors discussed,
among other topics, coin monetization, the FTX Customer Portal, plan structure and estate
assets, priority issues, venture investments, tax concerns and preliminary recovery analyses, as
well as various other important plan issues at the meetings. The Debtors achieved agreement in
principle on several open issues and agreed to reconvene the following month to attempt to close
out the remaining open items in the Draft Plan and accompanying term sheet.

                 On October 11 and 12, 2023, the Debtors met with members of the Ad Hoc
Committee, the Official Committee and the Class Action Claimants, as well as representatives of
the Bahamas JOLs and their respective advisors. The Debtors discussed, among other things,
claims reconciliation processes in the U.S. and the Bahamas, KYC policies, the customer
shortfall priority percentage, the sale of the FTX Exchanges, the monetization of digital assets,
financial and venture investments, the customer preference settlement policy and post-effective
governance. The Debtors achieved broad consensus on many of the remaining open items in the
Draft Plan and accompanying term sheet.

                 Following the September and October meetings, on October 16, 2023, the
Debtors, the Ad Hoc Committee, the Class Action Claimants and the Official Committee
executed that certain Settlement and Plan Support Agreement (the “PSA”) [D.I. 3291], which,
among other things, settles the AHC Adversary Proceeding and Class Action Adversary
Proceeding subject to effectiveness of a plan that is acceptable to the Official Committee, certain
required members of the Ad Hoc Committee and certain required members of the Class Action
Claimants. The PSA also establishes a preference policy to be implemented in such a plan and
settles the treatment of the FTX Exchanges’ customer shortfall claim in a plan.

                U.S. Trustee’s Request to Appoint Examiner

               On December 1, 2022, the U.S. Trustee moved to appoint an examiner in the
Debtors’ cases [D.I. 176], joined by a handful of state financial regulation agencies [D.I. 263,
600]. The U.S. Trustee argued that section 1104(c) of the Bankruptcy Code required the
Bankruptcy Court to appoint an examiner because the Debtors’ liquidated, unsecured debts
exceed $5,000,000. The Debtors, the Official Committee and Bahamas JOLs opposed the
motion, arguing that the statute did not mandate the appointment of an examiner and that the
appointment of an examiner would injure the interests of creditors and the Estates. After a
hearing, the Bankruptcy Court denied the U.S. Trustee’s motion on February 15, 2023. The
U.S. Trustee appealed to the U.S. Court of Appeals for the Third Circuit (the “Third Circuit”)
using the direct certification mechanism from Bankruptcy Rule 8006(f). See Vara v. FTX
Trading Ltd., No. 23-2297 (3d Cir. 2023).

                On appeal, the U.S. Trustee argued that section 1104(c) of the Bankruptcy Code
mandates the requirement of an examiner when the debt threshold is satisfied [Appeal
D.I. 23]. It did not contest the Bankruptcy Court’s factual findings that the appointment of an
examiner would be costly and injure the interests of creditors and the Debtors. The Debtors and


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the Official Committee argued that the appointment of an examiner is not mandatory under
section 1104 of the Bankruptcy Code, but within the discretion of the Bankruptcy Court based on
the facts and circumstances of each case [Appeal D.I. 44]. Oral argument was held on
November 8, 2023.

               On January 19, 2024, the Third Circuit issued its opinion. The Third Circuit held
that section 1104 requires the mandatory appointment of an examiner. In light of the expenses
that would result from an appeal, the Debtors chose not to appeal the decision of the Third
Circuit.

                On January 31, 2024, the Debtors, the Official Committee, and the U.S. Trustee
jointly moved for the Third Circuit to issue its mandate immediately. On February 13, 2024, the
Third Circuit issued the mandate, thereby reversing the Bankruptcy Court’s decision and
remanding it to the Bankruptcy Court for further proceedings.

                 On February 23, 2024, the Bankruptcy Court approved the U.S. Trustee’s motion
to appoint an examiner [D.I. 7909]. On February 27, 2024, the U.S. Trustee appointed Robert J.
Cleary to serve as the examiner, subject to the Bankruptcy Court’s approval [D.I. 8047, 8048],
which the Bankruptcy Court gave on March 20, 2024, and approved the terms of the examination
as set forth in the Order Approving Appointment of Examiner [D.I. 9882].

                Digital Asset Estimation Motion

                The FTX Group had over 2 million customer accounts with positive balances as
of the Petition Date. On June 28, 2023, the Bankruptcy Court established September 29, 2023 as
the bar date for Customer Entitlement Claims. In connection therewith, holders of Customer
Entitlement Claims submitted proofs of claim setting forth, among other information, the number
of units or quantity of each digital asset, fiat currency and/or derivative position held in their
account(s) as of the Petition Date.

                Because the Plan provides that the Debtors will make certain distributions to
holders of Customer Entitlement Claims in cash it is necessary for the Debtors to estimate claims
based on digital assets based on Petition Date prices of digital assets, fiat currencies and
derivative positions held as of the Petition Date. Accordingly, on December 27, 2023, the
Debtors filed a motion to estimate Claims based on digital assets, fiat currencies and derivative
positions (the “Estimation Motion”) [D.I. 5202], which attached the Digital Assets Conversion
Table for approval by the Bankruptcy Court. In connection with the Estimation Motion, the
Debtors filed the expert reports of Dr. Sabrina T. Howell [D.I. 5203] and Kevin Lu [D.I. 5204].
The Bankruptcy Court held an evidentiary hearing on the Estimation Motion on January 31,
2024 and, on February 7, 2024, entered an order approving the Digital Assets Conversion Table
for the vast majority of digital assets, fiat currencies and derivative positions [D.I. 7090]. In
doing so, the Bankruptcy Court overruled over 100 objections to the Estimation Motion.

                The Debtors agreed to a separate litigation schedule with respect to the estimation
of Claims based on MAPS, OXY, SRM and BOBA digital assets. The Debtors engaged in
further expert discovery and briefing with certain objectors to the Petition Date value of these
digital assets as proposed in the Estimation Motion. On March 20, 25 and 26, 2024, the


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Bankruptcy Court held an evidentiary hearing on the Estimation Motion with respect to these
digital assets. The Debtors presented further expert testimony from Professor Howell and Mr.
Lu. The Bankruptcy Court took the matter under advisement and a ruling is forthcoming.

                Proposed Settlement with the IRS

                On April 27 and 28, 2023, the IRS submitted proofs of claim to the Bankruptcy
Court for income and employment tax of approximately $44 billion for the tax years prior to the
commencement of these Chapter 11 Cases. These claims were listed as estimated. The Debtors
believe that these proofs of claim are significantly overstated. The underlying claims, if allowed,
would have a priority over other claims pursuant to section 507 of the Bankruptcy Code and
could prevent any meaningful distributions to customers or other creditors until the claims are
resolved. The Debtors determined that the viability of any plan requires resolution or estimation
of these IRS claims as a condition to confirmation. For further information on the IRS proofs of
claim and the motion filed by the Debtors regarding such proofs of claim, see Section 3.K—
Potential Estimation of IRS Claims.

                 On November 29, 2023, therefore, the Debtors filed a motion with the Bankruptcy
Court to estimate all IRS claims (relating to both income and employment tax) arising in periods
preceding the bankruptcy filing (the “Prepetition Period”) under section 502(c)of the Bankruptcy
Code [D.I. 4204]. At roughly the same time, the IRS reduced its proofs of claim from
approximately $44 billion to approximately $24 billion and presented the Debtors with
substantive claims for approximately $8 billion of additional prepetition period tax liability
relating to a variety of issues that it had identified on a preliminary basis. Because the IRS
identification was preliminary in nature, the $8 billion of substantive tax claims was neither
comprehensive (i.e., the IRS reserved its right to make additional claims as the audit continued)
nor settled (i.e., the IRS was prepared to eliminate portions of these claims upon the receipt of
further relevant information). Since that time, however, the Debtors have been negotiating a
settlement with the Department of Justice, on behalf of the IRS, that would allow a portion of the
IRS claims under the Plan and eliminate the need to reserve for substantial unliquidated
contingent tax liabilities for the Prepetition Period.

                 In this regard, both the Debtors and the IRS have agreed that the relevant tax
issues are complicated, that both the relevant facts and the relevant law are unclear, that a full tax
audit of the Prepetition Periods could take years to complete, that the outcome could involve
extended litigation, and that none of this would be in the best interests of either the Debtors and
their customers and stakeholders or the IRS. In light of these circumstances, the Debtors have
presented an offer to the Department of Justice that is under active consideration by the IRS and
the Department of Justice. The structure of the agreement takes into account numerous factors
compromising positions of the Debtors and the IRS. These factors include the fact that
prepetition management conducted the Debtors’ businesses without adequate consideration of
the tax consequences of relevant transactions, that it failed to maintain adequate financial
records, and that its misappropriation of depositors’ funds has exposed the Debtors to substantial
potential tax liability. However, the proposed settlement also reflects the need to protect and
provide compensation to victims and the Debtors’ arguments to the IRS that a court of equity,
such as a Bankruptcy Court, would not readily support the IRS’s use of arguments to assess or
collect a tax in the absence of economic income that would consume a significant part of the

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recovery to victims, particularly where the relevant arguments effectively arose out of the
malfeasance and incompetence of prepetition management no longer in control of the Debtors.
The settlement also reflects the fact that most of the business of the Debtors was conducted
outside the United States and that claims for U.S. taxes would therefore be imposed primarily on
U.S. holding companies that, absent creation of the Debtors’ proposed substantively consolidated
Plan, would have a subordinated shareholder status in relation to the entities that had conducted
most of the Debtors’ businesses and retained most of the relevant assets.

                 In light of the above, the settlement agreement that has been proposed by the
Debtors and is currently being considered by the Department of Justice is designed to resolve
two questions: First, what position will tax claims of the IRS have in relation to those of
creditors in the Debtors’ proposed substantively consolidated recovery Plan (in lieu of the
position that it would otherwise have in the absence of any such plan). Second, what will the
amount of the IRS’s claim be with respect to tax liability arising in the Prepetition Period (the
“Prepetition Tax Liability”), in lieu of a lengthy and expensive audit and litigation procedure.

                 Regarding the priority of the IRS claims relative to other creditors, the settlement
proposal would grant the IRS a priority position with respect to $200 million of priority tax
claims that will be paid in full within 14 days of the Effective Date of the Plan and deemed non-
refundable. The settlement proposal would subordinate the remainder of any IRS claims – which
amounts remain undetermined – for potential tax liability of the Debtors (whether arising in
periods before or after the Petition Date) to creditor distributions (including the recovery of
postpetition interest for customers). The settlement proposal would further subordinate such IRS
claims to the claims of the CFTC and other relevant governmental entities to the extent of 75%
of each dollar distributed by the Wind Down Entities after all such claims of creditors had been
paid (i.e., such amounts would be distributed 25% to the IRS and 75% to the CFTC and other
relevant governmental entities, until the claims of either the former or the latter had been fully
paid).

                Regarding the amount of the IRS prepetition claims, the settlement proposal
would settle all IRS claims for Prepetition Tax Liability in exchange for the receipt by the IRS of
the following amounts: First, the IRS would receive the $200 million allowed priority tax claim
described above. Second, the IRS would receive an additional $685 million payment that would
be subordinated to all other Allowed Claims, including the claims of customers and all other
creditors, the CFTC, and other relevant governmental entities (i.e., the IRS would not receive
this latter amount unless and until the claims of the CFTC and other relevant governmental
entities had been fully satisfied). Third, the proposed settlement reflects an agreement that no
purported losses arising in prepetition tax periods (i.e., arising in respect of activities conducted
prior to November 1, 2022) could be carried forward to offset income or gains in post-petition
periods (since prepetition income and tax liability would now effectively be settled at a positive
amount). The Debtors firmly believe that in light of the actions of prepetition management and
the erroneous advice of Debtors’ prepetition advisors and the resulting potential tax liabilities,
this would be a fair and reasonable settlement of potential Prepetition Tax Liability for the
Debtors without regard to any agreement by the IRS to subordinate its claims to those of
creditors or governmental entities.




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                 Under the settlement proposal, tax liabilities of the Debtors arising in periods after
the filing of the bankruptcy (currently anticipated to be limited to the 2023 and 2024 taxable
years) may be audited in the routine course, subject to the usual procedures for dispute
resolution, including any potential appeal to the Bankruptcy Court. However, any IRS claims for
tax liability arising in these periods would be subordinated to those of creditors and those of the
CFTC and other governmental entities (on a 75/25 basis) in the manner described above. As
noted below, the transfer by the Debtors of all of their assets to the Wind Down Entities on the
Effective Date of the Plan will be treated for U.S. tax purposes as a fully taxable event in respect
of which the Debtors recognize gain or loss. The Debtors will file final liquidating tax returns
for the year of such transfer (currently presumed to be 2024), and any resulting tax liability as
finally determined would be added to the subordinated claims of the IRS against the Wind Down
Entities. Neither the Debtors nor the IRS could rely in any manner on returns filed for the
prepetition tax periods (including with regard to numerical assertions or elections contained
therein) in determining tax liability for the post-petition period, and such returns would in this
regard be treated as if they had never been filed.

                Potential Settlement of Claims by Governmental Authorities

                On September 28, 2023, the CFTC filed six proofs of claim against certain
Debtors in the aggregate amount of $52.2 billion ($8.7 billion each). The CFTC’s claim is based
on the action the CFTC filed in the Southern District of New York against FTX Trading on
December 21, 2022, alleging violations of the Commodity Exchange Act.

                On September 28, 2023, the New Jersey Bureau of Securities (the “NJ Bureau”)
filed five proofs of claim against certain Debtors in the aggregate amount of $633 million
($126.6 million each). The NJ Bureau asserted a claim against the Debtors for purported
violations of the New Jersey Uniform Securities Law and related regulations (collectively, the
“NJ Securities Laws”). Specifically, the NJ Bureau alleged, among other things, that the
Debtors’ Earn program was in violation of the NJ Securities Laws and may have constituted a
sale of unregistered securities.

                On September 29, 2023, the Mississippi Secretary of State’s Office, Securities
Division (the “MS Division”) filed five proofs of claim against certain Debtors in the aggregate
amount of $323 million ($64.6 million each). The MS Division asserted a claim against the
Debtors for purported violations of the securities laws of Mississippi, including, among other
things, that the Debtors sold unregistered securities and materially misled investors in connection
with the Debtors’ Earn program. The MS Division noted in its proof of claim that it was not
seeking distributions on its claim for its own benefit; rather the MS Division is hoping to
increase recovery for victims of the Debtors.

                The Debtors have requested that the CFTC agree to subordinate its claim, if
Allowed, to the claims of other creditors as a “Senior Subordinated Claim” as provided in the
Plan, with any distributions on the CFTC’s claim being allocated to the Supplemental Remission
Fund described in Section 4.B.7—Supplemental Remission Fund. The Debtors also intend to
request that the other governmental authorities, including the NJ Bureau and the MS Division,
agree to similar treatment. Neither the CFTC nor the other governmental authorities are, at the
time of this Disclosure Statement, committed to doing so.


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4.     SUMMARY OF THE PLAN
                This Section provides a summary of the structure and means for implementation
of the Plan. The Plan is attached to this Disclosure Statement as Appendix A and forms a part of
this Disclosure Statement. The summary of the Plan set forth below is qualified in its entirety by
reference to the provisions of the Plan.

               Considerations Regarding the Chapter 11 Plan

                The terms of the Plan are the result of extended analyses by the Debtors and their
advisors as well as numerous meetings and intensive negotiations with multiple interested
parties. The Plan includes many settlements of claims by, against and among the Debtors that
avoid protracted litigation on myriad issues relating to the Plan. Although litigation regarding
the Plan could produce different absolute or relative recoveries from those proposed by the Plan,
such litigation would not be finally resolved for many years, delaying and potentially materially
eroding the aggregate value of ultimate distributions for all creditors.

               Rationale Underlying Plan Treatment of Claims

                   1. Substantive Consolidation of the Debtors

                 As part of the Customer Priority Settlement (as defined below), the Plan
consolidates all Debtors other than the Separate Subsidiaries into a single entity of pooled assets
and liabilities. Separate Subsidiaries are entities that are expected to be fully solvent and
historically maintained corporate separateness. This is referred to as substantive consolidation.
The consequence of substantive consolidation is that claims of creditors against previously
separate debtors become claims against the consolidated entity of pooled assets.

               In In re Owens Corning, the Third Circuit established that a proponent of
substantive consolidation is required to show that (i) prepetition, the debtors disregarded
separateness so significantly their creditors relied on the breakdown of entity borders and treated
them as one legal entity or (ii) postpetition, their assets and liabilities are so scrambled that
separating them is prohibitive and hurts all creditors. In re Owens Corning, 419 F.3d 195, 205
(3d Cir. 2005). Cases subsequent to In re Owens Corning have held that fraud may be a type of
compelling circumstance in which a court may disregard corporate separateness and
substantively consolidate different entities. See, e.g., In re Woodbridge Grp. of Cos., LLC, 592
B.R. 761, 778 (Bankr. D. Del. 2018).

                 Based on the facts of these Chapter 11 Cases, the Debtors determined that
substantive consolidation is warranted under both prongs of Owens Corning. The FTX Group
often operated under the same name (FTX) and was tightly controlled by Mr. Bankman-Fried.
The Debtors also did not observe any discernable corporate formalities with respect to
intercompany transactions. Further, the FTX Group, which consisted of more than one hundred
entities, relied on a hodgepodge of Google documents, Slack communications, shared drives,
Excel spreadsheets and other non-enterprise solutions to manage their assets and liabilities.
Intercompany transactions were not properly documented and assets were extensively
commingled. Copies of key documentation are incomplete, inaccurate, contradictory, or missing


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entirely. Since the commencement of these Chapter 11 Cases, the Debtors have spent
considerable time and effort attempting to understand the most basic of facts, such as the number
of employees the Debtors have, where the Debtors’ assets are, and how money flowed between
entities. Attempts have been made to identify intercompany transactions and the inability to do
so comprehensively—let alone to analyze and settle all intercompany litigation claims—is
supported by the record of the work so far. The Debtors’ egregious record-keeping deficiencies
and pervasive pattern of fraudulent activity, at the direction of Mr. Bankman-Fried,
encompassing public misrepresentations, fraudulent financial reporting, and misappropriation of
assets, significantly impede efforts to disentangle and reconstruct the Debtors’ financial affairs.

                Despite the morass of intermingled entities, there are certain limited entities that
have historically been separate entities and operated independently. These entities will remain
separate and their creditors will be unimpaired on account of their Allowed Claims.

                   2. Waterfall Analysis and the Customer Shortfall Claim

                As part of the Customer Priority Settlement, the Debtors have established three
primary sources of recovery: (1) the Dotcom Customer Priority Pool, (2) the U.S. Customer
Priority Pool and (3) the General Pool. As more fully described in the Plan, the Dotcom
Customer Priority Assets and the U.S. Customer Priority Assets generally consist of the assets
that were attributable to the FTX.com Exchange and the FTX.US Exchange, respectively, as of
the Petition Date. The General Pool contains other assets, including but not limited to, the FTX
Group’s investments and the Alameda U.S. Customer Claim. Holders of Class 5A and Class 5B
claims each will receive the priority assets attributable to their respective FTX Exchange, and
each FTX Exchange will retain a “shortfall claim” against the General Pool for the benefit of the
Holders of Class 5A and Class 5B claims.

               The Plan sets forth waterfalls that govern the application of proceeds from each of
the Dotcom Customer Priority Pool, the U.S. Customer Priority Pool and the General Pool.
Under the General Pool waterfall, the Dotcom Intercompany Shortfall Claim and the U.S.
Intercompany Shortfall Claim retain a priority over Allowed Class 6A General Unsecured
Claims. Specifically, after proceeds in the General Pool are applied to pay Administrative
Claims, Other Priority Claims, Priority Tax Claims and General Convenience Claims, 66% of the
amounts next available for distribution from the General Pool will be applied to pay the Dotcom
Intercompany Shortfall Claim and the U.S. Intercompany Shortfall Claim on a pro rata basis.
Then, the remaining shortfall claims will rank equally with Class 6A and 6B claims with respect
to the remaining 34% of proceeds.

                The primary legal basis for a substantial priority for holders of Class 5 claims is a
potential right of the FTX Exchanges, on their own behalf or on behalf of customers, to impose a
constructive trust on assets of the Alameda Silo, as well as other Debtors, under Delaware law.

                 Under Delaware law, a constructive trust is a flexible equitable remedy designed
to prevent a defendant from benefitting as a result of its wrongful conduct. Where a person holds
property in circumstances in which in equity and good conscience it should be held or enjoyed
by another, he will be compelled to hold the property in trust for that other. A breach of trust by
a trustee is a violation of a correlative right of the beneficiary, and gives rise to liability on the


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part of the trustee and a correlative cause of action on the part of the beneficiary for any loss to
the trust estate. The fiduciary duties a trustee traditionally owes at common law include the duty
of loyalty and the rule against self-dealing. See McMahon v. New Castle Associates, 532 A.2d
601, 608 (Del. Ch. 1987).

                   3. Constructive Trust Remedy Against Assets of the Alameda Silo

                 The Debtors’ investigations indicate that, at the direction of Mr. Bankman-Fried
and others, the FTX Group (i) funneled customer deposits and withdrawals in fiat currency
through bank accounts of Alameda Research and its affiliates and (ii) used those accounts for
many other purposes, commingling and misusing vast sums of customer and corporate funds in
the process. Over $9.2 billion of assets deposited in the FTX.com Exchange were
misappropriated from the exchange in favor of Alameda Research. Alameda Research was in a
position of trust with FTX Trading (among other reasons, because both entities were under the
control of Mr. Bankman-Fried), and Alameda Research, at the direction of Mr. Bankman-Fried,
abused such trust when it misappropriated at least $9.2 billion of FTX Trading assets. FTX
Trading could have a meritorious argument that Alameda Research was unjustly enriched by
abusing its position of trust with FTX Trading based on the following, among others: (i)
Alameda Research was permitted to take assets deposited by customers on the FTX.com
Exchange without any limit; (ii) to cover up the shortfall in excess of $9.2 billion created by the
misappropriation of funds by Alameda Research, Messrs. Bankman-Fried, Wang and Singh
created a sham customer account (known as the “Korean friend account”) on the FTX.com
Exchange reflecting an $8.8 billion amount payable from Alameda Research to FTX Trading;
(iii) from the inception of FTX Trading, Messrs. Bankman-Fried, Wang and Singh had
customers send their funds intended for the FTX.com Exchange to Alameda Research’s bank
accounts due to FTX Trading’s inability to open bank accounts in the United States; and (iv) the
FTX Group funneled money from these Alameda Research accounts through other FTX Group
accounts and ultimately used the funds for a variety of illicit purposes, including to finance
political contributions, venture investments and purchases of luxury real estate properties for
senior FTX Group employees and others in The Bahamas.

                   4. Constructive Trust Remedy Against Assets Outside of the Alameda Silo

                 FTX Trading also has a basis to seek to extend the constructive trust over the
assets of entities outside of the Alameda Silo through equitable tracing. Equitable tracing rules
allow a court imposing a constructive trust to find that the trust attaches to commingled pools of
assets and remains in effect even as new assets are added and removed to a commingled pool.
Here, given the FTX Group’s lack of books and records and extensive misappropriation of assets
across all Debtors, assets may have been transferred to entities even outside the Alameda Silo.
Accordingly, a court could expand a constructive trust to encompass assets of other Debtors.
However, given the strength of the arguments in favor of substantive consolidation, equitable
tracing rules may not be necessary to effectuate the relative priorities of the shortfall claims
against the General Pool.




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                   5. The Customer Priority Settlement

                 Purported customer property interests and entitlements in the Debtors’ digital
assets fiat currency is a central and highly controversial issue in these Chapter 11 Cases.

               With respect to the FTX.com Exchange, the AHC Adversary Proceeding alleges,
among other things, that an express trust under English law should be imposed in favor of
customers of the FTX.com Exchange based upon the FTX.com Exchange terms of service. The
Debtors have argued, among other things, that the FTX.com Exchange terms of service are
ambiguous with respect to whether a trust relationship was intended and that application of
English law does not warrant imposition of an express trust.

               With respect to the FTX.US Exchange, U.S. customers may argue, among other
things, that WRSS held digital assets and fiat in a “bailment for keeping” capacity based on the
language of the FTX.US Exchange user agreement. If a bailment for keeping is established,
WRSS would hold mere possessory interest in, but not legal title to, the digital assets and fiat
associated with the FTX.US Exchange and, as a result, such assets and fiat would not constitute
property of the Debtors. On the other hand, the Debtors have argued, among other things, that
the FTX.US Exchange user agreement is ambiguous and does not establish a bailment for
keeping relationship.

                In addition, customers of both the FTX.US Exchange and the FTX.com Exchange
may assert an unjust enrichment claim and argue that a constructive trust should be imposed for
their benefit. However, a customer constructive trust action that seeks a priority over other
customers will be difficult for any group of customers to prove. The Debtors believe that, as an
equitable remedy, a constructive trust should not be imposed where it would lead to
disproportionate recoveries for similarly situated creditors. Furthermore, funneling all assets to
customers ignores the fact that many general unsecured claimants were victims of Alameda
Research’s fraudulent conduct as well.

                Litigation over these issues with the Ad Hoc Committee or the Class Action
Claimants would be time consuming and costly. To consensually resolve these issues and avoid
the unnecessary time and costs, the Debtors established priority claims and shortfall amounts for
the benefit of customers against the General Pool. The Debtors negotiated the priority claims
and the shortfall amounts with key constituents at an early stage in these Chapter 11 Cases. The
result of these extensive negotiations led to the establishment of the Dotcom Intercompany
Shortfall Claim and the U.S. Intercompany Shortfall Claim and their relative priorities, as
reflected in the terms of the PSA and the Plan, and as described in Section 4.CClassification,
Treatment and Voting of Claims and Interests (the “Customer Priority Settlement”). The
Debtors, the Official Committee, the Ad Hoc Committee and the Class Action Claimants believe
that the Plan provides holders of claims with recoveries that reflect the relative risks and benefits
of their claims, and takes into account the costs and likelihood of prosecution to final judgment.

                   6. Postpetition Interest

              The Debtors are not solvent and the Bankruptcy Code ordinarily would prevent
payment of postpetition interest to customers and other unsecured creditors. However, the


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Debtors recognize that these Chapter 11 Cases have deprived creditors of their money since
November 2022, and will continue to do so until distributions are paid. In effect, all customers
and creditors of the Debtors have been forced to lend to the Debtors during these Chapter 11
Cases and, in the view of the Joint Board, deserve a fair rate of return.

                Accordingly, the Debtors have approached the IRS and the CFTC and requested
that these governmental authorities (and potentially others) enter into a settlement in which their
claims are voluntarily subordinated to the claims of customers and certain creditors as well as to
interest on these claims. The payment of interest on claims also has been an important element
in obtaining the continuing support of the Plan by the Ad Hoc Committee, despite changes to the
Plan and the case timetable since the PSA was initially agreed.

                 Based on these discussions, the Plan provides the payment of interest at the
Consensus Rate from the Petition Date to the Distribution Date on which claims are paid. As to
the rate of interest, the Debtors are proposing a Consensus Rate of 9.0% after consultation with
many of the stakeholders who support the compromises set forth in the Plan, including the
Bahamas JOLs, the IRS, the CFTC, the Department of Justice, the Ad Hoc Committee, the
Official Committee and the Class Action Claimants. Factors considered by the Debtors when
setting the Consensus Rate include: (i) the misappropriation of funds by Mr. Bankman-Fried and
the applicable rate for prejudgment interest in the State of Delaware (which was 9.0% as of the
Petition Date); (ii) the interest rate environment over the applicable period; (iii) the risks
involved in lending to the Debtors during the Chapter 11 Cases; and (iv) the support for the
Consensus Rate among all the supporting parties described above.

                Interest at the Consensus Rate is paid only to the extent funds are available after
paying allowed claims of all non-subordinated creditors in full. There can be no assurances that
the Debtors will have sufficient funds to pay interest at the Consensus Rate. Risks that could
prevent payment of interest in full include changes in the price of assets of the Debtors and
unexpectedly large customer or other creditor claims, as well as any delays in the confirmation of
the Plan, the disposition of assets or the reconciliation of claims. See Section 7Additional
Factors to Be Considered Prior to Voting.

               7.      Supplemental Remission Fund

                In addition to requesting that the CFTC subordinate its claims to customers and
certain creditors, the Debtors have also requested that the CFTC agree to forego receiving a
distribution on account of its claim and, instead, use such distribution to fund the Supplemental
Remission Fund for supplemental payments to FTX.com customers, FTX.US customers,
cryptocurrency lenders to Alameda, FTX DM for the benefit of Holders of Eligible DM
Customer Entitlement Claims and other creditors agreed with the CFTC. The Debtors also
intend to request other governmental creditors to agree to the same treatment.

                The Debtors recognize the CFTC and other governmental authorities are not
required to apply funds they receive from the Chapter 11 Cases in strict accordance with the
bankruptcy priority scheme. Accordingly, the Debtors have considered the appropriate
allocation of funds in the Supplemental Remission Fund.



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                 Ultimately, after discussions with the Official Committee and the Ad Hoc
Committee, the Debtors determined that funds in the Supplemental Remission Fund—like all
other Plan Distributions—should be allocated among eligible customers and creditors on a pro
rata basis based on the value of claims as of the Petition Date, unless an alternative allocation is
agreed among the Debtors and the applicable funding governmental authorities. Factors
considered by the Debtors in adopting this pro rata approach include: (i) that the majority of
trading volume on the FTX.com Exchange consisted of perpetual futures, which granted
customers exposure to certain digital assets, but did not match the denomination of the
underlying margin posted by such customers, and so there is no relationship between digital asset
appreciation and the underlying fiat or stablecoin margins posted by such customers; (ii) claims
against the Debtors have been trading on a fungible dollar-equivalent basis and changing
expectations now would create a windfall for some claims buyers and unexpected losses for
others; (iii) creditors have been exposed to the risk that the Debtors’ assets could decline
generally, but they have not been exposed to the risk that the value of the digital assets
underlying their particular customer entitlement could decline, and so some customers should not
benefit because their particular customer entitlements increased; (iv) the issue of postpetition
appreciation is ultimately an inter-creditor issue, as the Debtors cannot allocate more value to
some creditors without taking value away from other creditors; and (v) throughout these Chapter
11 Cases, all creditors have been equally exposed to the risk that the assets of the Debtors would
not be sufficient to pay the Debtors’ claims, and the risk that Distributions would be delayed by
litigation or other factors. Since the risk of all creditors has been the same over this period, their
rate of return should be the same as well.

                Weighing all of these considerations, the Debtors have determined, in
consultation the Ad Hoc Committee, the Class Action Claimants, the Bahamas JOLs and other
stakeholders, that the Plan should allocate all funds in the Supplemental Remission Fund on a
pro rata basis, unless another approach is specifically required by applicable governmental
authorities.

                Classification, Treatment and Voting of Claims and Interests

                    1. Classification of Claims and Interests

                All Claims and Interests, except for Administrative Claims and 503(b)(9) Claims,
are classified in the Classes set forth in article 4 of the Plan. A Claim or Interest is classified in a
particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class and is classified in other Classes to the extent that any portion of the Claim or Interest
qualifies within the description of such other Classes. A Claim or Interest also is classified in a
particular Class for the purpose of receiving Distributions pursuant to the Plan only to the extent
that such Claim or Interest is Allowed as a Claim or Interest in that Class and has not been paid,
released or otherwise satisfied prior to the Effective Date.

                    2. Summary of Claims Classification and Treatment

                The classification of Claims and Interests pursuant to the Plan is as follows:




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Class            Claims and Interests                  Status          Voting Rights
  1               Priority Tax Claims                Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 2               Other Priority Claims               Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 3A              Secured Loan Claims                  Impaired         Entitled to Vote
 3B              Other Secured Claims                Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 4            Separate Subsidiary Claims             Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 5A       Dotcom Customer Entitlement Claims          Impaired         Entitled to Vote
 5B        U.S. Customer Entitlement Claims           Impaired         Entitled to Vote
 5C        NFT Customer Entitlement Claims           Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 6A            General Unsecured Claims               Impaired         Entitled to Vote
 6B            Digital Asset Loan Claims              Impaired         Entitled to Vote
 7A          Dotcom Convenience Claims                Impaired         Entitled to Vote
 7B            U.S. Convenience Claims                Impaired         Entitled to Vote
 7C           General Convenience Claims              Impaired         Entitled to Vote
 8A        PropCo Operating Expense Claims           Unimpaired      Not Entitled to Vote,
                                                                      Deemed to Accept
 8B               Priority DM Claim                   Impaired         Entitled to Vote
 8C        PropCo General Unsecured Claims            Impaired         Entitled to Vote
  9         Cancelled Intercompany Claims             Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
10A         Senior Subordinated IRS Claims            Impaired         Entitled to Vote
10B        Senior Subordinated Governmental           Impaired         Entitled to Vote
                        Claims
10C         Junior Subordinated IRS Claims            Impaired         Entitled to Vote
 11              Intercompany Interests               Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
 12             Preferred Equity Interests            Impaired         Entitled to Vote
 13          Section 510(b) Preferred Equity          Impaired       Not Entitled to Vote,
                         Claims                                       Deemed to Reject
 14        Section 510(b) Other Equity Claims         Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
 15          Equitably Subordinated Claims            Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
 16              Other Equity Interests               Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
 17                  FTT Interests                    Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject
 18               De Minimis Claims                   Impaired       Not Entitled to Vote,
                                                                      Deemed to Reject



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                3. Distributions Waterfalls

                           Dotcom Customer Waterfall

             Proceeds in the Dotcom Customer Priority Pool shall be applied in the following
manner:

                           (i)     first, to pay Case Expenses allocated to the Dotcom
                                   Customer Priority Assets pursuant to section 3.6 of the
                                   Plan;

                           (ii)    second, to pay Allowed Priority Tax Claims and Allowed
                                   Other Priority Claims allocated to the Dotcom Customer
                                   Priority Assets;

                           (iii)   third, to pay and perform obligations owed to FTX DM
                                   under the FTX DM Global Settlement Agreement;

                           (iv)    fourth, to pay Allowed Dotcom Convenience Claims and
                                   postpetition interest accrued at the Consensus Rate on
                                   Allowed Dotcom Convenience Claims from the Petition
                                   Date through the Initial Distribution Date;

                           (v)     fifth, to pay Allowed Dotcom Customer Entitlement
                                   Claims; and

                           (vi)    sixth, to transfer remaining proceeds to the General Pool.

                           U.S. Customer Waterfall

             Proceeds in the U.S. Customer Priority Pool shall be applied in the following
manner:

                           (i)     first, to pay Case Expenses allocated to the U.S. Customer
                                   Priority Assets pursuant to section 3.6 of the Plan;

                           (ii)    second, to pay Allowed Priority Tax Claims and Allowed
                                   Other Priority Claims allocated to the U.S. Customer
                                   Priority Assets;

                           (iii)   third, to pay Allowed U.S. Convenience Claims and
                                   postpetition interest accrued at the Consensus Rate on




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                         Allowed U.S. Convenience Claims from the Petition Date
                         through the Initial Distribution Date;

                 (iv)    fourth, to pay Allowed U.S. Customer Entitlement Claims;
                         and

                 (v)     fifth, to transfer remaining proceeds to the General Pool.

                 General Pool Waterfall

   Proceeds in the General Pool shall be applied in the following manner:

                 (i)     first, to pay Allowed Administrative Claims allocated to the
                         General Pool pursuant to section 3.6 of the Plan;

                 (ii)    second, to pay Allowed Priority Tax Claims and Allowed
                         Other Priority Claims, other than Allowed Priority Tax
                         Claims and Allowed Other Priority Claims (i) allocated to
                         the Dotcom Customer Priority Assets or U.S. Customer
                         Priority Assets, (ii) against FTX Bahamas PropCo or
                         (iii) against any Separate Subsidiary;

                 (iii)   third, to pay Allowed Secured Loan Claims and Allowed
                         Other Secured Claims and any applicable interest accrued
                         thereunder;

                 (iv)    fourth, to pay Allowed General Convenience Claims and
                         postpetition interest accrued at the lower of the Consensus
                         Rate, the applicable contract rate or such other rate
                         determined by the Bankruptcy Court (or as otherwise
                         agreed by the relevant parties) on Allowed General
                         Convenience Claims from the Petition Date through the
                         Initial Distribution Date;

                 (v)     fifth, with respect to 66 percent of the amount next
                         available for Distribution from the General Pool, to pay on
                         a Pro Rata basis the Allowed Dotcom Intercompany
                         Shortfall Claim and the Allowed U.S. Intercompany
                         Shortfall Claim;

                 (vi)    sixth, to pay on a Pro Rata basis Allowed General
                         Unsecured Claims and Allowed Digital Asset Loan Claims,
                         any unpaid balance of the Allowed Dotcom Intercompany




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                      Shortfall Claim and any unpaid balance of the Allowed
                      U.S. Intercompany Shortfall Claim;

              (vii)   seventh, to pay on a Pro Rata basis any remaining portion
                      of any Dotcom Customer Entitlement Claims and U.S.
                      Customer Entitlement Claims;

              (viii) eighth, to pay on a Pro Rata basis (i) postpetition interest
                     accrued at the Consensus Rate on Allowed Dotcom
                     Customer Entitlement Claims and Allowed U.S. Customer
                     Entitlement Claims and (ii) the postpetition interest accrued
                     at the lower of the Consensus Rate, the applicable contract
                     rate or such other rate determined by the Court (or as
                     otherwise agreed by the relevant parties) on Allowed
                     General Unsecured Claims and Allowed Digital Asset Loan
                     Claims from the Petition Date, in each case of clauses
                     (i) and (ii) through the applicable Distribution Date in
                     accordance with section 7.1 of the Plan;

              (ix)    ninth, to pay Allowed Senior Subordinated IRS Claims and
                      Allowed Senior Subordinated Governmental Claims as
                      follows: (i) 25 percent of the proceeds from the General
                      Pool available for such payment shall be made available
                      first to pay Allowed Senior Subordinated IRS Claims until
                      such Allowed Senior Subordinated IRS Claims are paid in
                      full, after which any remaining funds shall be used to pay
                      in full any unpaid Allowed Senior Governmental
                      Subordinated Claims; and (ii) the remaining 75 percent of
                      the proceeds from the General Pool available for such
                      payment shall be made available first to pay all Allowed
                      Senior Subordinated Governmental Claims until all such
                      Allowed Senior Subordinated Governmental Claims are
                      paid in full, after which any remaining funds shall be used




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                                     to pay in full any unpaid Allowed Senior Subordinated IRS
                                     Claims;

                             (x)     tenth, to pay Allowed Junior Subordinated IRS Claims;

                             (xi)    eleventh, to pay Allowed Preferred Equity Interests;

                             (xii)   twelfth, to pay Allowed Section 510(b) Preferred Equity
                                     Claims;

                             (xiii) thirteenth, to pay Allowed Section 510(b) Other Equity
                                    Claims; and

                             (xiv)   fourteenth, to pay Allowed Other Equity Interests.

                             FTX Bahamas PropCo Waterfall

               Proceeds from the sale, disposition or other monetization of the Bahamas
Properties shall be applied in the following manner:

                             (i)     first, to pay sale-related taxes and other charges or amounts
                                     owed by FTX Bahamas PropCo in respect of any Bahamas
                                     Property subject to any outstanding sale as of the Effective
                                     Date;

                             (ii)    second, to pay any reasonable, documented and customary
                                     real estate agent commissions related to any outstanding
                                     sale of any Bahamas Property as of the Effective Date;

                             (iii)   third, to pay the Administrative Expenses (as defined in the
                                     FTX DM Global Settlement Agreement) of FTX Bahamas
                                     PropCo pursuant to applicable Law in accordance with the
                                     FTX DM Global Settlement Agreement;

                             (iv)    fourth, to pay or reimburse the Debtors for the total amount
                                     of Allowed PropCo Operating Expense Claims;

                             (v)     fifth, to satisfy the Priority DM Claim;

                             (vi)    sixth, to pay Allowed PropCo General Unsecured Claims;
                                     and

                             (vii)   seventh, to transfer remaining proceeds to the Dotcom
                                     Customer Priority Pool.

                             Separate Subsidiaries Waterfall

              Proceeds from the sale, disposition or other monetization of property of any
Separate Subsidiary shall be applied in the following manner:

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                          (i)       first, to pay Case Expenses allocated to such Separate
                                    Subsidiary pursuant to section 3.6 of the Plan;

                          (ii)      second, to pay Allowed Priority Tax Claims and Allowed
                                    Other Priority Claims against such Separate Subsidiary;

                          (iii)     third, to pay Allowed Separate Subsidiary Claims against such
                                    Separate Subsidiary;

                          (iv)      fourth, to pay Allowed Separate Subsidiary Intercompany
                                    Claims; and

                          (v)       fifth, to transfer remaining proceeds to the General Pool.

                  4.   Supplemental Remission Fund

                Proceeds contributed to the Supplemental Remission Fund from Holders of
Allowed Senior Subordinated Governmental Claims shall be paid on a Pro Rata basis to
(a) Holders of Allowed Dotcom Customer Entitlement Claims, Allowed U.S. Customer
Entitlement Claims, and Allowed Digital Asset Loan Claims, and (b) FTX DM for the benefit of
Holders of Eligible DM Customer Entitlement Claims, in each case of clauses (a) and (b) unless
an alternative allocation of such proceeds is established by the Debtors as described in section
5.21 of the Plan.

                  5. Treatment of Claims and Interests

                                 Class 1 – Priority Tax Claims

                          (i)       Classification: Class 1 consists of all Allowed Priority Tax
                                    Claims.

                          (ii)      Treatment: Except to the extent that a Holder of an Allowed
                                    Priority Tax Claim agrees to less favorable treatment, or as
                                    ordered by the Bankruptcy Court, the Holder of an Allowed
                                    Priority Tax Claim shall be treated in accordance with section
                                    1129(a)(9)(C) of the Bankruptcy Code or shall be paid in full
                                    in Cash on or as soon as reasonably practicable after the
                                    earliest of (i) the Initial Distribution Date; (ii) the date on
                                    which such Priority Tax Claim becomes Allowed; and (iii)
                                    such other date as may be ordered by the Bankruptcy Court.

                          (iii)     Voting: Claims in Class 1 are Unimpaired. Each Holder of a
                                    Priority Tax Claim is conclusively deemed to have accepted
                                    the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                                    No Holder of a Priority Tax Claim is entitled to vote to accept
                                    or reject the Plan.




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                   Class 2 – Other Priority Claims

            (i)       Classification: Class 2 consists of all Other Priority Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Other Priority Claim agrees to less favorable treatment, in full
                      and final satisfaction, settlement, release and discharge of and
                      in exchange for its Allowed Other Priority Claim, each Holder
                      of such Allowed Other Priority Claim shall be paid in full in
                      Cash on or as soon as reasonably practicable after the earliest
                      of (i) the Initial Distribution Date; (ii) the date on which such
                      Other Priority Claim becomes Allowed; and (iii) such other
                      date as may be ordered by the Bankruptcy Court.

            (iii)     Voting: Claims in Class 2 are Unimpaired. Each Holder of an
                      Other Priority Claim is conclusively deemed to have accepted
                      the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                      No Holder of a Other Priority Claim is entitled to vote to
                      accept or reject the Plan.

                   Class 3A – Secured Loan Claims

            (i)       Classification: Class 3A consists of Secured Loan Claims.

            (ii)      Treatment: In full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed Secured Loan
                      Claim, each Holder of an Allowed Secured Loan Claim shall
                      receive payment in Cash in an amount equal to 100% of such
                      Allowed Secured Loan Claim plus interest accrued at the
                      Federal Judgment Rate on such Allowed Secured Loan Claim
                      from the Petition Date through the Effective Date.

            (iii)     Voting: Claims in Class 3A are Impaired. Each Holder of a
                      Secured Loan Claim is entitled to vote to accept or reject the
                      Plan.

                   Class 3B – Other Secured Claims

            (i)       Classification: Class 3B consists of Other Secured Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Other Secured Claim agrees to less favorable treatment, in full
                      and final satisfaction, settlement, release and discharge of and
                      in exchange for its Allowed Other Secured Claim, each Holder
                      of an Allowed Other Secured Claim shall receive one of the
                      following treatments, in the sole discretion of the Plan
                      Administrator: (i) payment in full in Cash; (ii) delivery of the
                      collateral securing such Allowed Other Secured Claim; or (iii)

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                      treatment of such Allowed Other Secured Claim in any other
                      manner that renders the Claim Unimpaired.

            (iii)     Voting: Claims in Class 3B are Unimpaired. Each Holder of
                      an Other Secured Claim is conclusively deemed to have
                      accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. No Holder of an Other Secured Claim is
                      entitled to vote to accept or reject the Plan.

                    Class 4 – Separate Subsidiary Claims

            (i)       Classification: Class 4 consists of all Separate Subsidiary
                      Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Separate Subsidiary Claim agrees to less favorable treatment,
                      and in full and final satisfaction, settlement, release and
                      discharge of and in exchange for its Allowed Separate
                      Subsidiary Claim, each Holder of an Allowed Separate
                      Subsidiary Claim shall receive payment in full in Cash on or as
                      soon as reasonably practicable after the latest of (i) the Initial
                      Distribution Date; (ii) the date on which such Allowed
                      Separate Subsidiary Claim becomes Allowed; and (iii) such
                      other date as may be ordered by the Bankruptcy Court.

            (iii)     Voting: Claims in Class 4 are Unimpaired. Each Holder of a
                      Separate Subsidiary Claim is conclusively deemed to have
                      accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. No Holder of a Separate Subsidiary Claim
                      is entitled to vote to accept or reject the Plan.

                   Class 5A – Dotcom Customer Entitlement Claims

            (i)       Classification: Class 5A consists of all Dotcom Customer
                      Entitlement Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Dotcom Customer Entitlement Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed Dotcom
                      Customer Entitlement Claims, each Holder of an Allowed
                      Dotcom Customer Entitlement Claim shall receive payment in
                      Cash in an amount equal to (i) 100% of such Allowed Dotcom
                      Customer Entitlement Claim, plus (ii) interest at the Consensus
                      Rate on such Allowed Dotcom Customer Entitlement Claim
                      from the Petition Date through the applicable Distribution Date
                      to the extent of available funds in accordance with section 7.1
                      of the Plan, plus (iii) any proceeds from the Supplemental

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                      Remission Fund to which the Debtors determine such Holder is
                      entitled pursuant to section 5.21 of the Plan; provided that no
                      Holder of an Allowed Dotcom Customer Entitlement Claim
                      shall be entitled to receive any payment except to the extent of
                      funds available to make such payment in accordance with the
                      waterfall priorities set forth in sections 4.2.1 and 4.2.3 of the
                      Plan.

            (iii)     Voting: Claims in Class 5A are Impaired. Each Holder of a
                      Dotcom Customer Entitlement Claim is entitled to vote to
                      accept or reject the Plan.

                   Class 5B – U.S. Customer Entitlement Claims

            (i)       Classification: Class 5B consists of all U.S. Customer
                      Entitlement Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      U.S. Customer Entitlement Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed U.S.
                      Customer Entitlement Claims, each Holder of an Allowed U.S.
                      Customer Entitlement Claim shall receive payment in Cash in
                      an amount equal to (i) 100% of such Allowed U.S. Customer
                      Entitlement Claim, plus (ii) interest at the Consensus Rate on
                      such Allowed U.S. Customer Entitlement Claim from the
                      Petition Date through the applicable Distribution Date to the
                      extent of available funds in accordance with section 7.1 of the
                      Plan, plus (iii) any proceeds from the Supplemental Remission
                      Fund to which the Debtors determine such Holder is entitled
                      pursuant to section 5.21 of the Plan; provided that no Holder of
                      an Allowed U.S. Customer Entitlement Claim shall be entitled
                      to receive any payment except to the extent of funds available
                      to make such payment in accordance with the waterfall
                      priorities set forth in sections 4.2.2 and 4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 5B are Impaired. Each Holder of a
                      U.S. Customer Entitlement Claim is entitled to vote to accept
                      or reject the Plan.

                   Class 5C – NFT Customer Entitlement Claims

            (i)       Classification: Class 5C consists of all NFT Customer
                      Entitlement Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      NFT Customer Entitlement Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release

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                      and discharge of and in exchange for its Allowed NFT
                      Customer Entitlement Claim, each Holder of an Allowed NFT
                      Customer Entitlement Claim shall receive the Available NFT
                      associated with such Allowed NFT Customer Entitlement
                      Claim.

            (iii)     Voting: Claims in Class 5C are Unimpaired. Each Holder of
                      an NFT Customer Entitlement Claim is conclusively deemed to
                      have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. No Holder of an NFT Customer Entitlement
                      Claim is entitled to vote to accept or reject the Plan.

                   Class 6A – General Unsecured Claims

            (i)       Classification: Class 6A consists of all General Unsecured
                      Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      General Unsecured Claim agrees to less favorable treatment,
                      and in full and final satisfaction, settlement, release and
                      discharge of and in exchange for its Allowed General
                      Unsecured Claims, each Holder of an Allowed General
                      Unsecured Claim shall receive payment in Cash in an amount
                      equal to (i) 100% of such Allowed General Unsecured Claim,
                      plus (ii) interest at the lower of the Consensus Rate, the
                      applicable contract rate or such other rate determined by the
                      Bankruptcy Court (or as otherwise agreed by the relevant
                      parties) on such Allowed General Unsecured Claim from the
                      Petition Date through the applicable Distribution Date to the
                      extent of available funds in accordance with section 7.1 of the
                      Plan; provided that no Holder of an Allowed General
                      Unsecured Claim shall be entitled to receive any payment
                      except to the extent of funds available to make such payment in
                      accordance with the waterfall priorities set forth in section
                      4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 6A are Impaired. Each Holder of a
                      General Unsecured Claim is entitled to vote to accept or reject
                      the Plan.

                   Class 6B – Digital Asset Loan Claims

            (i)       Classification: Class 6B consists of all Digital Asset Loan
                      Claims.

            (ii)      Treatment: Except to the extent that a Holder of a Digital
                      Asset Loan Claim agrees to less favorable treatment, and in full
                      and final satisfaction, settlement, release and discharge of and

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                      in exchange for its Allowed Digital Asset Loan Claims, each
                      Holder of an Allowed Digital Asset Loan Claim shall receive
                      payment in Cash in an amount equal to (i) 100% of such
                      Allowed Digital Asset Loan Claim, plus (ii) interest at the
                      lower of the Consensus Rate, the applicable contract rate or
                      such other rate determined by the Bankruptcy Court (or as
                      otherwise agreed by the relevant parties) on such Allowed
                      Digital Asset Loan Claim from the Petition Date through the
                      Distribution Date on which such Allowed Digital Asset Loan
                      Claim is paid to the extent of available funds, plus (iii) any
                      proceeds from the Supplemental Remission Fund to which the
                      Debtors determine such Holder is entitled pursuant to section
                      5.21 of the Plan; provided that no Holder of an Allowed Digital
                      Asset Loan Claim shall be entitled to receive any payment
                      except to the extent of funds available to make such payment in
                      accordance with the waterfall priorities set forth in section
                      4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 6B are Impaired. Each Holder of a
                      Digital Asset Loan Claim is entitled to vote to accept or reject
                      the Plan.

                   Class 7A – Dotcom Convenience Claims

            (i)       Classification: Class 7A consists of all Dotcom Convenience
                      Claims.

            (ii)      Treatment: In full and final satisfaction, settlement, release,
                      and discharge of and in exchange for its Allowed Dotcom
                      Convenience Claim, each Holder of an Allowed Dotcom
                      Convenience Claim shall receive payment in Cash in an
                      amount equal to 100% of such Allowed Dotcom Convenience
                      Claim plus postpetition interest at the Consensus Rate from the
                      Petition Date through the Initial Distribution Date in
                      accordance with the waterfall priority set forth in section 4.2.1
                      of the Plan, payable in Cash on or as reasonably practical after
                      the latest of (i) a date determined by the Plan Administrator
                      that shall be no later than 60 days after the Effective Date; (ii)
                      the date of which such Dotcom Convenience Claim becomes




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                      Allowed; and (iii) such other date as may be ordered by the
                      Bankruptcy Court.

            (iii)     Voting: Claims in Class 7A are Impaired. Each Holder of a
                      Dotcom Convenience Claim is entitled to vote to accept or
                      reject the Plan.

                   Class 7B – U.S. Convenience Claims

            (i)       Classification: Class 7B consists of all U.S. Convenience
                      Claims.

            (ii)      Treatment: In full and final satisfaction, settlement, release,
                      and discharge of and in exchange for its Allowed U.S.
                      Convenience Claim, each Holder of an Allowed U.S.
                      Convenience Claim shall receive payment in Cash in an
                      amount equal to 100% of such Allowed U.S. Convenience
                      Claim plus postpetition interest at the Consensus Rate from the
                      Petition Date through the Initial Distribution Date in
                      accordance with the waterfall priority set forth in section 4.2.2
                      of the Plan, payable in Cash on or as reasonably practical after
                      the latest of (i) a date determined by the Plan Administrator
                      that shall be no later than 60 days after the Effective Date; (ii)
                      the date of which such U.S. Convenience Claim becomes
                      Allowed; and (iii) such other date as may be ordered by the
                      Bankruptcy Court.

            (iii)     Voting: Claims in Class 7B are Impaired. Each Holder of a
                      U.S. Convenience Claim is entitled to vote to accept or reject
                      the Plan.

                   Class 7C – General Convenience Claims

            (i)       Classification: Class 7C consists of all General Convenience
                      Claims.

            (ii)      Treatment: In full and final satisfaction, settlement, release,
                      and discharge of and in exchange for its Allowed General
                      Convenience Claim, each Holder of an Allowed General
                      Convenience Claim shall receive payment in Cash in an
                      amount equal to 100% of such Allowed General Convenience
                      Claim plus postpetition interest at the lower of the Consensus
                      Rate, the applicable contract rate or such other rate determined
                      by the Bankruptcy Court (or as otherwise agreed by the
                      relevant parties) from the Petition Date through the Initial
                      Distribution Date in accordance with the waterfall priority set
                      forth in section 4.2.3 of the Plan, payable in Cash on or as
                      reasonably practical after the latest of (i) a date determined by

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                      the Plan Administrator that shall be no later than 60 days after
                      the Effective Date; (ii) the date of which such General
                      Convenience Claim becomes Allowed; and (iii) such other date
                      as may be ordered by the Bankruptcy Court.

            (iii)     Voting: Claims in Class 7C are Impaired. Each Holder of a
                      General Convenience Claim is entitled to vote to accept or
                      reject the Plan.

                   Class 8A – PropCo Operating Expense Claims

            (i)       Classification: Class 8A consists of all Allowed PropCo
                      Operating Expense Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      PropCo Operating Expense Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed PropCo
                      Operating Expense Claim, each Holder of an Allowed PropCo
                      Operating Expense Claim shall receive payment in full in Cash
                      on or as soon as reasonably practicable after the latest of (i) the
                      Initial Distribution Date; (ii) the date on which such Allowed
                      PropCo Operating Expense Claim becomes Allowed; and (iii)
                      such other date as may be ordered by the Bankruptcy Court.

            (iii)     Voting: Claims in Class 8A are Unimpaired. Each Holder of a
                      PropCo Operating Expense Claim is conclusively deemed to
                      have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. No Holder of a PropCo Operating Expense
                      Claim is entitled to vote to accept or reject the Plan.

                   Class 8B – Priority DM Claim

            (i)       Classification: Class 8B consists of the Allowed Priority DM
                      Claim.

            (ii)      Treatment: Except to the extent that FTX DM agrees to less
                      favorable treatment, and in full and final satisfaction,
                      settlement, release and discharge of and in exchange for its
                      Allowed Priority DM Claim, FTX DM shall receive payment
                      in Cash in an amount equal to the Priority DM Claim, to be
                      paid directly from the proceeds from the sale, disposition or
                      other monetization of the Bahamas Properties in accordance
                      with the waterfall priority set forth in section 4.2.4 of the Plan,
                      until the Priority DM Claim is paid in full.

            (iii)     Voting: The Priority DM Claim is Impaired. FTX DM is
                      entitled to vote to accept or reject the Plan.

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                   Class 8C – PropCo General Unsecured Claims

            (i)       Classification: Class 8C consists of all Allowed PropCo
                      General Unsecured Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      PropCo General Unsecured Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed PropCo
                      General Unsecured Claim, each Holder of an Allowed PropCo
                      General Unsecured Claim shall receive payment in Cash in an
                      amount equal to such Holder’s Pro Rata share of the proceeds
                      from the sale, disposition or other monetization of the Bahamas
                      Properties available to pay PropCo General Unsecured Claims,
                      in accordance with the waterfall priority set forth in section
                      4.2.4 of the Plan.

            (iii)     Voting: Claims in Class 8C are Impaired. Each Holder of a
                      PropCo General Unsecured Claim is entitled to vote to accept
                      or reject the Plan.

                   Class 9 – Cancelled Intercompany Claims

            (i)       Classification: Class 9 consists of all Cancelled Intercompany
                      Claims.

            (ii)      Treatment: All Cancelled Intercompany Claims shall be
                      cancelled, released or otherwise settled in full, and the Holders
                      of Cancelled Intercompany Claims shall not be entitled to, and
                      shall not receive or retain, any Distributions, property or
                      interest in property on account of such Claims under the Plan.

            (iii)     Voting: Claims in Class 9 are Impaired. Each Holder of a
                      Cancelled Intercompany Claim is conclusively deemed to have
                      rejected the Plan. No Holder of a Cancelled Intercompany
                      Claim is entitled to vote to accept or reject the Plan.

                   Class 10A – Senior Subordinated IRS Claims

            (i)       Classification: Class 10A consists of all Senior Subordinated
                      IRS Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Senior Subordinated IRS Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement and
                      release of and in exchange for all Claims of the IRS against the
                      Debtors arising from activities, transactions, liabilities or
                      events after October 31, 2022, each Holder of an Allowed

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                      Senior Subordinated IRS Claim shall receive payment in Cash
                      in an amount equal to such Holder’s share of Distributions
                      from the General Pool in accordance with the waterfall priority
                      set forth in section 4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 10A are Impaired. Each Holder of a
                      Senior Subordinated IRS Claim is entitled to vote to accept or
                      reject the Plan.

                   Class 10B – Senior Subordinated Governmental Claims

            (i)       Classification: Class 10B consists of all Senior Subordinated
                      Governmental Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Senior Subordinated Governmental Claim agrees to less
                      favorable treatment, and in full and final satisfaction,
                      settlement, release and discharge of and in exchange for its
                      Allowed Senior Subordinated Governmental Claim, each
                      Holder of an Allowed Senior Subordinated Governmental
                      Claim shall receive payment in Cash in an amount equal to
                      such Holder’s share of Distributions from the General Pool in
                      accordance with the waterfall priority set forth in section 4.2.3
                      of the Plan; provided that each Holder of such Allowed Senior
                      Subordinated Governmental Claim may elect to contribute
                      such payment to the Supplemental Remission Fund for the
                      benefit of, and Distribution to, Holders of Allowed Dotcom
                      Customer Entitlement Claims, Allowed U.S. Customer
                      Entitlement Claims, and Allowed Digital Asset Loan Claims as
                      contemplated by section 5.21 of the Plan.

            (iii)     Voting: Claims in Class 10B are Impaired. Each Holder of a
                      Senior Subordinated Governmental Claim is entitled to vote to
                      accept or reject the Plan.

                   Class 10C – Junior Subordinated IRS Claims

            (i)       Classification: Class 10C consists of all Junior Subordinated
                      IRS Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Junior Subordinated IRS Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement and
                      release of and in exchange for all Claims of the IRS (other than
                      the Priority IRS Tax Claim) against the Debtors arising from
                      activities, transactions, liabilities or events on or preceding
                      October 31, 2022, each Holder of an Allowed Junior
                      Subordinated IRS Claim shall receive payment in Cash in an

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                      amount equal to such Holder’s share of Distributions from the
                      General Pool in accordance with the waterfall priority set forth
                      in section 4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 10C are Impaired. Each Holder of a
                      Junior Subordinated IRS Claim is entitled to vote to accept or
                      reject the Plan.

                   Class 11 – Intercompany Interests

            (i)       Classification: Class 11 consists of all Intercompany Interests.

            (ii)      Treatment: No Holder of an Intercompany Interest shall
                      receive any Distributions on account of its Intercompany
                      Interest. On and after the Effective Date, all Intercompany
                      Interests shall, at the option of the Debtors, either be reinstated,
                      set off, settled, addressed, distributed, contributed, merged or
                      cancelled.

            (iii)     Voting: Interests in Class 11 are Impaired. Each Holder of an
                      Intercompany Interest is conclusively deemed to have rejected
                      the Plan. No Holder of an Intercompany Interest is entitled to
                      vote to accept or reject the Plan.

                   Class 12 – Preferred Equity Interests

            (i)       Classification: Class 12 consists of all Preferred Equity
                      Interests.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Preferred Equity Interest agrees to less favorable treatment, and
                      in full and final satisfaction, settlement, release and discharge
                      of and in exchange for its Allowed Preferred Equity Interest,
                      each Holder of an Allowed Preferred Equity Interest shall
                      receive payment in Cash in an amount equal to such Holder’s
                      Pro Rata share of Distributions from the General Pool in
                      accordance with the waterfall priority set forth in section 4.2.3
                      of the Plan.

            (iii)     Voting: Interests in Class 12 are Impaired. Each Holder of a
                      Preferred Equity Interest is entitled to vote to accept or reject
                      the Plan.




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                   Class 13 – Section 510(b) Preferred Equity Claims

            (i)       Classification: Class 13 consists of all Section 510(b)
                      Preferred Equity Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Section 510(b) Preferred Equity Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed Section
                      510(b) Preferred Equity Claim, each Holder of an Allowed
                      Section 510(b) Preferred Equity Claim shall receive payment in
                      Cash in an amount equal to such Holder’s Pro Rata share of
                      Distributions from the General Pool in accordance with the
                      waterfall priority set forth in section 4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 13 are Impaired. Each Holder of a
                      Section 510(b) Preferred Equity Claim is conclusively deemed
                      to have rejected the Plan. No Holder of a Section 510(b)
                      Preferred Equity Claim is entitled to vote to accept or reject the
                      Plan.

                   Class 14 – Section 510(b) Other Equity Claims

            (i)       Classification: Class 14 consists of all Section 510(b) Other
                      Equity Claims.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Section 510(b) Other Equity Claim agrees to less favorable
                      treatment, and in full and final satisfaction, settlement, release
                      and discharge of and in exchange for its Allowed Section
                      510(b) Other Equity Claim, each Holder of an Allowed Section
                      510(b) Other Equity Claim shall receive payment in Cash in an
                      amount equal to such Holder’s Pro Rata share of Distributions
                      from the General Pool in accordance with the waterfall priority
                      set forth in section 4.2.3 of the Plan.

            (iii)     Voting: Claims in Class 14 are Impaired. Each Holder of a
                      Section 510(b) Other Equity Claim is conclusively deemed to
                      have rejected the Plan. No Holder of a Section 510(b) Other
                      Equity Claim is entitled to vote to accept or reject the Plan.

                   Class 15 – Equitably Subordinated Claims

             (i)       Classification: Class 15 consists of all Equitably
                       Subordinated Claims.

             (ii)      Treatment: All Equitably Subordinated Claims shall be
                       cancelled or released, and the Holders of Equitably

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                      Subordinated Claims shall not be entitled to, and shall not
                      receive or retain, any Distributions, property or interest in
                      property on account of such Claims under the Plan.

            (iii)     Voting: Claims in Class 15 are Impaired. Each Holder of an
                      Equitably Subordinated Claim is conclusively deemed to have
                      rejected the Plan. No Holder of an Equitably Subordinated
                      Claim is entitled to vote to accept or reject the Plan.

                  Class 16 – Other Equity Interests

            (i)       Classification: Class 16 consists of all Other Equity Interests.

            (ii)      Treatment: Except to the extent that a Holder of an Allowed
                      Other Equity Interest agrees to less favorable treatment, and in
                      full and final satisfaction, settlement, release and discharge of
                      and in exchange for its Allowed Other Equity Interest, each
                      Holder of an Allowed Other Equity Interest shall receive its
                      share equal to such Holder’s Pro Rata share of Distributions
                      from the General Pool in accordance with the waterfall
                      priority set forth in section 4.2.3 of the Plan.

            (iii)     Voting: Interests in Class 16 are Impaired. Each Holder of an
                      Other Equity Interest is conclusively deemed to have rejected
                      the Plan. No Holder of an Other Equity Interest is entitled to
                      vote to accept or reject the Plan.

                  Class 17 – FTT Interests

            (i)       Classification: Class 17 consists of all FTT Interests.

            (ii)      Treatment: All Allowed FTT Interests shall be cancelled or
                      released, and the Holders of Allowed FTT Interests shall not
                      be entitled to, and shall not receive or retain, any
                      Distributions, property or interest in property on account of
                      such Interests under the Plan.

            (iii)     Voting: Claims in Class 17 are Impaired. Each Holder of an
                      FTT Interest is conclusively deemed to have rejected the Plan.
                      No Holder of an FTT Interest is entitled to vote to accept or
                      reject the Plan.

                  Class 18 – De Minimis Claims

            (i)       Classification: Class 18 consists of all De Minimis Claims.

            (ii)      Treatment: No Holder of a De Minimis Claim shall receive
                      any Distributions on account of its De Minimis Claim. On and

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                                    after the Effective Date, all De Minimis Claims shall be
                                    cancelled and shall be of no further force and effect, whether
                                    surrendered for cancellation or otherwise.

                            (iii)   Voting: Claims in Class 18 are Impaired. Each Holder of a
                                    De Minimis Claim is conclusively deemed to have rejected the
                                    Plan. No Holder of a De Minimis Claim is entitled to vote to
                                    accept or reject the Plan.

               Implementation of the Plan

                   1. Operations Between the Confirmation Date and Effective Date

               During the period from the Confirmation Date through and until the Effective
Date, the Debtors may continue to operate as debtors-in-possession, subject to all applicable
orders of the Bankruptcy Court.

                   2. Global Settlement of Claims and Interests

                 In consideration of the classification, treatment, Distributions, releases and other
benefits provided by the Debtors to their stakeholders under the Plan, on the Effective Date, the
provisions of the Plan shall constitute a good-faith compromise, settlement and resolution (the
“Global Settlement”) of all Claims, Interests and Causes of Action against, by or among the
Debtors, including without limitation: (a) the actual or purported fraud, unjust enrichment,
misappropriation, conversion and misconduct of former Insiders; (b) any basis for the
contractual, structural and legal subordination rights of any Claim or Interest or any Distribution
to be made on account of any Claim or Interest; (c) the purported commingling and misuse of
customer deposits and corporate funds; (d) the tracing of assets of individual Debtors to
particular sources of funding; (e) transactions among the Debtors prior to and on the Effective
Date; (f) the allocation of corporate and administrative expenses across each of the Debtors;
(g) the effects and consequences of the Debtors’ Terms of Service and whether the assets held by
the FTX.com Exchange and the FTX.US Exchange are property of the Debtors’ Estates; (h) the
Debtors’ disregard for corporate separateness before the Petition Date; (i) any causes of action by
a Debtor against other Debtors or the Insiders of other Debtors; (j) the purported absence of
adequate corporate governance, cash management, accounting and cybersecurity controls by the
Debtors and their Affiliates prior to the commencement of these Chapter 11 Cases; and (k) all
Causes of Action relating to any of the foregoing.

                In connection with the implementation of the Global Settlement pursuant to the
Plan: (a) the value of Claims in respect of Digital Assets shall be calculated pursuant to section
4.4 of the Plan; (b) the Dotcom Intercompany Shortfall Claim and the U.S. Intercompany
Shortfall Claim shall be recognized for the benefit of Holders of Allowed Dotcom Customer
Entitlement Claims and Allowed U.S. Customer Entitlement Claims; (c) the Alameda U.S.
Customer Claim shall be recognized as part of the General Pool; (d) Claims shall be classified
and treated as set forth in article 4, which entitles Holders of Allowed Dotcom Customer
Entitlement Claims and Allowed U.S. Customer Entitlement Claims to recover against the
(i) Dotcom Customer Priority Assets and the U.S. Customer Priority Assets, respectively, and


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(ii) General Pool, in accordance with the waterfall priorities set forth in section 4.2 of the Plan;
(e) the Consolidated Debtors shall be substantively consolidated as set forth in section 5.7 of the
Plan; (f) Cancelled Intercompany Claims, Equitably Subordinated Claims, FTT Interests and De
Minimis Claims shall be cancelled; (g) Separate Subsidiary Intercompany Claims, Senior
Subordinated IRS Claims, Senior Subordinated Governmental Claims, Junior Subordinated IRS
Claims, Preferred Equity Interests, Section 510(b) Preferred Equity Claims and Section 510(b)
Other Equity Claims shall be subordinated to Claims of other Holders, in accordance with the
waterfall priorities set forth in section 4.2 of the Plan; (h) Holders of Other Equity Interests shall
recover against the General Pool in accordance with the waterfall priorities set forth in section
4.2 of the Plan; (i) Distributions to customers and creditors shall be made in Cash (other than in
Available NFTs) as set forth in articles 4 and 7 of the Plan; (j) all assets scheduled by the
Debtors shall constitute property of the Debtors’ Estates; (k) interest shall be paid at the
applicable rate to Holders of certain Claims in accordance with section 7.1 of the Plan and the
treatment set forth in section 4.3 of the Plan; and (l) interest shall be paid at the Consensus Rate
to Holders of Holders of Allowed Dotcom Customer Entitlement Claims, Allowed U.S.
Customer Entitlement Claims, Allowed Dotcom Convenience Claims and Allowed U.S.
Convenience Claims in accordance with section 7.1 of the Plan and the treatment set forth in
section 4.3 of the Plan.

                 The Plan shall be deemed a motion to approve the Global Settlement pursuant to
Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the Global Settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as findings by the Bankruptcy Court that the Global Settlement is
fair, equitable, reasonable and in the best interests of the Debtors, their Estates and Holders of
Claims and Interests.

                   3. FTX DM Global Settlement

                To the extent that the FTX DM Global Settlement Agreement is in full force and
effect as of the Effective Date, the FTX DM Global Settlement Agreement will be incorporated
into the Plan. If the FTX DM Global Settlement Agreement is terminated pursuant to its terms,
section 5.3 of the Plan shall become null and void and shall have no further force and effect.

               Notwithstanding anything to the contrary in the Plan, no claims between the
Debtors and FTX DM arising under the FTX DM Global Settlement Agreement or the Exclusive
Sales Agency Agreement shall be cancelled or otherwise released or modified by the Plan and
the FTX DM Global Settlement Agreement and the Exclusive Sales Agency Agreement shall
remain in effect following the Effective Date pursuant to their terms.

                   4. Setoff Against FTX DM

                On the Effective Date, the loan provided by FTX Trading to FTX DM in
connection with the FTX DM Global Settlement Agreement shall be satisfied by setoff and
reduction against any amount otherwise due to FTX DM by the Debtors under the FTX DM
Global Settlement Agreement. Such setoff shall be effective automatically upon the occurrence
of the Effective Date and shall not require any action by the Debtors, the Plan Administrator, or
FTX DM or further order of the Court.


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                   5. Waiver of Customer Preference Actions

               Effective upon the Effective Date, the Debtors and the Wind Down Entities may
waive and not prosecute any Customer Preference Action against any Holder of Dotcom
Customer Entitlement Claims or U.S. Customer Entitlement Claims if such Holder duly executes
and timely returns a valid Ballot by the Voting Deadline that (i) votes to accept the Plan, and (ii)
consents and stipulates to the amount of such Dotcom Customer Entitlement or U.S. Customer
Entitlement Claim as set forth in the applicable Ballot for voting, allowance and Distribution
purposes; provided that notwithstanding anything provided in the Plan, the Debtors shall not
waive and release any Excluded Customer Preference Action.

                 The Debtors shall not designate a Customer Preference Action as an Excluded
Customer Preference Action unless the Debtors have determined there is a reasonable basis to
conclude that, among other things: (a) the recipient of the applicable preferential payment or
transfer (i) was an Insider of any Debtor, (ii) was a current or former employee of the Debtors or
of any current or former Affiliate of the Debtors, (iii) may have had actual or constructive
knowledge of the commingling and misuse of Customer deposits and corporate funds, or
(iv) either (x) changed its know your customer information to facilitate withdrawals from the
applicable FTX Exchange or (y) received manual permission from the Debtors to facilitate
withdrawals when withdrawals were otherwise halted from the FTX Exchange; or (b) any Debtor
has a Cause of Action or a defense against the recipient of the applicable preferential payment or
transfer (or a subsequent transferee of the applicable Customer Entitlement Claim) or any of its
Affiliates other than a claim arising under a Customer Preference Action.

                   6. Substantive Consolidation

                As discussed in Section 1.CA Collaborative Process of Stakeholder
Engagement and Compromise, pursuant to sections 105, 363, 365 and 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, and as an integral part of the Global Settlement pursuant to the
Plan, the Plan shall be deemed a motion by the Debtors seeking the approval, effective as of the
Effective Date, of the substantive consolidation of the Estates of the Consolidated Debtors into a
single Entity formed as a Delaware trust for the purposes of effectuating and implementing the
Plan. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
such substantive consolidation of the Estates of the Consolidated Debtors, as well as findings by
the Bankruptcy Court that such substantive consolidation is fair, equitable, reasonable and in the
best interests of the Debtors, their Estates and the Holders of Claims and Interests. FTX
Bahamas PropCo shall not be substantively consolidated pursuant to the Plan and shall continue
to exist as a separate legal entity.

                Except as otherwise provided in the Plan and subject in all respects to the
classification and treatment of Claims and Interests set forth in article 4 of the Plan, as a result of
the substantive consolidation of the Estates of the Consolidated Debtors: (a) all property of the
Consolidated Debtors shall vest in, and constitute the property of, the Consolidated Wind Down
Trust, free and clear of any and all Liens, charges or other encumbrances or interests, pursuant to
section 5.12 of the Plan; (b) all guarantees of any Consolidated Debtor of the payment,
performance or collection of obligations of another Consolidated Debtor shall be eliminated and
cancelled; (c) all joint obligations of two or more Consolidated Debtors and multiple Claims

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against such Entities on account of such joint obligations shall be treated and allowed as a single
Claim against the Consolidated Wind Down Trust; (d) all Cancelled Intercompany Claims shall
be deemed cancelled; and (e) each Claim filed or scheduled in the Chapter 11 Case of any
Consolidated Debtor shall be deemed filed against the Consolidated Debtors and a single
obligation of the Consolidated Wind Down Trust.

                 Except as otherwise provided in the Plan, the substantive consolidation set forth
in section 5.7 of the Plan shall not: (i) affect the separate legal existence of the Consolidated
Debtors for purposes other than implementation of the Plan pursuant to its terms; (ii) constitute
or give rise to any defense, counterclaim or right of netting or setoff with respect to any Cause of
Action vesting in the Consolidated Wind Down Trust that could not have been asserted against
the Consolidated Debtors; or (iii) constitute the transfer or assignment of, or give rise to any right
under, any executory contract, insurance contract or other contract to which a Consolidated
Debtor is party, except to the extent required by section 365 of the Bankruptcy Code in
connection with the assumption of such contract by the applicable Debtors.

                   7. Wind Down Entities

                 The purpose of the Wind Down Entities is to monetize the Plan Assets and pay
Distributions as promptly as reasonably practicable. The Wind Down Entities shall hold Plan
Assets for sale; sell Plan Assets; administer, and close as necessary, these Chapter 11 Cases;
administer, reconcile, resolve and settle claims; and liquidate the Debtors and their non-Debtor
subsidiaries pursuant to the terms of the Plan Supplement. The Plan Administrator shall be
vested with all other powers and authority set forth in the Plan and the Plan Administration
Agreement, shall be deemed to have been appointed as the Debtors’ Estates’ representative
pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, and shall have the duties of a trustee
set forth in sections 704(a)(1), 704(a)(2) and 704(a)(5) of the Bankruptcy Code.

                   8. Plan Funding Mechanism

              Distributions under the Plan shall be funded from (a) Cash on hand, (b) Available
NFTs, (c) Wind Down Cash Proceeds, and (d) any other Plan Assets, except as expressly set
forth herein.

                   9. The Wind Down Board

                The Wind Down Board shall consist of the Plan Administrator, Brian C. Simms
and Peter Greaves in their capacity as the Bahamas JOLs, and the incumbent members of the
Debtors’ board. The Wind Down Board shall have the responsibility to review and advise the
Plan Administrator with respect to the liquidation and Distribution of the Plan Assets. In
advising the Plan Administrator, the Wind Down Board shall maintain the same fiduciary
responsibilities as the Plan Administrator.

                   10. Plan Administrator and Plan Administration Agreement

               The Plan Administrator shall administer the Wind Down Entities after the
Effective Date in accordance with the Plan Administration Agreement. The appointment of the
Plan Administrator and execution, delivery and performance of the Plan Administration

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Agreement by the Wind Down Entities shall be approved by the Bankruptcy Court in the
Confirmation Order. The Plan Administrator shall be a fiduciary of the Wind Down Entities and
shall be compensated and reimbursed for expenses as set forth in the Plan Administration
Agreement. The Plan Administration Agreement shall provide for the exculpation and
indemnification of the Plan Administrator, the Wind Down Board and their professionals,
representatives and related persons with respect to all Causes of Action arising out of or relating
to any act taken, or omission made, in connection with the affairs of the Wind Down Entities,
except to the extent an act or omission is determined by a Final Order to have constituted gross
negligence or willful misconduct.

                   11. Vesting of Assets

                 Except as otherwise expressly provided in the Plan or the Confirmation Order, as
of the Effective Date, all Plan Assets irrevocably shall be transferred to and automatically vested
in the Wind Down Entities, for the benefit of Holders of Claims, free and clear of all Liens,
Claims, charges or other encumbrances or interests to the extent permitted by section 1141 of the
Bankruptcy Code. All property held for Distribution pursuant to the Plan shall be held in trust
for the benefit of the Holders of Allowed Claims and Interests and to pay the expenses of the
administration of the Wind Down Entities. Upon the vesting of the Plan Assets in the Wind
Down Entities, no Debtor, Consolidated Debtor or any Person or Entity holding a Claim or
Interest shall (a) have an interest in, or any right with respect to, any Plan Asset except as
provided by the Plan or (b) take, without the written consent of the Plan Administrator or order
of the Bankruptcy Court, any action with respect to a Wind Down Entity or a Plan Asset if such
action would not have been permitted to be taken by such Person or Entity with respect to a
Debtor or its property under section 362 of the Bankruptcy Code.

                   12. Preservation of Causes of Action

                Except as otherwise provided in article 10 of the Plan or the other provisions of
the Plan, each Cause of Action that is a Plan Asset shall be preserved and, along with the
exclusive right to enforce such Cause of Action, shall vest exclusively in the Wind Down
Entities as of the Effective Date. For avoidance of doubt, any and all DM-Controlled Recovery
Actions shall vest solely in FTX DM and shall not vest in the Wind Down Entities. Any such
Cause of Action against any Customer of the FTX.com Exchange or any of such Customer’s
successors or assigns shall constitute a Dotcom Customer Priority Asset, and any such Cause of
Action against any customer of the FTX.US Exchange shall constitute a U.S. Customer Priority
Asset. Unless a Cause of Action is expressly waived, relinquished, released or compromised in
the Plan or an order of the Bankruptcy Court, the Plan Administrator expressly reserves such
Cause of Action for later adjudication and, accordingly, no doctrine of res judicata, collateral
estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise), laches or
other preclusion doctrine shall apply to such Cause of Action as a consequence of Confirmation,
the Plan, the vesting of such Cause of Action in the Wind Down Entities, any order of the
Bankruptcy Court or these Chapter 11 Cases. No Person may rely on the absence of a specific
reference in the Plan or this Disclosure Statement to any Cause of Action against them or in
which they asserted any interest as an indication that the Debtors or the Plan Administrator, as
applicable, will not pursue such Cause of Action.



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                  13. Creditor Advisory Committee

                The Ad Hoc Committee and the Official Committee shall have the right to request
that the Debtors form as of the Effective Date an advisory committee (the “Advisory
Committee”) of three persons mutually agreed by the Ad Hoc Committee and the Official
Committee, and reasonably acceptable to the Debtors. The members of the Advisory Committee
shall not be a current or former Holder of a Claim or Interest. The Advisory Committee shall
have a mandate to advise the Plan Administrator with respect to the administration, Allowance
and reconciliation of Claims, the management of the Disputed Claims Reserve and such related
matters as may be agreed with the Debtors and set forth in the Plan Administration Agreement.
The Advisory Committee shall have standing before the Bankruptcy Court with respect to issues
within its mandate as if it were a creditor. The Advisory Committee shall continue until
undisputed General Unsecured Claims have been paid 100% of their Allowed amounts, and then
shall be disbanded.

                  14. Supplemental Remission Fund

                The Debtors may establish a segregated fund (the “Supplemental Remission
Fund”) to receive any funds otherwise payable to the Holders of Allowed Senior Subordinated
Governmental Claims (the “Remission Fund Sponsors”). The Plan Administrator may manage
funds in the Supplemental Remission Fund on the same basis as any other funds of the Wind
Down Entities. The Supplemental Remission Fund shall constitute property of the Wind Down
Entities and part of their Cash; provided that the Plan Administrator shall (a) keep such
Supplemental Remission Fund segregated, and (b) apply funds in the Supplemental Remission
Fund only (i) to pay costs and expenses incurred in connection with the activities of the
Supplemental Remission Fund, (ii) to make distributions of available funds to (x) Holders of
Allowed Dotcom Customer Entitlement Claims, Allowed U.S. Customer Entitlement Claims and
Allowed Digital Asset Loan Claims and (y) FTX DM for the benefit of Holders of Eligible DM
Customer Entitlement Claims, in each case, on a Pro Rata basis or as otherwise agreed between
the Plan Administrator and the Remission Fund Sponsors, or (iii) as ordered by the Bankruptcy
Court. The Plan Administrator shall file on the docket of these Chapter 11 Cases notices
describing any agreement with any Remission Fund Sponsor to contribute to the Supplemental
Remission Fund, as well as any agreed guidelines for distributions. The Plan Administrator shall
file periodic reports on the docket of these Chapter 11 Cases with respect to the balance in the
Supplemental Remission Fund and its distribution activities.

              Provisions Governing Distributions

                  1. Distributions Timing

                                 Determination for Distributions to FTX DM. Before the Initial
                                 Distribution Date or any Distribution Date thereafter, the Plan
                                 Administrator shall determine, in accordance with the FTX
                                 DM Global Settlement Agreement, whether it needs to advance
                                 Cash to FTX DM to pay distributions to holders of DM




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                    Customer Entitlement Claims in accordance with the FTX DM
                    Global Settlement Agreement.

                    Initial Distribution Date. On the Initial Distribution Date, the
                    Distribution Agent shall commence Distributions under the
                    Plan on account of each Claim that is Allowed on or prior to
                    the Effective Date.

                    Subsequent Distributions. The Plan Administrator shall
                    identify, in his or her reasonable discretion and in accordance
                    with the Plan Administration Agreement, dates to be
                    Subsequent Distribution Dates for the purpose of making
                    additional Distributions under the Plan. Each Subsequent
                    Distribution Date shall be a Business Day. On each
                    Subsequent Distribution Date, the Plan Administrator shall
                    direct the Distribution Agent to make Distributions with Cash
                    on hand net of reserves, as determined by the Plan
                    Administrator and the Wind Down Board.

                    Distributions to Holders of Claims Allowed After the Effective
                    Date. The Distribution Agent shall make Distributions to
                    Holders of Claims Allowed after the Effective Date in
                    accordance with the applicable provision of article 4 of the
                    Plan on the first Subsequent Distribution Date after such Claim
                    is Allowed. Unless the Plan Administrator otherwise agrees,
                    no partial Distribution shall be made with respect to such
                    Claim until all disputes in connection with such Claim have
                    been resolved by Final Order of the Bankruptcy Court.

      2. Distributions to Holders of Customer Entitlement Claims

                    Distributions to FTX DM. In accordance with section 7.2.1 of
                    the Plan, before the Initial Distribution Date or any Distribution
                    Date thereafter, the Plan Administrator or the Distribution
                    Agent shall make any distribution of Cash to FTX DM for the
                    benefit of holders of DM Customer Entitlement Claims that
                    have made the Bahamas Opt-In Election in accordance with the
                    FTX DM Global Settlement Agreement.

                    Distributions of Dotcom Customer Entitlement Claims, U.S.
                    Customer Entitlement Claims and Allocations of Wind Down
                    Cash Proceeds. On any Distribution Date, the Plan
                    Administrator may direct the Distribution Agent to Distribute
                    to the Holders of Allowed Dotcom Customer Entitlement
                    Claims and Allowed U.S. Customer Entitlement Claims the
                    Wind Down Cash Proceeds that the Plan Administrator in
                    accordance with the Plan and the Plan Administration


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                                   Agreement, determines are Wind Down Cash Proceeds that
                                   belong to the Dotcom Customer Priority Assets or U.S.
                                   Customer Priority Assets, respectively, in each case, in
                                   accordance with sections 4.3.6 and 4.3.7 of the Plan.

                                   Final Distribution at Closing of these Chapter 11 Cases. On or
                                   prior to the closing of these Chapter 11 Cases, the Plan
                                   Administrator shall Distribute (such Distribution, the “Final
                                   Distribution”) all remaining Wind Down Cash Proceeds in
                                   accordance with the waterfall priority set forth in section 4.2 of
                                   the Plan and the classification and treatment set forth in section
                                   4.3 thereof.

               Record Date and Delivery of Distributions

                   1. Record Date for Distributions

                In advance of each Distribution Date, the Plan Administrator shall establish a
Distribution Record Date for purposes of determining the Holders of Allowed Claims entitled to
receive a Distribution on such Distribution Date, which Distribution Record Date shall be no less
than 45 and no more than 75 days prior to the corresponding Distribution Date. On each
Distribution Record Date, the Claims Register shall be closed and the Distribution Agent shall be
authorized and entitled to recognize only those Holders of Claims listed on the Claims Register
as of the close of business on such Distribution Record Date. If a Claim is transferred 45 or
fewer days before the applicable Distribution Record Date, the Distribution Agent shall make
distributions to the transferee only to the extent practical, and, in any event, only if the relevant
transfer form contains an unconditional and explicit certification and waiver of any objection to
the transfer by the transferor.

                   2. Delivery of Distributions in General

                Except as otherwise provided in the Plan, the Distribution Agent, at the direction
of the Plan Administrator, shall make all Distributions required under the Plan to Holders of
Allowed Claims. Except as otherwise provided in the Plan, and notwithstanding any authority to
the contrary, Distributions to Holders of Allowed Claims shall be made to Holders of record as
of the applicable Distribution Record Date by the Distribution Agent, as appropriate: (a) to the
signatory set forth on any of the Proofs of Claim filed by such Holder or other representative
identified therein; (b) at the address set forth in any written notice of change of address delivered
to the Notice and Claims Agent; (c) at the address set forth in any notice of transfer that has
become effective pursuant to Bankruptcy Rule 3001(e); or (d) at the address reflected in the
Schedules if no Proof of Claim has been filed and the Notice and Claims Agent has not received
a written notice of a change of address. The Debtors, the Plan Administrator, the Distribution
Agent, the Wind Down Entities and the Notice and Claims Agent shall not incur any liability
whatsoever on account of the delivery of any Distributions under the Plan.

              In the event that any payment or distribution under the Plan is required to be made
or performed on a date that is not a Business Day, then the making of such payment or


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distribution may be completed on the next succeeding Business Day but shall be deemed to have
been completed as of the required date. Except as specifically provided in the Plan, Holders of
Allowed Claims shall not be entitled to interest, dividends or accruals on the Distributions
provided for in the Plan, regardless of whether such Distributions are delivered on or at any time
after the Effective Date.

                   3. Valuation of Claims

                 Unless otherwise expressly provided in the Digital Assets Estimation Order, the
value of a Claim in respect of a digital asset shall be calculated by converting the value of such
digital asset into Cash as of the Petition Date utilizing the conversion rates set forth in the Digital
Assets Conversion Table attached to this Disclosure Statement as Appendix E and pursuant to
section 4.4 of the Plan.

                   4. Accrual of Postpetition Interest

                Unless otherwise provided in the Plan, to the extent that postpetition interest
accrues on an Allowed Dotcom Customer Entitlement Claim, an Allowed U.S. Customer
Entitlement Claim or an Allowed General Unsecured Claim pursuant to article 4 of the Plan,
such postpetition interest shall accrue on any unpaid balance of such Allowed Claim from the
Petition Date through the applicable Distribution Date on which such Allowed Claim is paid;
provided that, to the extent that a Disputed Claim becomes an Allowed Claim on which
postpetition interest accrues pursuant to article 4 of the Plan, postpetition interest shall accrue on
such Allowed Claim as if such Allowed Claim had been an Allowed Claim that received a
Distribution on each date Distributions were previously made to Holders of the Allowed Claims
classified in the applicable Class.

                   5. Distribution Agent

                 The Plan Administrator shall have the authority, in its sole discretion, to enter into
an agreement with a Distribution Agent to facilitate the Distributions required under the Plan.
To the extent the Plan Administrator determines to utilize a Distribution Agent to facilitate the
Distributions, such Distribution Agent would first be required to: (a) affirm its obligation to
facilitate the prompt distribution of any documents; (b) affirm its obligation to facilitate the
prompt distribution of any recoveries or Distributions required under the Plan; and (c) waive any
right or ability to set off, deduct from or assert any Lien or other encumbrance against the
Distributions required under the Plan to be distributed by such Distribution Agent.

                The Plan Administrator shall pay to the Distribution Agent all of its reasonable
and documented fees and expenses without the need for any approvals, authorizations, actions or
consents of the Bankruptcy Court or otherwise. The Distribution Agent shall submit detailed
invoices to the Plan Administrator for all fees and expenses for which the Distribution Agent
seeks reimbursement, and the Plan Administrator shall pay those amounts that it, in its sole
discretion, deems reasonable, and shall object to those fees and expenses, if any, that the Plan
Administrator deems to be unreasonable. In the event that the Plan Administrator objects to all
or any portion of the amounts requested to be reimbursed in the Distribution Agent’s invoice, the
Plan Administrator and the Distribution Agent shall endeavor, in good faith, to reach mutual


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agreement on the amount of the appropriate payment of such disputed fees and/or expenses. In
the event that the Plan Administrator and the Distribution Agent are unable to resolve any
differences regarding disputed fees or expenses, either party shall be authorized to move to have
such dispute heard by the Bankruptcy Court.

                   6. Fractional and De Minimis Distributions

               Notwithstanding anything herein to the contrary, the Plan Administrator and the
Distribution Agent shall not be required to make Distributions in Cash or payments of less than
$10. Any Holder of an Allowed Claim on account of which the amount of Cash or other
property to be distributed is less than $10 shall be forever barred from asserting such Claim
against the Debtors, the Estates, the Plan Administrator, the Wind Down Entities or any of their
property.

                   7. Undeliverable Distributions

                In the event that any Distribution to any Holder is returned as undeliverable, or no
address for such Holder is found in the Debtors’ or Notice and Claims Agent’s records, no
further Distribution to such Holder shall be made unless and until the Plan Administrator or the
Distribution Agent is notified in writing of the then-current address of such Holder, at which
time such Distribution shall be made to such Holder not less than 30 days thereafter.
Undeliverable Distributions shall remain in the possession of the Plan Administrator or the
Distribution Agent until such time as such Distribution becomes deliverable or such Distribution
reverts to the relevant Wind Down Entity or is cancelled pursuant to section 7.8 of the Plan and
shall not be supplemented with any interest, dividends or other accruals of any kind. Nothing
contained herein shall require the Plan Administrator to attempt to locate any Holder of an
Allowed Claim whose Distribution is declared an undeliverable or Unclaimed Distribution.

                   8. Reversion

                Any Distribution under the Plan, including Distributions made by the Plan
Administrator or the Distribution Agent in accordance with section 7.5 of the Plan, that is an
Unclaimed Distribution for a period of six months thereafter, shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code, and such Unclaimed Distribution shall
revest in the relevant Wind Down Entity as Plan Assets with respect to Unclaimed Distributions
on account of Claims; provided, however, that the Plan Administrator and the Distribution Agent
shall use commercially reasonable efforts to notify the Holder of such Unclaimed Distribution
within three months of the applicable Distribution Date. The Plan Administrator and the
Distribution Agent are deemed to have satisfied their use of commercially reasonable efforts by
mailing a notice to the last known address of record known to the Claims Agent and emailing
such notice to the last known email address of record known to the Claims Agent. Any
Distribution that is not made pursuant to section 7.6 of the Plan shall be deemed unclaimed
property under section 347(b) of the Bankruptcy Code and shall revest in the relevant Wind
Down Entity as Plan Assets pursuant to section 7.8 of the Plan. Upon revesting pursuant to
section 7.8 of the Plan, the Claim of any Holder or its successors and assigns with respect to such
property shall be cancelled and forever barred, notwithstanding any applicable federal or state
escheat, abandoned or unclaimed property laws to the contrary. If any Unclaimed Distribution


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revests in any Wind Down Entity as Plan Assets pursuant to section 7.8 of the Plan after the
Final Distribution is made, the Plan Administrator shall not be required to make any subsequent
Distributions to Holders of Allowed Claims or Interests under the Plan.

                  9. Surrender of Cancelled Instruments or Securities

                 Except as otherwise provided in the Plan, on the Effective Date, or as soon as
reasonably practicable thereafter, each holder of a Certificate shall be deemed to have
surrendered such Certificate to the Distribution Agent. Subject to the foregoing sentence,
regardless of any actual surrender of a Certificate, the deemed surrender shall have the same
effect as if its Holder had actually surrendered such Certificate, and such Holder shall be deemed
to have relinquished all rights, Claims and Interests with respect to such Certificate.
Notwithstanding the foregoing paragraph, section 7.9 of the Plan shall not apply to any Claims
reinstated pursuant to the terms of the Plan.

                  10. Setoffs

                Except as otherwise provided in the Plan, a Final Order of the Bankruptcy Court,
or as agreed to by the Holder and the Debtors or the Plan Administrator, as applicable, pursuant
to the Bankruptcy Code (including section 553), applicable non-bankruptcy law, or such terms as
may be agreed to by the Holder and the Debtors or the Plan Administrator, as applicable, may,
without any further notice to, or action, order or approval of the Bankruptcy Court, set off
against any Allowed Claim and the Distributions to be made on account of such Allowed Claim
(before any Distribution is made on account of such Allowed Claim), any claims, rights and
Causes of Action of any nature that such Debtor or the Plan Administrator, as applicable, may
hold against the Holder of such Allowed Claim, to the extent such claims, rights or Causes of
Action against such Holder have not been otherwise compromised or settled on or prior to the
Effective Date (whether pursuant to the Plan or otherwise); provided that neither the failure to
effect such a setoff nor the allowance of any Claim pursuant to the Plan shall constitute a waiver
or release by such Debtor or the Plan Administrator of any such Claims, rights and Causes of
Action that such Debtor or the Plan Administrator may possess against such Holder. In no event
shall any Holder of a Claim be entitled to set off any Claim against any Claim, right, or Cause of
Action of a Debtor or the Plan Administrator, as applicable, unless such Holder has filed a Proof
of Claim in these Chapter 11 Cases by the applicable Claims Bar Date preserving such setoff and
a Final Order of the Bankruptcy Court has been entered, authorizing and approving such setoff.

                  11. The Bahamas Opt-In Election

                All Bahamas Customers forever, fully and finally release and discharge the
Debtors with respect to any Dotcom Customer Entitlement Claims and Dotcom Convenience
Claims and forever, fully and finally withdraw with prejudice such Dotcom Customer
Entitlement Claims and Dotcom Convenience Claims from these Chapter 11 Cases. No
Bahamas Customer who timely makes a valid Bahamas Opt-In Election shall receive any
Distribution under the Plan on account of any Dotcom Customer Entitlement Claims or Dotcom
Convenience Claims. The Plan Administrator may require any Holder of any Claim to submit
satisfactory evidence that such Holder has not submitted a proof of debt in the FTX DM
Liquidation.


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                  12. Anti-Double-Dip

               To the extent any Holder has received payment in full on account of any Allowed
Claim in accordance with section 4.3 of the Plan, such Allowed Claim shall be deemed satisfied
and expunged from the claims registry without an objection to such Claim having been filed and
without any further notice to or action, order or approval of the Bankruptcy Court.

                To the extent that a Holder of an Allowed Claim receives payment from a party
that is not a Debtor on account of such Claim, the Plan Administrator or the Distribution Agent
on account of such Claim, such Holder shall, within 14 days of receipt thereof, transfer, repay or
return such payment to the Plan Administrator or the Distribution Agent to the extent such
Holder’s total recovery on account of such Claim from the third party and under the Plan exceeds
the amount that other similarly-situated Holders of such Claim received as of the date of any
such Distribution under the Plan. The failure of such Holder to timely repay or return such
distribution shall result in the Holder owing the Plan Administrator annualized interest at the
Consensus Rate on such amount owed for each Business Day after the 14-day grace period
specified above until the amount is repaid.

                 The Plan Administrator may require any Holder of any Claim or Interest to
submit satisfactory evidence that such Holder has not requested or received compensation for the
same losses underlying such Claim or Interest in connection with any other judicial or
administrative proceedings in any court other than the Bankruptcy Court, including, without
limitation, (a) any proceedings with respect to FTX Australia, FTX Turkey, SNG Investments,
FTX Europe AG, FTX EU Ltd., Quoine PTE Ltd. or FTX Japan K.K., and (b) any proceedings
in connection with the civil action captioned In Re FTX Cryptocurrency Exchange Collapse
Litigation, Case No. 23-md-03076 (S.D.F.L.) pending in the United States District Court for the
Southern District of Florida. The Plan Administrator may, and may direct the Distribution Agent
to, withhold any Distributions on such Claim or Interest until: (a) such time as the Plan
Administrator determines it has received satisfactory evidence is obtained or appropriate
arrangements are in place that ensure no Holder receives more than any other similarly-situated
Holder under the Plan, taking into account potential recoveries of all Holders; or (b) the
Bankruptcy Court so orders. The Plan Administrator may also adjust the amount of such Claim
or Interest to ensure that the Holder of such Claim or Interest does not receive more than any
other similarly-situated Holder under the Plan. As a condition to receiving any Distribution
under the Plan, unless the Bankruptcy Court orders otherwise, the Plan Administrator may
require Holders of Claims or Interests to irrevocably and unconditionally assign and transfer to
the Plan Administrator all right, title and interest in any claim or Cause of Action for the same
losses that has been or may be made or asserted in any of the foregoing proceedings.

                  13. Compliance with Tax Requirements

                In connection with the Plan, to the extent applicable, the Debtors, the Plan
Administrator and the Distribution Agent shall comply with all tax withholding and reporting
requirements imposed on them by any tax law, and all Distributions pursuant to the Plan shall be
subject to such withholding and reporting requirements. Notwithstanding any provision in the
Plan to the contrary, the Debtors, the Plan Administrator and the Distribution Agent shall be
authorized to take all actions reasonably necessary or appropriate to comply with such


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withholding and reporting requirements, including withholding in kind, liquidating a portion of
the Distributions to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding Distributions pending receipt of information necessary to
facilitate such Distributions or establishing any other mechanisms that are reasonable and
appropriate. For purposes of the Plan, any withheld amount (or property) shall be treated as if
paid to the applicable Holder. The Plan Administrator reserves the right to allocate all
Distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support and other spousal awards, liens and encumbrances. Distributions in full
or partial satisfaction of Allowed Claims shall be allocated first to trust fund-type taxes, then to
other taxes and then to the principal amount of Allowed Claims, with any excess allocated to
unpaid interest that has accrued on such Claims.

                   14. Tax Identification, KYC and OFAC Certifications

                 Any Holder entitled to receive any Distribution under the Plan shall, upon request,
deliver to the Distribution Agent or such other Entity designated by the Plan Administrator: (a) a
completed IRS Form W-9 or appropriate IRS Form W-8, as applicable; (b) a certification that the
Holder is not a Person or Entity with whom it is illegal for a U.S. person to do business under
Office of Foreign Assets Control sanctions regulations and/or the list of Specially Designated
Nationals and Blocked Persons; and (c) know your customer information of the Holder of such
Claim, which (i) for individuals, may include, among other things, full name including any alias,
date of birth, address and proof of address, identification and identification-related documents,
nationality, phone number, email address, occupation, bank account information or wallet
address, social security number (for U.S. citizens) and facial liveness and (ii) for institutional
Holders, may include, among other things, company name, registration information, tax
identification number, principal business address and phone number, business email address,
information on the nature of the business and principal business activity, entity size, source of
wealth/source of funds, annual revenue/profit, authorized signer, identity of ultimate beneficial
owners, identity of directors and/or members of management, bank account information or wallet
address and, for any ultimate beneficial owners, directors or members of management, similar
identification information and records as are collected for individual Holders who are natural
Persons (collectively, the “Pre-Distribution Requirements”). If a request for Pre-Distribution
Requirements has not been satisfied within 30 days thereafter, a second request shall be sent to
such Holder. If the Holder fails to comply with the Pre-Distribution Requirements before the
date that is 60 days after a second request is made, such Holder shall be deemed to have forfeited
its right to receive Distributions, and shall be forever barred and enjoined from asserting any
right to Distributions made prior to the Plan Administrator receiving its executed Pre-
Distribution Requirements. Any Distributions that are forfeited pursuant to this provision shall
revest in the Wind Down Entities as Plan Assets. For all purposes related to section 7.14 of the
Plan, the Plan Administrator and the Distribution Agent are entitled to conclusively rely on the
delivery of the notice to the last known address and last known email address on file with the
Claims Agent without obligation to verify such address and any such requests delivered to such
address shall be deemed to be received.

                   15. Distribution of Available NFTs

               Any Holder of an NFT Customer Entitlement Claim shall comply with the

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requirements and procedures that the Plan Administrator may establish in his or her reasonable
discretion for the Distribution of Available NFTs. If a Holder of NFT Customer Entitlement
Claims fails to comply with such requirements or procedures by a date determined by the Plan
Administrator in his or her reasonable discretion and noticed to all Holders of NFT Customer
Entitlement Claims, such Holder shall be deemed to have forfeited its right to receive
Distributions of Available NFTs, and shall be forever barred and enjoined from asserting any
right to Distributions on account of its NFT Customer Entitlement Claim. Any Distributions that
are forfeited pursuant to section 7.15 of the Plan shall revest in the Wind Down Entities as Plan
Assets. For all purposes related to section 7.15 of the Plan, the Plan Administrator and the
Distribution Agent are entitled to conclusively rely on the delivery of the notice to the last known
address on file with the Claims Agent without obligation to verify such address and any such
requests delivered to such address shall be deemed to be received.

               Settlement, Release, Injunction and Related Plan Provisions

                   1. Subordinated Claims

                The Debtors reserve the right to reclassify or modify the treatment of any
Allowed Claim or Interest in accordance with any contractual, legal or equitable subordination
rights, except to the extent the Debtors have otherwise agreed in writing with the Holder of the
applicable Allowed Claim or Interest.

                   2. Discharge of Claims and Termination of Interests

                Pursuant to and to the fullest extent permitted by the Bankruptcy Code, except as
otherwise specifically provided in the Plan or the Confirmation Order, the treatment of Claims
and Interests under the Plan shall be in full and final satisfaction, settlement, release, discharge
and termination, as of the Effective Date, of all Claims of any nature whatsoever, whether known
or unknown, against, and Interests in, the Debtors, any property of the Estates, the Plan
Administrator or any property of the Wind Down Entities, including all Claims of the kind
specified in section 502(g), 502(h) or 502(i) of the Bankruptcy Code, in each case whether or
not: (a) a Proof of Claim or Proof of Interest based upon such Claim, debt, right, liability,
obligation or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b)
a Claim or Interest based upon such Claim, debt, right, liability, obligation or Interest is Allowed
pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim, liability,
obligation or Interest has accepted the Plan. Except as otherwise provided in the Plan, any
default by the Debtors or their Affiliates with respect to any Claim that existed immediately prior
to or on account of the filing of these Chapter 11 Cases shall be deemed cured on the Effective
Date.

                   3. Release of Liens

                Except as otherwise provided in the Plan or in any contract, instrument,
release or other agreement or document entered into or delivered in connection with the
Plan, on the Effective Date, all mortgages, deeds of trust, Liens, pledges or other security
interests against any property of the Estates shall be fully released and cancelled, and all of
the rights, title and interest of any Holder of such mortgages, deeds of trust, Liens, pledges


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or other security interests shall revert to the Wind Down Entities and their successors and
assigns. Any Holder of such mortgage, deed of trust, Lien, pledge or other security interest
(and the applicable agents for such holder) shall be authorized and directed to release any
collateral or other property of any Debtor (including any cash collateral and possessory
collateral) held by such Holder (and the applicable agents for such holder), and to take
such actions as may be reasonably requested by the Plan Administrator to evidence such
release, including the execution, delivery and filing or recording of such releases. The
presentation or filing of the Confirmation Order to or with any federal, state, provincial, or
local agency or department shall constitute good and sufficient evidence of, but shall not be
required to effect, the termination of such Liens.

                  4. Debtors’ Release

               Except as otherwise specifically provided in the Plan with respect to the
Preserved Potential Claims, for good and valuable consideration, including the service of
the Released Parties to facilitate the administration of the Chapter 11 Cases and the
implementation of the orderly liquidation contemplated by the Plan, on and after the
Effective Date, to the fullest extent permitted by applicable law, the Released Parties are
hereby conclusively, absolutely, unconditionally, irrevocably and forever released, waived
and discharged by the Debtors, the Plan Administrator and the Estates, including any
successor to, or assignee of the Debtors or any Estate representative, from all claims,
obligations, rights, suits, damages, Causes of Action, remedies and liabilities whatsoever,
including any derivative claims asserted or assertable on behalf of a Debtor, and its
successors, assigns and representatives, whether known or unknown, foreseen or
unforeseen, liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in
law, at equity or otherwise, whether for indemnification, tort, breach of contract, violations
of federal or state securities laws or otherwise, including those that any of the Debtors, the
Plan Administrator or the Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim or
Interest or any other Person, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors, the Estates, the conduct of the businesses of the Debtors,
these Chapter 11 Cases, the purchase, sale or rescission of the purchase or sale of any
Security of the Debtors, the release of any mortgage, lien or security interest, the
distribution of proceeds, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in the Plan, the administration of Claims and Interests
prior to or during these Chapter 11 Cases, the negotiation, formulation or preparation of
the Plan, the Plan Supplement, this Disclosure Statement or, in each case, related
agreements, instruments or other documents, any action or omission with respect to
Intercompany Claims, any action or omission as an officer, director, agent, representative,
fiduciary, controlling person, member, manager, affiliate or responsible party, or upon any
other act or omission, transaction, agreement, event or other occurrence taking place on or
before the Effective Date of the Plan, other than claims or liabilities arising out of or
relating to any act or omission of a Released Party to the extent such act or omission is
determined by a Final Order to have constituted gross negligence, willful misconduct,
fraud, or a criminal act; provided that the release under this Section shall not apply to any
(a) Excluded Party, (b) Causes of Action to the extent arising out of conduct that occurred
prior to the Petition Date, or (c) any Preserved Potential Claims to the extent such

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Preserved Potential Claims are brought by and for the benefit of the Wind Down Entities
with the approval of the Plan Administrator, unless otherwise specifically provided in the
Plan or the Plan Supplement. Nothing in the Plan or Confirmation Order shall affect any
releases previously granted or approved by the Bankruptcy Court.

                  5. Voluntary Release by Holders of Claims and Interests

                For good and valuable consideration, including the service of the Released
Parties to facilitate the administration of the Chapter 11 Cases, the implementation of the
Plan, and the distribution of proceeds, on and after the Effective Date, to the fullest extent
permitted by applicable law, the Releasing Parties (regardless of whether a Releasing Party
is a Released Party) shall be deemed to conclusively, absolutely, unconditionally,
irrevocably and forever release, waive and discharge the Released Parties of any and all
claims, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative claims asserted or assertable on behalf of a Debtor,
and its successors, assigns and representatives, whether known or unknown, foreseen or
unforeseen, liquidated or unliquidated, contingent or fixed, existing or hereafter arising, in
law, at equity or otherwise, whether for indemnification, tort, breach of contract, violations
of federal or state securities laws or otherwise, including those that any of the Debtors, the
Plan Administrator, FTX DM, the JOLs or the Estates would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of
any Claim or Interest or any other Person, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors, the Estates, FTX DM, the conduct of the
businesses of the Debtors or FTX DM, these Chapter 11 Cases, the purchase, sale or
rescission of the purchase or sale of any Security of the Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
the Plan Supplement, the FTX DM Global Settlement or this Disclosure Statement, the
administration of Claims and Interests prior to or during these Chapter 11 Cases, the
negotiation, formulation, or preparation of the Plan, the Plan Supplement, this Disclosure
Statement or, in each case, related agreements, instruments or other documents, any action
or omission with respect to Intercompany Claims, any action or omission as an officer,
director, agent, representative, fiduciary, controlling person, member, manager, affiliate or
responsible party, or upon any other act or omission, transaction, agreement, event or
other occurrence taking place on or before the Effective Date of the Plan, other than claims
or liabilities arising out of or relating to any act or omission of a Released Party to the
extent such act or omission is determined by a Final Order to have constituted gross
negligence, willful misconduct, fraud, or a criminal act. Nothing in this Section shall cause
the release of (a) any Excluded Party, (b) Causes of Action to the extent arising out of
conduct that occurred prior to the Petition Date, or (c) any Preserved Potential Claims that
are otherwise transferred to, and may be prosecuted by, the Wind Down Entity pursuant to
the terms of the Plan.

                  6. FTX DM and JOL Releases

                The releases in the FTX DM Global Settlement Agreement are hereby
expressly incorporated and repeated herein. Nothing in the Plan or Confirmation Order
shall affect the releases previously granted or approved by the Bankruptcy Court pursuant

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to the order approving the FTX DM Global Settlement Agreement.

                  7. Scope of Releases

               Each Person providing releases under the Plan, including the Debtors, the
Plan Administrator, the Estates and the Releasing Parties, shall be deemed to have granted
the releases set forth in the Plan notwithstanding that such Person may hereafter discover
facts in addition to, or different from, those which it now knows or believes to be true, and
without regard to the subsequent discovery or existence of such different or additional
facts, and such Person expressly waives any and all rights that it may have under any
statute or common law principle which would limit the effect of such releases to those
claims or causes of action actually known or suspected to exist at the time of execution of
such release.

                  8. Exculpation

               Notwithstanding anything herein to the contrary, as of the Effective Date, the
Debtors and their directors, officers, employees, attorneys, investment bankers, financial
advisors, restructuring advisors and other professional advisors, representatives and
agents will be deemed to have solicited acceptances of the Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, including section
1125(e) of the Bankruptcy Code and any applicable non-bankruptcy law, rule or regulation
governing the adequacy of disclosure in connection with the solicitation.

                As of the Effective Date, to the fullest extent permitted by applicable law, and
without affecting or limiting the releases set forth in section 10.4 or section 10.5 of the Plan,
the Exculpated Parties shall neither have nor incur any liability to any Entity for any act or
omission in connection with, related to, or arising out of these Chapter 11 Cases, including
(a) the operation of the Debtors’ businesses during the pendency of these Chapter 11 Cases;
(b) the administration and adjudication of Claims and Interests during these Chapter 11
Cases; (c) formulating, negotiating, preparing, disseminating, implementing,
administering, confirming and/or effecting the Plan, this Disclosure Statement, the Plan
Supplement or any related contract, instrument, release or other agreement or document
created or entered into in connection with these Chapter 11 Cases (including the
solicitation of votes for the Plan and other actions taken in furtherance of Confirmation
and Consummation of the Plan, the trading or sale of cryptocurrencies and tokens in
connection with these Chapter 11 Cases, the offer and issuance of any securities under or in
connection with the Plan and the distribution of property, digital assets, or tokens under
the Plan); or (d) any other transaction, agreement, event, or other occurrence related to
these Chapter 11 Cases taking place on or before the Effective Date, other than liability
resulting from any act or omission that is determined by Final Order to have constituted
gross negligence, willful misconduct, fraud or a criminal act. Notwithstanding anything
contained herein to the contrary, the foregoing exculpation does not exculpate any
Excluded Party. Nothing in the Plan or Confirmation Order shall affect any exculpation
orders previously granted or approved by the Bankruptcy Court.




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                 9. Injunction

               Except as otherwise expressly provided in the Plan or Confirmation Order
with respect to Preserved Potential Claims, the satisfaction and release pursuant to article
10 of the Plan shall also act as a permanent injunction against any Person who has held,
holds or may hold Claims, Interests or Causes of Action from (a) commencing or
continuing any action to collect, enforce, offset, recoup or recover with respect to any
Claim, liability, obligation, debt, right, Interest or Cause of Action released, settled or
exculpated under the Plan or the Confirmation Order to the fullest extent authorized or
provided by the Bankruptcy Code, including to the extent provided for or authorized by
sections 524 or 1141 thereof, (b) enforcing, attaching, collecting, or recovering by any
manner or means any judgment, award, decree, or order on account of or in connection
with or with respect to any such Claim or Interest; (c) creating, perfecting or enforcing any
encumbrance of any kind on account of or in connection with or with respect to any such
Claims or Interests; and (d) asserting any right of setoff, subrogation or recoupment of any
kind on account of or in connection with or with respect to any such Claim or Interest,
notwithstanding an indication of a Claim or Interest or otherwise that such Holder asserts,
has or intends to preserve any right of setoff pursuant to applicable law or otherwise,
against any Plan Asset, the Wind Down Entities, any Holder of a Claim or Interest or any
initial or subsequent transferee. Notwithstanding anything to the contrary in the Plan, all
Holders of Claims, Interests or Causes of Action are enjoined from interfering with the
Distributions contemplated by the Plan and from asserting any Claim or Cause of Action
expressly preserved and vested exclusively in the Wind Down Entities as of the Effective
Date.

                 10. Limitations on Exculpations and Releases

               Notwithstanding anything to the contrary herein, none of the releases or
exculpations set forth herein shall operate to waive or release any obligation or Causes of
Action of any Person or Entity: (a) arising under any contract, instrument, agreement,
release or document delivered pursuant to the Plan or documents, agreements or
instruments executed in connection therewith, including all post-Effective Date obligations,
(b) arising under the FTX DM Global Settlement Agreement or (c) solely in the case of
releases, expressly set forth in and preserved by the Plan, the Plan Supplement or related
documents, including the Preserved Potential Claims.




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5.     STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN
              The following is a brief summary of the process of confirmation of the Plan.
Holders of Claims and Interests are encouraged to review the relevant provisions of the
Bankruptcy Code and/or consult their own attorneys.

              The Confirmation Hearing

                Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after
notice, to hold a hearing at which the Debtors will seek confirmation of the Plan. Section
1128(b) of the Bankruptcy Code provides that any party-in-interest may object to confirmation
of the Plan.

              THE CONFIRMATION HEARING IS SCHEDULED TO BE HELD ON [•],
2024 AT [•] [A/P].M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, UNITED
STATES BANKRUPTCY JUDGE. THE CONFIRMATION HEARING MAY BE
ADJOURNED FROM TIME TO TIME BY THE BANKRUPTCY COURT OR THE
DEBTORS WITHOUT FURTHER NOTICE OTHER THAN BY ANNOUNCEMENT IN
OPEN COURT AND/OR NOTICE(S) OF ADJOURNMENT FILED ON THE DOCKET
WITH THE BANKRUPTCY COURT’S PERMISSION.

           OBJECTIONS TO CONFIRMATION OF THE PLAN MUST BE FILED
WITH THE BANKRUPTCY COURT AND SERVED ON THE APPLICABLE PARTIES
SO AS TO BE ACTUALLY RECEIVED ON OR BEFORE 4:00 P.M. (PREVAILING
EASTERN TIME) ON [•], 2024, IN ACCORDANCE WITH THE SOLICITATION
PROCEDURES ORDER. UNLESS OBJECTIONS TO CONFIRMATION ARE TIMELY
SERVED AND FILED IN COMPLIANCE WITH THE SOLICITATION PROCEDURES
ORDER, THEY WILL NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

              Confirmation Standards

                To confirm the Plan, the Bankruptcy Court must find that the requirements of
section 1129 of the Bankruptcy Code have been satisfied. The Debtors believe that section 1129
has been satisfied because, among other things:

                  1)     the Plan complies with the applicable provisions of the Bankruptcy
                         Code;

                  2)     the Debtors, as plan proponents, have complied with the applicable
                         provisions of the Bankruptcy Code;

                  3)     the Plan has been proposed in good faith and not by any means
                         forbidden by law;

                  4)     any payment made or promised under the Plan for services or for costs
                         and expenses in or in connection with these Chapter 11 Cases, or in
                         connection with the Plan and incident to these Chapter 11 Cases, has


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            been approved by, or is subject to the approval of, the Bankruptcy
            Court as reasonable;

      5)    with respect to each Class of Impaired Claims or Interests, each Holder
            of a Claim or Interest in such Class has either accepted the Plan or will
            receive or retain under the Plan on account of such Claim or Interest
            property of value, as of the Effective Date of the Plan, that is not less
            than the amount that such Holder would receive or retain if the
            Debtors were liquidated on such date under chapter 7 of the
            Bankruptcy Code (see Section 5.C—Best Interests Test);

      6)    each Class of Claims or Interests has either accepted the Plan or is not
            Impaired under the Plan, or the Plan can be confirmed without the
            approval of such class pursuant to section 1129(b) of the Bankruptcy
            Code;

      7)    except to the extent that the Holder of a particular General
            Administrative Claim has agreed or will agree to a different treatment
            of such Claim, the Plan provides that Allowed General Administrative
            Claims will be paid in full in Cash on the Effective Date;

      8)    except to the extent that a Holder of an Allowed Other Priority Claim
            agrees to a less favorable treatment, in full and final satisfaction,
            settlement and release of and in exchange for its Allowed Other
            Priority Claim, each Holder of such Allowed Other Priority Claim
            shall be paid in full in Cash on or as soon as reasonably practicable
            after the latest of (i) the Effective Date; (ii) the date on which such
            Other Priority Claim becomes Allowed; and (iii) such other date as
            may be ordered by the Bankruptcy Court;

      9)    on a substantively consolidated basis, at least one Class of Impaired
            Claims will vote in favor of the Plan, determined without including
            any vote in favor of the Plan by any insider holding a Claim;

      10)   confirmation of the Plan is not likely to be followed by the liquidation,
            or the need for further financial reorganization, of the Debtors or any
            successor to the Debtors under the Plan, unless such liquidation or
            reorganization is proposed in the Plan (see Section 5.D—Financial
            Feasibility); and

      11)   all fees payable under section 1930 of title 28 of the United States
            Code will be paid as of the Effective Date of the Plan.




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               Best Interests Test

                   1. Explanation of the Best Interests Test

                 Pursuant to section 1129(a)(7) of the Bankruptcy Code, Confirmation of the Plan
requires that, with respect to each Class of Impaired Claims or Interests, each Holder of a Claim
or Interest in such Class either (a) accepts the Plan or (b) receives or retains under the Plan on
account of such Claim or Interest property of value, as of the Effective Date, that is not less than
the amount that such Holder would receive or retain if the Debtors were liquidated on such date
under chapter 7 of the Bankruptcy Code (this latter clause is known as the “Best Interests Test”).

                To determine the probable distribution to Holders of Claims and Interests in each
Impaired Class if the Debtors were liquidated under chapter 7 of the Bankruptcy Code, the
Bankruptcy Court must determine the dollar amount that would be generated from the
liquidation of the Debtors’ assets and properties in the context of a chapter 7 liquidation.

                The Debtors’ chapter 7 liquidation value would consist primarily of the
unencumbered and unrestricted cash held by the Debtors at the time of the conversion to a
chapter 7 liquidation, the proceeds resulting from the sale of the Debtors’ remaining
unencumbered assets and properties by a chapter 7 trustee and Causes of Action other than those
that are expressly waived, relinquished, exculpated, released, compromised or settled. The gross
cash available for distribution would be reduced by the costs and expenses of the chapter 7
liquidation and any additional Administrative Claims that might arise as a result of the chapter 7
cases. Costs and expenses incurred as a result of the chapter 7 liquidation would include, among
other things, the fees payable to a trustee in bankruptcy and the fees payable to attorneys and
other professionals engaged by such trustee. Additional Administrative Claims could arise by
reason of, among other things, the breach or rejection of obligations incurred and leases and
executory contracts assumed or entered into by the Debtors during the pendency of these Chapter
11 Cases. Such Administrative Claims and any other Administrative Claims that might arise in a
liquidation case or result from these Chapter 11 Cases, such as compensation for attorneys,
financial advisors and accountants, would be paid in full from the Liquidation Proceeds before
the balance of those proceeds would be made available to pay prepetition Claims.

                To determine if the Plan is in the best interests of each Impaired Class, the present
value of the distributions from the proceeds of a chapter 7 liquidation of the Debtors’
unencumbered assets and properties, after subtracting the amounts attributable to the costs,
expenses and Administrative Claims associated with a chapter 7 liquidation, must be compared
with the value offered to such Impaired Classes under the Plan. If the hypothetical chapter 7
Liquidation Distribution to Holders of Claims or Interests in any non-consenting Impaired Class
is greater than the distributions to be received by such parties under the Plan, then the Plan is not
in the best interests of the Holders of Claims or Interests in such Impaired Class.

                   2. Liquidation Analysis of the Debtors

               Amounts that a Holder of Claims and Interests in Impaired Classes would receive
in a hypothetical chapter 7 liquidation are discussed in the liquidation analysis of the Debtors



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prepared by the Debtors’ management with the assistance of their restructuring advisors,
attached to this Disclosure Statement as Appendix D (the “Liquidation Analysis”).

               As more fully described in the Liquidation Analysis, underlying this analysis is
the extensive use of estimates and assumptions that, although considered reasonable by the
Debtors’ management, are inherently subject to significant business, economic and competitive
uncertainties and contingencies beyond the control of the Debtors. The Liquidation Analysis is
based on assumptions with regard to liquidation decisions that are subject to change. Actual
results may vary materially from the estimates and projections set forth in the Liquidation
Analysis.

               The Liquidation Analysis was developed solely for purposes of the formulation
and negotiation of the Plan and to enable Holders of Claims entitled to vote under the Plan to
make an informed judgment about the Plan, and should not be used or relied upon for any other
purpose, including the purchase or sale of securities of, or Claims or Interests in, the Debtors or
any of their Affiliates.

                Events and circumstances subsequent to the date on which the Liquidation
Analysis was prepared may be different from those assumed or, alternatively, may have been
unanticipated, and thus the occurrence of these events may affect financial results in a materially
adverse or materially beneficial manner. The Debtors do not intend and do not undertake any
obligation to update or otherwise revise the Liquidation Analysis to reflect events or
circumstances existing or arising after the date the Liquidation Analysis is initially filed or to
reflect the occurrence of unanticipated events. Therefore, the Liquidation Analysis may not be
relied upon as a guarantee or other assurance of actual future results.

              In deciding whether to vote to accept or reject the Plan, Holders of Claims must
make their own determinations as to the reasonableness of any assumptions underlying the
Liquidation Analysis and the reliability of the Liquidation Analysis.

                   3. Application of the Best Interests Test to the Liquidation Analysis of the
                      Debtors

               Notwithstanding the difficulties in quantifying with precision the recoveries to
Holders of Claims and Interests, the Debtors believe that, based on a comparison between the
recoveries under the Plan and the Liquidation Analysis, the Debtors’ proposed Plan satisfies the
requirements of the Best Interests Test. As the following table indicates, non-consenting
members of each Impaired Class will receive more (or no less) under the Plan than they would
through a liquidation of the Debtors in a hypothetical chapter 7 case.

                                                                      ESTIMATED RECOVERY
 CLASS                      DESCRIPTION
                                                                     PLAN         LIQUIDATION
   1                    Priority Tax Claims                          100%                  [•]%
   2                   Other Priority Claims                         100%                  [•]%
  3A                    Secured Loan Claims                          109%                  [•]%



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                                                                ESTIMATED RECOVERY
CLASS                 DESCRIPTION
                                                               PLAN         LIQUIDATION
 3B               Other Secured Claims                         N/A                [•]%
  4            Separate Subsidiary Claims                      100%               [•]%
 5A        Dotcom Customer Entitlement Claims            127% - 142%              [•]%
 5B         U.S. Customer Entitlement Claims              127%- 142%              [•]%
 5C         NFT Customer Entitlement Claims                    100%               [•]%
 6A             General Unsecured Claims                       125%               [•]%
 6B             Digital Asset Loan Claims                127% - 142%              [•]%
 7A            Dotcom Convenience Claims                       118%               [•]%
 7B             U.S. Convenience Claims                        118%               [•]%
 7C            General Convenience Claims                      118%               [•]%
 8A         PropCo Operating Expense Claims                    100%               [•]%
 8B                 Priority DM Claim                     45% - 63%               [•]%
 8C         PropCo General Unsecured Claims                    N/A                [•]%
  9          Cancelled Intercompany Claims                     N/A                [•]%
10A          Senior Subordinated IRS Claims                [TBD]%                 [•]%
10B      Senior Subordinated Governmental Claims           2% - 17%               [•]%
10C          Junior Subordinated IRS Claims                     0%                [•]%
 11               Intercompany Interests                        0%                [•]%
 12             Preferred Equity Interests                      0%                [•]%
 13       Section 510(b) Preferred Equity Claims                0%                [•]%
 14         Section 510(b) Other Equity Claims                  0%                [•]%
 15           Equitably Subordinated Claims                     0%                [•]%
 16               Other Equity Interests                        0%                [•]%
 17                   FTT Interests                             0%                [•]%
 18                De Minimis Claims                            0%                [•]%




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                Accordingly, the Debtors believe that the Plan will allow the realization of greater
value for their respective Impaired Classes than a hypothetical liquidation.

               Financial Feasibility

               Section 1129(a)(11) of the Bankruptcy Code requires, as a condition to
confirmation of the Plan, that the Bankruptcy Court find that confirmation is not likely to be
followed by the liquidation of the Debtors or the need for further financial reorganization, unless
such liquidation or reorganization is contemplated by the Plan.

               The ability to make the distributions described in the Plan does not depend on
future earnings or operations of the Debtors, but only on the orderly wind down of the Debtors’
remaining assets. Accordingly, the Debtors believe that the Plan is feasible and meets the
requirements of section 1129(a)(11) of the Bankruptcy Code.

               Acceptance by Impaired Classes

               Generally, section 1129 of the Bankruptcy Code requires, as a condition to
confirmation of the Plan, that each Impaired Class accept the Plan. In Delaware, the
requirements of section 1129 apply on a per-Debtor basis. However, the substantive
consolidation provisions under the Plan merge all Debtors other than the Separate Subsidiaries
into one Debtor for the purposes of section 1129 of the Bankruptcy Code. Accordingly, each
Impaired Class will be treated as if their claims were against a single Debtor.

                 Holders of claims against Debtors that are not substantively consolidated will be
paid in full satisfaction of their claims and are unimpaired. A class of claims that is unimpaired
under the Plan is deemed to have accepted the plan and, therefore, solicitation of acceptances
with respect to such class is not required. Under section 1124 of the Bankruptcy Code, a class is
impaired under a plan unless (a) the plan leaves unaltered the legal, equitable and contractual
rights to which such claim or interest entitles the holder thereof or (b) notwithstanding any legal
right to an accelerated payment of such claim or interest, the plan cures all existing defaults
(other than defaults resulting from the occurrence of events of bankruptcy) and reinstates the
maturity of such claim or interest as it existed before the default.

                Section 1126(c) of the Bankruptcy Code defines acceptance of a plan by an
impaired class of claims as acceptance by holders of at least two-thirds in dollar amount and
more than one-half in number of claims in that class; only those holders that actually vote to
accept or reject the plan are counted for purposes of determining whether these dollar and
number thresholds are met. Thus, a class of claims will have voted to accept the plan only if
two-thirds in amount and a majority in number that actually vote cast their ballots in favor of
acceptance. Holders of claims who fail to vote are deemed neither to accept nor to reject the
plan.

               Confirmation Without Acceptance by All Impaired Classes

               Section 1129(b) of the Bankruptcy Code allows the Bankruptcy Court to confirm
the Plan, provided that the Plan has been accepted by at least one Impaired Class of creditors.
Notwithstanding the failure of an Impaired Class to accept the Plan, the Plan will be confirmed

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in a procedure commonly known as cram-down, so long as the Plan does not “discriminate
unfairly” and is “fair and equitable,” for the purposes of the Bankruptcy Code, with respect to
each Class of Claims or Interests on a substantively consolidated basis, that is Impaired under,
and has not accepted, the Plan. Pursuant to section 11 of the Plan, the Debtors reserve the right
to seek confirmation under section 1129(b) of the Bankruptcy Code, if necessary.

                   1. Unfair Discrimination

                The Plan does not “discriminate unfairly” for the purposes of section 1129 of the
Bankruptcy Code if the Plan gives substantially equivalent treatment to each Class of equal rank;
in determining whether a plan discriminates unfairly, courts take into account a number of
factors, including the effect of applicable subordination agreements between parties.

                   2. Fair and Equitable

                The “fair and equitable” test applies to Classes of different priority and status and
includes the general requirement that no Class of Claims receives more than 100% of the
Allowed amount of the Claims in such Class. The condition that the Plan be fair and equitable
also includes the following requirements, as applicable:

                               with respect to a non-accepting Class of General Unsecured
                               Claims, that either: (i) the Plan provides that each Claim Holder in
                               such Class receive or retain, on account of such Claim, property of
                               a value, as of the Effective Date, equal to the Allowed amount of
                               such Claim or (ii) no Holder of any Claim or Interest that is junior
                               to the Claims or Interests of such Class receives or retains any
                               property under the Plan on account of such junior Claim or
                               Interest; and

                               with respect to a non-accepting Class of Interests, no Class of
                               Interests junior to the non-accepting Class receives a distribution
                               under the Plan.

                   3. Confirmation of the Plan Pursuant to Section 1129(b)

                The Debtors may seek Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any Impaired Class presumed to reject the Plan, and reserve the
right to do so with respect to any other rejecting Class of Claims, and/or to modify the Plan.
Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of confirmation of
the Plan by the acceptance of the Plan by at least one Class that is Impaired under the Plan.

               The Debtors submit that the Plan does not “discriminate unfairly” for the purposes
of section 1129(b) of the Bankruptcy Code because there are no Classes of equal rank that are
receiving different treatment under the Plan.

              The Debtors submit that the Plan is “fair and equitable” for the purposes of
section 1129(b) of the Bankruptcy Code because, as set forth above and in the Plan, the Holders
of Claims in Classes 1, 2, 3B, 4, 5C and 8A are Unimpaired and therefore deemed to have

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accepted the Plan. Further, no Class will receive more than 100% of the Allowed amount of the
Claims in such Class under the Plan. The Holders of Claims or Interests in Classes 3A, 5A, 5B,
6A, 6B, 7A, 7B, 7C, 8B, 8C, 10A, 10B and 12 may not receive, and Holders of Claims or
Interests in Classes 9, 11, 12, 13, 14, 15, 16, 17 and 18 will not receive, a distribution equal to
the Allowed amount of their Claims or Interests, but no Holders of Claims or Interests junior to
these Classes will receive a distribution under the Plan on account of such junior Claims or
Interests.

                 Therefore, the requirements of section 1129(b) of the Bankruptcy Code would be
satisfied in the event that the Debtors seek to cram down a rejecting Impaired Class.




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6.     VOTING PROCEDURES
                On [•] 2024, the Bankruptcy Court entered an order, among other things,
approving the adequacy of this Disclosure Statement, establishing voting, solicitation and
tabulation procedures in connection with Confirmation of the Plan, approving the form of the
solicitation materials and documents included in the solicitation packages and various other
notices, setting the voting record date, the Voting Deadline, the date of the Confirmation Hearing
and other proposed confirmation timeline and establishing the relevant objection deadlines and
procedures associated with Confirmation of the Plan (the “Solicitation Procedures Order”) [D.I.
[•]].

               The Solicitation Procedures Order, a copy of which is attached to this Disclosure
Statement as Appendix B, is hereby incorporated by reference as though fully set forth herein.
The Solicitation Procedures Order should be read in conjunction with this Section 6Voting
Procedures of this Disclosure Statement.

                If you have any questions about: (a) the procedures for voting your Claim or
Interest or with respect to materials that you have received or (b) the amount of your Claim or
Interest, or wish to obtain (at no charge) an additional copy of the Plan, this Disclosure Statement
or other solicitation documents, please contact:

               FTX Trading Ltd. Ballot Processing Center
               c/o Kroll Restructuring Administration LLC
               850 Third Avenue, Suite 412
               Brooklyn, NY 11232

              The Bankruptcy Court may confirm the Plan only if it determines that the Plan
complies with the technical requirements of chapter 11 of the Bankruptcy Code. In addition, the
Bankruptcy Court must determine that the Plan has been proposed in good faith and not by any
means forbidden by law and, under Bankruptcy Rule 3020(b)(2), it may make such a
determination without receiving evidence if no objection is timely filed.

                 In particular, and as described in more detail below, the Bankruptcy Code requires
the Bankruptcy Court to find, among other things, that: (a) the Plan has been accepted by the
requisite votes of all Classes of Impaired Claims and Interests unless approval will be sought
under section 1129(b) of the Bankruptcy Code in spite of the nonacceptance by one or more of
such Classes; (b) the Plan is “feasible,” meaning there is a reasonable probability that the
Debtors will be able to perform their obligations under the Plan; and (c) the Plan is in the “best
interests” of all Holders of Claims and Interests, meaning that all such Holders will receive at
least as much under the Plan as they would receive in a liquidation under chapter 7 of the
Bankruptcy Code.

                The Bankruptcy Court must find that all of the conditions mentioned above are
met before it can confirm the Plan. Thus, even if all Classes of Impaired Claims and Interests
accept the Plan by the requisite votes, the Bankruptcy Court must still make an independent
finding that the Plan satisfies these requirements of the Bankruptcy Code, that the Plan is feasible



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and that the Plan is in the best interests of the Holders of Claims against and Interests in the
Debtors.

           UNLESS THE BALLOT BEING FURNISHED IS TIMELY RECEIVED BY
THE SOLICITATION AGENT ON OR PRIOR TO [AUGUST 9], 2024 AT 4:00 P.M.
(PREVAILING EASTERN TIME) TOGETHER WITH ANY OTHER DOCUMENTS
REQUIRED TO BE SUBMITTED WITH SUCH BALLOT, THE DEBTORS MAY REJECT
SUCH BALLOT AS INVALID AND, ACCORDINGLY, DECLINE TO COUNT IT AS AN
ACCEPTANCE OR REJECTION OF THE PLAN. IN NO CASE SHOULD A BALLOT BE
DELIVERED TO THE DEBTORS OR ANY OF THEIR ADVISORS.

               Parties-in-Interest Entitled to Vote

                Under section 1124 of the Bankruptcy Code, a class of claims or interests is
deemed to be “impaired” under a plan unless: (a) the plan leaves unaltered the legal, equitable
and contractual rights to which such claim or interest entitles the holder thereof or
(b) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

                 In general, under section 1126(a) of the Bankruptcy Code, the holder of a claim or
interest that is allowed under a plan is entitled to vote to accept or reject the plan if such claim or
interest is impaired under the plan. Under section 1126(f) of the Bankruptcy Code, the holder of
a claim that is not impaired under a plan is deemed to have accepted the plan, and the plan
proponent need not solicit such holder’s vote. Under section 1126(g) of the Bankruptcy Code,
the holder of an impaired claim or impaired interest that will not receive any distribution under
the plan in respect of such claim or interest is deemed to have rejected the plan and is not entitled
to vote on the plan. For a more detailed description of the treatment of Claims and Interests
under the Plan, refer to Section 4Summary of the Plan.

                A vote may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that such vote was not solicited or procured in good
faith or in accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures
Order also sets forth assumptions and procedures for tabulating Ballots, including Ballots that are
not completed fully or correctly.

                Bahamas Claim Treatment for Customers

                In connection with the solicitation of the Plan, each Dotcom Customer has the
right to irrevocably elect (the “Bahamas Opt-In Election”) by the Voting Deadline to have their
Dotcom Customer Entitlement Claims or Dotcom Convenience Claims, as applicable,
administered in the FTX DM Liquidation rather than those in the Chapter 11 Cases. Each
Dotcom Customer may make the Bahamas Opt-in Election either by election on its timely filed,
duly authorized and properly executed Ballot in the Chapter 11 Cases or by timely executing and
filing a proof of debt in the FTX DM Liquidation, upon which its Dotcom Customer Entitlement
Claim or Dotcom Convenience Claim shall constitute a Customer Entitlement Claim against
FTX DM (each, a “DM Customer Entitlement Claim”). By validly making the Bahamas Opt-in


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Election, such Dotcom Customer will forever, fully and finally release and discharge the Debtors
of all their claims against the Debtors and agree that it will not pursue any claim in the Chapter
11 Cases. If a Dotcom Customer does not make the Bahamas Opt-In Election, such Dotcom
Customer will forever, fully and finally release and discharge FTX DM of all their claims against
FTX DM and agree that it will not pursue any claim in the FTX DM Liquidation.

                 Excluded Parties are not eligible to exercise the Bahamas Opt-in Election.
“Excluded Party” means any (a) Control Person, Insider, or Affiliate of a Control Person or
Insider, (b) holder or subsequent transferee of such holder of a Claim against any Debtor other
than a Dotcom Customer Entitlement Claim or Dotcom Convenience Claim, (c) Person or any
initial or subsequent transferee of such Person against whom the Debtors determine they have or
may have any Claim (other than for withdrawals of cash or digital assets from the FTX.com
Exchange), or (d) other person identified on a schedule to be provided by the Debtors to FTX
DM. Pursuant to the FTX DM Global Settlement Agreement, the Debtors will provide FTX DM
with an initial list of Excluded Parties by no later than the mailing of ballots for the Plan. The
Debtors may supplement or modify such list from time to time up to the thirtieth (30th) day
following the Bahamas Bar Date, at which time the list of Excluded Parties shall be final and
binding on the Debtors and FTX DM.

                FTX DM will administer, reconcile, value, settle, adjudicate, resolve or satisfy all
DM Customer Entitlement Claims. For the purposes of making distributions, the Debtors and
FTX DM will coordinate the establishment of reserves and the timing and amount of
distributions in the Chapter 11 Cases and FTX DM Liquidation. Prior to distributions on
Allowed Claims, both FTX DM and the Debtors will assess implied recoveries for Dotcom
Customers and make equalizing distributions between one another to align recoveries.
Customers who make the Bahamas Opt-in Election cannot, and will not, receive more than they
would have received under the Plan. Additionally, Customers who make the Bahamas Opt-in
Election may recover less as their claims may be diluted by ineligible DM Customer Entitlement
Claims, which would not have been allowed as a Dotcom Customer Entitlement Claim or
Dotcom Convenience Claim under the Bankruptcy Code.

               FTX DM will not admit or make any distributions on account of any DM
Customer Entitlement Claims (whether an Eligible DM Customer Entitlement Claim or
Ineligible DM Customer Claim) unless and until the holder of such DM Customer Entitlement
Claim has satisfied the Debtors’ claims allowance process and distribution requirements as
applied by FTX DM, including KYC procedures and requirements.

               For all Bahamas Customers that make a valid and timely Bahamas Opt-In
Election, FTX DM and the Bahamas JOLs will provide instructions with respect to all aspects of
adjudicating such Holder’s Claim via the following link at https://digitalmarketsclaim.pwc.com.

               Amounts for Voting Purposes

               The amount for each Claim and Interest established in this subsection shall be
used for voting purposes only and does not constitute the allowed amount of any claim or interest
for any other purpose, including distributions under the Plan. In tabulating votes, the amount of



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the claim or interest, as applicable, associated with each holder’s vote shall be determined as
follows:

              1.       Scheduled Claims Not Superseded by a Filed Proof of Claim or Preferred
                       Equity Interest listed in the Equity List not Superseded by a Filed Proof of
                       Interest

                                a.       In the event a claim is not scheduled as contingent,
                                         unliquidated or disputed, the scheduled amount shall control
                                         for voting purposes.

                                b.       In the event a scheduled claim is scheduled as contingent,
                                         unliquidated or disputed, such claim shall be disallowed for
                                         voting purposes.

                                c.       In the event a Preferred Equity Interest is listed in the Equity
                                         List, the amount entitled to be paid out of the funds and assets
                                         of FTX Trading or West Realm Shires Inc., as applicable, in
                                         the event of any voluntary or involuntary liquidation,
                                         dissolution or winding up of the corporation pursuant to its
                                         certificate of incorporation effective as of the Petition Date
                                         (such amount, the “Liquidation Amount”). 15

              2.       Scheduled Claims Superseded by a Timely Filed Proof of Claim or listed
                       Preferred Equity Interest superseded by a timely filed Proof of Interest

                                a.       Subject to any Resolution Event (as defined below), in the
                                         event (i) a claim is not scheduled as contingent, unliquidated or
                                         disputed and the holder of the claim timely filed a Proof of
                                         Claim (or an untimely Proof of Claim that has been allowed as
                                         timely by the Bankruptcy Court under applicable law on or
                                         before June 20, 2024 (the “Voting Record Date”) or (ii) the
                                         Holder of the Preferred Equity Interest timely filed a Proof of
                                         Interest (or untimely Proof of Interest that has been allowed as
                                         timely by the Court under applicable law on or before the
                                         Voting Record Date), the asserted amount in the Proof of
                                         Claim or the Liquidation Amount of the asserted Preferred
                                         Equity Interests, as applicable, shall control for voting
                                         purposes; provided that if such Proof of Claim or Proof of
                                         Interest is filed as partially liquidated and partially unliquidated
                                         or contingent, such claim or Preferred Equity Interest will

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     The Liquidation Amount of a Preferred Equity Interest under the certificate of incorporation of FTX Trading or
     West Realm Shires Inc., as applicable, is generally defined as an amount equal to the greater of (i) one times the
     applicable original issuance price, plus any dividends declared but unpaid thereon, or (ii) such amount per share
     as would have been payable had all preferred shares been converted into common shares thereunder
     immediately prior to a liquidation event.


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                    count for voting purposes only in the liquidated amount;
                    provided, further, that if such Proof of Claim or Proof of
                    Interest is subject to a pending objection or an assertion of
                    disallowance under section 502 of the Bankruptcy Code from
                    the Debtors or any other party-in-interest by the Solicitation
                    Mailing Deadline, the scheduled amount or the Liquidation
                    Amount of the Preferred Equity Interests listed in the Equity
                    List shall then control for voting purposes.

             b.     Subject to any Resolution Event, in the event a scheduled claim
                    is scheduled as contingent, unliquidated or disputed and the
                    holder of the claim timely filed a Proof of Claim (or an
                    untimely Proof of Claim that has been allowed as timely by the
                    Bankruptcy Court under applicable law on or before the Voting
                    Record Date), the asserted amount in the Proof of Claim shall
                    control for voting purposes; provided that if such Proof of
                    Claim is filed as partially liquidated and partially unliquidated
                    or contingent, such claim shall count for voting purposes only
                    in the liquidated amount; provided, further, that if (i) such
                    Proof of Claim is wholly contingent, unliquidated, or disputed
                    (based on the face of such Proof of Claim or as determined
                    upon the reasonable review of the Debtors) or (ii) such Proof of
                    Claim is subject to a pending objection or an assertion of
                    disallowance under section 502 of the Bankruptcy Code from
                    the Debtors or any other party-in-interest by the Solicitation
                    Mailing Deadline, such claim shall count for satisfying the
                    numerosity requirement of section 1126(c) of the Bankruptcy
                    Code and will count in the amount of $1.00 solely for the
                    purposes of voting and satisfying the dollar amount provisions
                    of section 1126(c) of the Bankruptcy Code; provided, further,
                    that if the objection from the Debtors or any other party-in-
                    interest is an objection to reduce the amount asserted in such
                    Proof of Claim, such claim shall count for voting purposes only
                    in the reduced amount.

3.    A Filed Proof of Claim in Respect of an Unscheduled Claim or a Filed Proof
      of Interest in Respect of an Unlisted Preferred Equity Interest

             a.     Subject to any Resolution Event, in the event that (i) a claim is
                    not scheduled by the Debtors and the holder of the claim timely
                    filed a Proof of Claim (or an untimely Proof of Claim that has
                    been allowed as timely by the Bankruptcy Court under
                    applicable law on or before Voting Record Date), or (ii) a
                    Preferred Equity Interest is not listed in the Equity List and the
                    holder of a Preferred Equity Interest timely filed a Proof of
                    Interest (or an untimely Proof of Interest that has been allowed
                    as timely by the Bankruptcy Court under applicable law on or

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                    before the Voting Record Date), the asserted amount in the
                    Proof of Claim or the Liquidation Amount of the asserted
                    Preferred Equity Interests, as applicable, shall control for
                    voting purposes; provided that if such Proof of Claim or Proof
                    of Interest is filed as partially liquidated and partially
                    unliquidated or contingent, such claim or Preferred Equity
                    Interest will count for voting purposes only in the liquidated
                    amount; provided, further, that if (i) such Proof of Claim or
                    Proof of Interest is wholly contingent, unliquidated, or disputed
                    (based on the face of such Proof of Claim or Proof of Interest
                    or as determined upon the reasonable review of the Debtors) or
                    (ii) such Proof of Claim or Proof of Interest is subject to a
                    pending objection or an assertion of disallowance under section
                    502 of the Bankruptcy Code from the Debtors or any other
                    party-in-interest by the Solicitation Mailing Deadline, such
                    claim or Preferred Equity Interest shall count for satisfying the
                    numerosity requirement of section 1126(c) of the Bankruptcy
                    Code and will count in the amount of $1.00 solely for the
                    purposes of voting and satisfying the dollar amount provisions
                    of section 1126(c) of the Bankruptcy Code; provided, further,
                    that if the objection from the Debtors or any other party-in-
                    interest is an objection to reduce the amount asserted in such
                    Proof of Claim or quantity of Preferred Equity Interests in such
                    Proof of Interest, such claim or Preferred Equity Interests, as
                    applicable, shall count for voting purposes only in the reduced
                    amount.

4.    Resolution Event

             a.     Notwithstanding the foregoing, with respect to all claims and
                    Preferred Equity Interests in the Voting Classes, the Voting
                    Amount shall be the amount: (i) settled and/or agreed upon by
                    the Debtors and the applicable holder, as reflected in a
                    document filed with the Bankruptcy Court; (ii) set forth in an
                    order of the Bankruptcy Court; (iii) set forth in a document
                    executed by the Debtors pursuant to authority granted by the
                    Bankruptcy Court and the applicable holder; or (iv) set forth in
                    emailed instructions from the Debtors’ counsel to the
                    Solicitation Agent with the applicable holder copied (clauses
                    (i) through (iv), the “Resolution Events”).

         Notwithstanding anything to the contrary:

             a.     if a claim is scheduled as contingent, unliquidated or disputed
                    and a Proof of Claim was not (i) filed by the applicable bar
                    date for filing proofs of claim established by the Bankruptcy
                    Court or (ii) deemed timely filed by an order of the Bankruptcy

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                                 Court prior to the Voting Record Date, such claim shall be
                                 disallowed for voting purposes;

                         b.      holders of proofs of claim filed for $0.00 or zero
                                 cryptocurrency or other digital assets, as applicable, are not
                                 entitled to vote;

                         c.      holders of proofs of Preferred Equity Interests filed for $0.00
                                 or zero Preferred Equity Interests are not entitled to vote;

                         d.      Claims that have been paid, scheduled to be paid in the
                                 ordinary course of business or otherwise satisfied are
                                 disallowed for voting purposes;

                         e.      Claims or Preferred Equity Interests that have been disallowed
                                 for voting or distribution purposes by an order of the
                                 Bankruptcy Court are disallowed for voting purposes;

                         f.      any creditor who has filed or purchased duplicate claims or
                                 Preferred Equity Interests within the same class shall, to the
                                 extent possible, be provided with only one Solicitation Package
                                 (as defined below) and one Ballot for voting a single claim or
                                 Preferred Equity Interest in such class, regardless of whether
                                 the Debtors have objected to such duplicate claims; and

                         g.      if a Proof of Claim or Proof of Interest is amended, the last
                                 filed Proof of Claim or Proof of Interest shall be subject to
                                 these procedures and will supersede any earlier filed Proof of
                                 Claim or Proof of Interest, and any earlier filed Proof of Claim
                                 or Proof of Interest will be disallowed for voting purposes.

              Convenience Claim Election

               Claim holders from Class 5A, Class 5B and Class 6A may irrevocably elect to
have their respective Claims reduced to $50,000 and receive the treatment for Class 7A Dotcom
Convenience Claims, Class 7B U.S. Convenience Claims or Class 7C General Convenience
Claims, as applicable (this election, the “Convenience Claim Election”).

               Holders who make the Convenience Claim Election must vote to accept the Plan.
Holders who make the Convenience Claim Election and otherwise indicate a vote to reject the
Plan will be deemed to have voted to accept the Plan. Holders who make the Convenience
Claim Election may receive a distribution that is less than the distribution such Holders would
have received had they chosen not to make the Convenience Claim Election.

              Stipulated Amount for Voting, Allowance and Distribution

              Effective upon the Effective Date, the Debtors and Wind Down Entities may
waive and not prosecute any Customer Preference Action (to the extent not an Excluded

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Customer Preference Action) with respect to a Claim in Class 5A, Class 5B, Class 7A and Class
7B, if the holder of such Claim does not affirmatively make the Bahamas Election, and (i) votes
to accept the Plan and (ii) agrees to a stipulated amount as set forth on its Ballot for voting,
allowance and Distribution purposes. The Debtors and the Wind Down Entities may still
prosecute Customer Preference Actions in respect of a Claim in Class 5A, Class 5B, Class 7A
and Class 7B, if the holder of such Claim agrees to the stipulated amount for voting, allowance
and Distribution purposes but does not vote to accept the Plan, or votes to accept the Plan, but
does not agree to the stipulated amount for voting, allowance and Distribution purposes.
Excluded Customer Preference Actions are not waived by the Debtors or the Wind Down
Entities regardless of whether the Claim holder agrees to the stipulated amount for voting,
allowance and Distribution purposes. IF A CLAIM HOLDER PROPERLY CONSENTS
AND STIPULATES TO THE STIPULATED AMOUNT, THE STIPULATED AMOUNT
WILL SUPERSEDE ANY FILED OR SCHEDULED CLAIM AND SUCH STIPULATED
AMOUNT SHALL CONTROL FOR VOTING, ALLOWANCE AND DISTRIBUTION
PURPOSES IN RESPECT OF THE APPLICABLE CLAIM.

                Voluntary Releases Under the Plan

             The release and injunction language in section 10 of the Plan is described above
in Section 4Summary of the Plan of this Disclosure Statement.

           HOLDERS IN THE VOTING IMPAIRED CLASSES AND NON-VOTING
IMPAIRED CLASSES (OTHER THAN CLASS 9 CANCELLED INTERCOMPANY
CLAIMS AND CLASS 11 INTERCOMPANY INTERESTS) WILL EITHER RECEIVE A
BALLOT OR ELECTION FORM, IN EACH CASE, TO ALLOW SUCH HOLDERS
UNDER CERTAIN CONDITIONS TO OPT OUT OF THE RELEASES CONTAINED IN
SECTION 10.5 OF THE PLAN BY CLEARLY MARKING THE “OPT-OUT” BOX ON
THE BALLOT OR ELECTION FORM PROVIDED TO SUCH HOLDER. ASSUMING
SUCH BALLOT OR ELECTION FORM, AS APPLICABLE, IS TIMELY RECEIVED
AND IN PROPER FORM, APPLICABLE HOLDERS WHO CHECK THE “OPT-OUT”
BOX ON THE BALLOT OR ELECTION FORM WILL NOT BE DEEMED
RELEASING PARTIES FOR PURPOSES OF SECTION 10.5 OF THE PLAN.

                Classes Under the Plan

           1.      Voting Impaired Classes

               Classes 3A, 5A, 5B, 6A, 6B, 7A, 7B, 7C, 8B, 8C, 10A, 10B and 12 are Impaired
under, and entitled to vote to accept or reject, the Plan. If a customer makes the Bahamas Opt-In
Election, any vote on the Plan or any other election in the ballot submitted by such customer will
be null and void.

           2.      Unimpaired Classes of Claims

               Classes 1, 2, 3B, 4, 5C and 8A are Unimpaired under, and deemed under section
1126(f) of the Bankruptcy Code to have accepted, the Plan, and are therefore not entitled to vote
on the Plan.


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           3.      Non-Voting Impaired Classes

              Classes 9, 11, 13, 14, 15, 16, 17 and 18 are Impaired and not entitled to any
recovery under the Plan, and are therefore not entitled to vote on the Plan.

           4.      Redesignation Reservation of Rights

               For any of the Voting Impaired Classes, the Debtors reserve the right to treat such
Class as Unimpaired and conclusively deemed to accept the Plan. In the event that the Debtors
exercise such right, the Debtors are authorized to disregard any Ballots previously submitted by
Holders of such Claims and Interests in such affected Class.

                Solicitation Packages for Voting Classes

                As set forth in the Solicitation Procedures Order, the Debtors will distribute or
cause to be distributed a solicitation package to each Holder of a Claim or Interests entitled to
vote on the Plan (a “Solicitation Package”). The Solicitation Packages will contain:

                   (1)     the Cover Letter, which describes the contents of the Solicitation
                           Package and recommends that all Holders of Claims and Interests in
                           the Voting Classes vote to accept the Plan;

                   (2)     the Official Committee Letter, which states the Official Committee’s
                           recommendation to all Holders of General Unsecured Claims and
                           Customer Entitlement Claims regarding voting on whether to accept
                           the Plan;

                   (3)     To the extent the Ad Hoc Committee prepares a letter (which shall
                           only be included in the Solicitation Package to be served on Holders of
                           Class 5A Dotcom Customer Entitlement Claims and Class 7A Dotcom
                           Convenience Claims);

                   (4)     The Bahamas JOLs Letter (which shall only be included in the
                           Solicitation Package to be served on Holders of Class 5A Dotcom
                           Customer Entitlement Claims and Class 7A Dotcom Convenience
                           Claims);

                   (5)     the Solicitation and Voting Procedures;

                   (6)     the applicable form of Ballot;

                   (7)     this Disclosure Statement (and exhibits thereto, including the Plan);

                   (8)     the Solicitation Procedures Order (excluding exhibits);

                   (9)     the Confirmation Hearing Notice; and




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                   (10)    any additional documents that the Bankruptcy Court has ordered to be
                           made available to Holders of Claims and/or Interests in the Voting
                           Classes.

                The Solicitation Package will be distributed via email in electronic format to all
Holders of Claims and Interests in the Voting Classes to the email on file for such Holder, if any,
and the email address listed on the filed Proof of Claim or Proof of Interest, as applicable, to the
extent a Proof of Claim or Proof of Interest, as applicable, was filed and any email address other
than the email address on file was used. If the message to either email address is returned as
undeliverable, or if the Debtors are not in possession of an email address for such Holders, the
Solicitation Agent shall serve the Solicitation Package on such Holders in paper or electronic
format (i.e., USB flash drive format), via first-class mail to the extent a valid physical mailing
address is known by the Debtors. The Debtors and Solicitation Agent are not required to
conduct any additional research for updated addresses or email addresses based on undeliverable
Solicitation Packages.

                Solicitation Packages for Non-Voting Classes

           1.      Unimpaired Classes of Claims Not Eligible to Vote

               Holders of Claims who are not entitled to vote because they are unimpaired or
otherwise presumed to accept the Plan under section 1126(f) of the Bankruptcy Code will receive
the Notice of Non-Voting Status to Holders of Unimpaired Interests and Claims and the
Confirmation Hearing notice in electronic format.

           2.      Classes Not Eligible to Vote

                Holders of Claims or Interests (other than Class 9 Cancelled Intercompany Claims
and Class 11 Intercompany Interests) who are not entitled to vote because they are deemed to
reject the Plan under section 1126(g) of the Bankruptcy Code will receive the Notice of (I) Non-
Voting Status to Holders of Impaired Interests and Claims and the Confirmation Hearing notice
in electronic format.

                Voting Procedures

               Ballots cast by Holders in Classes entitled to vote and Election Forms must be
received by the Solicitation Agent by the Voting Deadline at the following address or, with
respect to Ballots and Election Forms eligible to be cast electronically, through the electronic
ballot (“E-Ballot”) platform at the website below:

       If by First-Class Mail, Courier or Hand Delivery:

       FTX Trading Ltd. Ballot Processing Center
       c/o Kroll Restructuring Administration LLC




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       850 Third Avenue, Suite 412
       Brooklyn, NY 11232

       If Electronically by the E-Ballot Platform:

       Either (i) visit the Solicitation Agent’s website at https://restructuring.ra.kroll.com/FTX/
       and follow the instructions to submit your Ballot or (ii) visit the FTX Customer Portal
       and click on the “Vote – Proceed to Kroll” link, and follow the instructions set forth on
       the website to submit your Ballot or Election Form.

            IF YOU HAVE ANY QUESTIONS ON THE VOTING PROCEDURES,
PLEASE CALL THE SOLICITATION AGENT AT (888) 482-0049 (DOMESTIC TOLL-
FREE) OR +1 (646) 440-4176 (INTERNATIONAL), OR CONTACT THE SOLICITATION
AGENT AT FTXINFO@RA.KROLL.COM.

                Ballots received after the Voting Deadline will not be counted or considered for
any purpose in determining whether the Plan has been accepted or rejected. The method of
delivery of Ballots and Election Forms to be sent to the Solicitation Agent is at the election and
risk of each Holder of a Claim or an Interest. Except as otherwise provided in the Plan, such
delivery will be deemed made only when the Ballot or Election Form is actually received by the
Solicitation Agent. Sufficient time should be allowed to ensure timely delivery. Ballots must be
signed and legible, must be clearly marked to either accept or reject the Plan (but not both) and
must clearly make the appropriate elections. If a Ballot or Election Form is signed by a trustee,
executor, administrator, guardian, attorney-in-fact or other person acting in a fiduciary or
representative capacity, such person must indicate such capacity when signing the Ballot.
Delivery of a Ballot or Election Form to the Solicitation Agent by facsimile, email or any other
means not specifically provided for herein will not be accepted; provided that, for the avoidance
of doubt, a Ballot or Election Form may be submitted via the online E-Ballot portal. No Ballot
or Election Form should be sent to the Debtors or the Debtors’ financial or legal advisors, agents
or representatives (other than the Solicitation Agent) and, if so sent, will not be counted.

                Any voter that has delivered a valid Ballot may not change its vote, except in
accordance with the Solicitation Procedures Order. In the case where more than one timely,
properly completed Ballot voting the same Claim(s) or Interest(s) is received by the Solicitation
Agent, only the last properly executed Ballot timely received shall be counted unless the Holder
of the Claim or Interest receives Bankruptcy Court approval to have the Ballot that bears an
earlier date counted.

                Subject to certain restrictions and requirements set forth in section 1127 of the
Bankruptcy Code and the restrictions on modifications set forth in the Plan, the Debtors or the
Plan Administrator, as applicable, may alter, amend or modify the Plan, without additional
disclosure pursuant to section 1127(b) of the Bankruptcy Code. If the Debtors make changes in
the terms of the Plan materially adverse to any Holder of Claims or Interests or if the Debtors
waive a material condition to the effectiveness of the Plan described in article 11 of the Plan, the
Debtors will disseminate additional solicitation materials to such affected Class and will extend
the solicitation period, in each case to the extent directed by the Bankruptcy Court. After the
Confirmation Date and prior to substantial consummation of the Plan, the Debtors may institute


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proceedings in the Bankruptcy Court pursuant to section 1127(b) of the Bankruptcy Code to
remedy any defect or omission or reconcile any inconsistencies in the Plan, this Disclosure
Statement or the Confirmation Order with respect to such matters as may be necessary to carry
out the purposes of the Plan.




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7.     ADDITIONAL FACTORS TO BE CONSIDERED PRIOR TO VOTING
           THE PLAN AND ITS IMPLEMENTATION ARE SUBJECT TO CERTAIN
RISKS, INCLUDING, BUT NOT LIMITED TO, THE RISK FACTORS SET FORTH BELOW.
HOLDERS OF CLAIMS AND INTERESTS SHOULD READ AND CONSIDER
CAREFULLY THE RISK FACTORS SET FORTH BELOW, AS WELL AS THE OTHER
INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
DOCUMENTS DELIVERED TOGETHER WITH THIS DISCLOSURE STATEMENT,
REFERRED TO OR INCORPORATED BY REFERENCE HEREIN, PRIOR TO VOTING TO
ACCEPT OR REJECT THE PLAN. THESE FACTORS SHOULD NOT, HOWEVER, BE
REGARDED AS CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION
WITH THE PLAN OR ITS IMPLEMENTATION.

                Risks Related to the Debtors and These Chapter 11 Cases

           1.      General

               It is impossible to predict with certainty the amount of time that it will take to
wind down these Chapter 11 Cases or to assure parties in interest that the Plan will be confirmed.
A delay in the bankruptcy proceedings to confirm the Plan will also involve additional expense.

           2.      The Debtors Will Be Subject to Risks and Uncertainties Associated with These
                   Chapter 11 Cases

                 For the remainder of these Chapter 11 Cases, the Debtors’ ability to develop and
execute a chapter 11 plan will be subject to the risks and uncertainties associated with chapter
11. These risks include the following: (a) ability to develop, confirm and consummate the Plan;
(b) ability of third parties to seek and obtain Bankruptcy Court approval to terminate or shorten
the exclusivity period for the Debtors to propose and confirm a chapter 11 plan, to appoint a
chapter 11 trustee or to convert these Chapter 11 Cases to chapter 7 proceedings; and (c) the
actions and decisions of the Debtors’ creditors and other third parties who have interests in these
Chapter 11 Cases that may be inconsistent with the Debtors’ objectives. Because of the risks and
uncertainties associated with these Chapter 11 Cases, the Debtors cannot accurately predict or
quantify the ultimate impact of events that occur during the remainder of these Chapter 11 Cases
that may be inconsistent with the Debtors’ plans.

           3.      Undue Delay in Confirmation May Result in Additional Costs

              If Confirmation and Consummation of the Plan do not occur expeditiously, these
Chapter 11 Cases could result in, among other things, increased costs for professional fees and
similar expenses.

                Risks Related to the Plan

           1.      Holders of Claims and Interests May Object to the Classification of Claims

                Section 1122 of the Bankruptcy Code requires that the Plan classify claims
against, and interests in, the Debtors. The Bankruptcy Code also provides that the Plan may

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place a Claim or Interest in a particular Class only if such Claim or Interest is substantially
similar to the other Claims or Interests of such Class. The Debtors believe that all Claims and
Interests have been appropriately classified in the Plan.

                To the extent that the Bankruptcy Court finds that a different classification is
required for the Plan to be confirmed, the Debtors would seek (a) to modify the Plan to provide
for whatever classification might be required for Confirmation and (b) to use the acceptances
received from any Holder of Claims or Interests pursuant to this solicitation for the purpose of
obtaining the approval of the Class or Classes of which such Holder ultimately is deemed to be a
member. Any such reclassification of Claims, although subject to the notice and hearing
requirements of the Bankruptcy Code, could materially adversely affect the Class in which such
Holder was initially a member, or any other Class under the Plan, by changing the composition
of such Class and the vote required for approval of the Plan. There can be no assurance that the
Bankruptcy Court, after finding that a classification was inappropriate and requiring a
reclassification, would approve the Plan based upon such reclassification. Except to the extent
that modification of classification in the Plan requires re-solicitation, the Debtors will, in
accordance with the Bankruptcy Code and the Bankruptcy Rules, seek a determination by the
Bankruptcy Court that acceptance of the Plan by any Holder of Claims pursuant to this
solicitation will constitute a consent to the Plan’s treatment of such Holder, regardless of the
Class as to which such Holder is ultimately deemed to be a member.

           2.      The Debtors May Fail to Satisfy the Solicitation Requirements Requiring a
                   Re-Solicitation

                To satisfy the requirements of section 1126(b) of the Bankruptcy Code and
Bankruptcy Rule 3018(b), the Debtors will be delivering the Solicitation Package to all Holders
of Claims as of the voting record date in the Classes entitled to vote. Accordingly, the Debtors
believe that the solicitation is proper under section 1125 of the Bankruptcy Code. The Debtors
cannot be certain, however, that the solicitation of acceptances or rejections will be approved by
the Bankruptcy Court, and if such approval is not obtained, the Confirmation of the Plan could
be denied. If the Bankruptcy Court were to conclude that the Debtors did not satisfy the
solicitation requirements, then the Debtors may seek to re-solicit votes to accept or reject the
Plan or to solicit votes from one or more Classes that were not previously solicited. The Debtors
cannot provide any assurances that such a re-solicitation would be successful. Re-solicitation
could delay or jeopardize confirmation of the Plan. Non-confirmation of the Plan could result in
protracted chapter 11 cases.

           3.      Certain Customers and Creditors May Bring Litigation Against the Debtors

                Certain of the Debtors’ customers and creditors have and may continue to bring
and prosecute litigation against the Debtors during these Chapter 11 Cases, the outcome of which
is uncertain. In general, litigation can be expensive and time consuming to bring or defend
against. Although the Debtors believe the Plan satisfies all of the requirements necessary for
Confirmation by the Bankruptcy Court, customers, creditors and other parties-in-interest may
bring objections to challenge Confirmation of the Plan. It is also possible that certain parties will
commence litigation with respect to the treatment of their Claims under the Plan. It is not
possible to predict the potential litigation that the Debtors may become party to, nor the final


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resolution of such litigation. The impact of any such litigation on the Debtors’ estates, however,
could be material.

           4.      Outcome of Current and Future Litigation Brought by the Debtors Is
                   Uncertain

                As discussed in Section 3.GLitigation, the Debtors are currently engaged in
ongoing litigation. Although the Debtors believe that they will succeed in the litigation, there is
a risk that the Debtors may lose some or all of the issues, which, depending on the priority of the
ultimate claims, could have substantial impact on the Debtors’ estates and distributable assets.

           5.      The Bankruptcy Court May Not Grant the Debtors’ Request for
                   Nonconsensual Confirmation

                 In the event that any impaired class of claims or interests does not accept a
chapter 11 plan, the Bankruptcy Court may nevertheless confirm a plan at the proponent’s
request if at least one impaired class has accepted the plan (with such acceptance being
determined without including the vote of any “insider” in such class), and, as to each impaired
class that has not accepted the plan, the Bankruptcy Court determines that the plan “does not
discriminate unfairly” and is “fair and equitable” with respect to the dissenting class. The
Debtors believe that the Plan satisfies these requirements and the Debtors may request such
nonconsensual Confirmation in accordance with section 1129(b) of the Bankruptcy Code.
Nevertheless, there can be no assurance that the Bankruptcy Court will reach this conclusion. In
addition, the pursuit of nonconsensual Confirmation of the Plan may result in, among other
things, increased expenses and the expiration of any commitment to provide support for the Plan.

           6.      The Results of an Actual Chapter 7 Liquidation May Be Different from the
                   Liquidation Analysis

                Conversion to chapter 7 liquidation would, in the Debtors’ view, produce a less
favorable outcome for Holders of Claims and Interests than would the Plan. However,
underlying the Liquidation Analysis is the extensive use of estimates and assumptions that,
although considered reasonable by the Debtors’ management and advisors, are inherently subject
to significant business, economic and competitive uncertainties and contingencies beyond the
control of the Debtors. The Liquidation Analysis is based on assumptions with regard to
liquidation decisions that are subject to change. Actual results may vary materially from the
estimates and projections set forth in the Liquidation Analysis. Events and circumstances
subsequent to the date on which the Liquidation Analysis was prepared may be different from
those assumed or, alternatively, may have been unanticipated.

           7.      Plan Releases, Injunctions and Exculpations May Not Be Approved

               There can be no assurance that the Plan releases, injunctions and exculpations, as
provided in article 10 of the Plan, will be granted. Failure of the Bankruptcy Court to grant such
relief may result in a plan of liquidation that differs from the Plan or the Plan not being
confirmed.



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           8.      The Plan May Not Be Confirmed

               The Debtors make no assurances that they will receive the requisite acceptances
to confirm the Plan. Even if the Debtors receive the requisite acceptances, there is no assurance
that the Bankruptcy Court will confirm the Plan.

               Even if the Bankruptcy Court determines that this Disclosure Statement and the
balloting procedures and results are appropriate, the Bankruptcy Court may still decline to
confirm the Plan if it finds that any of the statutory requirements for Confirmation have not been
met. Moreover, there can be no assurance that modifications to the Plan will not be required for
Confirmation or that such modifications will not necessitate the re-solicitation of votes. If the
Plan is not confirmed, it is unclear what Distributions Holders of Claims or Interests would
receive with respect to their Allowed Claims or Allowed Interests in a subsequent plan of
reorganization or liquidation.

           9.      Conditions Precedent to the Plan Becoming Effective May Not Be Satisfied

                 There can be no assurance as to such timing or as to the occurrence of the
Effective Date. As of the date of this Disclosure Statement, there can be no assurance that any or
all of the conditions precedent to the effectiveness of the Plan will be met or that the other
conditions to Consummation, if any, will be satisfied or sufficiently waived. Accordingly, even
if the Plan is confirmed by the Bankruptcy Court, there can be no assurance that the Plan will be
consummated.

           10.     Continued Risk upon Confirmation and Potential Appeal of Confirmation

                Even if the Plan is consummated, there may be continued risks, including certain
risks that are beyond the control of the Debtors, such as deterioration of general market
conditions or other changes in economic conditions, changes in the digital asset industry,
potential revaluing of assets due to other chapter 11 proceedings and increase in expenses. As a
result of these risks and others, there is no guarantee that a chapter 11 plan of reorganization
reflecting the Plan will achieve the Debtors’ stated goals. Even if the Plan is confirmed, the
Debtors will continue to face uncertainty. Specifically, it is possible that the Plan’s confirmation
is appealed and its implementation subsequently paused until further litigation takes place.

           11.     The Value of Preference, Avoidance and Litigation Proceeds Is Uncertain,
                   Which May Affect the Value That Can Be Distributed to Holders of Claims
                   Entitled to Receive Litigation Proceeds

               Pursuant to the Plan, distributions to holders of Allowed Claims will be funded in
part by the proceeds of preference and avoidance actions as well as other litigation claims.
Pursuant to the Plan, Holders of Claims entitled to litigation proceeds will receive periodic
distributions on account of recoveries from these causes of action. The Debtors do not offer any
assurance that these actions and litigations will be successful. Accordingly, it is impossible to
predict with certainty the size or timing of any resulting distributions.




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           12.      The Amount and Timing of Available Distributions, if Any, May Vary

                While the Debtors have attempted to project what they believe are likely
Distributions, if any, to be made to parties holding Allowed Claims, there can be no certainty
that the projections will be accurate and that Holders will receive the Distributions described in
the Plan. The projections will necessarily be affected by events with unknown or uncertain
timing, including, among other things, recoveries generated in connection with the liquidation of
all of the Debtors’ remaining assets (including, without limitation, the recoveries, if any, on
account of the Preserved Potential Claims and the proceeds from Avoidance Actions and
litigation Claims, after the resolution of any pending appeals), the outcome of objections to
Claims, and the cost and expenses of such actions and generally administration and winding
down of the Wind Down Entities. Additionally, the timing of actual Distributions to Holders of
Allowed Claims may be affected by many factors that cannot be predicted. Therefore, the
Debtors cannot guarantee the timing of any recovery on account of Allowed Claims.

                 Additional Risks

           1.       Digital Assets May Be Subject to Loss, Damage, Theft, or Restriction on
                    Access. Additionally, Incorrect or Fraudulent Digital Asset Transactions May
                    Be Irreversible

                A substantial part of the Debtors’ businesses—and the value they represent—
involves the possession of or investment in digital assets. There is a risk that part or all of the
digital assets could be lost, stolen or destroyed. Access to digital assets could be restricted by
cybercrime, such as the theft of private keys. Given the highly publicized Chapter 11 Cases, the
Debtors, or a party in custody of their digital assets, could be an appealing target to hackers or
malware distributors seeking to destroy, damage, or steal digital assets. Hackers or malicious
actors may attempt to steal the Debtors’ digital assets, such as by an attack on the Debtors’
networks’ source code, third-party platforms, custodian’s infrastructure and personnel, storage
locations or software, general computer systems or networks. Access to the Debtors’ digital
assets could also be restricted by other human actions (such as a terrorist attack) or by natural
events (such as an earthquake or flood). It is also possible that, through computer or human
error, whether caused by the Debtors, their customers, its vendors, or otherwise, the Debtors’
digital assets could be transferred in incorrect amounts or to unauthorized third parties or
accounts.

               In general, in the event of any such adverse event that affects the Debtors’ control
and/or possession of its customer digital assets, the Debtors may be unable to prevent loss,
damage, or theft. Furthermore, digital asset transactions are irrevocable. Therefore, in any event
described in this Section, the Debtors may have extremely limited or no effective means of
recovering any lost, stolen or destroyed digital assets. As a result, any of these events may also
adversely affect the Debtors’ operations and, consequently, the value of the Debtors.




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           2.     The Debtors’ Assets Are Highly Correlated to the Volatility of the Digital
                  Asset Markets

                 A substantial portion of the Debtors’ assets are correlated to the historically
volatile digital asset market. Sudden downward movements in particular digital assets or the
digital asset market as a whole are not uncommon. Such movements could result from a range of
factors, including but not limited to general macroeconomic conditions or specific events. For
example, during 2022, digital asset prices quickly deteriorated in response to certain events,
including the Debtors’ own bankruptcy filing. A sudden decline in the value of the Debtors’
digital assets may adversely affect the fair market value of the Debtors’ assets, which could
result in lower recoveries for Holders of Claims.

           3.     Digital Assets Are Not Subject to FDIC or SIPC Protections

                Digital assets are not typically held by a banking institution or a member of the
FDIC or the Securities Investor Protection Corporation (“SIPC”) and, therefore, digital assets are
not typically subject to the protections provided to depositors with FDIC or SIPC member
institutions.

           4.     The Debtors May Be Required to Obtain, and to Comply with, Government
                  Permits and Approvals

                In order to conduct their businesses lawfully, the Debtors may be required to
obtain, and to comply with, any necessary conditions, numerous permits and licenses from
international governmental agencies. The process of obtaining and renewing necessary permits
and licenses can be lengthy and complex; they can also sometimes result in the establishment of
conditions that make the project or activity for which the permit or license was sought
unprofitable or otherwise unattractive. In addition, such permits or licenses may be subject to
denial, revocation or modification under various circumstances. Failure to obtain or comply with
the conditions of permits or licenses, or failure to comply with applicable laws or regulations,
may result in the delay or temporary suspension of the Debtors’ operations.

           5.     Claims Could Be More Than Projected

               There can be no assurance that the estimated Allowed amount of Claims in certain
Classes will not be significantly more than projected, which, in turn, could cause the value of
Distributions in one or more Classes to be reduced substantially. Inevitably, some assumptions
will not materialize, and unanticipated events and circumstances may affect the ultimate results.
Therefore, the actual amount of Allowed Claims may vary from the assumptions underlying the
projected recoveries discussed in this Disclosure Statement, and the variation may be material.

           6.     The Financial Information Is Based on the Debtors’ Books and Records and,
                  Unless Otherwise Stated, No Audit Was Performed

               In preparing this Disclosure Statement, the Debtors relied on financial data
derived from their books and records that was available at the time of such preparation.
Although the Debtors have used their reasonable business judgment to assure the accuracy of the
financial information provided in this Disclosure Statement, and while the Debtors believe that

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such financial information fairly reflects their financial condition, given the poor condition of the
Debtors’ prepetition recordkeeping, as described in Sections 2.B.2The Commingling and
Misuse of Customer Deposits at the FTX.com Exchange and Corporate Funds and 3.PInterim
Reports of John J. Ray III of this Disclosure Statement, the Debtors are unable to warrant or
represent that the financial information contained in this Disclosure Statement is accurate.

           7.      The Debtors Have No Duty to Update

                The statements contained in this Disclosure Statement are made by the Debtors as
of the date hereof, unless otherwise specified herein, and the delivery of this Disclosure
Statement after that date does not imply that there has been no change in the information set
forth herein since that date. The Debtors have no duty to update this Disclosure Statement unless
otherwise ordered to do so by the Bankruptcy Court.

           8.      No Representations Outside This Disclosure Statement Are Authorized

                No representations concerning or related to the Debtors, these Chapter 11 Cases,
once commenced, or the Plan are authorized by the Bankruptcy Court or the Bankruptcy Code,
other than as set forth in this Disclosure Statement. Any representations or inducements made to
secure your acceptance or rejection of the Plan that are other than as contained in, or included
with, this Disclosure Statement should not be relied upon by you in arriving at your decision.

           9.      Forward-Looking Statements Are Not Assured, and Actual Results May Vary

                This Disclosure Statement contains forward-looking statements. These forward-
looking statements include factors that could cause actual results to differ materially, such as:
those factors described in this Section 7Additional Factors to Be Considered Prior to Voting
of this Disclosure Statement; the Debtors’ ability to obtain Bankruptcy Court approval with
respect to motions in these Chapter 11 Cases; the effects of the Bankruptcy Court rulings in these
Chapter 11 Cases and the outcome of the cases in general; the length of time the Debtors will
remain in these Chapter 11 Cases; the pursuit by the Debtors’ various creditors, equity holders
and other constituents of their interests in these Chapter 11 Cases; risks associated with third-
party motions in these Chapter 11 Cases, which may interfere with the ability to consummate the
Plan; the increased administrative and restructuring costs related to these Chapter 11 Cases; and
the payments of Allowed Claims and the amount of expenses projected to recognize recoveries
and reconcile such Claims.

           10.     No Legal or Tax Advice Is Provided to You by This Disclosure Statement

                 The contents of this Disclosure Statement should not be construed as legal,
business or tax advice. Each Holder of Claims and Interests against the Debtors should consult
his, her or its own legal counsel and accountants as to legal, tax and other matters concerning
such Holder’s Claims and Interests. Holders of Allowed Claims and Allowed Interests should
carefully review Section 8Material United States Federal Income Tax Consequences of the
Plan of this Disclosure Statement to determine how the tax implications of the Plan and these
Chapter 11 Cases may adversely affect the Debtors. This Disclosure Statement is not legal



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advice to you and may not be relied upon for any purpose other than to determine how to vote on
the Plan or object to confirmation of the Plan.

           11.     Governmental Laws, Regulations and Actions Could Adversely Affect the
                   Debtors

               The Debtors are subject to various federal, state and local laws, orders and
regulations. Failure to comply with these laws and regulations may result in the assessment of
administrative, civil and criminal fines and penalties or the imposition of injunctive relief.

                Future compliance with laws and regulations, including environmental,
production, transportation, sales, rate and tax rules and regulations, and any changes to such laws
or regulations, may reduce the Debtors’ profitability and have a material adverse effect on their
financial position, liquidity and cash flows. Such laws and regulations may require more
stringent and costly measures.

           12.     The Debtors Are Under Investigation by Federal, State and International
                   Regulators and Such Investigations May Adversely Affect the Debtors

                The Debtors are subject to various investigations, inquiries, requests for
information and informal and formal proceedings from federal, state and international authorities
related to the FTX Group’s prepetition conduct. The Debtors have cooperated with the relevant
authorities regarding these investigations and provided documents responsive to the requests, and
continue to work with such authorities on investigations related to the businesses and prepetition
conduct of the FTX Group. At this time, it is impossible to estimate the impact of such
investigations.

                The Debtors continue to be subject to ongoing proceedings, as well as
investigations of potential claims, and it is possible that parties may commence additional
litigation against the Debtors. In addition, as a result of these investigations, the Debtors could
be subject to additional civil or criminal penalties or administrative sanctions, including fines,
disgorgement, restitution, compliance orders and suspension of licenses, any of which could
adversely affect the Debtors’ financial condition and creditor recoveries.

           13.     Certain Claims Filed by Governmental Authorities May Adversely Affect the
                   Debtors

             Certain governmental authorities have filed significant claims against the Debtors,
which may jeopardize plan confirmation or reduce recoveries for creditors.

               As described in detail in Section 3.KPotential Estimation of IRS Claims of this
Disclosure Statement, the IRS filed proofs of claim against the Debtors totaling $24 billion in the
aggregate. The Debtors understand that the IRS sought to examine their tax returns at its
ordinary pace—potentially over the course of years. Given the magnitude of the IRS claims, in
the absence of estimation, plan confirmation would be delayed until the IRS concludes its
examination. Moreover, the IRS has not, at this time, agreed to subordinate its claims to any
creditors.


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                On September 28, 2023, the CFTC filed six proofs of claim against certain
Debtors in the aggregate amount of $52.2 billion ($8.7 billion each). The CFTC’s claim is based
on the action the CFTC filed in the Southern District of New York against FTX Trading on
December 21, 2022, alleging violations of the Commodity Exchange Act.

               On September 28, 2023, the NJ Bureau filed five proofs of claim against certain
Debtors in the aggregate amount of $633 million ($126.6 million each). The NJ Bureau asserted
a claim against the Debtors for purported violations of the NJ Securities Laws. Specifically, the
NJ Bureau alleged, among other things, that the Debtors’ Earn program was in violation of the
NJ Securities Laws and may have constituted a sale of unregistered securities.

                On September 29, 2023, the MS Division filed five proofs of claim against certain
Debtors in the aggregate amount of $323 million ($64.6 million each). The MS Division
asserted a claim against the Debtors for purported violations of the securities laws of Mississippi,
including, among other things, that the Debtors sold unregistered securities and materially misled
investors in connection with the Debtors’ Earn program. The MS Division noted in its proof of
claim that it was not seeking distributions on its claim for its own benefit; rather the MS Division
is hoping to increase recovery for victims of the Debtors.

               The resolution of these claims may impact the Debtors and distributions to
Holders of Allowed Claims. Although the Debtors may establish reserves as they deem
necessary, the amounts that the Debtors reserve could vary significantly from any amounts the
Debtors ultimately pay due to the inherent uncertainties in claims resolution and settlement.
Additionally, any objections raised by the aforementioned governmental authorities may imperil
or delay plan confirmation.

           14.     The Debtors May Be Unable to Recover Assets Seized by Governmental
                   Authorities

               The Debtors may be unable to recover any material amount of assets seized by
various domestic and foreign governmental authorities. Further, there can be no assurance as to
the timing or outcome of any adjudication of the ownership of any seized assets. While the
Debtors will continue to cooperate in good faith with these various governmental authorities, the
circumstances of these Chapter 11 Cases make it impossible to predict the resolution of
proceedings regarding these assets or the timing thereof.

           15.     No Admission Is Made

               Nothing contained herein or in the Plan will constitute an admission of, or will be
deemed evidence of, the tax or other legal effects of the Plan on the Debtors or Holders of
Claims or Interests.




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8.     MATERIAL UNITED STATES FEDERAL INCOME TAX CONSEQUENCES OF
       THE PLAN

               The following discussion is a summary of certain U.S. federal income tax
consequences of the Consummation of the Plan to the Debtors, the Wind Down Entities, and
certain Holders entitled to vote on the Plan. The following summary does not address the U.S.
federal income tax consequences to Holders who are Unimpaired or otherwise entitled to
payment in full in Cash under the Plan or Holders who will not receive any Distribution and are
deemed to reject the Plan.

                 The discussion of U.S. federal income tax consequences below is based on the
Internal Revenue Code of 1986, as amended (the “Tax Code”), the U.S. Treasury’s interpretive
regulations (the “Treasury Regulations”), judicial authorities, published positions of the IRS,
and other applicable authorities, all as in effect on the date of this Disclosure Statement and all
of which are subject to change or differing interpretations (possibly with retroactive effect).
The U.S. federal income tax consequences of the contemplated transactions are complex and
subject to significant uncertainties. The Debtors have not requested an opinion of counsel or a
ruling from the IRS with respect to any of the tax aspects of the contemplated transactions.
This summary does not address non-U.S., state, or local tax consequences of the contemplated
transactions, nor does it address the U.S. federal income tax consequences of the transactions to
special classes of taxpayers (e.g., non-U.S. taxpayers, small business investment companies,
regulated investment companies, real estate investment trusts, banks and certain other financial
institutions, insurance companies, tax-exempt organizations, retirement plans, individual
retirement and other tax-deferred accounts, Holders that are, or hold their Claims through,
S corporations, partnerships or other pass-through entities for U.S. federal income tax purposes,
persons whose functional currency is not the U.S. dollar, dealers in securities or foreign
currency, traders that elect to use the mark-to-market method of tax accounting for their
securities, and persons whose Claims are part of a straddle, hedging, constructive sale, or
conversion transaction). In addition, this discussion does not address the Foreign Account Tax
Compliance Act, the alternative minimum tax, the “Medicare” tax on net investment income, or
U.S. federal taxes other than income taxes. Unless otherwise indicated, this discussion assumes
that all Claims are held as “capital assets” (generally, property held for investment) within the
meaning of section 1221 of the Tax Code and that the various debt and other arrangements to
which the Debtors are a party will be respected for U.S. federal income tax purposes in
accordance with their respective forms.

                As used herein, the term “U.S. Holder” means a beneficial owner of a Claim that
is for U.S. federal income tax purposes:

                   •   an individual who is a citizen or resident of the United States;

                   •   a corporation, or other entity taxable as a corporation for U.S. federal
                       income tax purposes, created or organized in or under the laws of the
                       United States, any state thereof, or the District of Columbia;

                   •   an estate the income of which is subject to U.S. federal income taxation
                       regardless of its source; or

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                   •   a trust, if a court within the United States is able to exercise primary
                       jurisdiction over its administration and one or more U.S. persons have
                       authority to control all of its substantial decisions, or if the trust has a valid
                       election in effect under applicable Treasury Regulations to be treated as a
                       U.S. person.

                If a partnership or other entity or arrangement taxable as a partnership for U.S.
federal income tax purposes holds Claims, the tax treatment of a partner in such partnership
generally will depend upon the status of the partner and the activities of the partnership. If you
are a partner in such a partnership holding any of such instruments, you should consult your own
tax advisor.

The following summary of certain U.S. federal income tax consequences is for informational
purposes only and is not a substitute for careful tax planning and advice based upon your
individual circumstances. All Holders are urged to consult their tax advisors for the U.S.
federal, state, local and other tax consequences applicable under the Plan.


               U.S. Federal Income Tax Consequences to the Debtors

                Recoveries of Holders will be reduced to the extent that assets or amounts that
would otherwise be transferred to the Wind Down Entities are payable instead to the IRS in
respect of Debtor tax liabilities. Holders should consider the risks associated with the tax
position of the Debtors, and the priority of any legitimate tax claims arising therefrom, in
determining their likely recoveries under the Plan. Potential tax liabilities of the Debtors can be
divided into two categories: Those arising in taxable periods preceding the bankruptcy petition
(“Prepetition Tax Liabilities”) and those arising in taxable periods following the bankruptcy
petition (“Postpetition Tax Liabilities”).

                       1.      Prepetition Tax Liabilities

                 The IRS has filed approximately $24 billion in proofs of claim for potential
Prepetition Tax Liabilities. The Debtors have filed detailed tax returns for the relevant
prepetition tax periods, and these returns show tax losses of billions of dollars and no additional
tax liability of the Debtors for prepetition periods. Tax returns for the most recent prepetition
taxable year (2022) were prepared by Ernst & Young LLP, outside accountants to the Debtors,
utilizing over 100 qualified professionals to deal with the unique circumstances of the
Debtors. In light of these and other facts, the Debtors filed a submission with the Bankruptcy
Court, pursuant to the authority of section 502 of the Bankruptcy Code, to have these proofs of
claim estimated by the Bankruptcy Court, so that the bankruptcy reorganization can proceed on a
timely basis. During discovery in those estimation proceedings, the IRS has provided proposed
adjustments to the Debtors’ tax returns that would result in Prepetition Tax Liabilities of
approximately $8 billion. Although the Debtors do not currently believe that they have
significant additional tax liability with respect to prepetition periods, there can be no assurance
of this, and claimants should therefore consider the risks associated with the IRS proofs of claim
for prepetition tax periods when considering whether to approve the Plan. In addition, the
Debtors have been discussing a possible settlement with the IRS that would subordinate IRS


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claims to those of other claimants. The possible settlement is described in detail in Section
3.TProposed Settlement with the IRS.

               The Plan also expressly subordinates the IRS’s claims for the Prepetition Period
(other than Allowed IRS Priority Tax Claims) to Claims of creditors in Classes 1-10. This
subordination is proposed for agreement by the IRS or approval by the Bankruptcy Court in light
of certain Department of Justice positions, the placement in the prepetition corporate structure of
certain Debtors who are U.S. taxpayers, and legal and equitable considerations relating to the
IRS’s proofs of claim. The IRS may object to this subordination if no consensual understanding
is reached with the IRS and there can be no assurances as to how the Bankruptcy Court would
resolve such an objection.

                       2.      Postpetition Tax Liabilities

                As discussed further below, the Debtors intend to take the position that vesting of
assets in the Wind Down Entities on the Effective Date will constitute a transfer for tax purposes
and be a taxable event. These assets include substantial amounts of crypto, various private
investments and various business assets. The question of whether the transfer of these assets will
give rise to meaningful U.S. tax liability will turn on a substantial number of legal and factual
questions that are not clear at this time. With regard to any particular asset, these questions
include (a) what legal entity is currently deemed to own the asset for U.S. tax purposes (which
includes the fundamental question of whether the owner of the asset is an entity subject to U.S.
tax), (b) what is the “basis” of the asset for U.S. tax purposes, (c) what is the character of the
gain arising from the disposition and (d) to what extent are losses from other activities available
to offset any such gains (which likewise turns partly on answers to the other three questions).

                There is also likely to be a difference between the value of the assets deemed to
be transferred by the Debtors to the Wind Down Entities and the liabilities of the Debtors to
Holders that might be deemed to be relieved as a result of these transfers. The question of
whether any such difference might be treated as income or gain that gives rise to U.S. tax
liability might similarly turn on questions relating to (a) which legal entity was deemed to have
such income gain (and whether it was an entity subject to U.S. tax), (b) what was the amount
deemed initially received by such entity, (c) what is the value of the assets transferred, (d) what
was the character of the resulting gain or loss, and (e) to what extent losses from other activities
are available to offset such gains.

                 For a variety of reasons, the Debtors currently expect that any such income or
gains may be partly or wholly offset by losses and that U.S. tax liability arising from these
dispositions will be limited. There can be no assurance in this regard, however, and the ongoing
process of determining relevant questions, filing relevant tax returns, and discussing and
resolving final tax liability conclusions with the IRS (or in the courts, if no agreement can be
reached) could take a number of years. In light of this fact, claimants should be prepared for the
possibility that some assets of the Debtors may need to remain with the Debtors, or be placed in
a special liquidating trust (rather than transferred to the Wind Down Entities), to satisfy potential
tax liabilities. In addition, the Debtors have been discussing a possible settlement with the IRS
that would subordinate IRS claims to those of other claimants. The possible settlement is
described in detail in Section 3.TProposed Settlement with the IRS.

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               U.S. Federal Income Tax Consequences to U.S. Holders

                The Debtors intend to take the position that Consummation of the Plan constitutes
an exchange of a prepetition Claim for a meaningfully different Claim against one or more Wind
Down Entities and is a taxable event for U.S. tax purposes. To the extent relevant for any
reporting or other U.S. tax purposes, the Debtors also intend to take the position that no prior
activity or decision of the Debtors (e.g., the filing of chapter 11 petitions) caused U.S. Holders to
have a taxable event for U.S. tax purposes with respect to their claims. The Debtors also intend
to take the position that amounts denominated as Interest under the Plan should be treated as
interest income for US Federal income tax purposes. These conclusions are not clear under
current law, however, and there can be no assurance that the IRS will agree with them. U.S.
Holders are urged to consult their own tax advisors regarding their validity. The rest of this
disclosure assumes their validity for purposes of reaching other conclusions.

                Generally, the Debtors intend to take the position that U.S. Holders should
recognize gain or loss with respect to their Claims in an amount equal to the difference between
(i) the amount of their Claims on the Petition Date and (ii) the adjusted tax basis of their
prepetition Claims against one or more Debtors deemed exchanged therefor (other than the basis
attributable to accrued but unpaid interest previously included in the Holder’s taxable income).
See the discussion below regarding General Tax Reporting by the Wind Down Entities.

                The character of gain or loss recognized by a U.S. Holder as long-term or short-
term capital gain or loss or as ordinary income or loss will be determined by a number of
factors, including (i) the tax status of the Holder; (ii) whether the Claim constitutes a capital
asset in the hands of the Holder and how long it has been held and (iii) in the case of Claims
that are debt instruments, whether the Claim was acquired at a market discount and whether and
to what extent the Holder previously claimed a bad debt deduction. This disclosure is
providing no description, however, of the various tax rules that may be relevant to the holders
of Claims that are debt instruments, and such holders are urged to consult their own tax
advisors regarding the consequences of the exchange.

                Because the Debtors intend to take the position that amounts denominated as
Interest under the Plan should be treated as interest income for US Federal income tax
purposes, the Debtors intend to report such amounts as interest income of the U.S. Holder on
Form 1099 and other relevant tax reporting documents, with the result that a U.S. Holder
should be required to include this amount in income for the taxable year of the Effective Date,
and this amount will be taxable at ordinary income rates, including any relevant surcharge on
net investment income. See the discussion below regarding withholding on distributions and
information reporting.

             U.S. Federal Income Tax Treatment of the Wind Down Entities and the U.S.
Holders of Customer Entitlement Claims

                        1.     Classification of the Wind Down Entities

              The Wind Down Entities are intended to qualify as “liquidating trusts” for U.S.
federal income tax purposes. In general, a liquidating trust is not a separate taxable entity, but


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rather is treated for U.S. federal income tax purposes as a “grantor trust” (i.e., the liquidating
trust beneficiaries are deemed to own the assets of the trust, and all of the trust’s income and
loss is taxed directly to the liquidating trust beneficiaries). However, merely establishing a trust
as a liquidating trust does not ensure that it will be treated as a grantor trust for U.S. federal
income tax purposes. The IRS, in Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the
general criteria for obtaining an IRS ruling as to the grantor trust status of a liquidating trust
under a chapter 11 plan. The Wind Down Entities will be structured to comply with such
general criteria. Pursuant to the Plan, and in conformity with Revenue Procedure 94-45, all
parties (including, without limitation, the Debtors, the Plan Administrator and Holders of
Claims) will be required to treat, for U.S. federal income tax purposes, the Wind Down Entities
as a grantor trust of which the holders of Claims against the Wind Down Entities are the owners
and grantors. The Wind Down Entities are created for the primary purpose of liquidating the
assets transferred to it with no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to, and consistent with, the liquidating
purpose of the Wind Down Entities.

                The following discussion assumes that the Wind Down Entities will be so
respected for U.S. federal income tax purposes. However, no opinion of counsel has been
requested, and the Wind Down Entities may or may not obtain a ruling from the IRS,
concerning the tax status of the Wind Down Entities as grantor trusts. Accordingly, there can
be no assurance that the IRS would not take a contrary position. If the IRS were to challenge
successfully the classification of the Wind Down Entities, the U.S. federal income tax
consequences to the Wind Down Entities could vary from those discussed herein (including the
potential for imposition of tax on the net income of the Wind Down Entities at the entity level,
rather than at the level of the holders of Claims against the Wind Down Entities). If the Wind
Down Entities were found to be carrying on a profit-making business, the U.S. federal income
tax consequences to the Wind Down Entities, the U.S. Holders of Customer Entitlement
Claims, and the Debtors could vary from those discussed herein.

                     2.     General Tax Reporting by the Wind Down Entities to U.S. Holders
       of Customer Entitlement Claims

                  For all U.S. federal income tax purposes, all parties (including, without
limitation, the Debtors, the Wind Down Entities and all Holders of Claims) will be required to
treat the transfer of the assets to the Wind Down Entities in accordance with the terms of the
Plan. Pursuant to the Plan, the U.S. Customer Priority Assets will be treated, for U.S. federal
income tax purposes, as having been transferred, subject to any obligations relating to those
assets, directly to the recipients of U.S. Customer Entitlement Claims (with each beneficiary
receiving an undivided interest in such assets) in exchange for their U.S. Customer Entitlement
Claims, followed by the transfer by such holders of such assets (subject to any related
liabilities) to the Wind Down Entities in exchange for their U.S. Customer Entitlement
Claims. All parties to the Wind Down Estates (including, without limitation, the Debtors, the
Wind Down Entities and all Holders of Claims) shall use consistent valuation of the Plan
Assets for all U.S. federal income tax purposes.

           Accordingly, for U.S. federal income tax purposes all parties shall treat the
Wind Down Entities as a grantor trust of which the holders of the U.S. Customer Entitlement

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Claims are the owners and grantors of the U.S. Customer Priority Assets, and treat such holders
as the direct owners of an undivided interest of the Wind Down Entities, and, therefore, in the
U.S. Customer Priority Assets (such a holder, a “Beneficiary”). Such Beneficiary must report
on its U.S. federal income tax return its pro rata allocable share of income, gain, loss, deduction
and credit recognized or incurred by the Wind Down Estates. A Beneficiary must report on its
U.S. federal income tax return the tax consequences of the sale or other disposition (or deemed
disposition) of any assets of the Wind Down Estates, including its share of any gain or loss
measured by the difference between (i) its share of the amount of Cash and/or the fair market
value of any property received by the Wind Down Estates in exchange for the assets of the
Wind Down Estates so sold or otherwise disposed of and (ii) such Beneficiaries’ adjusted tax
basis in its pro rata share of such assets of the Wind Down Estates. As noted below, the Plan
Administrators will annually provide each Beneficiary a separate statement with information
and instructions needed to report such income, gain, loss, deduction and credit recognized or
incurred by the Wind Down Estates on such Beneficiary’s U.S. federal income tax return.

                 Taxable income, gain or loss thereafter allocated to Holders of U.S. Customer
Entitlement Claims will be treated as income, gain or loss with respect to each such Holder’s
undivided interest in the U.S. Customer Priority Assets, and not as income or loss with respect
to its prior Claim. The character of any income and the character and ability to use any loss
will depend on the particular situation of the Holder. To the extent any Holder of Claims is
(i) a U.S. Holder, and (ii) has or will receive a Distribution from the General Pool in accordance
with the Plan, the U.S. federal income tax consequences for such U.S. Holder will be similar to
those of a U.S. Holder of U.S. Customer Entitlement Claims.

                 The U.S. federal income tax obligations of a Beneficiary with respect to its
claims against the Wind Down Entities are not dependent on the Wind Down Entities
distributing any cash or other proceeds. Thus, Beneficiaries may incur a U.S. federal income
tax liability with respect to its allocable share of Wind Down Entity income even if the Wind
Down Entities do not make a concurrent distributions to the Beneficiaries. In general, a
distribution of cash by the Wind Down Entities will not be separately taxable to Beneficiaries
in the Wind Down Entities Trust, since Beneficiaries will already be regarded for U.S. federal
income tax purposes as owning the underlying assets (and will have been taxed at the time the
Cash was earned or received by the Wind Down Entities). Beneficiaries are urged to consult
their tax advisors regarding the appropriate U.S. federal income tax treatment if a “disputed
ownership fund” governed by Treasury Regulation section 1.468B-9 is created.

                The Plan Administrator will comply with all applicable governmental
withholding requirements (see below). Thus, in the case of any Beneficiaries that are not U.S.
Holders, the Trustee may be required to withhold up to 30% of the income or proceeds
allocable to such persons, depending on the circumstances (including whether the type of
income is subject to a lower treaty rate).

                The Plan Administrator will file with the IRS tax returns for the Wind Down
Entities, including the Wind Down Trust, consistent with its classification as a grantor Trust
pursuant to Treasury Regulation section 1.671-4(a). The Plan Administrator also will send
annually to each Liquidating Trust Beneficiary a separate statement regarding the receipts and
expenditures of the Wind Down Entities as relevant for U.S. federal income tax purposes and

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will instruct all such holders to use such information in preparing their U.S. federal income tax
returns or to forward the appropriate information to such holders with instructions to utilize
such information in preparing their U.S. federal income tax returns. Such information will be
provided each [February] with respect to the preceding calendar year.

                       Withholding on Distributions and Information Reporting

               All Distributions to Holders of Customer Entitlement Claims will be subject to
any applicable U.S. tax withholding rules. Under U.S. federal income tax law, interest,
dividends, and other reportable payments may, under certain circumstances, be subject to
“backup withholding” at the applicable withholding rate (currently 24%).

                Backup withholding generally applies if the Holder: (a) fails to furnish its social
security number or other taxpayer identification number; (b) furnishes an incorrect taxpayer
identification number; (c) fails properly to report interest or dividends; or (d) under certain
circumstances, fails to provide a certified statement, signed under penalty of perjury, that the
tax identification number provided is its correct number and that it is not subject to backup
withholding (generally in the form of a properly executed IRS Form W-9 for a U.S. Holder,
and, for a Non-U.S. Holder, in the form of a properly executed applicable IRS Form W-8).

               If the Debtors or the Plan Administrator, as applicable, cannot verify whether a
Holder of a Customer Entitlement Claim is a U.S. resident subject to an exemption, (x) for
Distributions made by the Wind Down Trust on account of an Allowed Claim against a U.S.
Debtor, the recipient of such Distribution shall be presumed to be a U.S. non-exempt resident
and such Distribution will be subject to withholding, (y) for Distributions made by the Wind
Down Trust on account of an Allowed Claim against a non-U.S. Debtor to a recipient in the U.S.,
such recipient shall be presumed to be a U.S. non-exempt resident and such Distribution will be
subject to withholding and (z) for Distributions made by the Wind Down Trust on account of an
Allowed Claim against a non-U.S. Debtor to a recipient outside the U.S., such recipient shall be
presumed not to be a U.S. resident and, accordingly, such Distribution will not be subject to any
backup withholding.

               Backup withholding is not an additional tax but merely an advance payment,
which may be refunded to the extent it results in an overpayment of tax. Certain persons are
exempt from backup withholding, including, in certain circumstances, corporations and financial
institutions. Holders of Customer Entitlement Claims are urged to consult their tax advisors
regarding the Treasury Regulations governing backup withholding and whether the distributions
they ultimately receive on their Customer Entitlement Claims would be subject to these Treasury
Regulations.

                In addition, a holder of Claims or a Beneficiary that is a not a U.S. Holder may be
subject to up to 30% withholding, depending on, among other things, the particular type of
income and whether the type of income is subject to a lower treaty rate. A non-U.S. Holder may
also be subject to other adverse consequences in connection with the implementation of the Plan.
As discussed above, the foregoing discussion of the U.S. federal income tax consequences of the
Plan does not generally address the consequences to non-U.S. holders. Holders are urged to
consult their tax advisors regarding potential withholding on Distributions by the Debtors or


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payments from the Plan Administrator. The Debtors intend to take the position that the amounts
denominated as Interest that are received by a non-U.S. Holder under the Plan should in general
not constitute interest received from sources within the United States. However, because a non-
U.S. Holder will be required to complete a Form W-8 in order to receive a distribution, U.S.
withholding tax should in any case not apply to interest that they receive from US sources.




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9.     ALTERNATIVE TO CONFIRMATION OF THE PLAN
                The Debtors believe that the Plan affords Holders of Claims and Interests the
potential for the greatest recovery on those Claims and Interests and is therefore in the best
interests of such Holders. If the Plan is not confirmed, a likely alternative near-future outcome
for the Debtors is the liquidation of the Debtors under chapter 7 of the Bankruptcy Code.

               If the Plan is not confirmed, these Chapter 11 Cases may be converted to cases
under chapter 7 of the Bankruptcy Code. In a chapter 7 case, a trustee or trustees would be
appointed to liquidate the assets of the Debtors. It is impossible to predict with precision how
the proceeds of the liquidation would be distributed among Holders of Allowed Claims against
the Debtors.

                The Debtors believe, however, that creditors would receive less value in the event
that the Debtors are liquidated under chapter 7. In addition, the Debtors believe that, in a
liquidation under chapter 7, the value of the Debtors’ estates will be substantially eroded before
creditors receive any Distribution, as a result of additional administrative expenses involved in
the appointment of a trustee or trustees and attorneys, accountants and other professionals to
assist such trustees. The assets available for Distribution to creditors will be reduced by such
additional expenses and by Claims, some of which will be entitled to priority.

                The Liquidation Analysis, prepared by the Debtors with their restructuring
advisors, is premised upon a hypothetical liquidation in a chapter 7 case. In the Liquidation
Analysis, the Debtors have taken into account the nature, status, and underlying value of their
assets, the ultimate estimated realizable value of their assets, and the extent to which such assets
are subject to liens and security interests. The likely form of any liquidation would be the wind
down and sale of individual assets.

               Based on this analysis, it is likely that a chapter 7 liquidation of the Debtors’
assets would produce less value for Distribution to creditors than that recoverable under the Plan.
Therefore, the Debtors submit that the projected recoveries available to Holders of Claims and
Holders of Interests in a chapter 7 liquidation are likely to be lower than those available under
the Plan.




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10.    DEBTORS’ RECOMMENDATION
               In the opinion of the Debtors, the Plan is preferable to the only other alternative
described herein. Therefore, the Debtors recommend that all Holders of Claims entitled to
vote on the Plan vote to accept it.




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